JS 44C/SDNY             Case 1:17-cv-08617-GBD-SN CIVIL
                                                   Document
                                                        COVER 2 Filed 11/07/17 Page 1 of 133
                                                              SHEET
REV. 07/08/16
                          The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                          other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                          United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                     DEFENDANTS
RICHARD ABBATE, et al                                                                          KINGDOM OF SAUDI ARABIA, ET AL.


ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                 ATTORNEYS (IF KNOWN)
NAPOLI SHKOLNIK, PLLC
400 BROADHOLLOW RD., STE 305
MELVILLE, NY 11747
(212) 397-1000
CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                           (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

THE JUSTICE AGAINST SPONSORS OF TERRORISM ACT, PUB.L. 114-222

                                                                                                                                                         Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                               Yes   ✔     HON. GERALD B. DA
If yes, was this case Vol.           Invol.      Dismissed. No ✖ Yes                  If yes, give date _______________________ & Case No. ______________________

IS THIS AN INTERNATIONAL ARBITRATION CASE?               No                Yes

(PLACE AN [x] IN ONE BOX ONLY)                                           NATURE OF SUIT
                                  TORTS                                                                                        ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY                 PERSONAL INJURY              FORFEITURE/PENALTY              BANKRUPTCY                      OTHER STATUTES
                                                                  [ ] 367 HEALTHCARE/
                                                                  PHARMACEUTICAL PERSONAL                                                                      [ ] 375 FALSE CLAIMS
[   ] 110       INSURANCE         [ ] 310 AIRPLANE                                             [ ] 625 DRUG RELATED            [ ] 422 APPEAL
[   ] 120       MARINE            [ ] 315 AIRPLANE PRODUCT        INJURY/PRODUCT LIABILITY                                              28 USC 158             [ ] 376 QUI TAM
                                                                                                SEIZURE OF PROPERTY
[   ] 130       MILLER ACT                  LIABILITY             [ ] 365 PERSONAL INJURY             21 USC 881               [ ] 423 WITHDRAWAL              [ ] 400 STATE
[   ] 140       NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &                 PRODUCT LIABILITY                                            28 USC 157                      REAPPORTIONMENT
                                                                                               [ ] 690 OTHER
                INSTRUMENT                  SLANDER               [ ] 368 ASBESTOS PERSONAL                                                                    [ ] 410 ANTITRUST
[ ] 150         RECOVERY OF       [ ] 330 FEDERAL                          INJURY PRODUCT                                                                      [ ] 430 BANKS & BANKING
                OVERPAYMENT &               EMPLOYERS'                     LIABILITY                                           PROPERTY RIGHTS                 [ ] 450 COMMERCE
                ENFORCEMENT                 LIABILITY                                                                                                          [ ] 460 DEPORTATION
                OF JUDGMENT       [ ] 340 MARINE                  PERSONAL PROPERTY                                            [ ] 820 COPYRIGHTS              [ ] 470 RACKETEER INFLU-
[ ] 151         MEDICARE ACT      [ ] 345 MARINE PRODUCT                                                                       [ ] 830 PATENT                           ENCED & CORRUPT
[ ] 152         RECOVERY OF                 LIABILITY             [ ] 370 OTHER FRAUD                                          [ ] 840 TRADEMARK                        ORGANIZATION ACT
                DEFAULTED         [ ] 350 MOTOR VEHICLE           [ ] 371 TRUTH IN LENDING                                                                              (RICO)
                STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                                                                                        [ ] 480 CONSUMER CREDIT
                (EXCL VETERANS)             PRODUCT LIABILITY                                                                  SOCIAL SECURITY                 [ ] 490 CABLE/SATELLITE TV
[ ] 153         RECOVERY OF       [ ✖] 360 OTHER PERSONAL
                OVERPAYMENT                 INJURY                [ ] 380 OTHER PERSONAL       LABOR                           [   ] 861 HIA (1395ff)          [ ] 850 SECURITIES/
                OF VETERAN'S       [ ] 362 PERSONAL INJURY -               PROPERTY DAMAGE                                     [   ] 862 BLACK LUNG (923)               COMMODITIES/
                BENEFITS                   MED MALPRACTICE        [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [   ] 863 DIWC/DIWW (405(g))             EXCHANGE
[ ] 160         STOCKHOLDERS                                               PRODUCT LIABILITY             STANDARDS ACT         [   ] 864 SSID TITLE XVI
                SUITS                                                                          [ ] 720 LABOR/MGMT              [   ] 865 RSI (405(g))
[ ] 190         OTHER                                             PRISONER PETITIONS                     RELATIONS                                             [ ] 890 OTHER STATUTORY
                CONTRACT                                          [ ] 463 ALIEN DETAINEE       [ ] 740 RAILWAY LABOR ACT                                                ACTIONS
[ ] 195         CONTRACT                                          [ ] 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS               [ ] 891 AGRICULTURAL ACTS
                PRODUCT           ACTIONS UNDER STATUTES                   VACATE SENTENCE     LEAVE ACT (FMLA)
                LIABILITY                                                  28 USC 2255                                      [ ] 870 TAXES (U.S. Plaintiff or
[ ] 196     FRANCHISE             CIVIL RIGHTS                    [ ] 530 HABEAS CORPUS        [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                                  [ ] 535 DEATH PENALTY                 LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                                  [ ] 540 MANDAMUS & OTHER     [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                                  [ ] 440 OTHER CIVIL RIGHTS
                                                                                                        SECURITY ACT (ERISA)                                            INFORMATION ACT
                                          (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [ ] 896 ARBITRATION
                                  [ ] 441 VOTING                                               IMMIGRATION                                                     [ ] 899 ADMINISTRATIVE
[ ] 210        LAND               [ ] 442 EMPLOYMENT              PRISONER CIVIL RIGHTS
               CONDEMNATION       [ ] 443 HOUSING/                                          [ ] 462 NATURALIZATION                                                PROCEDURE ACT/REVIEW OR
[ ] 220        FORECLOSURE                  ACCOMMODATIONS        [ ] 550 CIVIL RIGHTS               APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230        RENT LEASE &       [ ] 445 AMERICANS WITH          [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
               EJECTMENT                    DISABILITIES -        [ ] 560 CIVIL DETAINEE             ACTIONS
                                            EMPLOYMENT                                                                                                          STATE STATUTES
[ ] 240        TORTS TO LAND                                         CONDITIONS OF CONFINEMENT
[ ] 245        TORT PRODUCT        [ ] 446 AMERICANS WITH
               LIABILITY                    DISABILITIES -OTHER
[ ] 290        ALL OTHER            [ ] 448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                           DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
            CHECK IF THIS IS A CLASS ACTION                                AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
            UNDER F.R.C.P. 23                                              IF SO, STATE:
        TO BE DETEROTHER ______________ JUDGE _________________________________
DEMAND $______________                        DANIELS                                        1:03-md-01570-G
                                                                                DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:              ✖   YES       NO                                 NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY)                                                       ORIGIN
                                                                                                                                         Multidistrict               Appeal to District
   1   Original           2 Removed from                  3   Remanded         4 Reinstated or          5 Transferred from       ✖   6   Litigation
                                                                                                                                                                 7   Judge from
       Proceeding           State Court                       from               Reopened                   (Specify District)
                                                                                                                                         (Transferred)               Magistrate Judge
                                                              Appellate
                           a.   all parties represented       Court
                                                                                                                                     8 Multidistrict Litigation (Direct File)
                           b.   At least one party
                                is pro se.
(PLACE AN x IN ONE BOX ONLY)                                             BASIS OF JURISDICTION                                                IF DIVERSITY, INDICATE
   1   U.S. PLAINTIFF           2   U.S. DEFENDANT            ✖   3   FEDERAL QUESTION    4 DIVERSITY                                         CITIZENSHIP BELOW.
                                                                      (U.S. NOT A PARTY)

                                    CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
        (Place an [X] in one box for Plaintiff and one box for Defendant)

                                PTF    DEF                                                       PTF DEF                                                               PTF      DEF
CITIZEN OF THIS STATE           [ ]1   [ ]1       CITIZEN OR SUBJECT OF A                        [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                     [ ]5     [ ]5
                                                   FOREIGN COUNTRY                                                OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE        [ ]2   [ ]2       INCORPORATED or PRINCIPAL PLACE                [ ]4[ ]4         FOREIGN NATION                                      [ ]6      [ ]6
                                                   OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
SEE ATTACHED RIDER




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
SE ATTACHED RIDER




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                        COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.
                     DO NOT check either box if this is a PRISONER PETITION/PRISONER CIVIL RIGHTS COMPLAINT.

Check one:     THIS ACTION SHOULD BE ASSIGNED TO:                                          WHITE PLAINS                          ✖    MANHATTAN

DATE 11/07/2017                                                                                         ADMITTED TO PRACTICE IN THIS DISTRICT
                        SIGNATURE OF ATTORNEY OF RECORD
                                                                                                        [ ] NO
                                                                                                        [✖] YES (DATE ADMITTED Mo.8_______ Yr. 2004
                                                                                                                                               _______)
RECEIPT #    /S/ Christipher R. LoPalo                                                                  Attorney Bar Code # 6466


Magistrate Judge is to be designated by the Clerk of the Court.
                       HON. SARAH NETBURN
Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
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                                   RIDER

RICHARD ABBATE; BRIAN ABBONDANDELO; GREGORY ABBOTT; ALY ABDELREHIM
AND HALA MORSY; KALIMA ABDUL-QUDDUS; CHARLES ABER; ANU ABRAHAM AND
SOPHIA ABRAHAM; CHRISTOPHER ABRAMOWSKI AND PAWNETT ABRAMOWSKI;
AUGUSTINE ACCARDI AND CAROL ROGER; HENRY J. ACCARINO; ANDRES ACEVEDO
AND BRENDA ACEVEDO; MYRIAM ACEVEDO; SUZANNE ACHORN, AS
ADMINISTRATRIX OF THE ESTATE OF RICHARD ACHORN, AND SUZANNE ACHORN
INDIVIDUALLY; ALISON ACKER, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY ACKER, AND ALISON ACKER INDIVIDUALLY; ERICH ACKERMANN AND LISA
ACKERMAN; BYRON ACOSTA; CLIFF ACOSTA AND SANDRA REYES; GIUSEPPE
ACQUISTA; VINCENZO ACQUISTA AND ANGELA ACQUISTA; DAVID ACRES AND
FLORENCE ACRES; ROBERT ADAMS; STEPHEN ADDEO AND CAROL ADDEO; NICK
ADDONISIO AND LISA ADDONISIO; ELIZABETH ADDORISIO AND JOSEPH
ADDORISIO; STEVEN ADELHELM AND CHRISTINE ADELHELM; LARRY ADLER AND
DARYA ADLER; LUIS ADRIANO; GEORGE J. AFFATATO AND LOIS E. AFFATATO;
SALVATORE AGLIALORO AND ANNMARIE AGLIALORO; ANTHONY AGUGLIARO AND
PATRICIA AGUGLIARO; RICHARD AGUGLIARO AND LORETTA A. AGUGLIARO;
YVETTE AGUIAR; WILMER AGUINAGA AND MARLENY AGUINAGA; GEORGE
AGUIRRE; ROBERT AGUIRRE AND PATRICIA AGUIRRE; JOHN AHEARN AND
BARBARA AHEARN; KEVIN P. AHEARN AND THERESA AHEARN; BRIAN AHERN;
NASAR AHMED AND BEGUM INYAT; EDMUND AILARA AND KRISTINA M. AILARA;
MICHAEL ALAGNA; PETER ALAIMO; JOSE ALBA; RICHARD ALBANESE; JOHN
ALBARANO; DARRY ALBERIGHT; JOS ALBERS, AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF THEODORUS E. ALBERS, AND JOS ALBERS INDIVIDUALLY;
CHRISTOPHER ALBIN AND EILEEN ALBIN; JOB ALDAVE AND ALEXANDRA ALDAVE;
ANGEL ALEJANDRO; STEVEN ALEJANDRO AND LUZ VINASCO; JOHN ALESSI AND
SUNSHINE ALESSI; SYLVESTER ALEXANDER AND DEBORAH ALEXANDER; VICTOR
ALEXANDER; RICHARD ALFANO AND JANE ALFANO; CRUZ ALGARIN AND CARA
ALGARIN; ENRIQUE ALI; DARREN ALICEA; SCOTT M. ALINE; ANGELA ALLEGRETTI;
CLIFFORD ALLEN AND JOSEPHINE ALLEN; JANET SLATE, AS EXECUTRIX OF THE
ESTATE OF GEORGE ALLEN, AND JANET SLATE INDIVIDUALLY; TERRENCE ALLEN;
MICHAEL ALLEVA; AZRIEL ALLEYNE; MICHELLE ALLEYNE; ASMAT ALLIE AND
NOEMI ALLIE; BRIGITTE ALMANZAR; ALDWIN ALMODOVAR; ORLANDO
ALMODOVAR AND ANNETTE ORTIZ; ELAINE ALSTON, AS ADMINISTRATRIX OF THE
ESTATE OF LETHA ALSTON, AND ELAINE ALSTON INDIVIDUALLY; ANA MARIA
ALVARADO; JONNY ALVARADO AND BRENDA LAZO; GLORIA ALVAREZ AND HENRY
SANDOYA; JIMMY ALVAREZ; ANTONIO ALVES AND MARIA E. ALVES; GERARD AMATO
AND CHRISTINA AMATO; ALCIDES AMAYA; MICHAEL AMBROSECCHIA; DENNIS
AMODIO; ALEXANDROS ANASTASSATOS; ALLEN ANDERSEN AND SUE ANN
ANDERSEN; RICHARD ANDERSEN AND ROSELLEN ANDERSEN; ANTHONY
ANDERSON AND ORETHAL ANDERSON; DOUGLAS ANDERSON; BENJAMIN
ANDERSON, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JACK R.
ANDERSON, AND BENJAMIN ANDERSON INDIVIDUALLY; MORTIMER ANDERSON
AND CAMILE ANDERSON; TYRELLE C. ANDERSON; JAMEL MOSER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF VERONICA ANDERSON, AND JAMEL MOSER
INDIVIDUALLY; NORKISS ANDINO AND ROGER ANDINO; GEORGIA ANDRE; ROBERT
ANDREWS AND JACQUELINE ANDREWS; TIMOTHY ANDREWS; JOSEPH ANDROWSKI
AND EILEEN ANDROWSKI; MARK ANDRUS; JACK ANNIBALE AND ROSA ANNIBALE;
MIKE ANNUNZIATE; PETER ANTAO AND SUE ANTAO; RICHARD ANTONACCI;
ROBERT ANTONELLI AND ELAINE M. ANTONELLI; JEFFREY ANTONSEN; JOSEPH
ANZUETA; MARIA APAS, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ANDY
M. APAS, AND MARIA APAS INDIVIDUALLY; JOSE APONTE AND NOEMI DEJESUS-
APONTE; VIRGILIO APONTE AND ADA APONTE; JOSE AQUINO AND EVELYN
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AQUINO; MAGDA ARANGO AND MANUEL ROJAS; PETER ARATO; JAMES ARCA AND
TERESA ARCA; JOHN ARCARA; RONALD ARCHER AND ERMA B. ARCHER; INDIA
ARCHIE; LORENZO ARELLANO AND TRICIA ARELLANO; BEATRIZ ARENAS; EDDIE
ARENAS; ANTONIO ARIAS; ARTURO ARIAS AND MARILYN QUINTANA; PAUL ARIAS
AND LISA-ANN ARIAS; MICHAEL ARINI AND MAUREEN ARINI; ENID ARISTIZABAL;
THOMAS J. ARLOTTA, JR.; DANIEL ARMAGNO AND MARGARET ARMAGNO; SARAH
ARMENIA, AS EXECUTRIX OF THE ESTATE OF JOSEPH ARMENIA, AND SARAH
ARMENIA INDIVIDUALLY; CLAUDE ARMSTRONG AND LAURA ARMSTRONG; ERIC
ARNOLD AND JONNISUE ARNOLD; HECTOR AROCENA AND LORRAINE AROCENA;
DANIEL ARRIGO AND BRIDGET ARRIGO; RITO ARROYO AND ISABEL ARROYO;
WILSON ARROYO AND REBECCA ARROYO; KENRICK ARTHUR AND VALERIE
ARTHUR; DAVID ARVELO; LISA ASARO; STEPHEN ASARO; MICHAEL ASHTON AND
DONNA M. ASHTON; MICHAEL G. ASPRAS; FREDDY ASTUDILLO AND MARIANA
ASTUDILLO; WILMER ASTUDILLO AND MARIA I. AVILA; VIRGINIA ATKINSON; LUIS
ATRISTAIN; VICTOR AUCAQUIZHPI; JOSEPH AUDINO; MARTIN AUER AND ANN
AUER; JULES AUGUSTE AND MARLE AUGUSTE; JEAN AUGUSTIN AND MARIE M.
AUGUSTIN; CLYDE L. AUGUSTINE AND PORTIA AUGUSTINE; FITZROY AUGUSTUS;
WILLIAM AUSBY; ALEXANDER J. AVELINO; PATRICIA AVELINO; HERNANDO AVENIA
AND NIDIA AVENIA; ANGEL AVILA; GABRIELA PEREZ, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF EDGAR AVILA, AND GABRIELA PEREZ
INDIVIDUALLY; SIXTO AVILES AND MATIELDE AVILES; JOSEPH AZZARETTO AND
JEANETTE AZZARETTO; CATHLEEN AZZINARI-CASELLA AND THOMAS J. CASELLA;
THOMAS BABINSKI AND CATHERINE BABINSKI; EDWARD BACA; CHRISTOPHER
BACCHI AND JOSE BACCHI; ANDRZEJ BACZKOWSKI AND ZOFIA BACZKOWSKI; JOHN
BADILLO; RICARDO BAEZ AND KATHLEEN HEALY-BAEZ; MARIUSZ BAGINSKI AND
AGNIESZKA BAGINSKI; JASON BAHRT; JETTA BAILEY; TROY BAILEY AND ESTHER
BAILEY; RAJEEV BAIS; ALEKSANDER BAJGUZ AND MARIA BAJGUZ; CANDIACE BAKER;
MYNOR BALCARCEL AND MELISSA BALCARCEL; THOMAS BALDWIN AND BRIDGET
BALDWIN; RAYMOND BALLERINO AND BARBARA BALLERINO; VANESSA
BALLESTEROS; LOUIS BALSAMO AND VIVIAN BALSAMO; ERIK BALTZ; BENJAMIN
BAMONTE; DARRELL BANKHEAD; MICHAEL BAPTISTE AND PATRICIA BAPTISTE;
CARLOS BARALES; MICHAEL BARATTA AND ANNABEL BARATTA; MICHAEL L.
BARBATO AND ANITA BARBATO; PAUL BARBATO; ROBERT BARBERA AND GENIEVA
BARBERA; BRIAN BARCHESKI AND DEBORAH A. STORY; WILLIAM BARD AND SHAIN
BARD; DENIS BARDEN; RICHARD BARGER; MICHAEL BARNABLE AND LAUREN
BARNABLE; JOHN BARONE; STEPHEN BAROUNIS AND JUDY BAROUNIS; ANDREW G.
BARR AND STACEY BARR; JENNIFER BARRATT; ARTURO BARRERO AND SUSANA
BARRERO; CARLON BARRETT; DAVID BARRETT; MICHAEL BARRETT AND DOLORES
E. BARRETT; WILFRED BARRIERE AND BARBARA BARRIERE; JULIO BARROS;
HECTOR BARROSO; KEVIN BARRY AND LORRAINE BARRY; RICHARD C. BARRY AND
MADELINE BARRY; THOMAS BARTKOWSKI AND DAWN BARTKOWSKI; SUZANNE
BARTLETT, AS ADMINISTRATRIX OF THE ESTATE OF KEITH BARTLETT, AND
SUZANNE BARTLETT INDIVIDUALLY; DONALD BARTO AND MARLA BARTO;
ANGELO BARTOLOTTA AND JAMIE MARIE BARTOLOTTA; SEBASTIAN BARTOLOTTA;
OREN BARZILAY; SEBASTIANO BASILE AND NANCY A. BASILE; RAMIRO BASTIDAS
AND ZOILA ASMAL; JOSEPH BATTISTA; JOSEPH BAUDILLE; GARY BAUER AND KAREN
BAUER; RONALD BAUMAN; HANFORT BAUTISTA AND JESSICA BAUTISTA; KEITH
BAVOLAR; SCOTT BAVOLAR; HOWARD BAYNE; HECTOR BAZAN AND ROSI- ELENA
DOMINGUEZ REYES; MICHAEL BAZERMAN AND MEREDITH BAZERMAN; CARLOS
BEAUCHAMP; MICHAEL BEBERASHVILI; STACI BECERRA; JAMES BECK AND
CHRISTINE BECK; SCOTT BEDELL; TINEL BEDFORD; JEFFREY BEDNAR AND BETH
BEDNAR; JOHNNY BELFORT; THEADORE BELGRAVE; RUBY BELGROVE; ARNOLD
BELKIN; JEROME BELL; JOHN BELL AND ERIKA J. BELL; THOMAS BELL AND SARAH
BELL; WILLIAM BELLAMY; DIMITRIOS BELLOS; XAVIER BELTRAN AND MONICA
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BELTRAN; JESUS BENAVIDES AND MARIE BENAVIDES; THOMAS L. BENCIVENGA
AND ROSE MARIE BENCIVENGA; JOHN BENDER AND MARGARET BENDER;
THOMAS BENDER AND CHRISTINE BENDER; SCOTT BENDUL AND CHISTINE
BENDUL; JOSEPH P. BENESTANTE AND JEAN BENESTANTE; ANDREW BENFANTE;
ANTHONY BENFANTE, AS ADMINISTRATOR OF THE ESTATE OF VINCENT
BENFANTE, AND ANTHONY BENFANTE INDIVIDUALLY; SCOTT BENISH AND
FRANCINE BENISH; DEBRA BENJAMIN; LLOYD G. BENTLEY AND BRIDGETTE
BENTLEY; ALLEN BERGE AND DONNA BERGE; WENDY BERGER; VINCENT
BERLINGERIO AND JANE TAROMMA; LUIS BERMEO; MARGIE BERMUDEZ; CHARLES
BERNARDI AND ELLEN M. BERNARDI; MARK BERNHEIMER; CARMEN BERRIOS;
LUCIANO BERRIOS AND MIGDALIA BERRIOS; ROBERT BERRIOS AND ALEXSANDRA
BERRIOS; RUBEN BERRIOS; BARRY BERTOLET AND KRISTINE BETOLET; JOSEPH
BERTOLINO AND SANDRA BERTOLINO; LISA BERTONE-MARVIN AND LANCE
MARVIN; FRANK BESHEARS AND GAYLE BESHEARS; PAUL BESSLER AND PATRICIA
BESSLER; YVETTE BEST AND WAYNE BEST; MICHAEL BESTANY AND TRICIA
BESTANY; HECTOR BETANCOURT; ANA T. BETANCUR AND SILVIO BETANCUR;
MADIRIA BETHEL, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF DENISE
BETHEL, AND MADIRIA BETHEL INDIVIDUALLY; LOIS BETTS; CHRISTOPHER BETZ
AND LAURA BETZ; JOHN BEVANDO; IDRIS BEY; JAVA BHUYA; DEBORAH
BIANCANIELLO; JOHN BIANCO; THOMAS BIANCO; RUSSELL BIANCONE AND
ANGELA BIANCONE; JOHANNA BIBBINS, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF DARRYL BIBBINS, AND JOHANNA BIBBINS INDIVIDUALLY; RAYMOND
BIESELIN AND DONNA BIESELIN; DONALD BIGI AND DONNA J. BIGI; RICHARD
BIGLIN AND YANELA BIGLIN; EDWARD BILARDI; JOSEPH C. BILELLA AND JANINE
BILELLA; JOSEPH F. BILELLA AND ROSEANN BILELLA; RONNIE BILELLA AND
ANNAMARIE BILELLA; MARTIN BILISKI AND CATHERINE BILISKI; JAMES K.
BINGHAM, JR. AND ROSE E. BINGHAM; MICHAEL BIONDO AND KAREN BIONDO;
ANTHONY BIONDOLILO AND BONNIE L. BIONDOLILO; MARY ELIZABETH BISHOP;
KAMPTA BISHUN AND HASSENA BISHUN; JAMES BITTLES AND SYLVIA BITTLES;
DANIEL BLACK AND NORMA BLACK; JOHN BLACK AND PATRICIA BLACK; JOSEPH
BLACK; RONALD BLACKMORE AND EUNELL BLACKMORE; ANDRE BLACKWOOD
AND KAREN BLACKWOOD; LANZE A. BLAGROVE AND LURAINE BLAGROVE; DANIEL
BLAKELY; DIANE BLAKELY, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
KEVIN BLAKELY, AND DIANE BLAKELY INDIVIDUALLY; BARRY BLANCHARD;
ROBERT BLANCO AND LOUISE BLANCO; DAYSY BLANDON; MICHAEL BLONDIN;
MICHAEL BLOOD AND CYNTHIA BLOOD; SEDRICK S. BLOOME AND SHARON
COVINGTON; SANDRA BLOUIN, AS EXECUTRIX OF THE ESTATE OF ALBERT
BLOUIN, AND SANDRA BLOUIN INDIVIDUALLY; ROBERT BLUM AND EILEEN BLUM;
DAVID BLUNI; KEVIN BOBE; BRYAN BOCCANFUSO; FRANK BOCCHICHIO AND
MARIANNE BOCCHICHIO; RONALD BOCCHICHIO AND MICHELE BOCCHICHIO;
WILLIAM BODEN AND VICKI BODEN; BRIAN BOELE AND ELIZABETH BOELE;
CHRISTOPHER BOERKE AND DONNA BOERKE; MATHEW BOERO AND AMY BOERO;
DRAGICA BOGDANOV; JOHN BOLAND AND JOAN BOLAND; EDWARD BOLGER AND
LINDA M. BOLGER; MICHAEL BOLL AND PATRICIA BOLL; VINCENT BOLOGNA AND
DEBORAH BOLOGNA; JOSEPH BOMPARTITO; ROBERT BONFIGLIO AND KATHLEEN
BONFIGLIO; THOMAS BONGIOVANNI; DAMASA BONILLA; REGINALD BONNER;
DOMINIC BONOMONTE AND SUSAN BONOMONTE; EDWARD BONSIGNORE AND
KASEY BONSIGNORE; CECILIA BORCHERDING; STEPHEN BORCHERDING;
RICHARD BORCHERS AND ZUNLIDA MARTINEZ; GARY BOREGA; DAVID BOREL;
DOROTHY BORGESE; WIKTOR BORKOWSKI; FRANCES BORMAN AND GARY M.
BORMAN; WIKTOR BOROWIECKI; WILLIAM BORQUES; JESUS BORRERO AND EILEEN
BORRERO; JAMES BORST AND GERALDINE BORST; ANN BOUBARIS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF XENOFON BOUBARIS, AND ANN BOUBARIS
INDIVIDUALLY; JAMES BOVE AND THELMA BOVE; ANTHONY BOVERY; MICHAEL
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BOWERS AND DORLEEN BOWERS; BRIAN BOYAR; MARK BOYD AND SUSANNE BOYD;
PHYLLIS BOYD; WARREN BOYD; WILLIAM BOYE AND KERRI BOYE; DEAN BOYER
AND PAM BOYER; ENIS BOYER; JOHN K. BOYLE AND SUSAN BOYLE; KEVIN BOYLE;
PATRICK BOYLE AND NOREEN BOYLE; MICHAEL BOZYMOWSKI AND ANGELA
BOZYMOWSKI; STEFANO BRACCINI; KENRICK C. BRADFORD AND MARILYN
BRADFORD; LARRY BRADFORD AND LEONIE BRADFORD; JOSEPH BRADLEY AND
LESLIE BRADLEY; DANIEL BRADY AND RACHELE BRADY; DONALD BRAGG AND
STEPHANIE BRAGG; ISAAC BRANCH; GARY BRANDOFINO AND HELENE
BRANDOFINO; THOMAS R. BRANDON AND LYNN BRANDON; STEVEN BRANDOW
AND GLADYS BRANDON; EVLIN BRANDT; GERARD BRANNIGAN; IAN BRANNON;
JEFFREY BRATJAN; FRANK BRATTOLE AND JANE BRATTOLE; JAMES
BRAUNREUTHER AND KATHRYN BRAUNREUTHER; ERIC BRAVERMAN; HELEN
BRAXTON; CARLA BREEZE AND WAYNE DECKER; FRANCIS BRENNAN AND MELODY
K. BRENNAN; MICHAEL BRENNAN; MICHAEL BRENNAN AND KERRY A. BRENNAN;
ROBERT BRENNAN AND JOYCE BRENNAN; TIMOTHY BRENNAN AND BETTYANN
BRENNAN; RANDY S. BRENNER; RICHARD BRENSEKE AND DEBORAH BRENSEKE;
ROBERT BRESSINGHAM AND JENNIFER BRESSINGHAM; RONALD BREWER AND
VERA BREWER; CARMEN BRIDGEFORTH; CHRISTOPHER BRIECKE AND JESSICA
BRIECKE; MICHAEL BRIGANTE; ANTHONY E. BRIGGS AND NORVA BRIGGS; DARREN
BRINDISI; MAXWELL BRINSON; SHARON BRITT; ROBERT BRODERICK AND
CAROLYN BRODERICK; ANA BROGAN AND PAUL BROGAN; CHRISTOPHER BROICH;
ROBERT BROOKS AND KAY BROOKS; RITA BROPHY, AS EXECUTRIX OF THE ESTATE
OF THOMAS BROPHY, AND RITA BROPHY INDIVIDUALLY; WILLIAM BROSKI AND
PHYLLIS BROSKI; ALECIA BROWN; ALPHONSO BROWN AND LINDA BROWN; OLIVIA
BROWN, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF CLARICE BROWN,
AND OLIVIA BROWN INDIVIDUALLY; DEAMIAN BROWN; EDWARD BROWN; TEEJHA
BROWN, AS ADMINISTRATRIX OF THE ESTATE OF HARRY BROWN, AND TEEJHA
BROWN INDIVIDUALLY; JOHN J. BROWN AND EILEEN BROWN; JOHN BROWN AND
CATHERINE BROWN; JUNIOR BROWN; LISA BROWN; TIMOTHY BROWN; DONALD
BROWNE; MARTIN BROWNE AND MARY BROWNE; RICHARD BROWNE AND
MARGARET BROWNE; JOSEPH BRUCCULERI AND MARIA BRUCCULERI; CARLTON
BRUCE; DIANA BRUNELL AND EDWARD BRUNELL; JOSEPH BRUNETTI AND MARIA
LEONARDI; CARLA BRUNO; FRANK BRUNO AND ANDREA BRUNO; MICHAEL BRUNO
AND BRIDGET A. BRUNO; PHILIP J. BRUNO AND LINDA J. BRUNO; RAYMOND BRUNO
AND MICHELLE BRUNO; WILLIAM BRUSACK AND ROSEANNE BRUSACK; GERALD
BRUSCO AND SHERI BRUSCO; RAYMOND BRYAN AND SHEILA BRYAN; STEVEN
BRYANT; ERIC BRZOSTEK AND AIKATERINI BRZOSTEK; MARYANN BUBELNIK AND
THOMAS BUBELNIK; CHRIS BUCCARELLI AND MARYANNE BUCCARELLI; CRAIG
BUCCIERI; MICHAEL BUCKENBERGER AND DAWN BUCKENBERGER; JOHN
BUCKLEY AND LORI ANN BUCKLEY; JOSEPH BUCKLEY; WILLIAM BUCKLEY AND
LYNNE BUCKLEY; BERNARD BUCKNER; DINDIAL BUDHU AND GOUTAMIE BUDHU;
TERRANCE BUEFORD AND SHANTE BUEFORD; JOSEPH BUIRKLE AND ELAINE
BUIRKLE; JOHN BUIVIDAS AND JUDY BUIVIDAS; THOMAS BULLEN AND PATRICIA
BULLEN; JOHN BUONO AND DENISE BUONO; MARIO BUONVIAGGIO; JOHN
BUQUICCHIO AND PORTIA BUQUICCHIO; JOHN BURGESS AND CAROL BURGESS;
ALBERT BURGOS AND NORMA BURGOS; JESSICA BURGOS; GEORGE BURKE AND
DIANA BURKE; DIANE BURKE, AS ADMINISTRATRIX OF THE ESTATE OF JAMES P.
BURKE, AND DIANE BURKE INDIVIDUALLY; JOHN BURKE; KEVIN BURKE AND
LORRAINE BURKE; MARIE BURKE; PETER BURKE AND DANIELLE BURKE; DEBORAH
BURKE, AS ADMINISTRATRIX OF THE ESTATE OF RICHARD BURKE, AND DEBORAH
BURKE INDIVIDUALLY; ELIZABETH BURNETT; GARY BURNETTE; KENNETH
BURNS; PATRICK BURNS; RALPH F. BURO, AS ADMINISTRATOR OF THE ESTATE OF
GARY BURO, AND RALPH F. BURO INDIVIDUALLY; MARK BURRELL; DONALD
BURTON; MICHAEL BURZACHIELLO AND AMY BURZACHIELLO; VINCENT
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BUSARDO AND VIRGINIA BUSARDO; VINCENZO BUSCARNERA AND LISA M.
BUSARNERA; JOHN BUSCH AND JOAN BUSCH; ENRIQUE BUSTAMANTE AND
LUSMILA BUSTAMANTE; ERNEST BUTLER; JOANNE BUTLER; MARIO BUTLER, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF JULIO BUTLER, AND MARIO
BUTLER INDIVIDUALLY; RAYMOND BUTLER; RAYMOND BUTLER; ROBERT BUTLER
AND GIOVANNA BUTLER; THOMAS BUTLER AND DIANE BUTLER; AHMAD BUTLER,
AS ADMINISTRATOR OF THE ESTATE OF TYE BUTLER, AND AHMAD BUTLER
INDIVIDUALLY; TYRONE BUTLER; WILLIAM E. BUTLER AND MARGARET BUTLER;
PHILLIP BUTT AND CAROLYN BENSON; ALBERT BUTTACAVOLI; JOHN BYERS AND
PATRICIA BYERS; FRANCIS BYRNE AND MICHELLE BYRNE; JAMES P. BYRNES;
HECTOR CABAN; NELSON CABAN AND LOURDES CABAN; GEORGINA CABRERA;
HUGO CABRERA; OSWALDO CABRERA; THOMAS CACAVIO AND BRIDGET CACAVIO;
EDWARD CADDLE AND LAURA CADDLE; KENNETH CADMUS AND NANCY CADMUS;
THOMAS CADOTTE AND BAYAN CADOTTE; STANLEY CAESAR; JOHN CAFARELLA
AND GAYLE CAFARELLA; ANTHONY CAFFERKEY; VICTOR CAGGIANO AND SOFIA
CAGGIANO; MANUEL CAGUANA AND ANTONIA CAGUANA; HAZAMOON CAHILL;
JOHN CAHILL; MOIRE CAHILL; PATRICK CAIN; MARTHA CAIZA; SCOTT CALANDRA
AND ALICIA CALANDRA; ENRIQUE CALDERIN AND NOREEN CALDERIN; RICARDO
CALDERON; IVAN CALERO; LUCY CALI; ANGELISA CALISE; MICHELLE CALL; CHRIS
CALLAHAN; PATRICK CALLAHAN; ROBERT CALLAHAN AND EVA SCRIPPS-
CALLAHAN; STEVEN CALLAHAN AND MELISSA A. CALLAHAN; EDWARD CALLAN
AND JEANNE CALLAN; JOSE CALLE AND DAMARIS CALLE; STEVEN CALZOLANO AND
DEBRA ANN CALZOLANO; JULIE CAMARDA AND THOMAS CAMARDA; THOMAS
CAMARDA AND JULIE CAMARDA; LOUIS CAMELLO AND CAMI CAMELLO; KENNETH
CAMENZULI; LOUIS CAMERADA AND MICHELE CAMERADA; DARRYL CAMERON;
ANTHONY CAMINITI AND ROSEMARY CAMINITI; FRANK CAMINITI AND CAROL
JEAN CAMINITI; ARTHUR CAMPBELL; BERNADETTE CAMPBELL; CHRIS CAMPBELL
AND STEPHANIE CAMPBELL; EDWARD CAMPBELL; FRANK CAMPBELL AND ANNA M.
CAMPBELL; GERARD CAMPBELL; PATRICK CAMPBELL AND GERALDINE CAMPBELL;
JEFF CAMPION; FLOR CAMPOS; ANGEL CAMPOVERDE; EDGAR CAMPOVERDE AND
NANCY CAMPOVERDE; REY R. CAMPOVERDE; JAMES CAMUS AND SUSAN CAMUS;
DAVID CANCEL; GEOVANNIA CANCEL AND JESUS I. RAMOS; MICHAEL CANCEL AND
MICKIE CANCEL; ROBERT CANCEL AND SONIA CANCEL; VINCENT CANDELA;
ELIEZER CANDELARIO; RENE CANELA AND CHARITY C. CINTRON; KEVIN
CANHAM; RUSSELL CANNON; THOMAS CANNY AND JULIA CANNY; ANDREW
CANONICO AND DOMENICA CANONICO; RICHARD CANTIRINO AND GINA
CANTIRINO; SALVATORE CANTONE; ANA PATRICIA CANTOS; WILLIAM CANTRES
AND SUZANNE CANTRES; DANIEL CANTU AND IRENE CANTU; RODOLFO
CAPELLAN; MYRNA CAPIZZO; JOHN CAPO AND LISA CAPO; MICHAEL DIAMOND, AS
EXECUTOR OF THE ESTATE OF PATRICE CAPO, AND MICHAEL DIAMOND
INDIVIDUALLY; KENNETH CAPOBIANCO AND MICHELE CAPOBIANCO; CRAIG
CAPOLINO; JOSEPH CAPPELLO; DOMINICK CAPUANO AND MEGAN CAPUANO;
JOSEPH CAPUTO; YVETTE CARABALLO; JOSEPH CARBONE; GERALD R. CARBONE, JR.
AND FLORENCE CARBONE; JORGE CARBONELL; MAURICIO CARCHI; DAVID
CARDENAS; EDISON CARDENAS; EDUARDO CARDENAS AND LUCIA CONDO; LUIS F.
CARDENAS AND MARTHA CARDENAS; JOSEPH CARDINALE; LESLIE CARDONA;
ROBERT CARDONA; DANIEL CARDONE; JAMES CAREY AND KATHLEEN CAREY;
THOMAS CAREY AND TAMMY CAREY; THOMAS CARIDAD; DENIS CARLIN AND
ROSEMARY KINDELAN-CARLIN; SHIRLEY CARLOCK, AS ADMINISTRATRIX OF THE
ESTATE OF OWEN T. CARLOCK, AND SHIRLEY CARLOCK INDIVIDUALLY; KENNETH
CARLUCCI; KENNETH CARMICHAEL; JAMES CARMODY AND MARGARET JAMES;
JAMES A. CARNEY; JOSEPH CARNEY AND MARGARET CARNEY; JOHN CAROCCIA AND
JACQUELINE CAROCCIA; PAUL CARPENTER; LUIS A. CARPIO; DOUGLAS CARR AND
CARMEN CARR; JOHN CARR; KEVIN J. CARR; JAMES CARRANO; RICHARD CARRANO;
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THOMAS CARRANO; HERNAN CARRASCO AND WENDY CARRASCO; VICTOR
CARRASCO AND H LEON; RAMON CARRASQUILLO AND BRENDA CARRASQUILLO;
ISIDRO CARRION AND TERESA CARRASQUILLO; JAMES CARROLL AND ALLISON
CARROLL; THOMAS CARROLL; GLADYS CARTAGENA AND A. CHOMORRO; MAE
CARTER, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ALLEN CARTER, AND
MAE CARTER INDIVIDUALLY; ARTHUR CARTER; DOUGLAS CARTER AND GINA
CARTER; OLUGBADE CARTER; RONALD CARTER AND ANGELA CARTER; WADE
CARTER AND FELICE CARTER; YANNIQUE CARTER; WARREN CARTWRIGHT;
CALOGERO CARUSO AND DENISE CARUSO; EUGENE CARUSO AND PATRICIA
CARUSO; TROY CARUSO AND SUSAN CARUSO; FRANK CARUTI AND PIA CARUTI;
MANUEL CARVAJAL; THOMAS H. CARVER AND CHRISTINE CARVER; CHRISTIAN
CASCANTE; RAYMOND CASCIO AND MARGARET CASCIO; DENNIS CASEY AND
DOREEN CASEY; DONALD CASEY AND KRISTI L. CASEY; SCOTT W. CASPER AND
ELIZABETH W. CASPER; RICHARD CASSABRIA; DOMENICO CASSANO, JR. AND
DENISE M. CASANO; MICHAEL CASSIDY; CARLOS CASTANEDA; LOUIS
CASTELLUCCIO AND RANDI CASTELLUCCIO; ALEXIS CASTILLO; BIENVENIDO
CASTILLO AND LUCY E. CASTILLO; MANUEL CASTILLO; PIEDAD CASTILLO AND
CESAR AVILA; ROBERT CASTORENA; FRANCISCO CASTRO AND ADA CASTRO;
HECTOR CASTRO; HERCEN CASTRO AND MARIA CASTRO; JOHN CASTRO; MARIA
CASTRO AND HERCEN CASTRO; REY CASTRO; STEPHEN CASTRO; DANTE CASTRO-
RECIO AND LORI CASTRO-RECIO; FRANK CATANZARO; CHRISTOPHER CATUOGNO
AND ROSA CATUOGNO; THOMAS CAVALLARO; ROBERT CAVALLO; DANIEL
CAVANAGH; MARY CAVANAGH, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
MICHAEL CAVANAGH, AND MARY CAVANAGH INDIVIDUALLY; BRIAN CAVANAUGH,
AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JOHN CAVANAUGH, AND
BRIAN CAVANAUGH INDIVIDUALLY; TERESITA CAYETANO; JOHN CEA AND
CHRSITINE CEA; THOMAS CEA AND KATHLEEN CEA; JORGE CEBALLOS; BENEDICT
CECERE AND SALLY CECERE; FRANKLIN CEDILLO AND ROCIO QUIZHIPI; CAROLYN
CELONA AND WILLIAM J. CELONA; KATHERINE CENNAMO; RAYMOND
CENSOPRANO AND NANETE CENSOPRANO; EVA CENTENO AND CICERO J.
CENTENO; STEVEN CENTORE; MARTY CERVELLIONE AND DOROTHY
CERVELLIONE; WILSON CHACA; NINAN CHACKO AND SARA NINAN; AIDA CHALCO;
JOEL CHALCO; VIELKA CHAMBERS; ANDREW CHAN AND DANA CHAN; CHIU CHAN,
AS PERSONAL REPRESENTATIVE OF THE ESTATE OF YU CHAN, AND CHIU CHAN
INDIVIDUALLY; RICHARD CHANNER; SOYINI CHAN-SHUE AND DUANE CHAN-
SHUE; ANTHONY CHARLES; WALTER CHARTORYNSKY AND ARLENE
CHARTORYNSKY; MARIA CHAUCA; NAVEED CHAUDRY; ANTHONY CHEATHAM AND
CAREN L. BROWN; JUAN CHECO AND MARIBEL GRULLON; PATRICIA CHELSEN, AS
EXECUTRIX OF THE ESTATE OF ROY CHELSEN, AND PATRICIA CHELSEN
INDIVIDUALLY; BIN CHEN; LU BI JIAO, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF DUAN-TENG CHEN, AND LU BI JIAO INDIVIDUALLY; GUAN-CHUN CHEN;
JIAN SHENG CHEN; ZHI GUO CHEN; SCOTT CHERNOFF; ANTHONY CHIANESE;
JOSEPH CHIANESE AND ANTONIA CHIANESE; NICK CHIARELLO AND GERALDINE
C. CHIARELLO; MARK CHIAROLANZA AND KELLI A. CHIAROLANZA; MARIA F.
CHIMBAY; HOWARD CHIN; STANLEY CHIN AND WENDY CHIN; TOMMY CHIN AND
JUDY CHIN; MARIO CHINGA; MARIA I. CHIQUE AND JOSE ROJAS; DOROTHY
CHIUSANO, AS ADMINISTRATRIX OF THE ESTATE OF JAMES CHIUSANO, AND
DOROTHY CHIUSANO INDIVIDUALLY; LEWIS CHIVERTON SR.; JOSEPH CHMURA
AND BETTY JEAN CHMURA; HAN CHOI; STEVEN CHOINSKI AND CONSUELO
CHOINSKI; ANDRZEJ CHOJNOWSKI AND BOZEMA CHOJNOWSKA; ROY CHOPPING;
ROBERT CHRISTENSEN AND ELLEN CHRISTENSEN; THOMAS CHRISTENSEN AND
KRSITINE CHRISTENSEN; SANDOR CHRISTIAN AND JENNIFER CHRISTIAN;
GEORGE CHRISTIANSEN AND COLLEEN CHRISTIANSEN; KENNETH J.
CHRISTIANSEN AND ERIN CHRISTIANSEN; SCOTT CHRISTIE AND KRISTIN
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CHRISTIE; YEN CHU; WILLIAM CHUN AND HEATHER CHUN; BUNDY CHUNG;
RALPH CIAFONE AND NORMA CIAFONE; LEO CIANGIULLI; LAURA CICCOTTO, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF ANTHONY CICCOTTO, AND
LAURA CICCOTTO INDIVIDUALLY; FRANK CICERELLO AND DEBRA CICERELLO;
ALBERT CICERO; CHRIS CIEJKA AND MARIA CIEJKA; VINCENT CILENTI AND GRACIE
CILENTI; ALFONSE CINQUEMANI AND SUZANE CINQUEMANI; ANTHONY CIOPPA;
EMIL CIPRIANO AND BLATHNAID CIPRIANO; LUCIANO CIPRIANO; FRANK CIPULLY
AND LISA M. CIPULLY; LISA CIPULLY AND FRANK P. CIPULLY; JOANNE INGATO, AS
EXECUTRIX OF THE ESTATE OF JAMES CIRCELLO, AND JOANNE INGATO
INDIVIDUALLY; STEVE CIRONE; JOHN CITARA, SR.; ROCCO CITENO AND
ELIZABETH CITENO; MICHAEL CIUFFO AND ROSARIO CIUFFO; PHILIP CIULO;
FRANCINE CIVELLO; KEITH CLAIRE AND MARY CLAIRE; CECILIA CLARET; ALMA J.
CLARK; RICHARD CLARK; BERNADINE CLARKE; DENNIS R. CLARKE AND WENDY
CLARKE; PATRICK CLARKE AND DIANE CLARKE; ROBERT CLARKE; STEVEN CLARKE;
TYRONE CLARKE; ELVIS CLASSEN AND YOLANDA CLASSEN; MARQUEZ CLAXTON;
CHERRI CLAY AND RAWLE FISHER; JOSEPH CLEMENT; ROBERT CLENDENNING;
WARREN CLENDENNY; OTIS CLIFTON; GERARD CLINTON AND ALICIA CLINTON;
MICHAEL COATES AND DEBORAH COATES; SARBELIA COBALLES; JESSICA
COCCODRILLI AND ROBERT COCCODRILLI; ROBERT COCCODRILLI AND JESSICA
COCCODRILLI; WILLIAM COCCODRILLI AND DANIELLE COCCODRILLI; ASDRUBAL
COELLO; KEVIN COENEN AND NADIA COENEN; KEITH COFRESI AND LISA COFRESI;
JASON COHEN; ANTHONY T. COKLEY; LAWRENCE COLEMAN AND PEGGY
COLEMAN; MANSON COLEMAN; MARIELLA COLEMAN AND PRESTON FUCCI;
PATRICK COLEMAN AND LYDIA COLEMAN; HERIBERTO COLLAZO AND DAWN M.
COLLAZO; COLEEN M. COLLELUORI, AS ADMINISTRATRIX OF THE ESTATE OF
JOSEPH COLLELUORI, AND COLEEN M. COLLELUORI INDIVIDUALLY; FRANK R.
COLLETTA AND TERRI COLLETTA; MARIA COLLIER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF TYRONE COLLIER, AND MARIA COLLIER
INDIVIDUALLY; DANIEL COLLINS; JOHN F. COLLINS; TONI COLLINS; WILLIAM
COLLINS AND ELLEN COLLINS; MIKE COLON; RICARDO COLON; LOUIS COLONE
AND GERRIANN COLONE; VIVIANA COLORADO AND LESLIE CARVAJAL; RAY
COLOVIC AND STEPHANIE COLOVIC ; ANTHONY COLUCCI AND TINA COLUCCI;
ROBERT COLWELL AND REGINA COLWELL; ANTHONY COMPITELLO AND LISA
COMPITELLO; DANIEL CONCA; RALPH CONCA AND HEATHER CONCA; ANTHONY
CONCIALDI AND LESLIE CONCIALDI; JOSEPH CONDELLO AND MICHELLE
CONDELLO; DAVID CONELLI AND DIANA CONELLI; JAMES CONLON; SEAN
CONNELLY; MICHAEL CONNOLLY AND ELIZABETH CONNOLLY; THOMAS
CONNOLLY AND CHRISTINE CONNOLLY; JOSEPH CONRAD; FRANCIS CONROY AND
JEANNE CONROY; JOHN CONROY AND PATRICIA CONROY; JOHN CONTE AND LISA
MARIE CONTE; KATHLEEN CONTE; ANTHONY CONTI AND SALLY CONTI; LOUIS
CONTINI AND ADMARIE CONTINI; FERNANDO CONTRERAS AND DRENA
CONTRERAS; DANIEL CONWAY; THOMAS CONWAY AND CHRISTINE CONWAY;
WILLIAM CONWAY AND SUSAN CONWAY; CHUCK CONWELL; SEAN COOK; JOHN
COOMBS AND JACQUELINE D. COOMBS; EDWARD COOPER; KEVIN COOPER AND
ANNE MARIE COOPER; TINA COOPER; WILLIAM COOPER AND DEBRA COOPER;
ANDREW COPERTINO; JERRY COPPOLA AND CAROL-ANN COPPOLA; MICHAEL
COPPOLA AND GINA COPPALA; ROBERT COPPOLA AND HEIDI COPPOLA; JOHN P.
CORBETT, AS ADMINISTRATOR OF THE ESTATE OF JOHN P. CORBETT, AND JOHN
P. CORBETT INDIVIDUALLY; MICHAEL CORBETT AND CHRISTIE CORBETT;
PATRICK F. CORBETT AND MARIT CORBETT; PATRICK CORBETT; JACQUELINE
CORBIN AND PHILLIP CORBIN; DANIEL CORCORAN; LISA CORDERO; NELSON
CORDOVA; GEORGE COREY AND JEANETTE COREY; MATTHEW CORLESS AND
ROSEMARIE CORLESS; DANIEL CORNELIUS AND ADRIANNA CORNELIUS; JOSEPH
CORNETTA; JOSE CORONEL; SONIA CORPES; ELENA CORRALES; HELMAN CORREA,
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AS PARENT OF THE ESTATE OF DANNY CORREA-GUTIERREZ, AND HELMAN
CORREA INDIVIDUALLY; BRIAN CORRIGAN; CARLOS CORTES AND LUCY CORTES;
DAVID CORTES; ZOILA CORTEZ; LIDIA CORTIJO; MICHAEL COSENZA AND MARIA
COSENZA; JASON COSGRIFF AND AMY COSGRIFF; LEONARDO COSTA AND SUSAN
COSTA; ANTHONY COSTALES AND MARYANN COSTALES; RICHARD P. COSTANTE
AND SHARON COSTANTE; MICHAEL COSTANZA AND RACHEL COSTANZA; JOSEPH
COSTANZO AND ALBA COSTANZO; EDWARD COSTELLO AND CAROL COSTELLO;
NANCY COSTELLO, AS ADMINISTRATRIX OF THE ESTATE OF JOSEPH COSTELLO,
AND NANCY COSTELLO INDIVIDUALLY; JOSEPH COSTELLO AND AMARILIS
HERNANDEZ; MICHAEL COSTELLO AND ANNE COSTELLO; RAYMOND COSTELLO;
WILLIAM T. COSTIGAN AND JOCLEYNE COSTIGAN; MITCHELL COTO AND NANCY
COTO; THOMAS COTTER AND ROSE M. COTTER; DAVID COURTIEN AND DARLENE
COURTIEN; MICHAEL COVENY; STEVE COVETSKIE AND JENNY COVETSKIE;
ALVERAZ COWANS AND YOLANDA COWANS; WILLIAM COX AND GERALDINE COX;
SEAN COYLE AND MAUREEN COYLE; TIMOTHY COYLE; ANITA COZZA, AS
ADMINISTRATRIX OF THE ESTATE OF JOHN COZZA, AND ANITA COZZA
INDIVIDUALLY; LUCIUS CRAIG; CHRIS CREEGAN; ANTHONY CREEN; ISRAEL
CRESPO; JOSE CRESPO AND CARMEN CRESPO; RICHARD CRESPO; WALTER
CREVOISERAT JR. AND CATHERINE P. CREVOISERAT; THOMAS CRIST; ANTHONY
CROCE AND JENNIFER J. CROCE; NEAL CROMWELL; DENISE CROSS; EUGENE
CROUTIER; SEAN CROWLEY; EFREN CRUZ; HECTOR CRUZ; HERNAN CRUZ; HULBIO
CRUZ; ROLANDO CRUZ; WILFREDO CRUZ; JULIAN CUADRADO; DAVID CUEVAS;
JOHNNY CUEVAS; GEORGIAN CULCLEASURE AND WILLIAM R. RHODIUS; JOSEPH
CULHANE; ANDREW CULLIMORE AND STEPHANIE CULLIMORE; FRANCISCO
CULMA AND WARTHA CULMA; SALVATORE CUMIA AND LAURA JANE CUMIA;
MICHAEL CUMMINGS AND DENISE CUMMINGS; JAMES CUNNINGHAM AND JOAN
CUNNIGHAM; MICHAEL CUNNINGHAM AND CHRISTINE CUNNINGHAM; TOM
CUNNINGHAM AND DOROTHY CUNNINGHAM; ROBERT W. CUPANI; THOMAS CUPO
AND DIANE CUPO; FRANK CURATOLA; MICHAEL CURATOLA; RALPH CURCIO;
JOSEPH CURDGEL; BRIAN CURRAN AND JANINE CURRAN; EDWARD CURRY AND
MARY CURRY; TIMOTHY CURTIN AND ANMARIE CURTIN; BRIAN CURTIS; SCOTT
D'ABREU AND JOANNE M. D'ABREU; IGNATIUS DAGOSTINO; PHILIP D'AGOSTINO
AND DAWN D'AGOSTINO; KENDRA DAMANTE; MICHAEL DAMATO AND JOSEHINE
DAMATO; FRANK D'AMATO AND CHRISTINE D'AMATO; DOMINIQUE DAMIANO, AS
ADMINISTRATRIX OF THE ESTATE OF DOMENICK DAMIANO, AND DOMINIQUE
DAMIANO INDIVIDUALLY; TIMOTHY DANCY AND MIRNAS RODRIGUEZ; ELIZABETH
A. DANESE; GASPAR DANESE AND PAULA DANESE; RICHARD DANETTI AND GAIL M.
DANETTI; DARRIEL DANEY AND LETISHA R. DANEY; JOSEPH D'ANGELO AND
JANETTE D'ANGELO; MICHAEL D'ANGELO AND ANNE D'ANGELO; BRIAN A.
DANIELS; PETER DANTONIO AND MARIANA DANTONIO; KATHERINE DANZIG AND
JENNIFER HOEPPNER; JOHN DARDIA AND CAROL ANN DARDIA; ROBERT DARIN
AND DUSTY GRACE DARIN; ALEXANDER DARMIENTO AND JESSICA DARMIENTO;
ROBERT DART AND KAREN DART; KENNETH DASH AND JOAN DASH; RAYMOND
D'AUGUSTA; JOHN DAVIDEK; ELAINE A. DAVIDSON, AS EXECUTRIX OF THE ESTATE
OF CATHERINE DAVIDSON, AND ELAINE A. DAVIDSON INDIVIDUALLY; LYNNE
DAVIDSON; LYNN DAVIES; GEORGE DAVINO; CHARLES DAVIS; GWENDOLYN DAVIS;
KENNETH M. DAVIS; MICHAEL DAVIS AND MARGHERITA DAVIS; RODNEY DAVIS
AND JENNIFER DAVIS; RONALD DE ROSA AND MARGARET DEROSA; PETER
DEANGELIS AND DENISE DEANGELIS; MICHAEL DEBLOIS AND MARTINA DEBLOIS;
STANLEY DEBOE; EMMANUEL DEBONO AND MARTHA DEBONO; CHARLES DECARO
AND CHRISSO DECARO; WAYNE DECKER AND CARLA BREEZE; NICK
DECOURCELLES; CARMINE DEFALCO; MICHAEL DEFILIPPIS AND CHERYL
DEFILIPPS; ANTHONY DEJESUS; RICHARD DEJESUS; LOUIS DEL CASTELLO AND
ANNEMARIE DEL CASTELLO; BELKIS DELACRUZ; GLORIA DELACRUZ AND RAMON
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DELACRUZ; DENNIS DELANEY AND SILVIA DELANEY; JOHN DELANEY; MICHAEL
DELANEY; JAMES DELBIANCO; FRANK DELEO; ANTHONY DELGADO AND
KATHLEEN DELGADO; EMILSEN DELGADO; JOSE DELGADO; STEVEN DELGADO
AND BRENDA DELGADO; CARL DELGEORGE AND SUSAN DELGEORGE; BRUCE
DELGIORNO AND TONINA DELGIORNO; VICTOR DELLA CROCE AND LISA DELLA
CROCE; STEPHEN DELLA VOLPE; SALVATORE DELLECAVE AND KIMBERLY
DELLECAVE; KEITH DELMAR AND CHAKA DELMAR; ROBERT DELPRETE AND
KRISTINE S. DELPRETE; STEFANO DELPRETE AND DIANE DELPRETE; GREGORY
LEONE, AS ADMINISTRATOR OF THE ESTATE OF ANN DELUCA, AND GREGORY
LEONE INDIVIDUALLY; GREGORY LEONE, AS EXECUTOR OF THE ESTATE OF
MARIE DELUCA, AND GREGORY LEONE INDIVIDUALLY; JEANETTE DELUCIA;
MARIO DELUCIA AND LOUISE R. DELUCIA; ELIZABETH DELVALLE; SENTORIA
DEMARCO AND ROBERT DEMARCO; MICHAEL DEMARFIO; FRANK DEMARIA;
PATRICK DEMARIA; MARK DEMAURO AND GINA DEMAURO; TODD DEMAYO;
WILLIAM DEMENT AND BARBARA DEMENT; YALKIN DEMIRKAYA AND DEMET
DEMIRKAYA; RAMAZAN DEMIROVIC AND RAMAZAN DEIROVIC; JOSEPH DEMONICO;
THOMAS DEMPSEY AND DAWN DEMPSEY; VINCENT DENARDO AND GEORGEANN
DENARDO; DWAYNE DENT AND MECCA FAUST; JOSEPH DENT AND GERALDINE D.
DENT; DINA DEPASQUALE; RICHARD DEPIETRO AND ROSEMARY DEPIETRO;
CONRAD DEPINTO; CONRAD DEPINTO AND KIM DEPINTO; LEE DEPOIAN AND
JUDITH M. DEPOIAN; CHRISTOPHER DEPRISCO; JAMES DERBY AND CAROLYN
DERBY; JANET DERMODY; GEORGE DESIMONE AND AUDREY DE SIMONE; MARY
DESIMONE, AS ADMINISTRATRIX OF THE ESTATE OF JOSEPH DESIMONE, AND
MARY DESIMONE INDIVIDUALLY; STEVEN DESIMONE AND KRISTA DESIMONE;
LOUIS DESIO AND DONNA DESIO; WILLIAM DESMOND AND JACQUELINE
DESMOND; LEE DESPOSITO; JAMES DESTASIO AND DONNA DESTASIO; JAMES
DESTEFANO AND LISA DESTEFANO; WARREN DETEMPLE AND JOSEPHINE
DETEMPLE; ELENA DETOMA; THOMAS DEUTSCH; PETER DEVECCHIS AND
DARLENE DEVECCHIS; KEITH DEVINE AND BETH DEVINE; WILLIAM DEVINE;
VINCENT DEVITA AND MARGARET DEVITA; NINFA DEVITO, AS ADMINISTRATRIX
OF THE ESTATE OF MICHAEL DEVITO, AND NINFA DEVITO INDIVIDUALLY;
RAYMOND DEVITO AND APRIL DEVITO; KEVIN DEWISE AND LISA DEWISE; DANIEL
DEWITT AND LAUREN DEWITT; STEPHEN DI SCHIAVI AND ANGELA DISCHIAVI;
KEVIN DIAMOND AND LISA DIAMOND; ALBA R. DIAZ; DIEGO DIAZ AND VERONICA
GARCIA; HECTOR DIAZ AND LINDA P. DIAZ; HERMAN DIAZ; JOSEPH DIAZ AND ANNE
DIAZ; JUAN DIAZ; RAMIRO DIAZ AND ZOILA RIERA; WILLIAM DIAZ AND MARCIA M.
DIAZ; WILLIAM DIAZ AND MAYRA M. DIAZ; ROBERTHA DIAZ COTTO AND JOSE L.
COTTO; THERESA DIBBLE; STEPHEN A. DIBIASE; RONALD J. DIEMER AND
CESARINA DIEMER; MICHAEL DIETERICH; JOHN DIFALCO AND NANCY DIFALCO;
RICHARD DIFEDE; DOUGLAS DIGEORGIO; DENNIS DIGGINS AND MARGARET
DIGGINS; STEVEN DIGIARO AND PATRICIA DIGIARO; ANTHONY DIGIOVANNA AND
JOANNA DIGIOVANNA; TRACEYE K. DILLION; THEODORE DIMA AND JENNIFER
DIMA; PATRICK DIMASI; SALVATORE DIMAURO JR. AND EMILIA DIMAURO; KEVIN
DINEEN; PETER DINUZZO AND ANNA DINUZZO; GINO DIPARDO AND ALLISON
DIPARDO; LAURA DIPASQUA; BRUCE DIPIETRO AND SANDRA DIPIETRO;
SALVATORE DISANTO; FRANCIS DISCOLO AND THERESA DISCOLO; VICTOR DISLA
AND ALTAGRACIA DISLA; ALFONSO DISTEFANO AND BARBARA DISTEFANO; JOSEPH
DITTA AND ANGELA M. DITTA; HUGH DIVER AND DONNA DIVER; JOHN DIXON AND
DIANE DIXON; DONNY DLUGOS AND JODI DLUGOS; JAMES DOBBINS AND
JACQUELINE DOBBINS; ZBIGNIEW DOBRONSKI; ROBERT DODENHOFF; JOSEPH
DOHERTY AND MARY BETH DOHERTY; ROBERT DOLAN AND ALLISON DOLAN;
STEVEN DOLAN AND BARBARA JEAN DOLAN; ANTERO DOMINGUEZ AND CARMEN
DOMINGUEZ ; DAVID DOMINGUEZ AND CATHERINE DOMINGUEZ; GINA
DOMINGUEZ; TAILOR DOMINGUEZ AND JUANNA DOMINGUEZ; TIMOTHY
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DONAHUE; ANGELO DONARUMMA; ANTHONY DONATELLI AND MICHELLE
DONATELLI; MICHAEL DONATO AND DONNA M. DONATO; JIA FA DONG; YI-CHEN
DONG; CLAYTON DONNELLEY; EDWARD DONNELLY AND LINDA DONNELLY;
ALLEN DONNELLY, JR.; JOSEPH DOPICO AND MARY E. DOPICO; GEORGE LAMBERT,
AS ADMINISTRATOR OF THE ESTATE OF MANUEL J. D'ORNELLAS, AND GEORGE
LAMBERT INDIVIDUALLY; ROMMELLE DORVIL; HENRY DOSKOCZ AND THERESA
MARY; CLARA DOTA; OSCAR DOTSON; WILLIAM DOTSON AND JOYCE DOTSON;
CHRISTOPHER DOWD AND BARBARA DOWD; EDWARD DOWD AND BETSY DOWD;
JAMES DOWD AND DIANE DOWD; ROBERT DOWER AND DOLORES DOWER;
NORMAN DOWNES AND SHERRAN DOWNES; MICHAEL DOWNEY AND JENNIFER
DOWNEY; RASHINE DOWNS; EDWARD DOYLE; JILL DOYLE; MICHAEL DOYLE AND
MARIE DOYLE; VERONICA DOYLE; DANIEL DRAGO AND BARBARA DRAGO; ROBERT
DREISS AND MARTA DREISS; ROBERT DRISCOLL AND KATHARINE DRISCOLL;
WAYNE WRIGHT, AS ADMINISTRATOR OF THE ESTATE OF MARJORIE DRIVER-
WRIGHT, AND WAYNE WRIGHT INDIVIDUALLY; NICK DROUKAS; ANNA DROZD;
DMITRY DROZDOV; DOMINIK DROZDZ AND EWA DROZDZ; JUANITA DRUMGOLD;
RICHARD A. DUBOIS; BRIAN DUFFEY; KIMBERLY DUFFY, AS ADMINISTRATRIX OF
THE ESTATE OF TIMOTHY DUFFY, AND KIMBERLY DUFFY INDIVIDUALLY;
TIMOTHY DUFFY AND GREGORY OARRATT; KIESHA DUNN; RUSSELL DUNN AND
SHIRLEY DUNN; JOHN DUNNE AND MARY DUNNE; MICHAEL DUNWORTH AND
ROSEMARIE DUNWORTH; JAHIZ DUPASS AND SIAN DUPASS; JOHN DURKIN AND
DOROTHY DURKIN; ANGEL DUTAN; RONALD DUTTON; KEITH DUVAL AND
CHRISTINE DUVAL; JOHN J. DWYER AND EILEEN DWYER; ROBERT DWYER AND
DANIELLA DWYER; JERZY DYBKOWSKI; RON DZIMINSKI; EMIL DZURILLA AND
DAWN P. DZURILLA; DOMINICK EADICICCO; KEVIN EBANKS; ANNA M. ECHEVERRY;
KISHANEA ECHOLS; STEVEN ECKERT AND CARMEN ECKERT; AARON EDELMAN;
DESAREE B. BROWN, AS ADMINISTRATRIX OF THE ESTATE OF TERRANCE
EDMUNDS, AND DESAREE B. BROWN INDIVIDUALLY; PERNIDA EDWARDS, AS
ADMINISTRATRIX OF THE ESTATE OF ALBERT EDWARDS, AND PERNIDA EDWARDS
INDIVIDUALLY; DIANE EDWARDS AND PAUL C. EDWARDS; DONN EDWARDS AND
BARBARA EDWARDS; JUNIOR EDWARDS; TERRENCE EDWARDS AND RHONE
EDWARDS; WILLIAM EDWARDS AND ALLISON EDWARDS; JANET EDWARDS-REYES
AND SEAN REYES; JEFF EFRON AND MILISSA EFRON; JOHN EGAN; ANNETTE
EHMER, AS EXECUTRIX OF THE ESTATE OF ROBERT EHMER, AND ANNETTE
EHMER INDIVIDUALLY; JAMES EIRAND AND DEBORAH EIRAND; STEPHEN
EKIZIAN; CARYN ELDRIDGE; SABER A. ELGENDY; MARGARET ELIA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF ROBERT ELIA, AND MARGARET ELIA
INDIVIDUALLY; ROBERT ELLIOT AND SHARON ELLIOT; ADASSA ELLIS AND
GEORGE ELLIS; ARTHUR W. ELLIS AND PHYLLIS D. ELLIS; EDWIN ELLIS; ROSA ELLIS;
VIRGINIA ELSNER AND RUSSELL ELSNER; JOSEPH ELVEZIO AND MAI T VU ELVESIO;
ROBERT EMANS AND DONNA EMANS; VALENCIA EMANUEL; ANTHONY EMANUELE
AND DEBORAH EMANUELE; ROBERT EMMERICH; MARCO ENCALADA AND BLANCA
ENCALADA; GREGORY ENGEL AND LISA R. ENGEL; BRADLEY ENGLISH AND AIMEE
ENGLISH; JOHN ENGLISH AND MARJANEH ENGLISH; WILLIAM ENGLISH; WILLIAM
ENGLUND; JOHN ENTENMANN AND JEANINE ENTENMANN; JOHN EPISCOPO;
JOSEPH EPPOLITO AND MARY EPPOLITO; APRIL EPPS; ELVIN ERICKSON; OLATUTU
ERINOSHO; ANDRE ESCALERA; PETER ESCALERA; CESAR ESCOBAR; DAVID
ESCORCIA AND KATHERINE ESCORCIA; ROBERT ESPINAL; ALEX ESPINOZA AND
ELSA PUMA; CARLOS R. ESPINOZA; DANIEL A. ESPINOZA; GUSTAVO ESPINOZA;
DENNIS ESPOSITO AND MELISSA ESPOSITO; JOHN ESPOSITO; PETER ESPOSITO;
JEFFREY ESPREO AND HILDA ESPREO; HUGO ESQUIVEL AND MARITZA ESQUIVEL;
VINCENT C. ESTELLA; JOSEPH EVANGELIST AND SUZY EVANGELIST; ANTONY
FABBRI AND SUSAN FABBRI; MICHAEL FABOZZI AND MELINDA THOMAS; JOSEPH
FAELLO; JAY FAGAN AND SANDRA FAGAN; MARTIN FAHY; ROBERT FAIRWEATHER;
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CARLOS FAJARDO; MICHAEL FALCONE AND KATHLEEN FALCONE; CHRIS
FALLETTA; WILLIAM P. FALLON AND LAURA FALLON; STANISLAW FALTYNOWICZ
AND LUCYNA FALTYNOWICZ; EULALIE FALU, AS ADMINISTRATRIX OF THE ESTATE
OF MANUEL FALU, AND EULALIE FALU INDIVIDUALLY; ROSOLINO FANARA; RYAN
FANNING; JODY FARABELLA; VINCENT COLLAZO, AS EXECUTOR OF THE ESTATE
OF HEATHER FARAONE, AND VINCENT COLLAZO INDIVIDUALLY; FRANK
FARFALLA AND RONI LYN FARFALLA; RANDOLPH FARINELLA AND HELEN
FARINELLA; HARRY J. FARRELL AND SHERRY FARRELL; JAMES R. FARRELL AND
HEIDI J. FARRELL; JOHN FARRELL AND FRANCINE FARRELL; JOSEPH FARRELL AND
LISA K. FARRELL; KEVIN FARRELL; ROBERT FARRELL; MELINDA FASANO AND
CHRISTOPHER FASANO; JOHN FASSARI AND ANNEMARIE FASSARI; VINCENT FATTO
AND BARBARA FATTO; ALMOR FAVARO; JOSEPH FAZIO AND ANNA MARIA FAZIO;
NICHOLAS FEDERICO AND MARIA FEDERICO; PETER FEDERMAN AND ANNE
FEDERMAN; STEPHEN FEEKS AND ANNE WALSH-FEEKS; MARTIN T. FEENEY;
MICHAEL FEHSAL AND KARA L. FEHSAL; ANITA FEINSTEIN; WALTER FEIT AND
ANNE FEIT; LEONARD A. FELD AND SUSAN FELD; JOHN FELDMAN AND MICHELLE
G. FELDMAN; FRANK FELICETTI; ALDO FELICIANO AND AMY FELICIANO; DIEGO
FELICIANO AND CARMEN FELICIANO; MARCIAL A. FELIU; MARIA FELIX-MCCRAE;
EDELMIRA FELIZ, AS ADMINISTRATRIX OF THE ESTATE OF DELIO A. FELIZ, AND
EDELMIRA FELIZ INDIVIDUALLY; NELSON FELIZ AND ANTOINET FELIZ; LOUIS
FEMIA AND DOREEN FEMIA; RUTH FENNER AND ROBERT FENNER; DAPHNE
FERGUSON; JOSE FERMIN AND SEAMON FERMIN; MANUEL FERNANDES AND ROSA
FERNANDES; JACQUELINE K. FERNANDEZ, AS ADMINISTRATRIX OF THE ESTATE
OF CRUZ A. FERNANDEZ, AND JACQUELINE K. FERNANDEZ INDIVIDUALLY;
HECTOR FERNANDEZ AND CARMEN FERNANDEZ; JEFFREY FERNANDEZ; LUIS
FERNANDEZ AND MARITZA FERNANDEZ; VITO FERNICOLA AND PAULA
FERNICOLA; DOMINIC FERRARO AND BARBARA FERRARO; ROSA M. FERRARO, AS
EXECUTRIX OF THE ESTATE OF EDWARD M. FERRARO, AND ROSA M. FERRARO
INDIVIDUALLY; KENNETH FERRARO AND CAROL FERRARO; NICHOLAS FERRARO
AND GIA MARIA FERRARO; LUCIE FERRELL; JOSEPH FERRIOLO; ANDREW FESLER
AND DEBORAH FESLER; PIOTR FIEDZIUKIEWICZ AND MARIA FIEDZIUKIEWICZ;
LAWRENCE FIELDS AND VALERIE FIELDS; SHURITA FIELDS; LEE FIERRO AND
RENATA FIERRO; NICHOLAS FIGARO AND JANE FIGANO; ALBERTO FIGUEREO AND
MYRNA FIGUEREO MUNIZ; ESAU FIGUEROA AND ZULEIKA FIGUEROA; LUZ
FIGUEROA; JOHN FILLISETTI AND THERESA FILLISETTI; JOHN FINLAY AND DEBRA
FINLAY; THOMAS FINNEGAN AND LISA FINNEGAN; JENNIFER FINNERTY AND
GERALD MORGAN PETRI; TOM FINNERTY AND JILL FINNERTY; GEORGE FINNIE
AND LISA FINNIE; WILLIAM FINNIE AND JANINE FINNIE; VINCENT FIORE AND
EILEEN M. FIORE; JOHN FIORELLA; WILLIAM FISCHER AND CYNTHIA FISCHER;
CARL FISHER; BRIAN FITZGERALD AND PATRICIA FITGERALD; THOMAS
FITZGERALD AND MARYANN FITZGERALD; ARTHUR FITZPATRICK; KEVIN
FITZPATRICK AND NANCY G. FITZPATRICK; PATRICIA FITZPATRICK; RICHARD
FLAHERTY AND LAURA FLAHERTY; JASON FLAITZ; EWA M. FLAKIEWICZ, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF DARIUSZ FLAKIEWICZ, AND EWA
M. FLAKIEWICZ INDIVIDUALLY; ANTHONY FLAMMIA AND WENDY FLAMMIA; JAMES
FLANAGAN; KEVIN FLANAGAN AND HELEN FLANAGAN; THOMAS FLANNERY AND
MARY FLANNERY; JAMES FLEMING; ERIC FLOOD; RONALD FLOOD AND
JACQUELINE FLOOD; FAYE R. FLOYD; JAMES FLYNN; LARRY FLYNN AND PATRICIA
FLYNN; THOMAS FLYNN AND LYNN M. FLINN; TIMOTHY J. FLYNN; FELICIA FOGLE;
DONALD FOLEY AND KELLY ANN FOLEY; PATRICIA FOLEY AND DANIEL J. SLADEK;
BRENDA FOLK-KIRKLAND, AS EXECUTRIX OF THE ESTATE OF STANLEY FOLK, AND
BRENDA FOLK-KIRKLAND INDIVIDUALLY; BRETT FONTANA; MICKEY FONTANEZ
AND MARTIZIA FONTANEZ; VICTOR FONTANEZ; RONALD FONTE AND THERESA
FONTE; COURTNEY FORBES AND CARYN FORBES; ERIC FORBES AND SHERRY
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FORBES; JEFFREY FORD AND KRISTA FORD; GEORGE FORIS AND DOROTHY FORIS;
VINCENT FORRAS AND MONICA FORRAS; DOUGLAS FORSYTH AND DOLORES
FORSYTH; GEORGE FORTALEZA AND JANETTE FORTALEZA; MARY FOSS, AS
ADMINISTRATRIX OF THE ESTATE OF BRUCE FOSS, AND MARY FOSS INDIVIDUALLY;
ALVIN FOSTER; PRUDENCE FOSTER; SCOTT FOWLER AND MARIA FOWLER;
SHATONN FOWLER; JAMES FOX; PATRICIA FOX; KORIN FOX-TAITT; ISMAEL FRADE
AND LUZ E. FRADE; CHARLES FRANCIS AND MARY FRANCIS; CLELAND FRANCIS;
DANIEL FRANCIS AND VINCENZA FRANCIS; ORVILLE FRANCIS; FRANK FRANCISCO
AND JOCELYN FRANCISCO; VLADIMIR FRANCISCO; DAMARYS FRANCO AND
RICARDO FRANCO; JOSEPH FRANCO AND MARIA FRANCO; PATRICK FRANCO;
RICHARD FRANCO AND MARY FRANCO; STEVEN FRANGE AND LORRAINE FRANGE;
DENNIS FRANK AND MILAGRO FRANK; ROBERT FRANK AND ANNAMARIE FRANK;
THOMAS FRANKLIN AND LAKISHA FRANKLIN; WILLIE FRANKLIN, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF WILLIE FRANKLIN, JR., AND WILLIE
FRANKLIN INDIVIDUALLY; ANTHONY FRANZOLIN; LARRY FRASCELLA AND
ROSALIE FRASCELLA; KEVIN FRASER AND PATRICIA L. DANKO; BETZAYDA
FRATICELLI; PAUL FRAWLEY AND ELIZABETH FRAWLEY; DARRYL FRAZIER AND
DIANE FRAZIER; GLORIA FRAZIER; LEON FREDERICK AND YVETTE FREDERICK;
FLAVIO FREIRE; GARY FREITAG AND ROSEMARY FREITAG; JOHN FREUDENBERG
AND JENNIFER FREUDENBERG; WALTER FREY; JOHN FREZZA AND SARAH A.
FREZZA; HENRY FRIEDMAN AND SAMANTHA FRIEDMAN; JACK FRIEDMAN AND
JOAN FRIEDMAN; JEROME FRIEDMAN; SCOTT FRONTERA AND TRISHA FRONTERA;
YVONNE FROSSEARD, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
VIRGINA FROSSEARD, AND YVONNE FROSSEARD INDIVIDUALLY; JOHN FRUCCI III;
EDWARD FUDGE; ALLEN FUDGER AND LYNDA FUDGER; BOBBY FUENTES; MANUEL
FUERTES AND MARTHA FUERTES; JAMES FULLAM AND KATHLEEN FULLAM;
MARTIN FULLAM AND PATRICIA FULLAM; WILLIAM FULLAM AND ROSE FULLAM;
STEPHEN FULLER AND LUPE N. FULLER; KENNETH FUNG; MARK FURIA; DAVID
FURMAN; JAMES FUSCO; ROBERT GABELMAN AND DIANE GABELMAN; JORGE
GABINO AND MIRIAM GABINO; BRIAN GABRIELSEN; STEPHEN GADRY; ERNEST
GADSDEN AND BETTY GADSDEN; SANDRA GADSDEN; GAIL GADSON; LINDA
GADSON; LOUIS GAGLIARDI AND ELENA GAGLIARDI; CHRISTOPHER GAHN AND
DOREEN GAHN; ENA GAILLARD; DIAMAS GALAES ; JUAN A. GALARCE; DONALD
GALEOTO AND DIANA GALEOTO; JACQUELINE BOURNE, AS PRELIMINARY
EXECUTRIX OF THE ESTATE OF BARRY GALFANO, AND JACQUELINE BOURNE
INDIVIDUALLY; CRUZ GALIANO AND NANCY GALIANO; ROBERT GALINDO AND
LIBBY GALINDO; BRIAN GALLAGHER AND STEPHANIE GALLAGHER; CHRISTOPHER
GALLAGHER AND PATRICIA GALLAGHER; DENNIS GALLAGHER; PATRICK
GALLAGHER AND JENNIFER GALLAGHER; SEAN GALLAGHER AND MARIO
GALLAGHER; THOMAS P. GALLAGHER; CARMEN GALLEGO; REBECA GALLEGOS;
MARK GALLI; MICHAEL GALLINO AND AMY BOWERS-GALLINO; ANTHONY GALLO
AND AUDREY GALLO; EUGENE GALLO AND KAREN J. GALLO; MICHAEL GALLO AND
ANGELA GALLO; ROBERT GALLO AND DELTA GALLO; WILLIAM GALLO AND
CATHERINE GALLO; LOUIS GALLOTTA, JR. AND DEBORAH GALLOTTA;
CHRISTOPHER GALLUSCIO AND REGINA A. GALLUSCIO; ROBERT GALVANI AND
DIANE GALVANI; JOHN GALVIN; EDGAR O. GALVIS; ROSA GANDIA; JAMES GANNON;
JEFFREY GANTT AND ELONDIA GANTT; JIA HAO GAO; PETER GARABEDIAN; JESUS
GARCES AND ELVIRA GARCES; EDUARDO GARCIA AND HELEN M. GARCIA; FELIX
GARCIA AND MARTHA GARCIA; FERNANDO GARCIA; FRANKLIN GARCIA; FREDDY
GARCIA AND MONICA GARCIA; FREDY GARCIA AND CARMEN GARCIA; HERMAN
GARCIA AND HILDA GARCIA; ISABEL GARCIA; JEFFREY GARCIA AND SYLVIA GARCIA;
JOSE GARCIA; JOSE GARCIA AND SILVERIA GARCIA; JOSEPH GARCIA; JUAN GARCIA
AND AMPAZO GARCIA; JUANITA GARCIA; LIZETH GARCIA; LOUIS GARCIA AND
MARCY GARCIA; LUIS GARCIA AND HILDA GARCIA; MARCY GARCIA AND LOUIS
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GARCIA; ORLANDO GARCIA AND ELIZABETH GARCIA; SIXTA T. GARCIA; VIVIANA
GARCIA; LUIS GARCIA-ORTIZ; ANTONIO GARGUREVICH; EDWARD GARMENDIZ;
CHRISTOPHER GAROFALO; EMANUEL GAROFALO AND BARBARA GAROFALO;
JOSEPH GARONE AND ANNE-MARIE GARONE; MATTHEW GARREN; MICHAEL
GARREN AND JACQUELINE GARREN; RAMY GARRIDO; LAURA GARRIS; ROBERT
GARRITY AND ALEXANDRIA GARRITY; PAUL GARSIDE AND SUSAN F. GARSIDE;
PETER GASPAR; ROBERT GATES AND SUZANNE GATES; GWENDA GATLING;
INMACULADA M. GATTAS AND LUIS F. VINCENTY; LUIS GAUD AND CARMEN GAUD;
GERARD GAUSMAN AND JEANNE GAUSMAN; JAMES GAWEL AND ELIZABETH
GAWEL; MARGARET M. GAWLEY AND JOHN GAWLEY; ROBERT M. GAYDOS AND
DOROTHY GAYDOS; ROBERT GAYER AND DIANE L. GAYER; HOWARD GAYLE AND
GENEVEIVE GAYLE; CHRIS GEANEY; DEBORAH GEAR; VERNON GEBERTH AND
TERESA GEBERTH; JUDE GEBHART; THOMAS GEE; RICHARD GEIB AND MARYANN
GEIB; JODI GEISLER AND DANIEL GEISLER; PAUL GEMBS AND TERESA GEMBS;
VINCENT GENNARO; ANGELO GENOVA AND DOROTHY GENOVA; MICHAEL
GENTILE AND LUCILLE GENTILE; JAMES GEOGHAN; GARY GEORGE AND MARIA
GEORGE; STEVEN GEORGE; ARISTIDES GEORGELIS; GEORGE GEORGIADIS AND
FRANCES ZIZILA; MICHAEL GERARDI; ROBERT GERSTEL; KEVIN GERULDSEN AND
MARGARET GERULDSON; ROBERT GESKIE AND VALERIE GESKIE; JUDY GHANY-
BAROUNIS AND STEPHEN BAROUNIS; JAMES GIAGUZZI AND HILARY GIAGUZZI;
ROBERT GIALLANZO AND JOANN GIALLANZO; SAMUEL T. GIAMO AND ROSEMARY
GIAMO; SEBASTIANO GIANGREGORIO AND LISA GIANGREGORIO; GARRY
GIANNANDREA; FRANK GIARAMITA; SALVATORE GIARDINA AND MELISSA
GIARDINA; GARY GIARRAPUTO AND GASPER GIARRAPUTO; BRUCE GIARRATANO
AND IRENE GIARRATANO; FREDERICK GIBAU; PATRICK GIBLIN AND MAYA D.
GIBLIN; MICHAEL GIBSON; VANESSA GIBSON-ELSKOE; BERNARD R. GIFFORD AND
SHERYL GIFFORD; MARGARITA GIL; RANDOLPH GIL; ROCENDO GIL AND GISELLE S.
SALGUERO-GIL; HORACE GILKES; PATRICK J. GILL; THOMAS E. GILLEN AND
ROSALIE GILLEN; CHARLES GILLIAM AND NICOLE GILLIAM; ROBERT GILLIAM AND
ANTOINETTE GILLIAM; STEPHEN GILLIAM AND DESIREE GILLIAM; HAROLD
GILLINGHAM AND EVELYN GILLINGHAM; BRIAN GILMARTIN AND IRENE NAGLE;
ROBERT GILMORE AND LOURDES GILMORE; ANDREW GILSENAN AND MARIE
GILSENAN; DENNIS GIMBLET AND SUZANNE GIMBLET; JOHN GIORDANO, SR. AND
LYNORA GIORDANO; FRANK M. GIOVINAZZO; GERARDO GIRALDO; OLGA GIRALDO;
GREGORY GIRAUD; PAUL GITLIN; RANDY GIUDICE AND LAURA GIUDICE; JOHN
GIUFFRE AND LISA GIUFFRE; ROBERT GIUGLIANOTTI AND JANET GIUGLIANOTTI;
JOHN GIUNTA AND COLLEEN GIUNTA; BRIAN GLACKEN AND DANIELLE GLACKEN;
JOHN GLANCY AND SUSAN GLANCY; ROBERT GLANCY JR; MICHAEL GLASER AND
CAROLYN GLASER; YURY GNIP; EUGENE GODWIN; JULIAN GOFF AND YOLANDA
GOFF; ERNESTINE GOLDEN; JOAN GOLDEN; PHILIP GOLDING; LILI KOCHARIAN, AS
EXECUTRIX OF THE ESTATE OF GUY GOLDMEER, AND LILI KOCHARIAN
INDIVIDUALLY; ROBERT GOLINI AND MICHELLE GOLINI; JOSE GOMEZ AND
ESPERANZA V. PELAEZ; MANNY GOMEZ; MANUEL C. GOMEZ; MOISES GOMEZ AND
WENDI GOMEZ; NEFTALI GOMEZ; OSMON GOMEZ AND SUYUPA GOMEZ; CHARLES
GONCE AND MELISSA VALENTIN; KATHLEEN GONCZI; ROBERT GONFIANTINI AND
LISA GONFIANTINI; PAOLA GONZALEZ, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF ADAN GONZALEZ, AND PAOLA GONZALEZ INDIVIDUALLY; ALEXANDER
GONZALEZ; ANGEL GONZALEZ AND RHONDA GONZALEZ; ANTHONY GONZALEZ
AND JANET GONZALEZ; ANTONIO GONZALEZ AND ZORAIDA GONZALEZ;
BENJAMIN GONZALEZ; ENRIQUE GONZALEZ; GABRIEL GONZALEZ; JUAN
GONZALEZ AND GLADYS GONZALEZ; JUVANDY GONZALEZ; WILFREDO GONZALEZ;
FRANK GOODMAN; STEVEN GOODSTEIN AND CARMEN NICOLAOO; AUBREY
GOODWILL; RICHARD GORBEA; RONALD GORDON; SAMUEL GORDON AND ADELE
R. GORDON; CHRISTOPHER GORMAN; GERARD GORMAN AND JANET GORMAN;
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JAMES GORMLEY AND STEPHANIE GROMLEY; JAMES GORTON; ROLAND GORTON;
BENJAMIN GOTTLIEB; FREDDIE GOYTIA; GIACOMO GRACEFFO; MARITZA I. GRACIA;
THELMA GRAHAM; JEFFREY GRAHN; CATALINA GRANADOS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF RAFAEL GRANADOS, AND CATALINA
GRANADOS INDIVIDUALLY; PATRICIA GRANDE; ARNOLD GRANT AND JANICE T.
GRANT; BRANDON GRANT; THOMAS GRANT AND ROCHELLE GRANT; DIANE
GRASSO, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF RICHARD GRASSO,
AND DIANE GRASSO INDIVIDUALLY; DANIEL GRAVIUS AND DIANNE GRAVIUS;
FRANKLIN GRAY; MICHAEL GRAYSON; MICHAEL GRAZIA AND CHRISTINE L.
GRAZIA; GUS GRAZIANO; MARIA GRAZIANO AND ANTHONY J. JAMES; CATHERINE
GRECO AND DONALD GRECO; CHRISTOPHER GREEFF; DELROY A. GREEN AND
JOSEPHINE GREEN; ANNIE GREENE; MICHAEL GREENE; SCOTT GREENE; AARON
GREENSTEIN AND BARBARA SUE GREENSTEIN; VINCENT GREGO AND BARBARA
GREGO; JOSEPH GREGORIO AND DONNA M. GREGORIO; ROBERT GRELL AND
MICHELE A. GRELL; JOHN GREMSE AND KATHRYN GREMSE; DENNIS GRIFFIN;
FRANCIS GRIFFIN AND GINA GRIFFIN; JAMES GRIFFIN AND JENNIFER GRIFFIN;
GLADSTONE GRIFFITH III AND LINDA D. GRIFFITH; JOSEPH GRIGAS AND LISA
GRIGAS; RIGO GRIGGS AND TINAMARIE GRIGGS; ANTHONY GRILLO AND JEANETTE
GRILLO; PHILIP GRIMALDI AND MILLIE GRIMALDI; GARY GRISOLIA AND JOANN
GRISOLIA; JOHN GROELLY; CHRISTOPHER GROGAN AND BETH GROGAN; ROBERT
GROGAN AND MARGARET GROGAN; THOMAS GROGAN; DAVID GROSSBARD AND
ANN GROSSBARD; ISAIAS GRULLON; ANTHONY GUADAGNO; LUIS GUALLPA ; ROSA
GUALPA; FRANK GUARIGLIA AND DEBRA GUARIGLIA; MICHAEL GUARINO; VICTOR
GUARQUILA; JOSE GUARTAMBEL AND MERCEDES GUARTAMBEL; VINCENT
GUASTAMACCHIA; ANTONIO GUERRERO; LISA GUERRIERO; JEFFREY GUETTA AND
JOANN GUETTA; JULIO V. GUEVARA AND ESTHER W. GUEVARA; BART GUGEL AND
MICHELLE L. GUGEL; MICHAEL GUGLIELMO AND PHILOMENI GUGLIELMO;
LAWRENCE GUIDICE; PHILIP GUIDO AND CONSTANCE SHEAHAN; DEAN GUIDUCCI
AND CANDACE GUIDIUCCI; CESAR GUIRACOCHA; STEVEN GUISE AND ROBERTA
GUISE; TIFFANY GULLA; FRANK GULLO AND GABRIELLA GULLO; RICHARD GULLO
AND DONNA- MARIE GULLO; CAI ER GUO; ANDREW GUSTER AND ANETTE GUSTER;
ANTHONY GUSUMANO; DAVID GUSZICK; WILLIAM GUTCH AND RACHEL T. GUTCH;
GREG GUTHRIE; MICHAEL GUTMANN; SEGUNDO GUZMAN AND MARIA L. GOMEZ-
GUZMAN; CSILLA GYURIS, AS ADMINISTRATRIX OF THE ESTATE OF LOUIS GYURIS,
AND CSILLA GYURIS INDIVIDUALLY; DONALD HABERSAAT AND SANDRA
HABERSAAT; LISA HACK, AS ADMINISTRATRIX OF THE ESTATE OF WAYNE HACK,
AND LISA HACK INDIVIDUALLY; JOSEPH HADDOCK AND ZENOBIA HADDOCK; PAUL
HADINGER AND JUDY HADINGER; CYNTHIA HADLEY-BAILEY ; CHRISTOPHER
HAGGERTY AND NANCY HAGGERTY; JAMES C. HAGNER AND NICOLE HAGNER;
ROBERT HAKIUS AND CYNTHIA HAKIUS; HAYWOOD HALL AND SHARON L. HALL;
MARVA HALL; ROBERT K. HALL AND TARAM M. HALL; RICHARD HALLQUIST AND
KELLY A. HALLQUIST; TONIA HALL-WILSON; LESLIE HALPER; KEVIN HALPIN AND
ROSE A. HALPIN; DARIN HAMILTON; JULIAN HAMPDEN; BRIAN HANBERRY AND
EVELYN HANBERRY; JEFF HANER AND ANN HANER; STEVEN HANEY; JOHN
HANSEN AND LUCIANA HANSEN; MICHAEL R. HANSON AND KIMBERLY HANSON;
SUSAN MULRANEY, AS EXECUTRIX OF THE ESTATE OF ROBERT HANSON, AND
SUSAN MULRANEY INDIVIDUALLY; ROBERT HARDIN AND MICHELE HARDIN;
ARNOLD HARDMAN AND SHARON T. HARDMAN; DEBRA HARDWICK; MITCHELL
HARDY, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ANTHONY HARDY,
AND MITCHELL HARDY INDIVIDUALLY; LESLIE HARDY; WILLIAM HARE AND
CAROLYN E. HARE; PAUL HARGROVE AND MARILYN A. HARGROVE; BRYAN
HARKINS AND THERESA HARKINS; DARREN C. HARKINS AND KAYLENE HARKINS;
JOHN HARKINS; PHILIP HARMON; THOMAS HARMON; JEREMIAH HARNEY AND
ELIZABETH HARNEY; ELLIS HAROLDSON AND GINA M. HAROLDSON; AARON HARP;
     Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 17 of 133
MICHAEL J. HARRINGTON AND JILL HARRINGTON; ALONZO HARRIS; GREGORY
HARRIS AND YVONNE HARRIS; MAURICE HARRIS; VIRGINIA HARRIS; ROY
HARRISON; THOMAS HART AND LOIS A. HART; JAMES HARTEN AND ANN HARTEN;
MARTIN HARTLEY; MICHAEL HARTNETT; PETER HARTNETT; LAWRENCE HARVEY
AND PATRICIA HARVEY; WILLIAM HARVEY; RONALD HARWOOD; KHALED HASSAN;
MICHAEL HATZIMIHALIS; RUDOLPH HAVELKA AND PATRICIA A. HAVELKA; RANDY
HAWES AND ANDRENA M. HAWES; JANICE HAWKINS; JEFFREY HAYDUK; DARRYL
HAYES AND ROXANN HAYES; JOSEPH HAYES AND MARIA HAYES; MICHAEL J. HAYES;
MICHAEL HAYES AND SUZANNE HAYES; DONALD HAYNES AND NADINE HAYNES;
LEROY HAYNES; MICHAEL HAYNES AND MARJORIE HAYNES; DWAYNE HAZEL AND
HELENA HAZEL; LI HE; GAVIN HEADLEY; LLOYD HEADLEY AND PATRICIA
HEADLEY; DENNIS HEALY; JAMES HEAPHY; GARY HEARN AND PAMOLA HEARN;
DENNIS HEARNS AND MICHELE HEARNS; MARC HECHT, JR.; JAMES HEGARTY;
JOHN HEIDRICH AND HELGA HOLM-ANDERSEN; JOHN HEIHS AND KIM ANN
HEIHS; BRUCE HEILWEIL; ANTHONY HEINLEIN; JOHN HEINTZ AND MARTHA
HEINTZ; DANIEL HEINZ AND LINDA HEINZ; TRACY HELLER; RICHARD HENNESSY;
DANIEL HENRY AND ANTONIETTA HENG; FITZ HENRY; MICHAEL HENRY; WENDY
HENRY; WILLIAM HENRY AND JANINE HENRY; ANDREW HERBERT AND RHONDA
J. HERBERT; THOMAS HERING AND ARDATH FRANCES HERING; ANTONIO
HERNANDEZ AND SHARON HERNANDEZ; DARRYL HERNANDEZ AND SANDRA
HERNANDEZ; FRANK HERNANDEZ AND MABLE DAVIS; ISAAC HERNANDEZ;
JERSON HERNANDEZ; JUDITH HERNANDEZ; HAYDEE HERNANDEZ, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF LUIS A. HERNANDEZ, AND HAYDEE
HERNANDEZ INDIVIDUALLY; PETER HERNANDEZ AND ANA E. HERNANDEZ;
ROSARIO HERNANDEZ; TERCIDA HERNANDEZ; MIGUEL A. HERNANDEZ-ALTUZ
AND IRIS B. HERNANDEZ; MICHAEL HEROLD AND DOREEN HEROLD; ROBERT
HEROLD; DOROTHY HERRMANN, AS ADMINISTRATRIX OF THE ESTATE OF ALICK
HERRMANN, AND DOROTHY HERRMANN INDIVIDUALLY; JOSEPH HERZOG;
THOMAS HESS AND DEIRDRE HESS; CHRISTOPHER HETMAN AND LAUREN
HETMAN; ETHAN A. HEWITT; ANDREW HICKEY; FRANCIS HICKEY AND THERESA
HICKEY; KEVIN HICKEY; CHRISTOPHER HICKS AND JENNIFER HICKS; ROSA
HIDALGO-ALVAREZ AND WIGBERTO ALVAREZ; MAURICE HIGGINSON; REGINALD
HILAIRE AND MARISEL HILAIRE; CALVIN HILL; JUANITA HILL; WILLIAM HILLER
AND PAMELA HILLER; JONATHAN HILTON AND DENISE HILTON; MICHAEL
HINCHY AND MARYANNE HINCHY; JOSE HINOJOSA; WILLIAM HNATIO AND
REGINA HNATIO; JOSEPH HOEK AND ANN MARIE; WILLIAM HOERMANN AND
LINDA HOERMANN; DAVID HOEY AND STACEY HOEY; HOWARD HOFFMAN AND
ALBA HOFFMAN; JOHN HOFFMAN; JUSTIN HOFFMAN AND JENNIFER HOFFMAN;
JOHN HOFFMANN, JR. AND NICOLE P. HOFFMANN; LAWRENCE HOFLER AND
GERALDINE HOFLER; TIMOTHY HOGAN AND ROXANN HOGAN; GEORGE
HOHENBERGER AND CECILIA G. HOHENBERGER; MICHELLE HOLFESTER, AS
EXECUTRIX OF THE ESTATE OF WILLIAM HOLFESTER, AND MICHELLE
HOLFESTER INDIVIDUALLY; JAMES HOLLAND; STANLEY HOLMAN; JAMES HOLMES;
KARL HOLMSTROM; JOHN HOLOVKA AND JANETTE HOLOVKA; JEFFREY HONG AND
SOYANG HONG; DENNIS HONOR AND LAURA M. HONOR; DEXTER HONORA AND
VICTORIA HONORA; SUSAN HOOVER; IRIS HERNANDEZ-HOPKINS, AS
ADMINISTRATRIX OF THE ESTATE OF NATHANIEL HOPKINS, AND IRIS
HERNANDEZ-HOPKINS INDIVIDUALLY; MARK HOPPE AND BERNADETTE HOPPE;
RONALD HORN AND DAWN HORN; CHRIS HORNIG; ADEM HOT AND HAKA HOT;
MIRANDELLE HOUANCHE; STEVEN HOURIGAN; ELLIOT HOUSTON; RICHARD
HOVELL AND BEVERLY HOVELL; JONATHAN HOWARD, AS ADMINISTRATOR OF
THE ESTATE OF JAMES HOWARD, AND JONATHAN HOWARD INDIVIDUALLY;
RONALD HOWARD AND JOHNNIE M. HOWARD; ROBERT HOWLETT AND VICTORIA
HOWLETT; ANNE HOWLEY-DIVERS AND DANIEL DIVERS; AI YING HUANG; CHAO-
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XIA HUANG; JIN XING YOU, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
LANYING HUANG, AND JIN XING YOU INDIVIDUALLY; CYNTHIA HUBBARD, AS
ADMINISTRATRIX OF THE ESTATE OF JAMES HUBBARD, AND CYNTHIA HUBBARD
INDIVIDUALLY; CHRISTOPHER HUBER; SAMUEL HUBERT; WALDEMAR HUBKA;
MIRNA HUBSCHMITT, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
RICHARD HUBSCHMITT, AND MIRNA HUBSCHMITT INDIVIDUALLY; RONALD
HUCKEMEYER; JOHN HUDAK; RICHARD HUDAK AND CAROLE B. HUDAK; DONALD
HUDSON AND LUCINDA HUDSON; CHARMEL L. HUDSON, AS ADMINISTRATRIX OF
THE ESTATE OF JEFFREY HUDSON, AND CHARMEL L. HUDSON INDIVIDUALLY;
MICHAEL HUDZIK, AS ADMINISTRATOR OF THE ESTATE OF JOHN E. HUDZIK, AND
MICHAEL HUDZIK INDIVIDUALLY; KEVIN HUGHES AND ALLISON HUGHES;
RACHEL HUGHES; TONEY HUGHES AND CARLYN HUGHES; KEVIN HUI; CECILIA
HUKE-FOSS; KEITH HULSE AND PATRICIA HULSE; PETER HUNCE; LUCIUS HUNTE;
KURT HUNTER AND SUSAN HUNTER; HELEN HUNTLEY; JOHN HURD AND SALLY J.
HURD; WILLIAM HURTADO; DON HUTCHINSON AND DEBRA HUTCHINSON;
CARLTON HYLTON AND PETRONIA HYLTON; CHRISTOPHER HYNES AND LESLEY
J. HYNES; SALVINA IABONI, AS EXECUTRIX OF THE ESTATE OF ROBERT IABONI,
AND SALVINA IABONI INDIVIDUALLY; ROBERT IABONI AND GINA IABONI; LUCILLE
IACOBELLI; ROBERT IACOBELLI; MARK IGLESIA AND LUCIA IGLESIA; ANTHONY
IGNERI AND KATHLEEN IGNERI; RICHARD IGNIZIO; GEORGE ILLIANO AND KARA
ILLIANO; THOMAS IMBORNONI AND MARY IMBORNONI; ANN IMPELLIZINE, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF JAMES IMPELLIZINE, AND ANN
IMPELLIZINE INDIVIDUALLY; MICHAEL INCONTRERA AND STEPHANIE
INCONTRERA; ANDREW INFANTE; JORGE INGA; FRANK INGOGLIA AND KATHRYN
INGOGLIA; MARIO INGORDO; JAMES INGRAM AND DORTHY SMITH INGRAM;
DANIEL INMAN; THOMAS INMAN AND DIANE INMAN; ROBERT INTARTAGLIO, SR.
AND CHRISTINA SCACCIA; ANNMARIE INTORCIA; ECUADOR INTRIAGO; PAUL
IOVENO AND TONI IOVENO; ODANEL IRIAS AND OLGA IRIAS; JOHN IRIZARRY AND
SANDRA IRIZARRY; EDWARD IRVING AND EILEEN T. IRVING; CHARLES IRWIN AND
MARGURET SHUM; SAMUEL IRWIN AND ANNEMARIE IRWIN; CANDICE ISAAC, AS
ADMINISTRATRIX OF THE ESTATE OF JACQUELINE ISAAC, AND CANDICE ISAAC
INDIVIDUALLY; BRIAN ISAACS; DAVID ISAKSSON; JUDY ISOLDA, AS ADMINISTRATRIX
OF THE ESTATE OF LOUIS ISOLDA, AND JUDY ISOLDA INDIVIDUALLY; PETER
IVANAC; JOSEPH IVANICKI AND WENDY IVANICKI; LORRAINE IWAN; ALEXANDER H.
JACK AND LINDA JACK; EDMUND JACKSON AND DIANE JACKSON; EUGENE JACKSON
AND GIASSEMI JACKSON; GREGORY JACKSON; KEVIN JACKSON AND ANGELIQUE
JACKSON; WILLARD JACKSON; CHERIAN JACOB AND ALAMMA JACOB; KEITH JACOB
AND ANDRIA JACOB; CHRISTOPHER JACOBELLIS AND TINA M. JACOBELLIS;
GEORGE JACOBI AND DARLENE JACOBI; MICHAEL JACOBS AND JOAN JACOBS;
VANESSA JACOBS AND ALEXANDER COLEMAN; WANDA JACOBSEN AND KEVIN
JACOBSEN; STANLEY JACOBSON; PAUL JAEGER AND CAROLYN JAEGER; JULIO JALIL
AND CHARINIL JALIL; CHRISTOPHER JAMES; LESLIE JAMES AND DEOKIE JAMES;
RELTON JAMES AND ELEKTRA LOWNDES-JAMES; PATRICIA JAMIESON; WAYNE
JANDURA; MARINA JARA; MANUEL JARAMILLO AND ANA DURAN; ANTHONY
JARNICH AND JANINA JARNICH; HARVEY JARRATT; ROGERIO JARRIN AND HAYDEE
JARRIN; AMBER JARVIS; DANIEL JASINSKI; JAGDESHWAR JASKARAN AND CAMILLA
JASKARAN; ZBIGNIEW JASSA; LAWRENCE JASZCAR AND MARY JASZCAR; ROBERT
JATA AND LORI ANN JATA; BRENDA JENKINS; CHRISTOPHER JENKINS; KENNETH
JENKINS; DAVID JENSEN; WALTER JENSEN AND LINDA ANN JENSEN; MICHAEL
JERMYN AND ANNETTE JERMYN; ALBERTO JIMENEZ AND MARTHA Y. SILVA;
CARLOS JIMENEZ AND KYONGSOOK JIMENEZ; LUIS E. JIMENEZ; MANUEL JIMENEZ;
ROBERTO JIMENEZ; TEDDY JIMENEZ; DANIEL JOHANNESSEN; ALAN JOHNSON;
DAVID JOHNSON, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ANITA
JOHNSON, AND DAVID JOHNSON INDIVIDUALLY; CRAIG JOHNSON AND TANYA
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JOHNSON; ERNEST JOHNSON AND LELIA JOHNSON; JAMAISA JOHNSON; SHEILA
JOHNSON, AS ADMINISTRATRIX OF THE ESTATE OF LEROY JOHNSON, AND SHEILA
JOHNSON INDIVIDUALLY; MAURICE JOHNSON AND DENISE M. JOHNSON; RAYSYN
JOHNSON, AS ADMINISTRATRIX OF THE ESTATE OF RAYMOND JOHNSON, AND
RAYSYN JOHNSON INDIVIDUALLY; SAMUEL JOHNSON AND GWENDOLYN
JOHNSON; SHELDON JOHNSON; ROSEMARIE JOHNSON, AS ADMINISTRATRIX OF
THE ESTATE OF STEPHEN M. JOHNSON, AND ROSEMARIE JOHNSON
INDIVIDUALLY; THOMAS JOHNSON AND ELIZABETH JOHNSON; BRIAN JOHNSTON
AND KRISTY JOHNSTON; JOHN JOHNSTON AND GINA M. JOHNSTON; ROBERT
JOLLY AND KATHY JOLLY; DAVID JONES AND CHIMENE R. JONES; ELLEN JONES;
TINA JONES, AS ADMINISTRATRIX OF THE ESTATE OF JAMES JONES, AND TINA
JONES INDIVIDUALLY; MELISSA JONES; MICHAEL JONES AND SHEILA A. JONES;
OTIS JONES; PIERRE GOODING, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF PIERRA A. JONES, AND PIERRE GOODING INDIVIDUALLY; RANDY JONES AND
AMARILIS JONES; SALLIE JONES AND EMMANUEL JONES; STEPHEN JONES AND
DENISE JONES; TONY JONES; TRACIE JONES; WILLIAM JONES; WILLIAM JONES AND
ARLENE T. JONES; GWENDOLYN JONES-NONNI; LUIS C. JORDAN AND MARIA EDITH
JORDAN; MAMIE B. JORDAN AND JACKIE SMITH; PETER JORDAN; ROSEMARIE
JOSEPH, AS EXECUTRIX OF THE ESTATE OF BARTHELEMY JOSEPH, AND
ROSEMARIE JOSEPH INDIVIDUALLY; GWENETH JOSEPH, AS EXECUTRIX OF THE
ESTATE OF MORELL JOSEPH, AND GWENETH JOSEPH INDIVIDUALLY; FLORINE
JOSHUA; RONALD JOSSELYN AND ADELINE JOSSELYN; DANIEL JOYCE AND TRACEY
JOYCE; OSMAN JUAREZ; BEN JUDGE; SAVERIO JULIANO AND COLLEEN JULIANO;
LUIS A. JUSINO AND MARIA JUSINO; PHILIP JUSTI AND REINA JUSTI; VINCENT
JUSTINO; VINCENT KABUS; MARK KAFALAS AND CATHERINE P. PENA; MICHAEL
KAHN-VITERI; JAMES KAINE AND KATHLEEN KAINE; BOZENA KAJEWSKA-PIELARZ;
PETER KALFA AND LORETTA KALFA; SALVATORE KALMETA AND ROSEMARIE
KALMETA; CONSTANTINE KALOUDAKIS; JASON KALTER AND RENEE KALTER;
GEORGE KAMBOSOULIS; ANDREAS KAMINARIS AND NANNETTE KAMINARIS;
WILLIAM F. KAMINSKI AND MARY J. KAMINSKI; DAVID KAO AND RUTH KAO; EDWARD
KARL AND DONNA M. KARL; RAYMOND KARPAVICIUS AND LORETTA KARPAVICIUS;
SUSAN KARTELL AND CLIFFORD J. KARTELL; MARIA STOCHEL, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF ANDRZEJ KASINA, AND MARIA STOCHEL
INDIVIDUALLY; RONNIE KASSEL AND KATHERINE KASSEL; PETER KASSIMATIS AND
JOULIA KASSIMATIS; JEASON KASZOVITZ AND HERMINIA KASZOVITZ; JEFFREY
KATZ; DAVID KATZEN AND RENEE CHILUK; JOHN KAUFMANN; DAVID KAYEN AND
BARBARA KAYEN; ROBERT KEANE AND CATHY KEANE; CLAUDE KEBBE AND
CHRISTINE KEBBE; KEVIN KEE AND SHIRLEY KEE; BERNARD KEEGAN; THOMAS
KEEGAN; DANIEL KEENAN AND KATHLEEN KEENAN; JASON KEENAN AND JOY
KEENAN; RICHARD KEITH AND TERESA KEITH; ANTHONY KELLAR AND CAROL
KELLAR; EUGENE KELLEHER AND UTIE KELLEHER; MICHAEL KELLEHER AND
JANET M. KELLEHER; DAVID KELLER, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF TIMOTHY KELLER, AND DAVID KELLER INDIVIDUALLY; JOHN KELLETT
AND ARLENE P. KELLET; CURT KELLINGER AND PENNY KELLINGER; KEVIN KELLY
AND JOANNE KELLY; MARTIN KELLY AND ANNA MARIE KELLY; MARY ANN KELLY;
THEODORE KELLY AND SANDRA KELLY; DANIEL KEMMET AND DOELL KEMMET;
KEVIN KEMPTON AND ROSEMARY KEMPTON; DOUGLAS KENAH AND JANET
KENAH; ROBERT KENAVAN AND VERONICA KENAVAN; DAVID KENEFICK AND
STACIE KENEFICK; MICHAEL KENNA; DENNIS KENNEDY AND TRACEY KENNEDY;
MAUREEN BOUNDS, AS ADMINISTRATRIX OF THE ESTATE OF JOHN M. KENNEDY,
AND MAUREEN BOUNDS INDIVIDUALLY; JOSEPH KENNEDY AND LINDA M.
KENNEDY; SCOTT KENNEDY AND CRISTINA C. KENNEDY; THOMAS KENNEDY AND
BARBARA KENNEDY; THOMAS KENNEDY AND COLLEEN KENNEDY; MICHAEL
KENNELLY; MARGARET KENNY; BRUCE KENT AND JOYCE KENT; TONYA KENTISH
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AND LEROY D. KENTISH; THERESA KENT-MOLLER; STEPHEN KEOWN AND
KELLYANN KEOWN; STEVEN KEPLEY AND SHIELA KEPLEY; RONALD KERNEY AND
KERRI KERNEY; ROHAN KERR AND JANET BARNABY; PAUL KERRIGAN AND
PATRICIA KERRIGAN; KHYUME KHAN AND VIDYAWATTIE KHAN; SHAWN KHAN;
MICHAEL KIDES AND ADELE KIDES; PATRICK KIERNAN AND ANN MARIE KIERNAN;
STEPHEN KIESCHE AND MARLENE KIESCHE; PETER KIESEHEUER; BRIAN
KILBRIDE AND REBECCA KILBRIDE; JOHN A. KILCOYNE AND BRIDGET KILCOYNE;
THOMAS KILKENNY AND KATHLEEN KILKENNY; KI SOON KIM; MECHELLE KING;
PETER KING AND JEAN - MARIE KING; THOMAS KING AND ELIZABETH KING;
WAYNE KING; KATHY KING JONES; THEODORE KING, JR. AND MARYAN KING;
OLIVIA KINGSTON; DONALD KINIERY; TIMOTHY KIRSCHBAUM; TIMOTHY KISSANE
AND LISA KISSANE; ERIC KLAYMAN AND ANGELA KLAYMAN; GLEN KLEIN AND
CAROLE R. CAPPARELLI-KLEIN; CHRISTOPHER J. KLIMEK; LAWRENCE KLINGENER
AND SUSAN KLINGENER; MICHAEL KLIPPEL AND VICTORIA KLIPPEL; KENNETH
KLOTZ AND DEBBIE KLOTZ; SHAWN KLOTZ; GEORGE KLOUDA AND REGINA MILD;
KEITH KLOUDA AND DAWN M. KLOUDA; LUBOMIR KMEC AND VIERA KMECOVA;
CHRISTOPHER KNAPPENBERGER AND ESTHER D. KNAPPENBERGER; CATHLEEN
KNECHT, AS EXECUTRIX OF THE ESTATE OF DAVID M. KNECHT, AND CATHLEEN
KNECHT INDIVIDUALLY; MICHAEL KNIAZUK AND DONNA KNIAZUK; ROWAN
KNIBB; CHARLES V. KNIGHT; DANIEL KNIGHT; JEFFREY KNIGHT AND INGRID
KNIGHT; DONALD KNIGHTEN; ROBERT KNIGHTS; KAREN S. KNIPE, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF WILLIAM KNIPE, AND KAREN S. KNIPE
INDIVIDUALLY; JAMES KNIPPER AND KATHERINE KNIPPER; WILLIAM KNIPPER
AND DIANE KNIPPER; ANNA KNURZYNSKA AND WOJCIECH SIKORSKI; JOHN KOBEL
AND JENNIFER KOBEL; JOSEPH KOHLHEPP AND PATRICIA KOHLHEPP; KENNETH
KOHLMANN AND ADRIENNE KOHLMANN; ROBERT KOJALO AND PHYLLIS KOJALO;
SEAN KOLARIK AND JEANNE KOLARIK; CHRISTOPHER KOLENDA; JANINA
KOLODZIEJCZYK, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF WIESLAW
KOLODZIEJCZYK, AND JANINA KOLODZIEJCZYK INDIVIDUALLY; MICHAEL
KORABEL; ALEXANDER KORETSKY; ESTHER KORNBLAU AND SEYMOUR
KORNBLAU; THOMAS KORPAS AND DIANE KORPAS; RICHARD KORZENKO; MICHAEL
KOSLOW AND KATHLEEN A. KOSLOW; MIECZYSLAW KOSMACZEWSKI AND EWA
KOSMACZEWSKA; JOLANTA SADO, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF GRZEGORZ KOSMIDER, AND JOLANTA SADO INDIVIDUALLY; KEITH
KOSTANOSKI AND MAUREEN CALDWELL; JAMES KOSTOPLIS; GUS KOTSONIS AND
JANE KOTSONIS; MICHAEL KOVALL AND MARY JANE KOVALL; RICHARD
KOWALCZYK AND GERTRADIS KOWALCZYK; NICHOLAS KOWANA AND JEANNE
KOWANA; DENNIS KOZAK; THEODORE KOZAK AND INEZ KOZAK; TIMOTHY KOZAK;
ROBERT KRATENSTEIN; JOHN KRAWEC; CHARLES KRUGLER AND JANET KRUGLER;
JOHN KUBANIK AND KAREN KUBANIK; JERZY KUCZERA AND KAZIMIERA KUCZERA;
MICHAEL KUDELA AND COLLEEN R. KUDELA; JOHN KUEGEL AND THERESA
KUEGAL; AGNIESZKA BOGUCKA, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF ANTONI KURAK, AND AGNIESZKA BOGUCKA INDIVIDUALLY; CHESTER KURDYLA
AND MARGARET KURDYLA; THOMAS KURTZ AND JODI KURTZ; PETER KUTZING
AND SUSAN ALTMAN; HELEN KYLE, AS ADMINISTRATRIX OF THE ESTATE OF
GEORGE KYLE, AND HELEN KYLE INDIVIDUALLY; NICHOLAS LABOY AND ROSE
LABOY; NANCYLEE LACKENBAUER AND EVERETT W. LACKENBAUER; FRED
LAFEMINA AND ROBIN LAFEMINA; CHRIS LAFRANCESCA AND MARIE
LAFRANCESCA; JOHN LAFRANCESCA; ANGELO J. LAGANA AND CELESTE LAGANA;
CHRISTOPHER LAGRASTA AND DEBORAH LAGRASTA; CHARLENE LAGRECA; BRIAN
LAINE AND ELISE RACHEL LAINE; JOHN LAIOS; JOYCE LAMB; MICHAEL LAMBERTI
AND PATRICIA LAMBERTI; PAMELA LAMBRIGHT; MICHAEL LAMORTE AND SUSAN
LAMORTE; WILSON LAMOUR; ANTONI LAMPART; RENEE LANDON; FRANCIS X.
LANE; TOYA LANE; ALBERT J. LANER AND LINDA LANER; MICHAEL LANFRANCHI
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AND AUDREY A. LANFRANCHI; BARTON R. LANG; WILLIAM LANG; FRANK LANGA
AND ALEXSANDRA LANGA; CHARLES LANGONE AND JANET LANGONE; CHERONDA
LANHAM, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF RONNIE LANHAM,
AND CHERONDA LANHAM INDIVIDUALLY; PATRICK LANIGAN AND FRANCENE
LANIGAN; JOHN LANTINO AND ANNAMARIA LANTINO; JAMES LAPENNA; RICHARD
LAPIEDRA; WILLIAM LAPPE AND BETHZAIDA LAPPE; EMERITA E. LARA; KENNETH
LARM AND MARIANNE LARM; PATRICK LAROTONDA AND ROSA LAROTONDA; NICK
LASALA AND LAURA LASALA; GERARD LASKOWSKI AND MONICA LASKOWSKI;
MAXINE LASSITER; ALBERT LAST; ANTHONY LATACZ AND JOAN M. LATACZ;
GEORGE LATIMER, JR AND JUDY LATIMER; SUSAN LAVEGLIA; THOMAS LAVERY AND
JO ANN LAVERY; KENNETH LAVIN AND KATHLEEN LAVIN; JOHN LAW; MELVIN
LAWLA AND JANETT LAWLA; FREDERICK LAWRENCE AND BARBARA J. LAWRENCE;
LOIS LAZARUS; SHAKIR LEACOCK; JOSEPH LEAHY AND SANDRA LEAHY; ROGER
LEAHY AND MIGDALIA LEAHY; EDWARD A. LEARNING AND VICTORIA LEARNING;
KEITH LEBOW; ALFRED LEBRIO; LINDA LECROY AND FREDERICK B. LECROY;
BRENDA LEE AND JOSEPH BRINSON; DAVID LEE; RYAN LEE; VIOLET LEE;
THEODORE LEEBOO; JANE LEFKOWITZ; MARK J. LEGIEC AND KELLY LEGIEC;
ALANA LELLA; CHRISTOPHER LEMKE AND KATHERINE L. LEMKE; CARLTON LE-
MOND AND SHARON LE-MOND; DAVID LENDZIAN AND JANET MILDRED R.
LENDZIAN; PATRICK LENNON AND GINA LENNON; JAMES LENNOX AND DAWN
MARIE LENNOX; CESAR LEON; INES LEON; JOSE LEON; DANIEL LEONARD AND
LAURA LEONARD; JOHN LEONARD AND MARY-ANN J. LEONARD; AGNES LEONARD,
AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JOSEPH LEONARD, AND
AGNES LEONARD INDIVIDUALLY; CHARLES LEONE AND VICKY A. LEONE; LUCIA
EAGERS, AS ADMINISTRATRIX OF THE ESTATE OF GIOVANNI LEONE, AND LUCIA
EAGERS INDIVIDUALLY; MARILYN LEONE; ROBERT LEONICK AND CAROL
LEONICK; THEODORE LEOUTSAKOS AND ROSE LEOUTSAKOS; MARK LERNER AND
TAMARA LERNER; CAMILLE V. LESEUR; RAYMOND LESHINGER; CHRISTOPHER
LESIEWICZ; ALBERT B. LESLIE AND RUTH LESLIE; MICHAEL LETTIERE;
CATHERINE LETTIERI AND JAMES LETTIERI; DANIEL LETTIERI AND LAURA A.
LETTIERI; JAMES LETTIERI AND BARBARA LETTIERI; JAY LEVINE; MARK LEVINE
AND LESLIE LEVINE; RACHEL LEVY, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF DANNY LEVY, AND RACHEL LEVY INDIVIDUALLY; JENNIFER N. LEVY;
DARRYL LEWIS AND MARY LEWIS; ELAINE LEWIS; EUGENE LEWIS; GARFIELD LEWIS
AND ANGELLA LEWIS; JOSEPH LEWIS AND FRANCES LEWIS; LORI LEWIS AND
ANTHONY LEWIS; PATRICIA LEWIS; ROGELIO LEWIS AND LIDIA LEWIS; RICHARD
BUCKHEIT, AS ADMINISTRATOR OF THE ESTATE OF LEONARD LEWIS, SR., AND
RICHARD BUCKHEIT INDIVIDUALLY; YUN YAN LI; ZU-GUI LI; MICHAEL LIA AND
STACEY LIA; WEN LIAO AND CHIA W. LIAO; JUSTIN LICARI AND JOHANNA LICARI;
JOHN LICATA AND ARLENE LICATA; KENNETH W. LICKMAN; LUIGI LIDONNICI;
DAVID ANDRE LIFERIDGE; MARK LIGARZEWSKI AND ANNA LIGARZEWSKI; JERRY
LIGUORI; CHANG-HAO LIN; SHUI YING LIN; ZHONG LIN; PETER LINARELLO AND
LUZ M. LINARELLO; JOHN LIND AND JOYCE D. LIND; JOSEPH LINDEMANN AND
MARGARET LINDEMANN; JAIME LINDHAMER, AS ADMINISTRATOR OF THE ESTATE
OF CHARLES LINDHAMER, AND JAIME LINDHAMER INDIVIDUALLY; ROBERT
LINDSAY AND VALERIE LINDSAY; SHIRLEY BENNETT, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF TONYA LINDSEY, AND SHIRLEY BENNETT
INDIVIDUALLY; CARLO LINEA AND JOSEPHINE LINEA; TIMOTHY LINEKIN AND
RAENA LINEKIN; FAUSTO LINETTI; FRANK LIOCE AND ROSEANN LIOCE; THOMAS
LIOTTA AND GERALDINE LIOTTA; FRANK LIPORACE AND THERESA LIPORACE;
WALTER LIPSCOMB; RONNIE LIPSON AND CHARLOTTE LIPSON; NICOLINO LISIO;
CYNTHIA LITTLE; SAMUEL LITTLE; DIEGO LITUMA; KEVIN A. LIVELLI AND SUSAN
LIVELLI; MARIO LLANOS; MARIA LLUGUAY; AGOSTINO LOBELLO; DOMINICK
LODISPOTO AND FRANCINE LODISPOTO; STEWART LOEB AND SOOK IN LOEB;
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JOHN LOFTON AND GAIL J. LOFTON; RALPH LOGAN AND IRMA LOGAN; ROBIN
LOHIER; RAUL LOJA; WILMO LOJA; STEVEN LOMBARDI; ALFONSE LOMBARDO AND
CATHERINE LOMBARDO; ERIK LOMBARDO AND TARA LOMBARDO; JOHN LOMICKY
AND RITA LOMICKY; CHRIS LOMONICO; LANCE G. LONDON AND JUNE LONDON;
LILIANA M. LONDONO; THOMAS LONGA AND JUDITH STOBBIE; DEAN LONGO AND
LYNN M. LONGO; RALPH LONGO AND MICHELLE LONGO; DAVID LONGSHORE;
MICHAEL LONSKI AND EVELYN LONSKI; JOSEPH LOPALO; CARLOS LOPES AND
MARIA LOPES; ANGEL LOPEZ; ANTHONY LOPEZ; BENNY LOPEZ AND MARGARITA
LOPEZ; JEANETTE LOPEZ AND NOBERTO LOPEZ; JOSEPH LOPEZ; MANUEL LOPEZ
AND BARBARA LOPEZ; MARCUS LOPEZ; MIGUEL LOPEZ AND LESLY LOPEZ;
MILAGROS LOPEZ; OSWALDO LOPEZ AND ELVIA V. LOPEZ; PEDRO LOPEZ; ZUDITH
LOPEZ; INEZ LOPEZ-QUILES; DELIA LOPEZ-STULL AND EDWARD STULL; ARTURO
LORA; STEVE LORD AND ROBIN LORD; FRANK LORELLI; ANTHONY LORENZO AND
CAROLYN LORENZO; MARIA LORES AND BERNARD BROWNE; FRANK LOSAURO AND
CONSTANCE LOSAURO; JEFFREY LOUGHERY AND DIANE LOUGHERY; LORI
MAZZEO, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF KEITH LOUGHLIN,
AND LORI MAZZEO INDIVIDUALLY; THOMAS V. LOUGHLIN AND TRACY LOUGHLIN;
ROBERT LOUGHMAN AND ANDREA LOUGHMAN; KEVIN LOUGHNANE AND LAURIE
LOUGHNANE; MICHAEL LOUGHRAN AND CHRISTINA LOUGHRAN; TRENT LOVE;
SCOTT LOVENDAHL; JAMES LOVETT; CHERYL LOWE; JOHN LOYER; HENRY
LOZANO; VICTORIA LUBECK; WALTER LUBKEMEIER; ERIK LUBRANO AND
ROSEMARY LUBRANO; EDNA LUCIANO; GILBERT LUGER AND BARBARA LUGER;
THOMAS LUGO; FRANCISCO LUIS; MICHAEL LUISE AND ROBIN LUISE; LAWRENCE
LUKENDA AND KAREN LUKENDA; MICHAEL LUNEY; BRIAN LUONGO; EMANUEL
LUONGO AND MARY LUONGO; JOHN LUONGO AND GINA A. LUONGO; WILLIAM
LUONGO AND GLORIA LUONGO; JOSEPH LUPO AND AYDA LUPO; ANTHONY
LUSTICA; JOSEPH LUTRARIO; KENNETH LUTZ AND DIANE LUTZ; JAMES LYNAM
AND ATHENA LYNAM; DENNIS G. LYNCH AND PATRICIA LYNCH; ERIC LYNCH AND
LISA MARIE LYNCH; GARRETT LYNCH AND PAULA LYNCH; KEVIN LYNCH AND
CYNTHIA LYNCH; RICHARD LYNCH; THOMAS J. LYNCH; THOMAS LYNCH; WILLIAM
LYNCH; WILLIAM LYNCH AND MAUREEN LYNCH; LANCE LYNGE; ALLANA
CORRIVEAU, AS EXECUTRIX OF THE ESTATE OF TERENCE LYONS, AND ALLANA
CORRIVEAU INDIVIDUALLY; VINCENT LYONS AND PATRICIA LYONS; PAUL
MACCHIA AND DANIELLE MACCHIA; JAMES MACDONALD AND NATALYA RIVKIN-
MACDONALD; FERNANDO MACHADO; LUIS MACHADO AND LUCIA MACHADO;
BEVERLY MACK; PATRICIA A. MACK AND TIMOTHY MACK; MARK MACKEY AND
LAUREL L. MACKEY; NILDA MACRI, AS EXECUTRIX OF THE ESTATE OF FRANK
MACRI, AND NILDA MACRI INDIVIDUALLY; EUGENE MADDEN; KEVIN MADDEN
AND JOAN MADDEN; JOZEF MADEJ; JAMES MAFFUCCI; MICHAEL MAGENHEIM AND
KIM MAGENHEIM; PAUL MAGNERI AND HELAINE MAGNERI; DANIEL MAGRINO;
DONALD MAGUIRE AND DIANE MAGUIRE; PETER MAGUIRE AND LISA MAGUIRE;
THOMAS MAGUIRE AND PATRICIA C. MAGUIRE; JAMES MAHER; JOHN MAHER AND
ROSEMARY T. MAHER; DANIEL MAHLMANN AND TRACEY L. MAHLMANN;
CHRISTOPHER MAHON; MARTIN MAHON AND KATH;EEN MAHON; ANYA GAYLE, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF WAYNE MAHON, AND ANYA
GAYLE INDIVIDUALLY; PATRICK MAHON, JR. AND JULYSAN MAHON; ELIZABETH
MCMANUS, AS EXECUTRIX OF THE ESTATE OF CYNTHIA MAHONEY, AND
ELIZABETH MCMANUS INDIVIDUALLY; SHAUN MAHONEY; ANTHONY MAIELLO
AND JACQUELINE C. MAIELLO; JEROME MAIER AND JILL MAIER; JOHN MAIER AND
KAREN L. MAIER; RICHARD MAIORINO AND HORTENCIA MAIORINO; FRANK
MAISANO AND JULIE MAISANO; NOEL MAITLAND AND LISA D. CHOOKASEZIAN;
BRIAN MAKINEN AND NORISA CRUZ MAKINEN; DENNIS MAKLARI AND LINDA
MAKLARI; TERESA MAKSIMIAK; PETE MALACHI; JAMES MALAVE; AMADO
MALDONADO AND JEANETTE RODRIQUEZ; ANGEL MALDONADO AND JESSICA
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MALDONADO; LUIS MALDONADO AND PAMELA MALDONADO; FREDERICK MALEY
AND JOANNA MALEY; JAMES MALLEY AND SUSAN MALLEY; JOHN MALLOY AND
MARYANN MALLOY; BAUDON MALMBECK AND IRENE MALMBECK; DAVID
MALONEY; DENIS R. MALONEY; MICHAEL MALUK, JR.; JENNY MAMI AND ANGEL
MORALES; ROOPLAL MANCHOON; STEPHEN MANCUSI AND JOANNA MANCUSI;
RICHARD MANDEL; BRIAN MANERE; MICHAEL MANFRA AND JOAN MANFRA;
CONSTANCE MANGAN; RALPH MANGANIELLO; DEBRA MANGIAPIA AND GARY
MANGIAPIA; RITA MANGIARACINA, AS EXECUTRIX OF THE ESTATE OF ANTHONY
MANGIARACINA, AND RITA MANGIARACINA INDIVIDUALLY; JAMES MANISCALCO
AND KATHLEEN MANISCALCO; JOSEPH MANISCALCO AND KIMBERLY
MANISCALCO; GARY MANKOWITZ AND TRACY MANKOWITZ; EDWARD MANNING
AND CAROL MANNING; HAROLD MANNING; SCOTT MANNINO AND THERESA L.
MANNINO; PATRICIA MANNO; ROBERT MANON; JEAN MANSFIELD; MARIE
DEVEREAUX, AS EXECUTRIX OF THE ESTATE OF DENISE MANTELL, AND MARIE
DEVEREAUX INDIVIDUALLY; PAUL MANUEL; FRED MANZOLILLO; SCOTT MARAIO
AND CHERYL MARAIO; DOMINICK MARANZANO AND MALA A. MARANZAO;
VINCENT MARCIANO AND RAFFAELLA MARCIANO; DOUGLAS MARCILLO; JUDAH
MARCUS; ROBERT MARCUS AND JAMIE MARCUS; STANLEY MARDULA AND IRENE C.
MARDULA; JOSEPH MARESCA AND CIELA MARESCA; DAVID MARGULES; RUBEN
MARIA AND ANGELA MARIA; DIEGO MARIN; FRANKLIN MARIN; WALTER MARIN;
ALBERT MARINELLI AND DIANE MARINELLI; MARIA MARINELLO; MARTIN
MARINEZ AND YVONNE MARINEZ; GERARD MARINI AND PATRICIA MARINI;
STEVEN MARINO; JOHN MARIOTTI AND MADELINE MARIOTTI; WINIFRED
MARKARIAN AND ROBERT MARKARIAN; CHRISTOPHER MARKEVICH AND
LORRAINE MASCIARELLI; SHANE MARKEY AND SHERI MARKEY; MICHAEL MARKLE
AND ALLISON MARKLE; RAYMOND MARKS AND MARYANN MARKS; ROBERT MARKS
AND KAREN MARKS; RALPH MAROTTI AND MICHELE MAROTTI; EDWARD
MARQUETTE AND JUNY MARQUETTE; STEVE MARSHALL AND CYNTHIA
MARSHALL; CHRISTOPHER MARSKI AND KAREN MARSKI; CHRISTOPHER MARTIN;
ELAINE MARTIN; GARRETT MARTIN AND DIANA MARTIN; GREGORY MARTIN AND
MARIA MARTIN; HEPTON MARTIN AND EDMARIE MARTIN; MARK A. MARTIN;
VINCENT MARTIN AND INGRID MARIN; MARTIN E. MARTINDALE AND DANNIE
MARTINDALE; EDDY MARTINEZ AND LINDA MARTINEZ; EDWIN MARTINEZ AND
PAULA MARTINEZ; GEORGE MARTINEZ; HECTOR MARTINEZ AND ROSANNA
MARTINEZ; JENNIFER MARTINEZ; JOSE MARTINEZ AND OLGA RODRIGUEZ; LUIS
MARTINEZ AND SUZANNE MARTINEZ; MANUEL MARTINEZ; RAUL MARTINEZ AND
ABIGAIL MARTINEZ; RICHARD MARTINEZ AND MAYRA NUNEZ; ROBERTO
MARTINEZ; LAVERN WERNER, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
ROWENA MARTINEZ, AND LAVERN WERNER INDIVIDUALLY; STEVEN MARTINEZ
AND WENDY MARTINEZ; ANDREW MARTINO AND ELYSSA MARTINO; ROBERT
MARTINO AND AGGIE MARTINO; SCOTT MARTINSON; ANTHONY MARTUCCI;
FREDERICK MARTUCCI; NICHOLAS MARTUCCI AND SARA MARTUCCI; MICHAEL
MARTUSCELLI; KEVIN MARTZ AND STEPHANIE MARTZ; STEPHEN MARUSCHAK
AND MARILYN MARUSCHAK; LEONARDO MAS; ANTHONY MASCIA AND ANA MASCIA;
WILLIAM MASERONI AND MARY C. MASERONI; JOSEPH MASESSA; MARILYN MASH;
JASON MASSARD; ANTHONY MASSARO AND DIANA MASSARO; MICHAEL MASSARO
AND PATRICIA MASSARO; JOHN MASSERIA AND JENNIFER MASSERIA; PHILIP MASSO
AND EILEEN MASSO; LEONARD MASTROGIACOMO AND SILVINA MASTROGIACOMO;
MARC A. MASTROS; ROBERT MASUCCI; BOBBIE MATHIS; BRIAN MATNEY; ANNA
MATOS; GAVIN MATRANGA AND FILOMENA MATRANGA; MARGARITA MATTEI;
EDWARD MATTERA AND TARA MATTERA; CHRISTOPHER MATTHEWS AND KAREN
MATTHEWS; JOHNNY MATTHEWS AND DYANNE MATTHEWS; GREGG MATTHIUS
AND CHRISTINE MATTHIUS; KAREN MATTIOLO AND PHILIP MATTIOLO; PHILIP
MATTIOLO AND KAREN MATTIOLO; MICHAEL MAURICE; RONA MAURO, AS
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EXECUTRIX OF THE ESTATE OF VITO MAURO, AND RONA MAURO INDIVIDUALLY;
CHARLES MAXWELL; MOLLIE MAXWELL; ETTA MAXWELL, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF TERENCE MAXWELL, AND ETTA MAXWELL
INDIVIDUALLY; CEDRIC MAYERS; STEVEN MAYFIELD; BRANT MAYNARD; JULIO
CESAR MAYORGA GONZALEZ AND MARGARITA ALMOS; ARTHUR MAYROSE AND
JUNE MAYROSE; ANTONI MAZUR AND EWA B. MAZUR; JOSEPH MAZZEI AND ELLEN
MAZZEI; JOHN MAZZELLA AND DANIELA MAZZELLA; MICHAEL MAZZELLA; PAUL
MAZZILLI; JOSEPH MCADAMS AND PATRICIA MCADAMS; TIMOTHY MCALINDEN
AND MARGRET MCALINDEN; JOSEPH MCALLISTER AND ANNEMARIE MCALLISTER;
JERMAINE MCARTHUR; SEAN MCAULEY AND IZABEL MCAULEY; SOLVIEG
MCAULEY; JOHN MCAULIFFE; FRANK MCBRIEN; GEOFFERY MCBURNIE AND CAROL
MCBURNIE; DANIEL MCCABE AND ANDREA MCCABE; WILLIAM D. MCCABE AND
AMY MCCABE; SEAN MCCAFFERTY AND SIOBHAN MCCAFFERTY; OWEN MCCAFFREY
AND LISA MARIE MCCAFFREY; MADELINE MCCAFFREY, AS ADMINISTRATRIX OF
THE ESTATE OF THOMAS MCCAFFREY, AND MADELINE MCCAFFREY
INDIVIDUALLY; RICHARD MCCAHEY AND ALMA I. MCCAHEY; MICHAEL MCCALL
AND SHARI B. MCCALL; JAMES MCCANN; DANIEL MCCARTHY AND DEBORA A.
MCCARTHY; DAVID MCCARTHY AND NANCY MCCARTHY; MICHAELE GORMAN, AS
ADMINISTRATRIX OF THE ESTATE OF JACQUELINE MCCARTHY, AND MICHAELE
GORMAN INDIVIDUALLY; JASON MUNGEN, AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF JESSY T. MCCARTHY, AND JASON MUNGEN INDIVIDUALLY; JOHN
MCCARTHY; JOHN MCCARTHY AND ENZA MCCARTHY; KEVIN MCCARTHY AND
REGINA MCCARTHY; RICHARD MCCARTHY AND LYNN MCCARTHY; ROBERT
MCCARTHY; TIMOTHY J. MCCARTHY; TIMOTHY MCCAULEY; KEVIN MCCAWLEY
AND GABRIELA MCCAWLEY; MICHAEL MCCLATCHEY; JOSEPH MCCLOSKEY;
CORNELIUS MCCONNELL; JAMES MCCONNELL AND CATHERINE MCCONNELL;
BRENDAN MCCORMACK AND ROSALEEN MCCORMACK; CHRISTOPHER
MCCORMACK AND JEANNINE MCCORMACK; MICHAEL MCCORMACK AND
MARGARET MCCORMACK; GREGORY MCCORMICK; JAMES MCCORMICK AND
CHRISTINA MCCORMICK; JESSICA MCCORMICK, AS ADMINISTRATRIX OF THE
ESTATE OF RYAN MCCORMICK, AND JESSICA MCCORMICK INDIVIDUALLY; MELISSA
MCCOY; THOMAS MCCOY AND ALISA MCCOY; ROBERT MCCRACKEN; CRAIG MCCRAY
AND TRACEY MCCRAY; JOHN MCCRONE; FRANK MCCULLAGH AND ROSE
MCCULLAGH; KEVIN MCCULLAGH; RICHARD MCCUSKER AND ANA MCCUSKER;
GERARD MCDADE AND KAREN MCDADE; JANICE MCDANIEL; SHEILA MCDANIEL;
LISA MCDONALD; JOHN MCEACHERN; DENIS A. MCENEANEY AND TARA LYNN
MCENEANY; TOM MCEWAN; EDWARD MCFADDEN AND STACY MCFADDEN; JAMES
MCFADDEN AND ESSIE MCFADDEN; JAMES MCGARRIGLE; MICHAEL MCGARRY AND
ESTER MCGARRY; PATRICK MCGEE AND BARBARA MCGEE; THOMAS MCGHEE;
AGNES MCGILL; JOHN MCGILL AND SOPHIE MCGILL; KEITH MCGILL AND VIRGINIA
MCGILL; TIMOTHY MCGINN AND BARBARA MCGINN; JOHN MCGLYN AND KIM
MCGLYN; JOSEPH MCGOVERN AND MARGARET MCGOVERN; JAMES MCGRATH AND
JOAN MCGRATH; THOMAS MCGRATH; WILLIAM MCGREEVY AND MARYANN
MCGREEVY; ROBERT MCGRORY AND MARY MCGRORY; THOMAS MCHALE AND
LINDA SUSAN MCHALE; JOSEPH MCHUGH AND DOLORES MCHUGH; TIMOTHY
MCINERNEY AND FRANCINE MCINERNEY; JOHN MCINTYRE AND MICHELE
MCINTYRE; RICHARD MCIVER AND EILEEN MCIVER; MICHAEL MCKAIN; MARK
MCKAY AND BELINDA MCKAY; KEVIN MCKENNA AND ERIN MCKENNA; VIVIAN
MCKENZIE AND OLIVE MCKENZIE; EUGENE MCKEON; PATRICK MCKERNAN AND
SALINA MCKERNAN; MICHAEL MCKNIGHT; JOHN MCLEAN; JOHN MCLEES AND
KELLY L. WALKER-MCLEES; SEAN MCLOUGHLIN AND ANNE MARIE MCLOUGHLIN;
BRIAN MCMAHON; CRAIG MCMAHON AND JOLENE MCMAHON; MAUREEN
MCMAHON; PATRICK MCMAHON AND MICHELLE MCMAHON; THOMAS MCMAHON;
BRIAN MCMANUS; PAUL MCMANUS AND LORETTA MCMANUS; LUCIUS MCMILLON
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AND BRENDA L. MCMILLON; ELLA MCNAIR; JOHN MCNALLY AND LISA MCNALLY;
PATRICK MCNALLY AND ELIZABETH MCNALLY; BRETT MCNAMARA; EDWARD
MCNAMARA AND MEIRAV MCNAMARA; ROBERT MCNAMARA AND LISA MCNAMARA;
CHRISTIAN MCNAMEE AND DANATA MCNAMEE; SEAN MCNICHOLS AND KERRY
MCNICHOLS; PATRICK MCNIECE AND LOUISE M CNIECE; KEVIN MCPADDEN;
MICHAEL MCPARTLAND AND LINDA MCPARTLAND; EDWARD MCQUADE AND
CATHERINE MCQUADE; MARIA TAYLOR, AS ADMINISTRATRIX OF THE ESTATE OF
RAYMOND MCQUEEN, AND MARIA TAYLOR INDIVIDUALLY; MARK MCQUILLAN
AND SUSAN MCQUILLAN; JAMES MCSORLEY AND BARBARA MCSORLEY; TERENCE
MCTIGUE AND ELIZABETH M. MCTIGUE; PATRICK MCVEY; THOMAS MCWILLIAMS
AND JOANN MCWILLIAMS; ERNEST MEDAGLIA; DAVID MEDINA AND LAURA
MEDINA; JOSE MEDINA; JOSE MEDINA AND KATHY MEDINA; KEVIN MEEHAN;
RICHARD MEEHAN AND YONG MEEHAN; SEAN MEHRLANDER; EDMOND MEI, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF YU ZHEN MEI, AND EDMOND
MEI INDIVIDUALLY; LYNFORD MEISCHKE AND KELLY SUE MEISCHKE; LAWRENCE
MELE; VICTOR MELE AND SUSAN M. MELE; ALBERTO MELECIO AND ALTAGRACIA
MELECIO; LUIS MELENDEZ; WILFREDO MELENDEZ; NICHOLAS MELILLO AND
LINDA MELILLO; FRANK M. MELITA AND LILIAN MELITA; LAURANCE W. MELLEN
AND CASSANDRA MELLEN; ALBERT MELLER AND SHARI Z. MELLER; MANUEL
MELO AND PAULA C. COUTO-MELO; DANIEL MELORE AND KELLY MELORE;
RICHARD MELTZ; MURRAY MELTZER; EDDIE MENDEZ AND MARIE G. MENDEZ;
ISMAEL MENDEZ; JOSE M. MENDEZ AND LUZ MENDEZ; JUAN MENDEZ; LUIS M.
MENDEZ AND CARMEN MENDEZ; ROY MENDEZ AND LORETTA E. MENDEZ;
ENRIQUE MENDOZA AND MARIA DE MENDOZA; RICHARD MENDYK; JENNY
MENENDEZ; WILLIAM MENENDEZ AND NANCY MENENDEZ; LUIS A. MENESES;
VINCENT MENNELLA; LUIS MERCADO; PEDRO MERCADO AND MIRIAM MERCADO;
LEONARD MEROLA AND KAREN MEROLA; RONALD MERRITT; VICTOR MESCE;
DEBORAH MESHEJIAN AND FREDERICK ZIMM; JOSEPH MESITA; CALOGERO
MESSINA AND GRAZIA MESSINA; EDWARD MESSINA AND DANIELLE MESSINA;
JOSEPH MESSINA; NATALIE MESSINA AND JOSEPH MESSINA; JOHN MEYER AND
LUCILLE MEYER; JOHN D. MEYERS AND FELICIA MEYERS; KEITH MEYERS AND
GERALDINE M. MEYERS; JOSEPH MICCOLI; CHRISTOPHER MICHAELS; THOMAS
MICHAELS AND DONNA MICHAELS; DAMON MICHALOPOULOS AND FRANCES
MICHALOPOULOS; ALVIN MIDDLETON AND PATRICIA ANN MIDDLETON; JOHN
MIELE AND DOROTHY MIELE; KEVIN MIKALONIS AND WANDA MIKALONIS; STEVE
MIKEDIS AND ANGELIKI MIKEDIS; BILLY MILAN AND MARIA MILAN; REYNAUD
MILES; JANUSZ MILEWSKI AND ANNA MILEWSKI; ALLEN MILLER; DANIEL MILLER
AND LYNN MILLER; DONALD MILLER AND PATRICIA MILLER; ELLIOT MILLER AND
EDITH LINN; JAMES MILLER AND JACQUELINE MILLER; RICHARD MILLER AND
AMY MILLER; SAMUEL MILLER AND CYNTHIA MILLER; STEVEN MILLER AND
NOREEN MILLER; LENNA MILLIGAN AND DERRICK MILLIGAN; CARLTON MILLS
AND DENISE MILLS; DAVID MILLS; JOHN MILLS AND MARGARET L. MILLS; ROBERT
A. MILLS, SR, AS EXECUTOR OF THE ESTATE OF ROBERT MILLS, AND ROBERT A.
MILLS, SR INDIVIDUALLY; EDWARD MILMORE AND JOAN MILMORE; VINCENT
MILONE AND DEBORAH MILONE; THOMAS A. MILTON AND ALICIA M. MILTON;
CHARLES MIMMS AND MICHELLE MIMMS; ANTHONY MINERVINI AND AGATHA
MINERVINI; SALVATORE MINGOIA AND YOLANDA MINGOIA; CHRISTOPHER
MINOGUE; DENNIS MINOGUE AND CHRISTA MINOGUE; JAMES MINOUX; MICHAEL
MINUTO AND JANET MINUTO; ROBERT MIRABAL AND TRACY MIRABAL; VINCENT
MIRAGLIA; ERIBERTO MIRANDA AND IRIS MIRANDA; FRANK MIRANDA AND TERESA
MIRANDA; JAMIE MIRANDA AND DENISE MIRANDA; SUSANA MIRANDA AND
MARTIN LABRE; VICTOR H. MIRANDA; JOHN MISHA AND PATRICIA MISHA; DIONNE
SMITH, AS ADMINISTRATRIX OF THE ESTATE OF DARREN MITCHELL, AND DIONNE
SMITH INDIVIDUALLY; DENNIS MITCHELL AND KELLY ANN MITCHELLL; JOHN
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MITCHELL AND MAUREEN MITCHELL; LEONARD MITCHELL AND DONNA
MITCHELL; MATT MITLER AND KAREN HATT; PETER MLADINICH AND RAMONA
MLADINICH; ROBERT MLADINICH; ANTHONY MOCCIA; JOHN MODICA; JOSEPH
MODICA AND KATHLEEN MODICA; BRUCE MOGG AND ROSA MOGG; KOONTIE
MOHABIR; MARLON MOHABIR; JEFFREY MOHLENBROK AND WALLACE ANN
MOHLENBROK; JAMES MOIR AND JOANNE MARIA MOIR; EDDIE MOLINA AND
MAYRA R. MOLINA; MARTHA MOLINA AND ARMANDO MOLINA; MICHAEL
MOLLAHAN; JOHN MOLLOY AND PATRICIA MOLLOY; MICHAEL MOLLY AND
FRANCES MOLLOY; BRIAN MONACELLI; STEPHANIE MONCADA; JOHANNY
MONEGRO; PHILIP MONGIOVI AND CHRISTINE MONGIOVI; PATRICK MONITELLO
AND DOREEN MONITELLO; AMY MONROE AND BENJAMIN EPPS; JOSEPH
MONSORNO AND EILEEN MONSORNO; CHRISTOPHER MONTAGNA AND
JACQUELINE   MONTAGNA;      CONSTANCE   MONTALBANO,      AS  PERSONAL
REPRESENTATIVE OF THE ESTATE OF JOHN MONTALBANO, AND CONSTANCE
MONTALBANO INDIVIDUALLY; MICHAEL MONTALBANO; LUZ MONTALVO;
MICHAEL MONTALVO AND WANDA MONTALVO; REGLA MONTALVO; LEIDIS
MONTERO; PETER MONTGOMERY AND JACALYN MONTGOMERY; JAMES MONTIEL
AND BARBARA MONTIEL; BRIAN MONTREUIL; FREDY MONZON; JOHN MOODY AND
WALDRETTA MOODY; SEAN MOON; JAMES MOONEY; JOSEPH MOONEY, AS
ADMINISTRATOR OF THE ESTATE OF MAUREEN MOONEY, AND JOSEPH MOONEY
INDIVIDUALLY; FRANCIS MOORE AND DARA MOORE; JOHN MOORE; NATHAN
MOORE; PEARL MOORE; WILLIAM M. MOORE AND ELIZABETH MOORE; EUGENIO
MORA; FLOR MORA; LUIS E. MORA AND MERCEDES MORA; JOHN P. MORALE; EDWIN
MORALES AND LINDA MORALES; FELICIA MORALES; GARY MORALES AND PATRICIA
MORALES; JEANETTE MORALES; MILTON E. MORALES AND YAHAIRA MORALES;
PEDRO MORALES; PETER MORALES AND ZULEMA MORALES; SEGUNDO MORALES
AND DOLORES MORALES; TATIANA MORALES AND JAMES FINK; ELLEN MORAN;
JAMES MORAN AND EILEEN MORAN; JOHN MORAN AND KAREN MORAN; SHANE
MORAN; GREGORY MOREA AND MICHELLE MOREA; WILLIE MOREE; JAMES
MOREIRA; PETER MORELLI AND ADELINA MORELLI; GERARD MORENCY AND
MARIE MORENCY; MARIO MORENO; JOHN G. MORGAN AND MARY ANNE MORGAN;
JOHN H. MORGAN AND ELEANOR MORGAN; JUSTINE MORIARTY; ROBERT MORIN
AND MELODY MORIN; TIMOTHY MORLEY AND ERIN MORLEY; STEVEN MORMINO
AND DIANE MARIE MORMINO; SERGE MORNEAU; SIMON MOROCHO; ANTHONY
MORRIS AND ALISA MORRIS; ERNEST MORRIS AND JOANNE M. MORRIS; JOAN
MORRIS; ROBERT MORRIS; SCOTT MORRISSEY; SAMMY MORSI; JOHN MORTIMER
AND HEATHER MORTIMER; ROSALYN MORTON; MILENA MORYC-DZIUBEK AND
SLAWOMIR DZIUBEK; EILEEN MOSCA AND VINCENT MOSCA; JACK MOSCATO AND
DIANA L. MOSCATO; MICHAEL MOSCATO; CESAR MOSCOSO; JAMES MOSES; KEITH
MOSKOWITZ AND CHERYL MOSKOWITZ; AUDREY MOSLEY-MARCUS AND RONALD
MARCUS; EMMITT MOSS AND NANCY J. MOSS; TERENCE MOTI AND SHARMELA
MOTI; DAVID A. MOTOLA; JAMES MOTT; GARY MOUSCARDY AND WANDA
MOUSCARDY; ATEF MOUSSA AND JACQUELINE MOUSSA; DEBRA CASERTANO-
MOUTON, AS EXECUTRIX OF THE ESTATE OF MICHAEL MOUTON, AND DEBRA
CASERTANO-MOUTON INDIVIDUALLY; ANGEL MOYA; AUDREY MOYD; ROBERT
MUCCIO AND DEMMARI MUCCIO; JOHN MUCCIOLA, AS ADMINISTRATOR OF THE
ESTATE OF LOUISE MUCCIOLA, AND JOHN MUCCIOLA INDIVIDUALLY; WILLIAM
MUCHA AND PATRICIA MUCHA; FREDERICK MUELLER AND JOANNE MUELLER;
PETER MUELLER AND JO-ANN W. MUELLER; RUDOLPH MUHAMMAD AND VANESSA
BOYD; ARTURO MUIA; WILLIAM MULCAHEY AND HELEN MULCAHEY; DENIS
MULCAHY AND MARIAM MULCAHY; RICHARD MULHERN AND LORI MULHERN;
DOUGLAS MULHOLLAND AND DENISE MULHOLLAND; PATRICK J. MULKERN;
KATHY OLSON, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF MAUREEN
MULLANEY, AND KATHY OLSON INDIVIDUALLY; MICHAEL MULLARKEY; JAMES
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MULLEN AND KIM MULLEN; JEFFREY MULLIGAN; ANTOINETTE J. MULLIGAN, AS
EXECUTRIX OF THE ESTATE OF JOHN MULLIGAN, AND ANTOINETTE J. MULLIGAN
INDIVIDUALLY; PATRICK MULLINAX AND DENISE P. MULLINAX; BRENDAN
MULROY AND MARIE MURPHY; MICHAEL MULROY; BRENDAN MULVEY AND
BRIDGET MULVEY; FRANCIS MULVEY AND KAREN MULVEY; JOHN MULVIHILL;
HENRY MULZAC AND KAREN G. MULZAC; HECTOR MUNIZ AND ORALIA J. MUNIZ;
RAUL MUNIZ; DOMINICK MUNOFO; CARLOS MUNOZ AND ANNA L. CARLO; WILFRED
MUNOZ AND DAWN MUNOZ; RICHARD MURAWINSKI; AARON MURPHY AND TESA
RYANS-MURPHY; CARMEN MURPHY; CHRISTOPHER MURPHY; CHRISTOPHER
MURPHY; CHRISTOPHER MURPHY AND JANET M. MURPHY; DAVID MURPHY AND
RENEE MURPHY; JAMES MURPHY AND MAGALY MURPHY; JOHN MURPHY AND
SUZANNE MURPHY; BARBARA MURPHY, AS ADMINISTRATRIX OF THE ESTATE OF
KEVIN MURPHY, AND BARBARA MURPHY INDIVIDUALLY; MARTIN MURPHY AND
GERALDINE MURPHY; MATTHEW MURPHY AND REGAN MURPHY; MICHAEL G.
MURPHY AND ELIZABETH MURPHY; MICHAEL K. MURPHY AND JOAN MURPHY;
MICHAEL MURPHY AND CAROL MURPHY; MICHAEL MURPHY AND JEANNINE
MURPHY; MICHAEL MURPHY AND SUZANNE MURPHY; WILLIAM MURPHY AND
NANCY A. MURPHY; GLENN S. MURRAY; JACQUELINE MURRAY; JAMES MURRAY AND
ROSEANN MURRAY; CATHERINE MURRAY, AS EXECUTRIX OF THE ESTATE OF JOHN
MURRAY, AND CATHERINE MURRAY INDIVIDUALLY; LOAN MURRAY AND ROBERT
MURRAY; MACARTHUR MURRAY; RAYMOND MURRAY; THOMAS MURRAY AND
DAWN MURRAY; PATRICIA MUSICARO, AS ADMINISTRATRIX OF THE ESTATE OF
JOSEPH MUSICARO, AND PATRICIA MUSICARO INDIVIDUALLY; MICHAEL MUSSO
AND THERESE M. MUSSO; CHARLES E. MUSTO, JR.; MODESTO NACIONAL AND SALLY
NACIONAL; JOHN NACLERIO AND ANN NACLERIO; BRIAN NAFTAL AND MARY ANN
NAFTAL; JOHN NAGLE AND JENNYFER NAGLE; JOHN NAJA; JOHN NALBACH;
KRZYSZTOF NALEPA; JOSEPH NAPOLI; JOSEPH NAPOLI AND NANCY NAPOLI;
DANIEL NAPOLITANO AND MARIANNE NAPOLITANO; STEPHEN NAPPO AND JOYCE
LILLEY; MARIA NARANJO; WALTER NARANJO AND MIRIAM JARA; MICHAEL
NARVAEZ AND SONIA NARVAEZ; ANTHONY NATALE AND JANET NATALE; WILLIAM
NATER AND FRANCES P. NATER; RONALD NATOLE AND DIANA NATOLE; MARCELO
NAULA; SEGUNDO NAULA; RAUL NAULA AND MARIA NAULA ; ROBERT NAVALLO
AND ANN NAVALLO; FELIX NAVARRO AND ADELINE NAVARRO; GERONIMO
NAVARRO; ADAM NAZARIO; MICHAEL NEAL; RODNEY NEAL AND CYNTHIA NEAL;
OSCAR NEGRETE; DANIEL NEGRI; JASON NEGRON; JULIO NEGRON; ROBERT
NEGRON AND GLADYS NEGRON; TROY NEGRON AND MABEL NEGRON; GEORGE
NEILSON; LEROY K. NELSON; NANCY NEUMANN, AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF JOHN NEUMANN, AND NANCY NEUMANN INDIVIDUALLY;
MARY NEWMAN; GENE NEWTON AND COLLEEN-MARY NEWTON; PHILIP NEWTON
AND AUSTIN NEWTON; WILLIAM NG AND MARIBEL NG; NEVILLE NICHOLAS;
JEFFREY NICHOLS; VINCENT NICOLO AND PATRICIA NICOLE; TERRANCE NICOSIA
AND LUCY NICOSIA; RODOLFO NIETO; JESSICA NIEVES, AS ADMINISTRATRIX OF
THE ESTATE OF ANTONIO NIEVES, AND JESSICA NIEVES INDIVIDUALLY; CARLOS
NIEVES AND LENA M. PEREZ; JOSE NIEVES; MARITZA NIEVES; RAFAEL NIEVES;
RUTH NIEVES, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF WILFREDO
NIEVES, JR., AND RUTH NIEVES INDIVIDUALLY; CIPRIANO NIGRO AND LORI NIGRO;
VINCENT NITTI AND KATHERINE NITTI; ERIN NOLAN; JAMES NOLAN AND DONNA
MARIE NOLAN; MICHAEL NOLAN; EDWARD NOONAN AND AMY NOONAN;
MICHAEL NOONE AND MARY K. NOONE; LAWRENCE NOSTRAMO AND KIM
NOSTRAMO; MARK NOVA AND LAURA NOVA; STEVEN NOVA AND LORI NOVA; JOHN
NOVAK AND KATHERINE NOVAK; FRED NOZILE AND AMMA O. NOZILE; ROBERT
NUMSSEN; HAROLD NUNEZ; ISMAEL NUNEZ; PAUL NUNZIATO AND KATHLEEN C.
NUNZIATO; DAVID NUSSBAUM AND FREIDA NUSSBAUM; JOHN O BOYLE AND
PATRICIA O BOYLE; COLM O CONNOR; PATRICK O CONNOR AND LISA O'CONNOR;
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JAMES O KEEFE; CHESTER O LEARY; JOSEPH O ROURKE; MARK O SHEA; MICHAEL O
TOOLE AND MARGARET O'TOOLE; DARREN OAKES AND MARIA A. OAKES; THOMAS
OBERT; DANIEL O'BRIEN AND MERCEDES O'BRIEN; JOSEPH O'BRIEN; PATRICIA
O'BRIEN AND ANTHONY PEROSI; PETER O'BRIEN AND DONNA O'BRIEN; SIXTO
OCHOA AND LAURA ORTIZ; DENNIS O'CONNELL AND JEAN O'CONNELL; PATRICK
O'CONNELL AND MARY O'CONNELL; BRIAN O'CONNOR AND KATHLEEN
O'CONNOR; CATHERINE O'CONNOR AND JAMES O'CONNOR; CHRISTOPHER J.
O'CONNOR AND KELLI O'CONNOR; KATHERINE O'CONNOR, AS EXECUTRIX OF
THE ESTATE OF GEORGE O'CONNOR, AND KATHERINE O'CONNOR INDIVIDUALLY;
JAMES O'CONNOR; CHRISTOPHER O'DONNELL AND STEPHANIE O'DONNELL;
FRANCIS O'DONNELL AND MARYANN O'DONNELL; MARY FRANCES O'DONNELL;
PHILLIP O'DONNELL AND IRENE O'DONNELL; PETER O'DONOHUE AND
JEANNINE O'DONOHUE; PETER OGGERI; PETER O'GRADY AND VERA O'GRADY;
PAUL OH AND YESUNG OH; TERRENCE O'HARA; CHRISTOPHER O'HARE; LINDA
OHLSON; HOWARD OHRINGER AND SONIA OHRINGER; KEVIN O'KANE AND
GERMAINE O'KANE; PATRICK O'KEEFE AND TONI ANN O'KEEFE; JOHN OLDAK AND
SUZANNE OLDAK; WILLIAM O'LEARY AND ANDRIA O'LEARY; KENNETH OLEKSA
AND SANDY OLEKSA; JOHN W. OLEY AND PHYLLIS OLEY; JOHN OLIVA AND MARY E.
OLIVA; JULIO OLIVENCIA; GODFREY R. OLIVERA AND SONIA OLIVERA; ROBERT
OLIVERA AND DEBRA ANN OLIVERA; DANIEL OLIVERAS; ANTHONY OLIVERI AND
CECELIA J. OLIVERI; WILLIAM OLIVERI AND ANTIONETTE OLIVIERI; LUIS OLIVERO
AND ANNA OLIVERO; WILSON OLIVO; MARY OLLIE; JOHN O'LOUGHLIN AND
CHRISTINA O'LOUGHLIN; KENNETH OLSEN AND LESLIE OLSEN; THOMAS OLSON
AND DENISE M. OLSON; JOHN O'MOORE AND RANDI M. O'MOORE; PATRICK
O'NEILL AND PATRICIA O'NEILL; EMIL ONZO; EDDY OQUENDO; JULIO ORDONEZ;
JOHNNY ORELLANA AND LINDA ORELLANA; CONSTANCE ORLANDO; THOMAS
ORLANDO AND MARIA M. ORLANDO; WILLIAM ORLANDO; ROBERT ORLOFF AND
KATHLEEN ORLOFF; ROBERT O'ROURKE AND CLAUDINE O'ROURKE; STACEY ANN
O'ROURKE; RAFAEL E. OROZCO; JOHN ORSINO; MONA T. ORSULICH, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF STEPHAN J. ORSULICH, AND MONA T.
ORSULICH INDIVIDUALLY; SANDRA ORTEGA AND EFRAIN ZARUMENO; BERNARD
ORTIZ; DENISE ORTIZ AND RAYMOND ORTIZ; DAISY ORTIZ, AS EXECUTRIX OF THE
ESTATE OF EDWIN ORTIZ, AND DAISY ORTIZ INDIVIDUALLY; EDWIN ORTIZ AND
IVETTE ORTIZ; ELMI ORTIZ; ELVIN ORTIZ AND MAYRA ORTIZ; JOSE ORTIZ; JULIO
ORTIZ; MIGUEL ORTIZ AND MIGDALIA ORTIZ; ROSA ORTIZ AND ELIO YUMBLA;
WILSON ORTIZ AND ALEJANDRINA NARVAEZ; CORNELIUS O'SHEA; THOMAS
O'SHEA AND JOAN O'SHEA; FRED OSTRICK AND ELYSE OSTRICK; PATRICK
O'SULLIVAN AND CATHERINE O'SULLIVAN; SHAUN O'SULLIVAN; BEATA SZOSTEK
OSWAIN, AS EXECUTRIX OF THE ESTATE OF ROBERT OSWAIN, AND BEATA SZOSTEK
OSWAIN INDIVIDUALLY; JASON OTERO; KEVYN OTERO; LEONARD O'TOOLE; PAUL
O'TOOLE AND ANNA O'TOOLE; JAROD OTTLEY AND JENELLE OTTLEY; DOUGLAS
OWEN AND DONNA OWEN; ROGER OWENS AND PAMELA OWENS; STEVEN OXNARD;
MARIAM OZIEGBE AND FIDELIS OZIEGBE; HAYDEE PABEY AND HENRY CHEN;
MAXIMO PACHAY; BERNICE PACHECO; LOUIS PACHECO AND LINDA PACHECO;
MIRIAM PACHECO, AS ADMINISTRATRIX OF THE ESTATE OF RICHARD PACHECO,
AND MIRIAM PACHECO INDIVIDUALLY; JOSE PACHECO LOBO AND MARIA
PACHECO; MICHAEL PACIFIC AND MARYANN PACIFIC; NATHALIE PACIFICO;
GABRIELE PACINO; KATARZYNA P. HOLMES, AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF WOJCIECH PACIORKOWSKI, AND KATARZYNA P. HOLMES
INDIVIDUALLY; ROBERT PACIULLO; LUIS PADILLA AND JUNE PADILLA; MICHAEL
PADILLA AND JOANNE PADILLA; WILLIAM PADILLA; JOSE PADRO AND NARCISA
PADRO; WILFREDO PADRO; MIGUEL PADUANI; RICHARD PADULA AND JUSTINE
PADULA; JONANTONY PAESE; JAY PAGAN; MARILYN PAGAN AND RAFAEL PAGAN;
GLENN PAGANO; MELISSA PAGE; NATHAN PAGE; MARK PAGLIARO; LUIS PALACIO;
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ROBERT PALADINO; MICHAEL PALARDY, JR. AND LAURA PALARDY; FRANK
PALIOTTA AND JUDITH A. PALIOTTA; MICHAEL PALLESCHI; PATRICIA PALMA;
BARBARA HENDRICKSON-PALMER, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF ALLISON PALMER, AND BARBARA HENDRICKSON-PALMER
INDIVIDUALLY; DREW PALMER AND LISA K. PALMER; JOHN PALMER AND SUSAN
PALMER; MILDRED PALMER AND ELMER PALMER; ANTHONY V. PALMERI AND
MARY-ANN PALMERI; CAMILO PALOMINO AND MONICA RIVERA; DOMINIC
PALUMBO; KEVIN PANCOAST AND JANET PANCOAST; FRANK PANGALLO; FRANCIS
PANTALEO AND LISA PANTALEO; JOHN PAOLUCCI; JOHN PAOLUCCI; VINCENT
PAPA AND ANNE PAPA; VINCENT PAPASODERO AND CRISTINE PAPASODERO;
GERARD PAPPAS AND WANDA PAPPAS; BILL PAREDES AND ELIZABETH PAREDES;
KLEBER PAREDES; VALENTIN PAREDES AND ORFILIA PAREDES; JOSEPH PARELLA
AND ANGELINA PARELLA; RICHARD PARENTE AND ROSE PARENTE; CHRISTOPHER
PARISE AND NANCY PARISE; EDWARD PARKER; LEON PARKER AND CAROLYN
PARKER; ALLEN PARMET AND ZARA PARMET; JAMES PARMITER AND LAURIE
PARMITER; LESROY PARRY; RONALD PASCUCCI AND ANN PASCUCCI; JOHN PASKINS
AND ANNIKA PASKINS; STEPHEN PASKOR; RICHARD A. PASSARETTI JR; MICHAEL
PASSERO AND DEBRA D. PASSERO; THOMAS PASTORE; ANUPAMA PATEL, AS
ADMINISTRATRIX OF THE ESTATE OF LOMESH PATEL, AND ANUPAMA PATEL
INDIVIDUALLY; ROBERT PATELLI AND KIM A. PATELLI; MICHAEL PATERNOSTRO
AND LINDA PATERNOSTRO; ELEANOR PATRICK; PAVEL PATRIKEYEV AND GINA
PATRIKEYEV; LANCE PATROUCH AND MAJORIE BEE; JAMES PATTERSON AND
ARLENE PATTERSON; MARIANNE PATTERSON AND PETER PATTERSON; ROBERT D.
PATTERSON AND FRANCES PATTERSON; PETER PATTI AND RITA PATTI; VINCENT
PATTI AND FAWN PATTI; DOUGLAS PATUNAS AND ELIZABETH PATUNAS; HERBERT
L. PAULING JR AND ELAINE PAULING; ROBERT PAV; PAUL PAVARINI AND LISA
PAVARINI; JOHN PAWLIKOWSKY; ANTHONY B. PAYNE AND SONYA PAYNE; EVANS
PAYNE AND MARY E. PAYNE; ADELA PAZMINO; RITA PEARL; MARK PECHENYY AND
MALVINA PECHENAYA; MICHAEL PECORARO AND DENISE PECORARO; WILLIAM J.
PEDERSEN; FELIX PEDROZA AND MINERVA PEDROZA; FRANK PELLEGRINO;
STEPHEN PELLINGTON AND ANDREA PELLINGTON; MICHAEL PELUSIO AND
ANNETTE PELUSIO; EDWARD PELZER AND YVONNE PELZER; PAM PEMBERTON;
ALEXANDER PENA; CARLOS PENA; FRANK PENA; GABRIEL PENA; LUIS PENA AND
MARIA DELOURDES; NOLAN PENA; LUIS PENAFIEL AND NUBEA PENAFIEL; PAUL
PENDOLA; KELVIN PENN AND CANDICE PENN; DOMINICK PENSABENE AND
LAUREN PENSABENE; JOSEPH PEPE AND ALICIA PEPE; JOSEPH PEPE JR AND
SERAFINA PEPE; FRIDA PERALTA; AMERICA PERALTA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF GUIDO PERALTA, AND AMERICA PERALTA
INDIVIDUALLY; JOSE PERALTA AND ERMELINDA EBINN; MARILIN PERALTA; JOEL
PERECA AND EILEEN PERECA; LUIS PEREIRA; RONALD PEREIRA AND ANNA
PEREIRA; SYLVESTER PEREIRA; ANGEL PEREZ; CARMELO PEREZ AND LINA R.
PEREZ; CHRIS PEREZ; DAVID PEREZ AND SHARON PEREZ; ERIK PEREZ AND
JOANNE PEREZ; FELIX PEREZ AND DENISE PEREZ; FRANK PEREZ AND JOANNE C.
PEREZ; RAMONITA PEREZ; SILVIO PEREZ AND CHRISTINE PEREZ; WILSON PEREZ
AND CARRIN PEREZ; YVONNE PEREZ AND GEORGE PEREZ; MARIBEL PEREZ-
SANCHEZ; MICHAEL PERILLO AND DEBRA PERILLO; DARRELL PERKINS; FRANK
PERNICIARO AND MICHELLE PERNICIARO; NEIL PERO; ANTHONY PEROSI;
ANTHONY PERRIN; RICHARD PERRONE; CLEMENTE PERROTTA AND LYNN
PERROTTA; LOUANNE PERROTTI, AS EXECUTRIX OF THE ESTATE OF MICHAEL
PERROTTI, AND LOUANNE PERROTTI INDIVIDUALLY; MUNESH PERSAUD AND
RAMONA PERSAUD; RAMDHAN PERSAUD AND MICHELLE PERSAUD; BRENDA
PERSON; ANTONIO PERZICHILLI AND LISA PERZICHILLI; NICHOLAS PESCE AND
DONNA PESCE; ANNETTE PETERS; ROBERT PETERS; WILLIAM PETERS AND
SUZANNE PETERS; JAMES PETERSON AND ARLENE PETERSON; RICHARD PETILLO;
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MARIO PETRUZZIELLO AND REBECCA PETRUZZIELO; FITZGERALD PETTAWAY
AND MELINDA CHAPELL; EDWARD PETTINATO AND KRISTINE PETTINATO; PHILIP
J. PFERSCHING AND CATHERINE LANGERIN; ROGER PFLEGING; STEPHEN PHILBIN
AND MERI PHILBIN; PAUL PHILIPPS AND GRACE M. PHILIPPS; ADRIAN PHILLIPS;
ERNEST PHILLIPS; LLOYD PHILLIPS AND NURIA PHILLIPS; RICHARD PIANIN; JULIO
PICHU; NANCY PICO; LAURA PICURRO, AS EXECUTRIX OF THE ESTATE OF JOSEPH
PICURRO, AND LAURA PICURRO INDIVIDUALLY; DERRICK PIERCY; CARL
PIERLUISSI; BOBBY PIERRE-LOUIS; MICHAEL PIETROPAOLO; JOHN PIGOTT AND
MABEL PIGOTT; BARRY PIKAARD AND CECILIA PIKAARD; MICHAEL PILIERO; JESUS
M. PINA AND SUSAN PINA; NAPOLEON PINA; HOWARD PINCUS AND ROSEMARIE
PINCUS; WESLEY M. PINEDO AND LUZ N. PINEDO; CARLOS PINELA AND CIOTILDE
PINELA; ANTHONY PINES AND EMMA PINES; KATHERINE PINKNEY AND WILLIAM
PINKNEY; ANNGEANNETTE PINKSTON; GREGORY PINNARO AND TARYN
PINNARO; EDWARD PINNER AND ELLEN PINNER; FERNANDO PINO AND LUZ MARI
ORTEGA DIAZ; DAVID PINTO AND MARILYN C. PINTO; JOSEPH PIRA; JAMES PIRANIO
AND THERESA PIRANIO; JOSEPH PIRO; ROBERT PISACANI AND REGINA PISACANI;
ANDREW PISANI; JOSEPH PISANO AND LISA ANN PISANO; MICHAEL PISANO AND
LORRAINE PISANO; FRANK PITTMAN AND SANDRA R. PITTMAN; PATRICIA PITTS, AS
EXECUTRIX OF THE ESTATE OF RICHARD D. PITTS, AND PATRICIA PITTS
INDIVIDUALLY; PETER PITZER AND MARYLYN PITZER; ANTHONY PIZARRO;
ZHANINA PIZARRO; MARIANNE PIZZITOLA; FRANK PIZZO AND DALE PIZZO;
AMADO PLA AND THEODORA D. PLA; STEPHEN PLANTE AND ROSALINDA PLANTE;
MICHAEL PLUCHINO AND ANDREA PLUCHINO; MARTIN PODOLSKI AND ELLEN
PODOLSKI; JOHN POLESOVSKY AND MARIA POLESOVSKY; CHRIS POLIDORO AND
SHARON OSBORNE; URBAN POLINI AND JANET POLINI; SCOTT POLITANO; JOHN
POLITOSKI AND DARY V. POLITOSKI; DIANE POLLARD; JAMES I. POLLARD JR;
DOMINEK POLLARI AND JOANNE POLLARI; ANTHONY POLLINA AND ANGELA
POLLINA; FRANK POLLINA AND REGIS M. POLLINA; JOSE POLO; KEITH POMMELLS
AND ROSE B. POMMELLS; PEDRO PONCE; RICHARD PONCE; YUK F. POON; BRAD
POPOWITZ AND IRENE POPOWITZ; CHRISTOPHER POPPE III; ANDREW PORAZZO;
CHRIS PORAZZO AND DANIELLE PORAZZO; RAUL PORRAS AND DIANA CAICEDO;
MARK G. PORTER AND VERONICA PORTER; ALFREDA L. PORTER-KATZ; THOMAS
POTNOSKI; CHANDIDAS POTOPSINGH AND LORRAINE POTOPSINGH; DAN J.
POTTER AND JEAN POTTER; ISSAC POWELL; SEAN POWELL AND BRIDGET POWELL;
TYRONE POWELL AND NELLIE E. POWELL; CHRISTOPHER POWER AND NOREEN
POWER; ROBERT POWER AND DIANE POWER; SUSAN POWER; DANIEL POWERS;
ROBERT POWERS AND MAUREEN POWERS; WILLIAM POWERS AND KAREN POWERS;
VICTOR PRADO; DOMINICK PRATO; DESIREE N. BOLTON, AS ADMINISTRATRIX OF
THE ESTATE OF LEROY J. PRATT, AND DESIREE N. BOLTON INDIVIDUALLY; KEVIN
PRENDERGAST AND MARIA PRENDERGAST; ANTHONY PRESTIGIACOMO AND
GIUSEPPINA PRESTIGIACOMO; TOMMASO PRESTIGIACOMO AND ANNA
PRESTIGIACOMO; MATTHEW PRIAL AND LINDA J. PRIAL; RICHARD PRICE AND ANN
PRICE; HERMAN PRIDE; JOSE PRIMO; RUDOLPH PRINCI AND TAMMY PRINCI; GARY
PRIORE; PATRICIA PRIZZI AND FREDERICK PUFAHL; DAVID PROSCIA AND TARA
PROSCIA; ROBERT PROVENZANO; JON PRUNTY; MICHAEL PRYSTUPA AND
NANNETTE PRYSTUPA; DONALD J. PRZYBYSZEWSKI AND CANDACE PRZYBYSZEWS;
ALEKSEY PTASHNIK; CHRISTOPHER PUE; NICOLE PUGH, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF BETTY PUGH, AND NICOLE PUGH
INDIVIDUALLY; MICHAEL PUHL; ANTONIA PUMA, AS EXECUTRIX OF THE ESTATE
OF PIETRO PUMA, AND ANTONIA PUMA INDIVIDUALLY; MANUEL PUMACURI;
RICHARD PURCELL; SCOTT PURCELL AND CHRISTINE PURCELL; JOHN PURPURA
AND LAURA PURPURA; JAN PYZIAK; LOUIS QUADRINO AND SONIA QUADRINO;
VINCENT QUAGLIARIELLO AND INGRID QUAGLIARIELLO; WILFRED QUASHIE;
ERIC QUERE AND JENNIFER QUERE; THERESA QUIBELL, AS EXECUTRIX OF THE
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ESTATE OF GREGORY QUIBELL, AND THERESA QUIBELL INDIVIDUALLY; JAMES
QUIGLEY AND BARBARA QUIGLEY; LINDA QUILL, AS ADMINISTRATRIX OF THE
ESTATE OF GERALD J. QUILL, AND LINDA QUILL INDIVIDUALLY; ANGEL QUINCHE;
ROBERT QUINLAN; SCOTT QUINLAN AND ANGELA DECARLOS; ROBERT QUINN
AND MARJORIE QUINN; GODWIN QUINONES; ISMAEL QUINONES; DANIEL QUIRKE;
JESUS QUIZHPI; THOMAS RAAB; MUSTAFA RABBOH AND HAVA RABBOH; VINCENT
RACANELLI AND ANN TRANI; DONOVAN RACE AND JEAN RACE; RONALD A.
RACIOPPI AND SAMANTHA RACIOPPI; GLENN RADALINSKY AND RENEE
RADALINSKY; KEITH RADIGAN AND LINDA RADIGAN; JOSEPH RAFFA AND CAROL
RAFFA; GEORGE RAFFERTY; JAMES RAGNETTI AND BETH G. RAGNETTI; JOHN C.
RAGUSO AND MICHELE RAGUSO; SHEIK RAHAMAN AND ESHWARIE RAHAMAN;
VINCENT J. RAIA AND EILEEN RAIA; RICHARD RAIMO AND MARYANN T. RAIMO;
MICHAEL RAIMONDI AND DONNA RAIMONDI; NOREEN RAM; GLENN RAMBO AND
JEANNEMARIE RAMBO; JOSE RAMIREZ AND KATHERINE RAMIREZ; RAMIRO
RAMIREZ AND NATIVIDAD MARTINEZ; JOSEPH RAMONDINO AND TONI
RAMONDINO; CARMEN RAMOS; DEREK RAMOS AND RITA RAMOS; EUGENIO RAMOS
AND YVETTE RAMOS; FREDDIE RAMOS AND BIANCA RAMOS; NESTOR RAMOS AND
MIGDALIA RAMOS; RAYMOND RAMOS; WILFREDO RAMOS AND ELSA RAMOS; ERROL
RAMPERSAD AND PARBATEE RAMPERSAD; VICTOR RAMRATTAN AND BIBI
RAMRATTAN; JOSEPH RANAURO AND ANDREA RANAURO; LAWRENCE RAND AND
ELIZABETH     RAND;   VINCENT     RANIERI;   CHARLENE     RANSELLE,    AS
ADMINISTRATRIX OF THE ESTATE OF KURTIS RANSELLE, AND CHARLENE
RANSELLE INDIVIDUALLY; LOUIS RAPOLI AND BARBARA RAPOLI; DAVID RAPP AND
MEGAN T. RAPP; FLORETTA RASBERRY; ABDEL RASHEED; ADAM RASMUSSEN AND
NICOLE R. RASMUSSEN; HARRY RASP AND SHIRLEY RASP; JOSE RECIO AND SAHILY
REYES; SCOTT RECTOR AND JANE RECTOR; PATRICK REDDINGTON AND DONNA
REDDINGTON; ROBERT REDGRAVE; ALFRED REED AND LAQUESHA REED; EVELYN
REED, AS ADMINISTRATOR OF THE ESTATE OF GREGORY REED, AND EVELYN
REED INDIVIDUALLY; JACY REESE AND MINAKO REESE; DAVID REEVE, AS
ADMINISTRATOR OF THE ESTATE OF DEBORAH REEVE, AND DAVID REEVE
INDIVIDUALLY; DENNIS REGAN AND KATHY REGAN; THOMAS REGAN AND NANCY
REGAN; ALICIA REGANS AND EUGENE BRADDEN; DENNIS REICHARDT AND JEAN
REICHARDT; KURT REICHEL AND NATASHA REICHEL; JOSEPH REID; JOHN D.
REILLY AND GAIL W. REILLY; JOSEPH REILLY AND LISA SCHILIRO REILLY; KEITH
REILLY AND ILEANA REILLY; KEVIN REILLY AND KAREN REILLY; MARTIN REILLY
AND MICHELE REILLY; RAYMOND REILLY AND DEBRA REILLY; THOMAS REILLY
AND IRENE REILLY; TOM REILLY AND JULIE REILLY; JONATHAN REINGOLD;
FENTON REMEKIE; CHRISTOPHER REMUSAT AND GLORIA REMUSAT; JIAN MING
REN AND JIA RUI CHEN; LIN REN; REN XIN HUANG, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF YU SHENG REN, AND REN XIN HUANG
INDIVIDUALLY; ZHAO YING REN AND HAO FENG YANG; PAUL RENDA; MAGOLA
RENDON AND FARDY RENDON; WILLIAM RESCHKE AND LYNN RESCHKE; KARYN
RESKO AND RONALD RESKO; JAVIER RESTREPO AND JUDITH K. AKIN; TERRENCE
REVELLA; ANDRES REYES AND SHO REYES; CRAIG REYNOLDS AND KATHLEEN
REYNOLDS; JAMES REYNOLDS; DANIEL RHEIN; ALIM RHIMAN AND BIBI RHIMAN;
BUCKY RHOADES AND ROBIN RHOADES; VITO RIBAUDO AND FELICIA RIBAUDO;
WILLIAM RICCA; DANIEL RICCIARDI AND MICHELLE RICCIARDI; FRANK G.
RICCIARDI; JOSEPH RICCIARDI AND MARIA RICCIARDI; ARTHUR RICCIO AND
MARGARET RICCIO; ROBERT RICE AND KIMBERLY RICE; THOMAS RICE AND
DENISE RICE; WILLIAM RICH AND SUSHAMA RICH; FELICIA RICHARDS; RONALD
RICHARDS AND MILLIE RICHARDS; BARBARA RICHARDSON; KEVIN RICHARDSON
AND SIMONETTA RICHARDSON; LAMAR RICHARDSON AND YOLANDA
RICHARDSON; WILLIAM F. RICHARDSON, JR. AND FAY E. RICHARDSON; JAMES
RICHES AND RITA RICHES; DEBRA RICKS; ETHEL RIDDLE; ALBERT RIDENHOUR
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AND LANI RIDENHOUR; JOHN RIDGE AND JOAN RIDGE; RUSSELL RIEGERT AND
CAROLYN RIEGERT; JOHN RIEMER; YVETTE RIERA; VIRGINIA RIGBY; LAURA RIGGI;
MICHAEL RILEY; STEVEN RINCHEY AND JOYCE RINCHEY; ROBERT RINERE AND
MARY DIPRETA ; JARED RING; JOHN RIORDAN AND CATHERINE RIORDAN;
ANTHONY RIVELLI; ANTHONY RIVERA; ANTHONY RIVERA AND MARGARET
RIVERA; CARLOS RIVERA; CARLOS RIVERA; DAVID RIVERA; GEORGE RIVERA AND
LIANA M. RIVERA; GERALDO RIVERA; GILDARDO RIVERA; INOCENCIO RIVERA AND
ROSLYN MEDOFF-RIVERA; IRIS RIVERA; JAVIER RIVERA AND SILMEIA RIVERA;
MARIA RIVERA; RUBIN RIVERA AND LINDA RIVERA; RUDOLPH RIVERA; SONIA
RIVERA; VIVIAN RIVERA; JUAN RIVERO AND LINDA RIVERO; CALOGERO RIZZO;
PHILIP RIZZO AND ROSA RIZZO; PHILIP RIZZOCASIO; BRIAN ROACH AND
KATHLLEEN ROACH; JOHN ROACH AND CHRISTINE ROACH; DAVY L. ROBBINS AND
STACI ROBBINS; CARLYLE S. ROBERTS; DARNELL ROBERTS AND SHERRI D.
ROBERTS; EDWIN J. ROBERTS AND EVELYN ROBERTS; JUNE ROBERTS; ROLAND
ROBERTS; SCOTT D. ROBERTS AND JENNIFER A. ROBERTS; CHRISTOPHER
ROBINSON; CLAUDY ROBINSON; KENNETH ROBINSON; KENNETH ROBINSON AND
MELISSA ROBINSON; MICHAEL ROBINSON; MICHELE ROBINSON; TANYA
ROBINSON; THOMAS ROBINSON; WILLIAM A. ROBINSON AND CAROL ROBINSON;
BLANCA ROBLES; TERESA ROBLES; DEBORAH ROCK AND ULRIC ROCK; JOHN
RODELLI AND KATHY RODELLI; ABDON RODRIGUEZ AND MARYANN RODRIGUEZ;
ANGEL RODRIGUEZ; ANTHONY RODRIGUEZ AND MADELINE RODRIGUEZ;
CANDIDO RODRIGUEZ AND DYANE RODRIGUEZ; EDGARDO RODRIGUEZ AND
MAUREEN RODRIGUEZ; EDWARD F. RODRIGUEZ AND JOANN RODRIGUEZ; ERIC
RODRIGUEZ AND EDNA RODRIGUEZ; ERIC RODRIGUEZ AND YERMI RODRIGUEZ;
ERNESTO J. RODRIGUEZ AND MADELINE RODRIGUEZ; ESMERALDA RODRIGUEZ
AND THOMAS M. RODRIGUEZ; FRANK RODRIGUEZ AND MADELINE RODRIGUEZ;
GEORGE RODRIGUEZ; GEORGE RODRIGUEZ AND MARGUERITA RODRIGUEZ;
JEFFERSON RODRIGUEZ AND CATHERINE RODERIGUEZ; JESENNIA RODRIGUEZ;
JORGE RODRIGUEZ; JORGE RODRIGUEZ; JOSHUA RODRIGUEZ AND MILAGROS
RODRIGUEZ; JUAN RODRIGUEZ; KARINA RODRIGUEZ; LUIS RODRIGUEZ; LUZ
RODRIGUEZ; PABLO RODRIGUEZ AND SHIRLEY RODRIGUEZ; RAMON RODRIGUEZ
AND BRENDA RODRIGUEZ; RAUL RODRIGUEZ AND MICHELE V. RODRIGUEZ;
RAYMOND RODRIGUEZ AND EVELYN RODRIGUEZ; VICTOR RODRIGUEZ AND
CATALINA RODRIGUEZ; WILBERTO RODRIGUEZ AND ESTHA QUILES; MARY
RODRIGUEZ DE MARQUE; GEOFFREY ROESCH; PHILIP ROGAN AND BARBARA
ROGAN; THOMAS ROGAN AND SILVANA ROGAN; COLIN ROGERS AND HEATHER
ROGERS; DOLA ROGERS; JAMES ROGERS; JESSE ROGERSON; GLENN ROHAN AND
STACY ROHAN; JAMES ROHAN; ANGEL ROJAS AND OLGA BEATRIZ REALEOR;
CARLOS ROJAS AND APRIL ROJAS; DAVID ROLDAN AND LAURA ROLDAN; NELSON
ROLDAN AND MILAGROS ROLDAN; JAMES ROLLINS; TIMOTHY ROLLINS AND
VERONICA ROLLINS; FRANKLYN ROMAN AND ELLIANY E. CANDELARIO; GENE
ROMAN; JEFFERY ROMAN; LUIS ROMAN; MARIBEL ROMAN; ANTHONY ROMANO
AND FRANCES ROMANO; DENNIS ROMANO AND DIANE ROMANO; VINCENZO
ROMANO AND DIANAM ROMANO; PETER ROMEO AND CAROL ROMEO; LAURA
ROMER; EARL ROMNEY; RICKY RONDINA AND MICHELE M. RONDINA; MICHAEL
ROONEY AND PENNY ROONEY; JOSE ROSA AND SARAH ROSA; MANUEL ROSA;
SARAH ROSA AND JOSE ROSA; LISA ROSADO; RICHARD ROSADO AND CLARA ROSADO;
GEORGE ROSARIO; JIMMY ROSARIO AND TONI ROSARIO; JOSE ROSARIO AND IRMA
ROSARIO; JOSEPH ROSARIO AND LORI J. ROSARIO; JUAN ROSARIO; JULIO C.
ROSARIO; RAFAEL ROSARIO AND YOLAINE ROSARIO; RAUL ROSARIO; RAYMOND
ROSARIO AND LETICIA Y. SOTO; ANITA ROSATO; HORACE ROSE AND JANNET ROSE;
THOMAS E. ROSINA AND ANN MARIE ROSINA; ROBERT G. ROSS AND MARY-KAY
ROSS; THOMAS ROSS AND CHRISTINE ROSS; RICHARD J. ROSSI AND CAROL ROSSI;
JOHN ROSSIELLO; NICHOLAS ROSSINI AND YAMIRA ROSSINI; PAUL ROSSITTO AND
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LORI ROSSITTO; MIECZYSLAW ROSZCZYNSKI AND THERESA ROSZCZYNSKI;
RICHARD ROTH AND DEBRA ROTH; MICHAEL ROTHFELD; ANTHONY ROTONDI
AND NICOLETTA ROTONDI; GREGORY ROTSENMAR AND LISA ROTSENMAR;
PATRICIA ROUTH; TEDDY ROUZINOS; ANTHONY P. ROY AND DONNA M. ROY;
SEGUNDO E. RUALES AND CYNTHIA SARATO; BELINDA RUANE AND MARTIN
RUANE; MICHAEL RUBINO; ANN L. RUBIO; THOMAS RUDDY AND MAUREEN RUDDY;
DANIEL RUDEK AND LAURIE RUDEK; FRANK RUFFO; ROCCO RUFRANO AND
MARYANN RUFRANO; KARL RUGG AND JEAN RUGGS; ANTHONY RUGGIERO AND
PAULINE RUGGIERO; CARMELO RUGGIERO AND EVELYN RUGGIERO; RICHARD
RUGGIERO AND GAIL RUGGIERO; ANGEL L. RUIZ AND CARMEN RUIZ; CARMELO
RUIZ AND ILYNN COLON; GILBERT RUIZ; ISMAEL RUIZ; JOSE RUIZ; JOSE RUIZ AND
JOE RUIZ; JUAN RUIZ AND EVELYN RUIZ; LIANA RUIZ AND JEREK RUIZ; MARCO
RUIZ AND MERCEDES RUIZ; OSWALDO RUIZ AND SANDRA RUIZ; SOLANGEL RUIZ
DIAZ; RAMON RUIZ, JR. AND CARMEN M. VELEZ-RUIZ; ONEIL G. RUMBLE;
JEREMIAH RUMLEY; BRUCE RUSCONI; DAMIAN RUSIN AND LYNNE M. RUSIN;
MARIE RUSS AND JAMES RUSS; DEAN RUSSAMANO AND JANET RUSSAMANO; BEN
RUSSO; FRANK RUSSO; JACK RUSSO AND ROSEANN RUSSO; JAMES RUSSO AND
LUCILLE RUSSO; SONIA RUSSO, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
JOHN RUSSO, AND SONIA RUSSO INDIVIDUALLY; JOHN RUSSO; JOHN RUSSO AND
LISA A. RUSSO; NICHOLAS RUSSO, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF NICHOLAS T. RUSSO, AND NICHOLAS RUSSO INDIVIDUALLY; ROBERT RUSSO
AND SHERIE RUSSO; RICHARD RUTHERFORD AND SUSAN RUTHERFORD;
DOMINICK RUTIGLIANO AND JOELLE RUTIGLIANO; EDWARD RUTLEDGE AND
BARBARA RUTLEDGE; JAMES RYAN; JEAN RYAN AND JAMES RYAN; KEVIN RYAN AND
IRENE RYAN; EILEEN RYAN, AS EXECUTRIX OF THE ESTATE OF MICHAEL RYAN,
AND EILEEN RYAN INDIVIDUALLY; MICHAEL RYAN AND CATHERINE RYAN;
RICHARD RYAN AND COLLEEN RYAN; ROBERT RYAN; TERRENCE RYAN AND
PATRICIA RYAN; THOMAS RYAN AND PAMELA A. RYAN; WILLIAM RYAN AND
ELIZABETH M. KEY-RYAN; VIRGINIA RYERSON, AS ADMINISTRATRIX OF THE
ESTATE OF GLENN RYERSON, AND VIRGINIA RYERSON INDIVIDUALLY; JOHN
RYKALA AND LAURA RYKALA; VINCENT SABATASSO AND GERALDINE R. SABATASSO;
MARK SABBAGH AND EILEEN SABBAGH; CHRISTOPHER SABELLA; RONALD P.
SABOROWSKI AND LORI SABOROWSKI; RICHARD SACCOMAGNO AND CECILIA
SACCOMAGNO; SEBASTION SACCOMAGNO; BRIAN SADDLER; CHRISTOPHER
SADOWSKI; DAVID SAGER AND KIM A. SAGER; MYRALYNN SAGRA; VINCENT SAINATO
AND ROSEANN SAINATO; DANIEL SAITTA AND LAURA D. SAITTA; JAMES SAITTA;
ROBERT SAKACS AND TINA SAKACS; JASON SAKARIASEN; FRANK SALAMONE; MARIA
SALAZAR AND PEDRO SALAZAR; EPIFANIO SALCEDO, JR. AND LENNY SALCEDO;
JOHN SALEMO AND KAREN SALEMO; SARA SALERNO; KAYSAREE SALGADO, AS
ADMINISTRATRIX OF THE ESTATE OF ERICK J. SALGADO, AND KAYSAREE SALGADO
INDIVIDUALLY; FRANK SALMON AND ALICE SALMON; ROBERT SALMON; MICHAEL
SALMONESE AND TRACEY SALMONESE; RICHARD SALONIA; JEFF SALTA; FRANK
SALUMN; RICHARD SALVADOR; NANCY SALVIA; JAMES SALVIO; ERIC SAMUELS;
GEORGE SAMUELS; DAVID SANABRIA AND ROSEANN SANABRIA; DANILO A
SANCHEZ AND ISABEL SANCHEZ; EDILBERTO SANCHEZ; ELOY SANCHEZ; ERIC
SANCHEZ AND PAMELA SANCHEZ; FERDINAND SANCHEZ; FERNANDO SANCHEZ
AND MINDY BIRMAN; FRANCISCO SANCHEZ AND NADINE SANCHEZ; GENARO
SANCHEZ AND BRISCIA SANCHEZ; JAVIER SANCHEZ AND MERCEDES ALCIVAR;
MANUEL A. SANCHEZ AND MARGARET SANCHEZ; SILVIA SANCHEZ; WILSON
SANCHEZ AND MARIA G. ZUMBA; RICHARD SANCHEZ, SR. AND MAUREEN SANCHEZ;
LASHAWN SANDERS AND NICHOLAS D. SANDERS; JAMIE SANDOZ AND MYONG-HUI
SANDOZ; ALFRED SANDURO AND TANYA SANDURO; CHRISTOPHER SANTANGELO
AND JENNIFER SANTANGELO; JOAN SANTANGELO AND JOSEPH M. DESERIO;
ANDREW SANTASINE AND MICHELLE SANTASINE; ALFRED SANTERSIRO; DARREN
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SANTIAGO; ERICK SANTIAGO; ROBERT SANTIAGO AND RSEANN L. SANTIAGO;
STEVEN SANTIAGO; ALEXANDER SANTORA AND MAUREEN SANTORA; SEBASTIAN
SANTORO AND JOSEPHINE SANTORO; ERROL SANTOS AND CLAUDIA MAYER-
SANTOS; MARIA SANTOS; ROSARIA SAPONIERI, AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF ALBERT SAPONIERI, SR., AND ROSARIA SAPONIERI INDIVIDUALLY;
ROBERT SAPORITO AND ELIZABETH M. SAPORITO; GALO SARMIENTO; JAVIER
SARMIENTO; MAYDI SARMIENTO; CIRO SARRUBBO AND TERESA SARRUBBO;
DANIEL SARRUBBO AND MICHELE SARRUBBO; ROBERT D. SASSO AND KAREN
SASSO; WAYNE SAULNIER; RICHARD SAUNDERS AND JAQUELINE SAUNDERS;
ROBERT SAUNDERS; ZAVEN SAVA AND SHOGACAT SAVA; DIANA SAVAGE; MICHAEL
SAVAGE; ROBERT SAVARESE AND GAIL SAVARESE; JASON SAVINO AND JEANETTE
SAVINO; MICHAEL SAVINO AND BARBARA SAVINO; RICHARD SAVINO AND HEIDI
SAVINO; CARA SAVITTIERE AND MIKI SAVITTIERE; HAROLD SAWYER; MICHAEL
SAXE AND ANNA SAXE; ERIC SAXON; DAVID SAYLES; REGINA SBARRA, AS
ADMINISTRATRIX OF THE ESTATE OF RAYMOND SBARRA, SR., AND REGINA SBARRA
INDIVIDUALLY; FRANK SBLENDIDO AND JOANE SBLENDIDO; PATRICIA SCADUTO
AND PHILIP SOTO; MAURICE SCALES AND MARILYN SCALES; DENISE SCALZA, AS
ADMINISTRATRIX OF THE ESTATE OF STEPHEN SCALZA, AND DENISE SCALZA
INDIVIDUALLY; JOSEPH SCARANO AND KRISTEN D. SCARANO; BONNIE J. SCHAAF;
HENRY SCHAEFER; WILLIAM F. SCHARP AND LINDA SCHARP; THOMAS SCHATZLE
AND DIANE SCHATZLE; LOUIS SCHERIFF; JAMES SCHIAVONE AND LISA SCHIAVONE;
ALFRED SCHILLE AND JESSICA SCHILLE; MATTHEW SCHILLER; KENNETH
SCHIOTIS AND DONNA SCHIOTIS; ROBERT SCHLEICHER AND LISA SCHLEICHER;
HARRY SCHLEYER AND MARY SCHLEYER; JOHN J. SCHMAELING AND SUZANNE
SCHMAELING; STEVEN SCHMALZRIED AND MARYANNE SCHMALZRIED; JOHN
SCHMITT; LEONARD SCHMITT AND VIRGINIA SCHMITT; MICHAEL SCHNEIDER
AND DOMENICA SCHNEIDER; MICHELE SCHOR, AS ADMINISTRATRIX OF THE
ESTATE OF ROBERT SCHOR, AND MICHELE SCHOR INDIVIDUALLY; ADAM
SCHREIBMAN AND VALERIE SCHREIBMAN; GEORGE SCHREINER AND TERESA
SHREINER; CARL SCHROEDER; MICHAEL B. SCHUIERER AND JENNIFER LEE
SCHUIERER; MICHAEL SCHULE AND CAROLYN B. SCHULE; ROBERT SCHULTZ;
WAYNE SCHULTZ; ARTHUR SCHULZ AND CHERYL SCHULZ; WILLIAM SCHUTT AND
SANDRA E. SCHUTT; LINDA E. SCHWAB; WILLIAM SCHWARZ AND SHARON
SCHWARZ; ANN MARIE SCHWEIGERT AND PAUL DAVID SCHWEIGERT; JOSEPH
SCHWING AND DARY T. SCHWING; FRANK SCIACCHITANO AND ANNE
SCIACCHITANO; KIM SCIARRINO AND MAVERICK SCIARRING; MAVERICK
SCIARRINO AND KIM C. SCIARRINO; ROSARIO SCIBILIA; CARMINE SCOPELLITI AND
ANGELA SCOPELLITI; EDWARD SCOTT; NANETTE SCOTT, AS ADMINISTRATRIX OF
THE ESTATE OF GLENN SCOTT, AND NANETTE SCOTT INDIVIDUALLY; JOHN
SCOTT AND JEANNINE SCOTT; JULIA SCOTT; MARTIN SCOTT; ROBERT SCOTTI;
FRANK M. SCOTTO AND MARY E. SCOTTO; RICHARD SCRIVANI AND MARIANNE
SCRIVANI; WILLIAM SCUMACI AND DOREEN M. SCUMACI; ROBERT SCUPP; THOMAS
SEABASTY; TROY SEALY; IAN SEARING AND LINDA SEARING; DAVID SEDA AND LISA
SEDA; MARIA SEGALINE; JUAN SEGARRA AND MARGARITA SEGARRA; DAVID SEGIT;
SHARON SELESKY, AS ADMINISTRATRIX OF THE ESTATE OF JOSEPH SELESKY, AND
SHARON SELESKY INDIVIDUALLY; JUAN SEN; JOHN SENICA AND MELISSA SENICA;
JOHN SENZAMICI AND ANTONINA SENZAMICI; RICHARD SERE; THEODORE
SERGIO; WILLIAM SERPE AND BARBARA SERPE; MICHAEL SERRA AND SUSIE SERRA;
ANGEL SERRANO; LUIS SERRANO AND KAREN SERRANO; JAMES G. SERVICE AND
REBECCA SERVICE; JAMES SESTI AND KELLY SESTI; ANTHONY SEVERINO; JOHN
SEWARD AND KAREN SEWARD; CHARLES SFERRAZZA; DAN SFIROUDIS AND
KATHLEEN SFIROUDIS; ROBERT SHABAZZ; EDWARD SHAFFER; THOMAS SHAFFER
AND KATHRYN SHAFFER; KEN SHANAHAN AND PATTIE SHANAHAN; MICHAEL
SHANAHAN AND GEORGENE SHANAHAN; MARILYN SHANKLE AND LARRY L.
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SHANKLE; DARYL SHANLEY AND GINA SHANLEY; ERIC SHANLEY AND NOELLE
SHANLEY; DAVID SHAPIRO; RAWTIE SHARBO; CHRIS SHAUGHNESSY; ZACHARIAH
SHAW AND SHARRON SHAW; MARCIANO SHAY; MORAIMA LORENZO, AS EXECUTRIX
OF THE ESTATE OF GEORGE SHEA, AND MORAIMA LORENZO INDIVIDUALLY;
THOMAS SHEA AND SANDRA SHEA; CHRISSANDRA SHEDRICK , AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF JAMES SHEDRICK, AND CHRISSANDRA
SHEDRICK INDIVIDUALLY; MATTHEW SHEEHAN AND MELISSA SHEEHAN; ALBERT
SHEIN AND BETSY SHEIN; PATRICK SHELBY AND MICHELLE SHELBY; EDMUND
SHERIDAN AND JENNIFER SHERIDAN; GERALD SHERIDAN AND JENNIE L.
SHERIDAN; STEPHEN SHERIDAN AND KATHLEEN SHERIDAN; JASON SHERMAN;
CLIFFORD SHEVLIN; FRANCIS SHIELDS; JAMES SHILLITTO AND DINA SHILLITTO;
PAUL SHIMBORSKE; PHILIP SHPILLER; LARISSA SHPRINTS AND EDWARD SHPRINTS;
VIVIAN SHROPSHIRE AND ANTHONY SHROPSHIRE; THOMAS SIANO AND
CATHERINE SIANO; CARLO SIBILLA; GEORGE SICHLER AND AUDRA SICHLER;
DONATO SICILIANO AND BETH SICILIANO; ROBERT SIELAW AND MARIA
CHIARAPPA; ANDRZEJ SIEMEK AND JANINA SIEMEK; WILLIAM SIFONTE; JOHN
SIGNORILE AND MARIA SIGNORILE; THOMAS SIKINGER; WOJCIECH SIKORSKI AND
ANNA KNURZYNSKA; GEORGE SIKORSKY AND LUZIA SIKORSKY; MATTHEW
SILBERZWEIG; FRANK SILECCHIA; PETER SILLARO AND DEIRDRE SILLARO;
ANTONIO SILVA AND LUPE C. SILVA; DARRYL SILVA; ENRIQUE SILVA AND
ELIZABETH SILVA; GERALDO SILVA AND JACQUELINE SILVA; HECTOR SILVA AND
BARBARA SILVA; THOMAS SILVA; LISA SILVERMAN AND LARRY RUSSO; LYNNE
SILVER-MERIWETHER; DOMENICK SILVESTRI AND MARY SILVESTRI; VLADIMIR
SIMEON; GREGORY SIMMONS; DAVID SIMON AND BETH SIMON; PETER SIMON AND
MARIA SIMON; RAPHAEL SIMON AND LEONOR SIMON; EDWARD SIMONETTI AND
ESTELLA SIMONETTI; GUY SIMONETTI AND LINDA SIMONETTI; ROBERT SIMPSON
AND LISA MILLER-SIMPSON; EDDIE SIMS; JOHN A. SINAYI III; ZOILA SINCHI AND
BASILIO AYALA; MYRON SINGER AND JEAN GUINEY; KHAMRAJ SINGH; KHEMRAJ
SINGH; SANJAY SINGH; KIMBERLY SINGLETON; ANDREW SIROKA AND FLORENCE
SIROKA; PETER SITRO AND LINDA SITRO; STEVEN SKIFIC AND MELISA SKIFIC;
MICHAEL SKONBERG AND LAURA SKONBERG; MILTON SKOUFIS AND MARGARET
SKOUFIS; EUGENIUSZ SKRZECZKOWSKI AND ALICJA SKRZECZKOWSKI; JERZY
SLESICKI; KENNETH SLIZEWSKI AND KATHY KANE-SLIZEWSKI; JOHN SLOAN AND
SUSAN SLOAN; PETER SLOAN AND DONNA SLOAN; EVAN SMELLEY; CHRIS SMITH
AND MARILYN ARAUJO; EVERETT K. SMITH AND JUDITH SMITH; GARY SMITH AND
MARYLOU SMITH; JAMES K. SMITH AND SUSIE SMITH; JAY SMITH AND SHERRY
SMITH; JEFFREY J. SMITH; JEFFREY SMITH; JERMAINE SMITH; KAREN SMITH AND
ANTHONY SMITH; KERRY SMITH; PATRICK SMITH; ROBERT D. SMITH AND LORI-
LEE SMITH; RONNIE SMITH AND ANGALINA SMITH; THOMAS SMITH AND
STEPHANIE SMITH; WILLIAM SMITH; WILLIAM SMITH AND CHRISTINE SMITH;
WILLIAM SMITH AND NANCY M. SMITH; WILLIE SMITH; ABRAHAM SMITH JR; KAREN
SMITH-MOORE; PATRICK SMYTH AND DEBRA SMYTH; THOMAS SMYTH AND
MICHELE SMYTH; ROBERT SNEDECOR AND DONNA SNEDECOR; KEVIN SNOWDEN;
ELIZABETH SOCCI; NANCY ACEVEDO, AS PERSONAL REPRESENTATIVE OF THE
ESTATE OF GLORIA SOLER, AND NANCY ACEVEDO INDIVIDUALLY; ELSAYED
SOLIMAN AND DORIS ELSAYED; DAWN SOLIS; IGNACIO C. SOLIS; CHRISTIAN
SOLLECITO AND ELIZABETH SOLLECITO; ALFRED SOLOMON; CARMINE SOMMA
AND CILIA SOMMA; THOMAS SOMMO, JR., AS ADMINISTRATOR OF THE ESTATE OF
THOMAS SOMMO SR., AND THOMAS SOMMO, JR. INDIVIDUALLY; PAUL SORBER AND
DAWN MARIE SORBER; JAMES SORENSON; DAWN SORRENTO; HUGO SOSA AND
BLANCA SOSA; JAIME SOSA; GARY SOSO AND ROLANE J. SOSO; ANTONY SOTO; DAVID
SOZIO AND MAUREEN SOZIO; MICHAEL SOZIO AND CAROL SOZIO; JOSEPH
SPAGNOLA AND WENDY SPAGNOLA; STEVEN SPAK AND MARINA SPAK;
CHRISTOPHER SPARACIA AND DAWN SPARACIA; ROBERT SPARANDERA AND
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JOSEPHINE SPARANDERA; RUSSELL SPATAFORA AND CAROLYN SPATAFORA;
WILLIAM SPAULDING; STEVEN SPAVONE AND DENISE SPAVONE; KENNETH
SPECHT; CASWELL T SPENCE AND SANDRA SPENCE; DIANNE SPENCE; PAULA
SPENCE; BRENDA SPENCER AND MARK DEWAR; ANTHONY SPENNICCHIA AND
TARA SPENNICCHIA; ROBERT SPERA AND RITA SPERA; JIMMIE SPERRAZZA AND
MARGARET - ANN SPERRAZZA; JAMES SPILLANE AND DEBORAH SPILLANE; JOHN
SPILLANE; CAROLYN SPILLMAN; WILLIAM SPILMAN AND ERNESTINE SPILMAN;
EDWARD SPINELLI AND DONNA J. SPINELLI; FREDERICK SPINELLI; MICHAEL
SPINELLI AND DONNA SPINELLI; PETER SPOTO AND LISA SPOTO; DARREN
SPRINGS; MATTHEW SPROUL AND MARA SPROUL; FRANK SQUICCIARINI AND
MICHELLE SQUICCIARINI; JOHN SQUICCIARINI AND CHRISTINA SQUICCIARINI;
MICHAEL STACEY AND STEPHANE STACEY; MICHAEL STAGLIANO AND MADELINE
STAGLIANO; ADOLPH STAMPFEL AND JOANNE STAMPFEL; JEFF STANILAND AND
JEAN STANILAND; STEVEN STANLEY AND ROSEMARIE STANLEY; RONALD
STANULIS AND SUSAN STANULIS; GREGORY STAR AND ANNA STAR; JOE STARACE
AND SYLVIA STARACE; JOHN STARACE AND JEAN STARACE; LESTER STAUBITZ AND
VALERIE STAUBITZ; ROBERT STEDFELT AND NATALIE STEDFELT; STEVEN
STEFANAKOS AND JENNIFER STEFANAKOS; JOHN STEFANOWSKI AND THERESA
STEFANOWSKI; PATRICK STEFFEN; PATRICK STEFFENS AND EILEEN D. STEFFENS;
RONALD STEIN; THEODORE STELLING AND ANGELA STELLING; RICHARD
STENECK; THOMAS STEPHENS AND ROBIN STEPHENS; JOSEPH STERLING; KIRK
STERLING; MAXIMINO STERLING; JACQUELINE STERN; JAKE STEVENS AND RUBY
STEVENS; ALAN STEWARD; FLEDA STEWART; GARTH STEWART; MICHAEL STEWART
AND TRACY STEWART; ROBERT STILES AND LAURA J. STILES; GRACE G. STIUSO AND
WILLIAM STIUSO; RICHARD STOCK AND TONIANNE STOCK; MICHAEL STOFFO;
GEORGE STOKES AND DIANE P. STOKES; HOWARD STONE AND MARLINA W. STONE;
LEILA STONEWOOD; SCOTT P. STRAUSS AND PATRICIA STRAUSS; PATRICK
STREFFACIO AND KATHY STREFFACIO; ROBERT STREIT; JOSEPH STRENG AND
JENIFER STRENG; JOSEPH STRIFFLER AND KIM P. STRIFFLER; ROBERT STRINGER;
FRANK STROLLO AND MARIE STROLLO; JOSEPH STRONG; ALEX STROUD; PETER
STRUBBE; JYMAL STURDIVANT; JAMES STUREK, JR.; VALENTIN SUAREZ AND
MARIVEL SUAREZ; FRANCES SUAREZ-MARKOWSKI AND ROBERT MARKOWSKI;
NORMA SUCO; WILLIAM SUGGS AND ELIZABETH SUGGS; JOHN SUGRUE AND MARY
SUGRUE; JAMES SULLIVAN AND LOUISE SULLIVAN; BARBARA A. SULLIVAN, AS
EXECUTRIX OF THE ESTATE OF JOHN SULLIVAN, AND BARBARA A. SULLIVAN
INDIVIDUALLY; JOHN SULLIVAN AND ROSA M. SULLIVAN; THOMAS SULLIVAN AND
SUE SULLIVAN; JOSE SUMBA; RAYMOND SUMSKY AND SHEILA SUMSKY; ZU-NIAN
SUN; JAMES SURRUSCO AND LORA A. SURRUSCO; DENNIS SUSLAK AND MARGARET
SUSLAK; LONNIE SUSSMAN AND BARBARA SUSSMAN; DAVID SUTTON; FREDERICK
SUTTON AND MARYANN PARKER SUTTON; JAMES SUTTON; FRANK SVOBODA AND
JOSEPHINE SVOBODA; MICHAEL SWAIN AND LUCY SWAIN; MICHAEL SWANNICK
AND DAWN SWANNICK; DENNIS J. SWANTON; DIANE SWEENEY AND DAVID
SWEENEY; VINCENT SWEENEY AND GERALYN SWEENY; WAYNE SYLVESTER;
MIROSLAW SZABAT AND TERESA SZABAT; EDWARD SZUBERLA; MAURICIO TABARES
AND CLAUDIA LORENA DARANGO; LUIS TACURI ; MARK TAFFE AND DENISE
BURGESS; SOPHIE TAGGART AND RICKY TAGGART; JOHN TAGLIARINO AND APRIL
V. TAGLIARINO; JERMAINE TAI; VIRGILIO TAITE AND STEPHANIE TAITE; MICHAEL
TAKVOR; SARA J. TALLAKSEN AND WAYNE TALLAKSEN; BILL TAM AND YEE WAH
TAM; SIU-TAI TAM; PEDRO TAMAYO AND GABRIELLA TAMAYO; XING-ZU TANG;
ALLAN TANNENBAUM AND DEBORA TANNENBAUM; VINCE TANTUCCIO;
SALVATORE TAORMINA AND KAREN TAORMINA; CRISTHIAN TAPIA; ALPHA
TARAWALLY; DANIEL TARPEY AND BARBARA TARPEY; GLENN TARQUINIO AND
LORRAINE TARQUINO; MATTHEW H. TARTAGLIA AND ALISON C. TARTAGLIA;
HUGH TATE AND THERESA A. TATE; LIZA TATE; STEPHEN TATUR AND HEATHER
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TATUR; DAVID TAVERNIER AND VENUS TAVERNIER; ANNETTE TAYLOR; CRAIG
TAYLOR AND RENEE TAYLOR; KEVIN TAYLOR AND TAMMY TAYLOR; PHILIP
TAYLOR AND TARA TAYLOR; RICHARD TAYLOR AND ANGLEA TAYLOR; TRACY
TAYLOR AND VIRGINIA TAYLOR; MARTIN TEDESCO AND IDA - MARIE TEDESCO;
HENRIK TEELIMIAN AND NARINE TEELIMIAN; FRANCIS TEGANO AND KRISTINE
TEGANO; MARK TEITLER AND JANINE TEITLER; JOSEPH TEMPESTA AND
DRUPATIE TEMPESTA; ROCIO TENEMPAGAUY; EDWARD TENETY AND DENISE
TENETY; DANIEL TENEYCK; MANUEL TENEZACA AND ELRIA BRAVO; JOSEPH
TENNARIELLO AND JANIE TENNARIELLO; CESAREO TERAN; DAVID TERAN AND
DEBORAH MARTINEZ; THOMAS TERGESEN; GEORGE TERRA AND CATHERINE
TERRA; RICHARD J. TERWILLIGER AND JENNIFER TERWILLIGER; PHILIP
TESORIERO; ROCCO S. TESTA AND CAROL TESTA; CONRAD THEISS AND DENISE
THEISS; JOHN THELIAN; GARY THERIAULT; CALVIN THOMAS; CYNTHIA THOMAS;
ERIC THOMAS; MARK THOMAS, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF GEORGE THOMAS, AND MARK THOMAS INDIVIDUALLY; GREGORY THOMAS;
HAROLD J. THOMAS; MARVIN K. THOMAS AND RENEA THOMAS; STEVEN THOMAS;
WILLIAM THOMAS AND DEBORAH THOMAS; ROBERT THOMEY; ADAM THOMPSON;
DANIEL THOMPSON AND STACEY THOMPSON; LEWIS THOMPSON AND GRACE
THOMPSON; MICHAEL THOMPSON AND DEBBIE THOMPSON; NIGEL THOMPSON;
ROBERT THOMPSON AND JOAN THOMPSON; DENNIS THOMSON AND ANITA
THOMSON; EDDIE TIBBATTS; JAMES TIERNEY; KEVIN TIERNEY AND LINDA
TIERNEY; JOHN TIGHE AND JEAN CRAWLEY; JOYCE FINNO-TIGHE, AS
ADMINISTRATRIX OF THE ESTATE OF STEPHEN TIGHE, AND JOYCE FINNO-TIGHE
INDIVIDUALLY; EVA TIGSI; MARAT TIMASHEV AND GUZALYA TIMASHEVA; JULIAN
TINDALL AND JACQUELINE TINDALL; DANIEL TIRELLI AND DAWN TIRELLI;
STANLEY TIRELLI AND KATHIE TIRELLI; MANUEL TOALA AND CATHERINE
RICCARDS; STEVEN TOCCI AND EIMEAR MARIE TOCCI; THAD TODD; NELSON
TOLEDO AND MIRIAM CEDENO; WILLIAM TOLEDO AND PATRICIA TOLEDO;
STEPHEN TOMASULO; JOHN TOMMARELLO AND KIM TOMMARELLO; CHAO JIANG,
AS PERSONAL REPRESENTATIVE OF THE ESTATE OF CHI SHEUNG TONG, AND
CHAO JIANG INDIVIDUALLY; DANIEL TONNESSEN AND DONNA TONNESSEN;
CARLOS TORAL AND ZOILA TORAL; JORMA TORCHIO AND JUSTINE TORCHIO;
GIUSEPPE TORNABENE; JOSEPH TORO; FLOR TORREALBA; ANTHONY TORRES AND
DIANE LYNN TORRESS; CHARLES TORRES AND DIGNA M. TORRES; ERICK TORRES
AND ROSA TORRES; FELIX TORRES; FELIX TORRES AND ANNEM. TORRES; JASON
TORRES; JORGE TORRES AND JANE F. TORRES; JOSE L. TORRES AND LUZ D. TORRES;
LUIS A. TORRES AND GLORIA M. TORRES; PEDRO TORRES; RAMIRO TORRES AND
LUISA SIMBANA; RICHARD TORRES; ROGELIO TORRES AND JUDITH TORRES;
RUBEN TORRES; WILFREDO TORRES; WILLIAM TORRES; ROBERT TOSCANO AND
MARTA Y. TOSCANO; EMANUEL TOTA AND SHARON TOTA; JOHN TOTARO;
MICHAEL TOZZI AND LOUISE TOZZI; MARGARET TRACEY-DONATO AND PAUL
DONATO; KEVIN TRACY; PETER TRACY AND KATHLEEN TRACY; STEPHEN TRACY
AND YVONNE TRACY; RONALD TRAIN AND MERRY LYNN TRAIN; WILLIAM
TRAMMELL; JACK TRAN; JAMES TREZZA; MICHAEL TRIANO AND MARY TRIANO;
MARK TRINCONE; ANTHONY TRIOLA AND LORRAINE TRIOLA; FRANK TROCCHIA
AND MARTHA TROCCHIA; ROSE ANZALONE, AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF ANTHONY TROIANO, AND ROSE ANZALONE INDIVIDUALLY; CARL
TROIANO AND CLAUDIA TROIANO; LONNIE TROTTA AND CATHERINE M. TROTTA;
CONSUELO TRUJILLO; JOSEPH TRUMBETTI AND LINN M. TRUMBETTI; FELICIA
TSANG; WING TSANG AND REBECCA TSANG; ERIC TUASON AND DONNA TUASON;
FAN-CHUEN TUNG; ALBERT TURI AND LYNN TURI; GERARD TURIANO AND
ANGELA TURIANO; MICHAEL TURINO AND LOUISE TURINO; MIRIAM TURNER, AS
ADMINISTRATRIX OF THE ESTATE OF KEVIN TURNER, AND MIRIAM TURNER
INDIVIDUALLY; ELLIOT BROWN, AS PERSONAL REPRESENTATIVE OF THE ESTATE
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OF MARGARET TVELIA, AND ELLIOT BROWN INDIVIDUALLY; JOSEPH TWOMEY;
ANDRZEJ TWORZYDLO; JOHN TYMECK AND THERESA TYMECK; JOHN TYMUS;
MARK TYNAN AND IRENE TYNAN; ANDREW TYNIO AND ANNA TYNIO; DEBORAH
UNDERWOOD-PASCAL AND DERICK PASCAL; WILLIAM UNGER; PATRICIA UPTON;
STEVEN URCELAY AND SUSAN URCELAY; JOSE URENA AND CHISTIANA V. URENA;
KEVIN URENA; ESPERANZA URQUIJO; RAYMOND VALDES; JIMENA SOLIS, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF WILSON VALDEZ, AND JIMENA
SOLIS INDIVIDUALLY; CARLOS A. VALENCIA AND GLORIA N. BONILLA; JOHN
VALENTI; JOHN VALENTI AND CECELIA VALENTI; VITO VALENTI; AMADO
VALENTIN AND LUISA VALENTIN; ANTONIO VALENTIN AND YOLANDA NEGRON;
MICHAEL A. VALENTIN AND JOANNE VALENTIN; MIGUEL VALENTIN; REGINALD L.
VALENTINE SR AND JULIA A. VALENTINE; ANGEL VALERA AND BRENDA VALERA;
PAUL VALERGA; JOSEPH VALERIO AND PATTI VALERIO; STEVEN VALES; VINCENT
VALES AND JENNY VALES; CHARLES VALLARO; ERNEST VALLEBUONA AND AMY
VALLEBUONA; ANTHONY VALLONE AND DEBRA VALLONE; CARLOS VALVERDE;
MARIA C. VALVERDE GARZON; VANESSA VAN BRUNT; SHANETTE VAN DYKE;
MARGARET A. VANFECHTMANN, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF EDWARD VANFECHTMANN, AND MARGARET A. VANFECHTMANN
INDIVIDUALLY; ARCHIE VANPUTTEN AND KAREN VAN PUTTEN; ROXANNE
VANPUTTEN; PETER VANWYGERDEN; EDGAR VARGAS; HECTOR VARGAS;
JACQUELINE VARGAS; MICHAEL VARGAS AND MARIANELA VARGAS; THOMAS VARIO;
PHILIP VARLEY; JOSEPH VARRIELLO AND DENISE VARRIELLO; ISIDORE VASILE
AND NANCY VASILE; ROBERT VASILUGH; EMERITO VASQUEZ AND CARMEN
VASQUEZ; JESUS VASQUEZ AND EILEEN VASQUEZ; ROMMEL VASQUEZ AND ROSA A.
VASQUEZ; MICHAEL VAUGHAN; CHRISTOPHER VAUGHN AND MINA VOUGHN;
CARLOS VAZQUEZ; PEDRO VAZQUEZ; THOMAS VEALE AND SUSAN VEALE; JAMES
VECCHIO AND JANE VECCHIO; SEAN VEERAPEN; GILBERT VEGA AND BRENDA
VEGA; RICHARD VEGA; SEVERO VEGA AND LILA VEGA; STEPHEN VEGA AND LORI
VEGA; JUAN VELEZ; LUIS VELEZ AND STACIE VELEZ; MILDRED VELEZ; NELSON
VELEZ; TANYA VENERO AND LUIS CORREA; PAUL VENTRE AND LORIANN VENTRE;
ALEJANDRO VERA; ANGEL VERA AND MARGARET VERA; REINALDO VERA; THOMAS
VERNI; PATRICK VERSAGE AND CAROLYN VERSAGE; ANTHONY VESPA; MICHAEL
VESPIER AND JAYNE VESPIER; PIERRE VICTOR AND CHRISTINE VICTOR; MARTHA
VIDAL; JOHN VIGLIOTTI AND LAURA VIGLIOTTI; MARK VIKOS AND PRUDENCE
VIKOS; GRACE VILLA, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF EFRAIN
VILLA, AND GRACE VILLA INDIVIDUALLY; PATRICIA VILLA; ANTONIO VILLACRES;
JULIO VILLAFUERTE; WALTER VILLAFUERTE; RICHARD VILLALBA AND LYNNE
VILLALBA; EDGAR VILLANUEVA AND SONIA VILLANUEVA; JOHN VILLANUEVA;
DAVID VILLARREAL; AGUSTIN VILLEGAS AND ROSEMARIE ROMAN; PATRICIA
VILOMAR; BROOKS VINCENT; STACEY VINCENT, AS ADMINISTRATRIX OF THE
ESTATE OF LABERTO VINCENT, AND STACEY VINCENT INDIVIDUALLY; PETER E.
VINCENT; BRENDA VINCENT-SPRINGER AND CURTIS D. SPRINGER; ENRICO VIOLA
AND DEBRA VIOLA; VINCENT VIOLA; VINCENT VIRBUKAS; MANUEL VISCAINO AND
LUISA TAVERAS; ALFRED VITALE AND GRACE VITALE; DAVID VITALLI; LUIS VIVAR;
FRANK VIVOLA AND DONNAMARIE VIVOLA; PABLO VIZNAY; JEFFREY VLACK;
WENDY VOGL-BLOOME AND MARK BLOOME; FRANK VOGRIC; ALPRENTICE
VONSLATTEN; JASON VOSS AND CHARISSA VOSS; JOHN VOTTA AND LINDA VOTTA;
LAWRENCE VOWINKEL AND JENNIFER VOWINKEL; ZBIGNIEW WADOLOWSKI AND
IWONA WADOLOWSKI; DAVID WAKEEN AND VICTORIA WAKEEN; ZOFIA WALAS;
KRZYSZTOF WALEK AND AGATA WALEK; KENNETH WALES AND EMILIA WALES;
AMOS WALKER; ARTHUR WALKER AND NANCY WALKER ; DANIEL WALKER; DAVID
WALKER AND HOLLY WALKER; GAUNTLETT WALKER AND ZELMA WALKER; GLORIA
WALKER; MELANIE WALKER; ROBERT WALKER; VALERIE WALKER; LENISE WALKER-
WILSON; EDWARD W. WALLACE AND MARGARET ENG-WALLACE; WILLIAM WALLACE
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AND MICHELLE WALLACE; KEVIN WALLINE AND ROSE WALLINE; MARIA
WALLINGTON AND KENNETH WALLINGTON; CHRIS WALSH AND AMY WALSH;
DANIEL WALSH AND DIANE C. WALSH; DANIEL WALSH AND MICHELE M. WALSH;
GERARD WALSH AND HOPE CHRISTINE WALSH; JAMES WALSH; KEVIN WALSH; ROB
WALSH AND JENNIFER J. CAMERON; JAMIE WALTERS; ROBERT WALTON AND ANN
MARIE WALTON; BONNIE WAN, AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF JIMMY AH-YUEN WAN, AND BONNIE WAN INDIVIDUALLY; KONG HANG WANG
AND CAI YING ZHENG; CHRISTOPHER WANKER; MICHAEL WARD; MICHAEL
WARNOCK; JOHN WARREN AND SEANITA WARREN; REGINALD WARREN; ROBERT
WARREN; JAMES WARSHEFSKIE; MICHAEL WASER AND DEBRAH WASER; GLENN
WASHINGTON AND JEANETTE WASHINGTON; JEAN WASHINGTON; MACK
WASHINGTON; MICHAEL WASHINGTON AND EARLENE WASHINGTON; WILLIAM
WASHINGTON; THOMAS WASHINGTON, JR. AND DAPHNE C. WASHINGTON;
PATRICK WASKI AND JOANN WASKI; JUDY RYAN, AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF CHARLES WASSIL, AND JUDY RYAN INDIVIDUALLY; DAWNETTE
WATERMAN; MARCUS WATKINS; DERRICK WATSON; LAVERN WATSON AND COREY
WATSON; STEPHEN WAVREK AND EVELYN WAVREK; CECIL WEATHERLY; KIM
WEAVER; DONNA WEBB; FRANCIS W. WEBB AND KAREN WEBB; JEFFREY WEBB AND
DOREEN WEBB; VICTORIA WEBER; JONELL WEBSTER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF HERBERT WEBSTER, AND JONELL WEBSTER
INDIVIDUALLY; MICHAEL WEBSTER; RONALD WEEKS AND MICHELE WEEKS;
MICHAEL WEGUELIN; ARTHUR WEIMER; EILEEN WEINTRAUB, AS EXECUTRIX OF
THE ESTATE OF RONALD WEINTRAUB, AND EILEEN WEINTRAUB INDIVIDUALLY;
JOHN WEIR AND EILEEN WEIR; RUTH WEISS; PATRICK WELCH AND CATHARYNE
WELCH; RICHARD WELLIVER AND THERESA A. WELLIVER; DAVID WELLS AND
CHYRELL WELLS; GREGORY WELLS AND CHERLY WELLS; WESLEY WELLS; ANDREW
WENDER AND DIANE WENDER; CHRISTOPHER WENDT AND KENDRA L. WENDT;
JOHN WENSDOFER; MARK WESSELDINE; KEVIN WESSOLOCK AND LOUANN
WESSLOCK; EUGENE WEST AND MARGARET WEST; PETER WESTCOTT; ROBERT
WETZEL AND GAIL WETZEL; JOHN WHARTON AND JENNIFER WHARTON; PATRICK
WHELAN AND KATHLEEN WHELAN; GARY WHITAKER AND YVONNE S. WHITAKER;
DAVID WHITE AND LISA WHITE; GEORGE WHITE AND JOANN WHITE; RAYMOND
WHITE AND WANDA WHITE; ROBERT A. WHITE; ROBERT WHITE AND CHARLENE
WHITE; JOHN WHITEHEAD; EDWARD WHITEMAN AND CHRISTINE WHITEMAN;
ROBERT WHITEMAN AND TAMILYNN WHITEMAN; LORREN WHITFIELD; LYNNE
WHITTLE, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF FRANK WHITTLE,
AND LYNNE WHITTLE INDIVIDUALLY; JOHN WHYTE AND PATRICIA WHYTE;
MADELINE WIEBICKE, AS EXECUTRIX OF THE ESTATE OF RANDY J. WIEBICKE, AND
MADELINE WIEBICKE INDIVIDUALLY; HENRYK WIECHNO; MARK WIGGINS; RONDA
WIGGINS; TERRY WIKMAN AND DONNA WIKMAN; WIESLAW WILCZEWSKI AND
ZOFIA WILCZEWSKI; SANDRA WILKES; ADAM WILLIAMS AND RENEE WILLIAMS;
CORNELL WILLIAMS; DIANE WILLIAMS AND NORMAN WILLIAMS; EARL WILLIAMS
AND GWENDOLYN WILLIAMS; HELEN WILLIAMS; KENNETH G. WILLIAMS AND
THECLA WILLIAMS; LEROY WILLIAMS; YOLANDA WILLIAMS, AS ADMINISTRATRIX
OF THE ESTATE OF LLOYD WILLIAMS, AND YOLANDA WILLIAMS INDIVIDUALLY;
SONDRA FURLOW, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF MICHAEL
WILLIAMS, AND SONDRA FURLOW INDIVIDUALLY; RENZI WILLIAMS; RUDOLPH
WILLIAMS AND GLENDA WILLIAMS; SHARON WILLIAMS; WANDA WILLIAMS;
MAUREEN WILLIAMSON, AS ADMINISTRATRIX OF THE ESTATE OF ROBERT
WILLIAMSON, AND MAUREEN WILLIAMSON INDIVIDUALLY; CHARLES WILSON AND
JUDY WILSON; DAVON WILSON; STEPHEN WILSON; WILBERT WILSON AND
CHARLOTTE WILSON; ERIC WILSUSEN AND KRISTINE WILSOSEN; JOSEPH WIMMER;
RAYMOND WINBERRY AND TANIA M. WINBERRY; JAMES WINCKOWSKI; PAUL
WINKELMEYER AND EILEEN WINKELMEYER; ALICE WINKLER AND KENNETH
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WINKLER; KENNETH WINKLER AND ALICE WINKLER; DAVID WINT AND ELAINE
WINT; PAULA WINTERS AND KEVIN WINTERS; RICHARD WINWOOD AND JEANINE
WINWOOD; DEREK WITT; JOSEPH WITTLEDER AND MICHELE J. WITTLEDER;
MICHAEL WOHN AND JANE WOHN; STANLEY WOJCIK AND DION WOJCIK; PAUL
WOLF AND JOANNE L. WOLF; JUDITH M. WOLFF AND DIRK WOLFF; ALLAN WONG;
CARLTON WONG AND SANDRA WONG; KAI WONG; SHARON WOO; TANYA WOOD;
DANIEL J. WOODASON; ANDRE WOODS AND ANNA WOODS; CLEVELAND WOODS;
DAVID WOODS; EDWARD WOODS AND JENNIFER WOODS; JAMES WOODS AND
CONSTANCE WOODS; PETER WOODS AND SARA WOODS; SUSAN WOODS; WALTER
WORONTZOFF AND SUZANNE WORONTZOFF; DANIEL WOZNIAK AND DOMENCIA
WOZNIAK; DOUGLAS WRAY; CARLTON WRIGHT; DEREK WRIGHT; JOYCE WRIGHT;
NAOMI WRIGHT; OLIVER WRIGHT AND JENNETTE WRIGHT; RICHARD A. WRIGHT;
ROGER WRIGHT AND ANNETTE WRIGHT; ERIC WUSS AND STACI A. WUSS; MICHAEL
WYER; MICHAEL WYNNE AND CATHERINE WYNNE; EILEEN YALE, AS EXECUTRIX
OF THE ESTATE OF STEPHEN YALE, AND EILEEN YALE INDIVIDUALLY; RICHARD
YARUSSO AND DAINA YARUSSO; CHEN YE; QING YE; XIONG QIU YE AND BAO QING
YE; SEVAN YEKHPAIRIAN; WAI WAN YEUNG AND HUNG-PANG YEUNG; ROBERT
YODICE AND NOELLE YODICE; BRIAN YONKER; GLENN YOST AND SABRINA YOST;
JAMIE YOUNG; KEVIN YOUNG AND KAREN YOUNG; NATALIE YOUNG, AS
ADMINISTRATRIX OF THE ESTATE OF ROBERT YOUNG, AND NATALIE YOUNG
INDIVIDUALLY; RON YOUNG AND SHARON YOUNG; WILLIAM YOUNG AND
MICHELLE YOUNG; DEREK YUENGLING; ROBERT M. YULI, JR., AS EXECUTOR OF
THE ESTATE OF ROBERT YULI, AND ROBERT M. YULI, JR. INDIVIDUALLY; LUIS
YUMBLA AND ROSA CABRERA; MARYELLEN YUREK, AS EXECUTRIX OF THE ESTATE
OF STEPHEN YUREK, AND MARYELLEN YUREK INDIVIDUALLY; ROBERT ZAHN;
THOMAS ZAHRALBAN; JAROSLAW ZAJAC; FRANK ZAMBRANO AND KAREN
ZAMBRANO; CRAIG ZAPART AND MARIE S. ZAPART; ALEJANDRO ZAPATA; SANTOS M.
ZAPIL; JOHN ZARRELLA AND DEBRA ZARRELLA; KEITH ZAVILOWITZ AND MARY
ZAVILOWITZ; LOUIS ZECCA AND MARIA ZECCA; LAWRENCE ZENTENO AND NANCY
C. CRIOLLO; DAVID ZEPHRINE AND JOSEPHINE ZEPHRINE; LI QING ZHANG; LI
ZHU ZHANG; JIAN ZHAO; TIAN CAI ZHENG AND NEN JIAO HUANG; SAI Z. WANG, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF WEI-FENG ZHENG, AND SAI Z.
WANG INDIVIDUALLY; ZHU-YOU ZHENG; FANG XIANG ZHU; THOMAS G. ZIELINSKI;
BERNADETTE CORRAO, AS ADMINISTRATRIX OF THE ESTATE OF JOSEPH ZIRKULI,
AND BERNADETTE CORRAO INDIVIDUALLY; MARTIN ZOLLNER AND IMIE
ZOLLNER; MICHAEL ZOTTO AND PATRICIA ZOTTO; MALGORZATA KUCA, AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF FRANCISZEK ZUGAJ, AND
MALGORZATA KUCA INDIVIDUALLY; WILLIAM R. ZUK; CHARLES ZULLA AND HOPE
C. ZULLA; RAFAEL ZUMBA; ELEANOR ZURITA; ALEXANDRA BURNETT, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF JUAN ZURITA, AND ALEXANDRA BURNETT
INDIVIDUALLY; WASHINGTON ZURITA; AND SARAH ZVULON, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF AHARON ZVULON, AND SARAH ZVULON
INDIVIDUALLY

                             PLAINTIFFS,

- AGAINST -

KINGDOM OF SAUDI ARABIA; SAUDI HIGH COMMISSION FOR RELIEF OF BOSNIA &
HERZEGOVINA

                             DEFENDANTS.
X
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                                                                   Plaintiffs’ Addresses:


Plaintiff                                                                                             City               State
Richard Abbate                                                                                        Cooperstown        NY
Brian Abbondandelo                                                                                    Roslyn Heights     NY
Gregory Abbott                                                                                        Brentwood          NY
Aly Abdelrehim and Hala Morsy                                                                         Brooklyn           NY
Kalima Abdul-Quddus                                                                                   Westbury           NY
Charles Aber                                                                                          Jeffersonville     NY
Anu Abraham and Sophia Abraham                                                                        Ridgewood          NY
Christopher Abramowski and Pawnett Abramowski                                                         Syosset            NY
Augustine Accardi and Carol Roger                                                                     Keyport            NJ
Henry J. Accarino                                                                                     Brooklyn           NY
Andres Acevedo and Brenda Acevedo                                                                     Staten Island      NY
Myriam Acevedo                                                                                        West Babylon       NY
Suzanne Achorn, as Administratrix of the estate of Richard Achorn, and Suzanne Achorn individually    Brooklyn           NY
Alison Acker, as Personal Representative of the estate of Gary Acker, and Alison Acker individually   Columbus           NJ
Erich Ackermann and Lisa Ackerman                                                                     Roslyn Heights     NY
Byron Acosta                                                                                          North Bergen       NJ
Cliff Acosta and Sandra Reyes                                                                         Bronx              NY
Giuseppe Acquista                                                                                     New Hyde Park      NY
Vincenzo Acquista and Angela Acquista                                                                 Flushing           NY
David Acres and Florence Acres                                                                        Staten Island      NY
Robert Adams                                                                                          Sparrowbush        NY
Stephen Addeo and Carol Addeo                                                                         Wantagh            NY
Nick Addonisio and Lisa Addonisio                                                                     Brooklyn           NY
Elizabeth Addorisio and Joseph Addorisio                                                              Ridgefield         CT
Steven Adelhelm and Christine Adelhelm                                                                Bayville           NJ
Larry Adler and Darya Adler                                                                           Bayside            NY
Luis Adriano                                                                                          Brooklyn           NY
George J. Affatato and Lois E. Affatato                                                               North Port         FL
Salvatore Aglialoro and AnnMarie Aglialoro                                                            Lake Ronkonkoma    NY
Anthony Agugliaro and Patricia Agugliaro                                                              Bethpage           NY
Richard Agugliaro and Loretta A. Agugliaro                                                            Franklin Square    NY
Yvette Aguiar                                                                                         Riverhead          NY
Wilmer Aguinaga and Marleny Aguinaga                                                                  Union City         NJ
George Aguirre                                                                                        Greenlawn          NY
Robert Aguirre and Patricia Aguirre                                                                   Plainview          NY
John Ahearn and Barbara Ahearn                                                                        Yorktown           NY
Kevin P. Ahearn and Theresa Ahearn                                                                    Lake Carmel        NY
Brian Ahern                                                                                           Nanuet             NY
Nasar Ahmed and Begum Inyat                                                                           Glen Oaks          NY
Edmund Ailara and Kristina M. Ailara                                                                  Sparta             NJ
Michael Alagna                                                                                        Morrisville        NC
Peter Alaimo                                                                                          Brooklyn           NY
Jose Alba                                                                                             Ridgefield Park    NJ
Richard Albanese                                                                                      Staten Island      NY
John Albarano                                                                                         Rockville Centre   NY
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Darry Alberight                                                                                            Long Beach         NY
Jos Albers, as Personal Representative of the estate of Theodorus E. Albers, and Jos Albers individually   New York           NY
Christopher Albin and Eileen Albin                                                                         Bronx              NY
Job Aldave and Alexandra Aldave                                                                            Slate Hill         NY
Angel Alejandro                                                                                            North Plainfield   NJ
Steven Alejandro and Luz Vinasco                                                                           Patterson          NY
John Alessi and Sunshine Alessi                                                                            Lakecatrine        NY
Sylvester Alexander and Deborah Alexander                                                                  Brooklyn           NY
Victor Alexander                                                                                           Maspeth            NY
Richard Alfano and Jane Alfano                                                                             Bayville           NY
Cruz Algarin and Cara Algarin                                                                              Phoenix            AZ
Enrique Ali                                                                                                Stroudsburg        PA
Darren Alicea                                                                                              Staten Island      NY
Scott M. Aline                                                                                             Ronkonkoma         NY
Angela Allegretti                                                                                          Staten Island      NY
Clifford Allen and Josephine Allen                                                                         Staten Island      NY
Janet Slate, as Executrix of the estate of George Allen, and Janet Slate individually                      Highlands Ranch    CO
Terrence Allen                                                                                             Westbury           NY
Michael Alleva                                                                                             Staten Island      NY
Azriel Alleyne                                                                                             Kingston           NY
Michelle Alleyne                                                                                           Bronx              NY
Asmat Allie and Noemi Allie                                                                                Middletown         NY
Brigitte Almanzar                                                                                          Jersey City        NJ
Aldwin Almodovar                                                                                           Casselberry        FL
Orlando Almodovar and Annette Ortiz                                                                        Dover              DE
Elaine Alston, as Administratrix of the estate of Letha Alston, and Elaine Alston individually             New York           NY
Ana Maria Alvarado                                                                                         Woodhaven          NY
Jonny Alvarado and Brenda Lazo                                                                             Union City         NJ
Gloria Alvarez and Henry Sandoya                                                                           Corona             NY
Jimmy Alvarez                                                                                              Jersey City        NJ
Antonio Alves and Maria E. Alves                                                                           Bronx              NY
Gerard Amato and Christina Amato                                                                           Lake Grove         NY
Alcides Amaya                                                                                              Staten Island      NY
Michael Ambrosecchia                                                                                       Glendale           NY
Dennis Amodio                                                                                              Port Washington    NY
Alexandros Anastassatos                                                                                    Astoria            NY
Allen Andersen and Sue Ann Andersen                                                                        Hicksville         NY
Richard Andersen and Rosellen Andersen                                                                     Bohemia            NY
Anthony Anderson and Orethal Anderson                                                                      Elmont             NY
Douglas Anderson                                                                                           New York           NY
Benjamin Anderson, as Personal Representative of the estate of Jack R. Anderson, and Benjamin Anderson
individually                                                                                               Portage            IN
Mortimer Anderson and Camile Anderson                                                                      Jamaica            NY
Tyrelle C. Anderson                                                                                        Charolette         NC
Jamel Moser, as Personal Representative of the estate of Veronica Anderson, and Jamel Moser individually   New York           NY
Norkiss Andino and Roger Andino                                                                            Newburgh           NY
Georgia Andre                                                                                              Jersey City        NJ
Robert Andrews and Jacqueline Andrews                                                                      West New York      NJ
                   Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 43 of 133
Timothy Andrews                                                                                     Brooklyn               NY
Joseph Androwski and Eileen Androwski                                                               Las Vegas              NV
Mark Andrus                                                                                         Douglaston             NY
Jack Annibale and Rosa Annibale                                                                     Whitestone             NY
Mike Annunziate                                                                                     Valley Stream          NY
Peter Antao and Sue Antao                                                                           Stratford              CT
Richard Antonacci                                                                                   Brooklyn               NY
Robert Antonelli and Elaine M. Antonelli                                                            Bellerose Village      NY
Jeffrey Antonsen                                                                                    Apex                   NC
Joseph Anzueta                                                                                      Woodside               NY
Maria Apas, as Personal Representative of the estate of Andy M. Apas, and Maria Apas individually   Staten Island          NY
Jose Aponte and noemi dejesus-aponte                                                                Tomkins Cove           NY
Virgilio Aponte and Ada Aponte                                                                      Bronx                  NY
Jose Aquino and Evelyn Aquino                                                                       Monroe                 NJ
Magda Arango and Manuel Rojas                                                                       Whitestone             NY
Peter Arato                                                                                         Plainview              NY
James Arca and Teresa Arca                                                                          Staten Island          NY
John Arcara                                                                                         Ridgewood              NY
Ronald Archer and Erma B. Archer                                                                    Dacula                 Ga
India Archie                                                                                        New York               NY
Lorenzo Arellano and Tricia Arellano                                                                Jackson Heights        NY
Beatriz Arenas                                                                                      Jackson Heights        NY
Eddie Arenas                                                                                        Bronx                  NY
Antonio Arias                                                                                       New York               NY
Arturo Arias and Marilyn Quintana                                                                   Elmhurst               NY
Paul Arias and Lisa-Ann Arias                                                                       Hazlet                 NJ
Michael Arini and Maureen Arini                                                                     Yorktown Heights       NY
Enid Aristizabal                                                                                    South Ozone Park       NY
Thomas J. Arlotta, Jr.                                                                              Floral Park            NY
Daniel Armagno and Margaret Armagno                                                                 Dingmans Ferry         PA
Sarah Armenia, as Executrix of the estate of Joseph Armenia, and Sarah Armenia individually         Staten Island          NY
Claude Armstrong and Laura Armstrong                                                                Middletown             NY
Eric Arnold and Jonnisue Arnold                                                                     Wantagh                NY
Hector Arocena and Lorraine Arocena                                                                 Thiells                NY
Daniel Arrigo and Bridget Arrigo                                                                    Wantagh                NY
Rito Arroyo and Isabel Arroyo                                                                       Yonkers                NY
Wilson Arroyo and Rebecca Arroyo                                                                    Jersey City            NJ
Kenrick Arthur and Valerie Arthur                                                                   Walden                 NY
David Arvelo                                                                                        Staten Island          NY
Lisa Asaro                                                                                          Farmingdale            NY
Stephen Asaro                                                                                       Point Pleasant Beach   NJ
Michael Ashton and Donna M. Ashton                                                                  Manahawkin             NJ
Michael G. Aspras                                                                                   Brooklyn               NY
Freddy Astudillo and Mariana Astudillo                                                              East Elmhurst          NY
Wilmer Astudillo and Maria I. Avila                                                                 Union City             NJ
Virginia Atkinson                                                                                   Adrian                 MI
Luis Atristain                                                                                      Jackson Heights        NY
                   Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 44 of 133
Victor Aucaquizhpi                                                                                         Bronx              NY
Joseph Audino                                                                                              Mount Arlington    NJ
Martin Auer and Ann Auer                                                                                   East Quogue        NY
Jules Auguste and Marle Auguste                                                                            Brooklyn           NY
Jean Augustin and Marie M. Augustin                                                                        Elmont             NY
Clyde L. Augustine and Portia Augustine                                                                    Brooklyn           NY
Fitzroy Augustus                                                                                           Jamaica            NY
William Ausby                                                                                              Bronx              NY
Alexander J. Avelino                                                                                       Summit             NJ
Patricia Avelino                                                                                           Summit             NJ
Hernando Avenia and Nidia Avenia                                                                           Woodside           NY
Angel Avila                                                                                                Sunnyside          NY
Gabriela Perez, as Personal Representative of the estate of Edgar Avila, and Gabriela Perez individually   Corona             NY
Sixto Aviles and Matielde Aviles                                                                           Jackson Heights    NY
Joseph Azzaretto and Jeanette Azzaretto                                                                    Seaford            NY
Cathleen Azzinari-Casella and Thomas J. Casella                                                            Staten Island      NY
Thomas Babinski and Catherine Babinski                                                                     Melville           NY
Edward Baca                                                                                                New York           NY
Christopher Bacchi and Jose Bacchi                                                                         Centereach         NY
Andrzej Baczkowski and Zofia Baczkowski                                                                    Brooklyn           NY
John Badillo                                                                                               Hawthorne          NY
Ricardo Baez and Kathleen Healy-Baez                                                                       Boca Roton         FL
Mariusz Baginski and Agnieszka Baginski                                                                    South Amboy        NJ
Jason Bahrt                                                                                                Bronx              NY
Jetta Bailey                                                                                               Charlotte          NC
Troy Bailey and Esther Bailey                                                                              Parsippany         NJ
Rajeev Bais                                                                                                Long Island City   NY
Aleksander Bajguz and Maria Bajguz                                                                         Brooklyn           NY
Candiace Baker                                                                                             West Palm Beach    FL
Mynor Balcarcel and Melissa Balcarcel                                                                      West Hempstead     NY
Thomas Baldwin and Bridget Baldwin                                                                         Patchogue          NY
Raymond Ballerino and Barbara Ballerino                                                                    Centennial         CO
Vanessa Ballesteros                                                                                        Sunnyside          NY
Louis Balsamo and Vivian Balsamo                                                                           oceanside          NY
Erik Baltz                                                                                                 College Point      NY
Benjamin Bamonte                                                                                           Maspeth            NY
Darrell Bankhead                                                                                           Brooklyn           NY
Michael Baptiste and Patricia Baptiste                                                                     Union              NJ
Carlos Barales                                                                                             Brooklyn           NY
Michael Baratta and Annabel Baratta                                                                        Jackson            NJ
Michael L. Barbato and Anita Barbato                                                                       Middle Village     NY
Paul Barbato                                                                                               Brooklyn           NY
Robert Barbera and Genieva Barbera                                                                         Warwick            NY
Brian Barcheski and Deborah A. Story                                                                       Baldwin            NY
William Bard and Shain Bard                                                                                Westbury           NY
Denis Barden                                                                                               Florida            NY
Richard Barger                                                                                             Staten Island      NY
                   Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 45 of 133
Michael Barnable and Lauren Barnable                                                                     Warwick               NY
John Barone                                                                                              Columbus              NJ
Stephen Barounis and Judy Barounis                                                                       Saint James           NY
Andrew G. Barr and Stacey Barr                                                                           Port Richey           FL
Jennifer Barratt                                                                                         Bronx                 NY
Arturo Barrero and Susana Barrero                                                                        Brentwood             NY
Carlon Barrett                                                                                           Hollis                NY
David Barrett                                                                                            Teaneck               NJ
Michael Barrett and Dolores E. Barrett                                                                   Bronx                 NY
Wilfred Barriere and Barbara Barriere                                                                    Flushing              NY
Julio Barros                                                                                             South Richmond Hill   NY
Hector Barroso                                                                                           Union City            NJ
Kevin Barry and Lorraine Barry                                                                           Freeport              NY
Richard C. Barry and Madeline Barry                                                                      Goshen                NY
Thomas Bartkowski and Dawn Bartkowski                                                                    Staten Island         NY
Suzanne Bartlett, as Administratrix of the estate of Keith Bartlett, and Suzanne Bartlett individually   Thornwood             NY
Donald Barto and Marla Barto                                                                             Deltona               FL
Angelo Bartolotta and Jamie Marie Bartolotta                                                             Whitestone            NY
Sebastian Bartolotta                                                                                     Bronx                 NY
Oren Barzilay                                                                                            West Hempstead        NY
Sebastiano Basile and Nancy A. Basile                                                                    Lodi                  NJ
Ramiro Bastidas and Zoila Asmal                                                                          Elmhurst              NY
Joseph Battista                                                                                          Staten Island         NY
Joseph Baudille                                                                                          Staten Island         NY
Gary Bauer and Karen Bauer                                                                               Berkely Heights       NJ
Ronald Bauman                                                                                            Harriman              NY
Hanfort Bautista and Jessica Bautista                                                                    Apollo Beach          FL
Keith Bavolar                                                                                            Cobleskill            NY
Scott Bavolar                                                                                            Closter               NJ
Howard Bayne                                                                                             Mahopac               NY
Hector Bazan and Rosi- Elena Dominguez Reyes                                                             New York              NY
Michael Bazerman and Meredith Bazerman                                                                   Staten Island         NY
Carlos Beauchamp                                                                                         Glendale              NY
Michael Beberashvili                                                                                     Forest Hills          NY
Staci Becerra                                                                                            Elkton                FL
James Beck and Christine Beck                                                                            Huntington            NY
Scott Bedell                                                                                             East Meadow           NY
Tinel Bedford                                                                                            East Meadow           NY
Jeffrey Bednar and Beth Bednar                                                                           Commack               NY
Johnny Belfort                                                                                           Brooklyn              NY
Theadore Belgrave                                                                                        Brooklyn              NY
Ruby Belgrove                                                                                            Brooklyn              NY
Arnold Belkin                                                                                            Brooklyn              NY
Jerome Bell                                                                                              Columbia              SC
John Bell and Erika J. Bell                                                                              Port Jervis           NY
Thomas Bell and Sarah Bell                                                                               Kenilworth            NJ
William Bellamy                                                                                          New York              NY
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Dimitrios Bellos                                                                                                Brooklyn           NY
Xavier Beltran and Monica Beltran                                                                               College Point      NY
Jesus Benavides and Marie Benavides                                                                             Sayville           NY
Thomas L. Bencivenga and Rose Marie Bencivenga                                                                  Staten Island      NY
John Bender and Margaret Bender                                                                                 Linden             NJ
Thomas Bender and Christine Bender                                                                              Stony Point        NY
Scott Bendul and Chistine Bendul                                                                                Northvale          NJ
Joseph P. Benestante and Jean Benestante                                                                        Bergenfield        NJ
Andrew Benfante                                                                                                 New York           NY
Anthony Benfante, as Administrator of the estate of Vincent Benfante, and Anthony Benfante individually         Staten Island      NY
Scott Benish and Francine Benish                                                                                East Northport     NY
Debra Benjamin                                                                                                  Jamaica            NY
Lloyd G. Bentley and Bridgette Bentley                                                                          Brooklyn           NY
Allen Berge and Donna Berge                                                                                     Brick              NJ
Wendy Berger                                                                                                    Riverhead          NY
Vincent Berlingerio and Jane Taromma                                                                            Brooklyn           NY
Luis Bermeo                                                                                                     Corona             NY
Margie Bermudez                                                                                                 Newark             NJ
Charles Bernardi and Ellen M. Bernardi                                                                          Staten Island      NY
Mark Bernheimer                                                                                                 Miami              FL
Carmen Berrios                                                                                                  New York           NY
Luciano Berrios and Migdalia Berrios                                                                            Hallandale Beach   FL
Robert Berrios and Alexsandra Berrios                                                                           Rego Park          NY
Ruben Berrios                                                                                                   Bronx              NY
Barry Bertolet and Kristine Betolet                                                                             Oley               PA
Joseph Bertolino and Sandra Bertolino                                                                           Stony Point        NY
Lisa Bertone-Marvin and Lance Marvin                                                                            Westfield          NJ
Frank Beshears and Gayle Beshears                                                                               Brick              NJ
Paul Bessler and Patricia Bessler                                                                               Sugarloaf          NY
Yvette Best and Wayne Best                                                                                      Brooklyn           NY
Michael Bestany and Tricia Bestany                                                                              Hicksville         NY
Hector Betancourt                                                                                               Woodside           NY
Ana T. Betancur and Silvio Betancur                                                                             East Elmhurst      NY
Madiria Bethel, as Personal Representative of the estate of Denise Bethel, and Madiria Bethel individually      Brooklyn           NY
Lois Betts                                                                                                      Berlin             NJ
Christopher Betz and Laura Betz                                                                                 Long Beach         NY
John Bevando                                                                                                    Staten Island      NY
Idris Bey                                                                                                       Brooklyn           NY
Java Bhuya                                                                                                      Freeport           NY
Deborah Biancaniello                                                                                            Rockaway Park      NY
John Bianco                                                                                                     Staten Island      NY
Thomas Bianco                                                                                                   Staten Island      NY
Russell Biancone and Angela Biancone                                                                            Mooresville        NC
Johanna Bibbins, as Personal Representative of the estate of Darryl Bibbins, and Johanna Bibbins individually   Staten Island      NY
Raymond Bieselin and Donna Bieselin                                                                             Wantagh            NY
Donald Bigi and Donna J. Bigi                                                                                   New Windsor        NY
Richard Biglin and Yanela Biglin                                                                                Catskill           NY
                  Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 47 of 133
Edward Bilardi                                                                                             Rosedale            NY
Joseph C. Bilella and Janine Bilella                                                                       Staten Island       NY
Joseph F. Bilella and Roseann Bilella                                                                      Waretown            NJ
Ronnie Bilella and Annamarie Bilella                                                                       Belford             NJ
Martin Biliski and Catherine Biliski                                                                       Brooklyn            NY
James K. Bingham, Jr. and Rose E. Bingham                                                                  Myrtle Beach        SC
Michael Biondo and Karen Biondo                                                                            Staten Island       NY
Anthony Biondolilo and Bonnie L. Biondolilo                                                                Staten Island       NY
Mary Elizabeth Bishop                                                                                      Ozone Park          NY
Kampta Bishun and Hassena Bishun                                                                           Queens Village      NY
James Bittles and Sylvia Bittles                                                                           New Windzor         NY
Daniel Black and Norma Black                                                                               Staten Island       NY
John Black and Patricia Black                                                                              Johnson             NY
Joseph Black                                                                                               Staten Island       NY
Ronald Blackmore and Eunell Blackmore                                                                      brooklyn            NY
Andre Blackwood and Karen Blackwood                                                                        Brooklyn            NY
Lanze A. Blagrove and Luraine Blagrove                                                                     Conyers             GA
Daniel Blakely                                                                                             Fayetteville        GA
Diane Blakely, as Personal Representative of the estate of Kevin Blakely, and Diane Blakely individually   Sarasota            FL
Barry Blanchard                                                                                            Freehold            NJ
Robert Blanco and Louise Blanco                                                                            Warwick             NY
Daysy Blandon                                                                                              East Elmhurst       NY
Michael Blondin                                                                                            Hewitt              NJ
Michael Blood and Cynthia Blood                                                                            El Cajon            CA
Sedrick S. Bloome and Sharon Covington                                                                     Brooklyn            NY
Sandra Blouin, as Executrix of the estate of Albert Blouin, and Sandra Blouin individually                 Canaan              ME
Robert Blum and Eileen Blum                                                                                Bohemia             NY
David Bluni                                                                                                Staten Island       NY
Kevin Bobe                                                                                                 East Brunswick      NJ
Bryan Boccanfuso                                                                                           Trenton             NJ
Frank Bocchichio and Marianne Bocchichio                                                                   Commack             NY
Ronald Bocchichio and Michele Bocchichio                                                                   Huntington          NY
William Boden and Vicki Boden                                                                              Broad Channel       NY
Brian Boele and Elizabeth Boele                                                                            Nutley              NJ
Christopher Boerke and Donna Boerke                                                                        Washingtonville     NY
Mathew Boero and Amy Boero                                                                                 Oceanside           NY
Dragica Bogdanov                                                                                           Ridgewood           NY
John Boland and Joan Boland                                                                                Oakdale             NY
Edward Bolger and Linda M. Bolger                                                                          E. Atlantic Beach   NY
Michael Boll and Patricia Boll                                                                             E. Hanover          NJ
Vincent Bologna and Deborah Bologna                                                                        Staten Island       NY
Joseph Bompartito                                                                                          North Babylon       NY
Robert Bonfiglio and Kathleen Bonfiglio                                                                    Franklin Square     NY
Thomas Bongiovanni                                                                                         Marlboro            NJ
Damasa Bonilla                                                                                             Bronx               NY
Reginald Bonner                                                                                            Brooklyn            NY
Dominic Bonomonte and Susan Bonomonte                                                                      Danbury             CT
                   Case 1:17-cv-08617-GBD-SN Document 2 Filed 11/07/17 Page 48 of 133
Edward Bonsignore and Kasey Bonsignore                                                                      Mount Sinai          NY
Cecilia Borcherding                                                                                         Huntington Station   NY
Stephen Borcherding                                                                                         Elmont               NY
Richard Borchers and Zunlida Martinez                                                                       Bronx                NY
Gary Borega                                                                                                 Palm Beach Gardens   FL
David Borel                                                                                                 Queens Village       NY
Dorothy Borgese                                                                                             Wantagh              NY
Wiktor Borkowski                                                                                            Brooklyn             NY
Frances Borman and Gary M. Borman                                                                           Bardonia             NY
Wiktor Borowiecki                                                                                           Swidnik              Poland
William Borques                                                                                             Staten Island        NY
Jesus Borrero and Eileen Borrero                                                                            Bronx                NY
James Borst and Geraldine Borst                                                                             Woodside             NY
Ann Boubaris, as Personal Representative of the estate of Xenofon Boubaris, and Ann Boubaris individually   Manhasset            NY
James Bove and Thelma Bove                                                                                  Poughquag            NY
Anthony Bovery                                                                                              Staten Island        NY
Michael Bowers and Dorleen Bowers                                                                           Brooklyn             NY
Brian Boyar                                                                                                 New York             NY
Mark Boyd and Susanne Boyd                                                                                  Islip                NY
Phyllis Boyd                                                                                                Brooklyn             NY
Warren Boyd                                                                                                 Bronx                NY
William Boye and Kerri Boye                                                                                 Massapequa Park      NY
Dean Boyer and Pam Boyer                                                                                    Brooklyn             NY
Enis Boyer                                                                                                  New Milford          NJ
John K. Boyle and Susan Boyle                                                                               North Massapequa     NY
Kevin Boyle                                                                                                 Little Meadows       PA
Patrick Boyle and Noreen Boyle                                                                              Yorktown Hts         NY
Michael Bozymowski and Angela Bozymowski                                                                    Oceanside            NY
Stefano Braccini                                                                                            Staten Island        NY
Kenrick C. Bradford and Marilyn Bradford                                                                    Brooklyn             NY
Larry Bradford and Leonie Bradford                                                                          Iselin               NJ
Joseph Bradley and Leslie Bradley                                                                           Oceanside            NY
Daniel Brady and Rachele Brady                                                                              Nanuet               NY
Donald Bragg and Stephanie Bragg                                                                            Saint Albans         NY
Isaac Branch                                                                                                West Nyack           NY
Gary Brandofino and Helene Brandofino                                                                       Bethpage             NY
Thomas R. Brandon and Lynn Brandon                                                                          Wantagh              NY
Steven Brandow and Gladys Brandon                                                                           Oceanside            NY
Evlin Brandt                                                                                                Brooklyn             NY
Gerard Brannigan                                                                                            Farmingdale          NY
Ian Brannon                                                                                                 Bronx                NY
Jeffrey Bratjan                                                                                             Bloominburg          NY
Frank Brattole and Jane Brattole                                                                            Clark                NJ
James Braunreuther and Kathryn Braunreuther                                                                 South Setauket       NY
Eric Braverman                                                                                              Kew Gardens          NY
Helen Braxton                                                                                               Meddletown           NY
Carla Breeze and Wayne Decker                                                                               Ottawa               KS
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Francis Brennan and Melody K. Brennan                                                                    West Nyack           NY
Michael Brennan                                                                                          Bronx                NY
Michael Brennan and Kerry A. Brennan                                                                     East Meadow          NY
Robert Brennan and Joyce Brennan                                                                         Oakdale              NY
Timothy Brennan and Bettyann Brennan                                                                     North Babylon        NY
Randy S. Brenner                                                                                         Seaford              NY
Richard Brenseke and Deborah Brenseke                                                                    Huntington Station   NY
Robert Bressingham and Jennifer Bressingham                                                              Bayville             NY
Ronald Brewer and Vera Brewer                                                                            Brooklyn             NY
Carmen Bridgeforth                                                                                       Tampa                FL
Christopher Briecke and Jessica Briecke                                                                  Westtown             NY
Michael Brigante                                                                                         Staten Island        NY
Anthony E. Briggs and Norva Briggs                                                                       Kissimmee            FL
Darren Brindisi                                                                                          Hicksville           NY
Maxwell Brinson                                                                                          Brooklyn             NY
Sharon Britt                                                                                             Brooklyn             NY
Robert Broderick and Carolyn Broderick                                                                   Seaford              NY
Ana Brogan and Paul Brogan                                                                               Pittstown            NJ
Christopher Broich                                                                                       Southampton          NY
Robert Brooks and Kay Brooks                                                                             Fort Smith           AR
Rita Brophy, as Executrix of the estate of Thomas Brophy, and Rita Brophy individually                   Smithtown            NY
William Broski and Phyllis Broski                                                                        Centereach           NY
Alecia Brown                                                                                             South Plainfield     NJ
Alphonso Brown and Linda Brown                                                                           Leesburg             FL
Olivia Brown, as Personal Representative of the estate of Clarice Brown, and Olivia Brown individually   Port St. Lucy        FL
Deamian Brown                                                                                            Valley Stream        NY
Edward Brown                                                                                             Bronx                NY
Teejha Brown, as Administratrix of the estate of Harry Brown, and Teejha Brown individually              Bronx                NY
John J. Brown and Eileen Brown                                                                           Staten Island        NY
John Brown and Catherine Brown                                                                           Massapequa           NY
Junior Brown                                                                                             New York             NY
Lisa Brown                                                                                               Yonkers              NY
Timothy Brown                                                                                            Bayside              NY
Donald Browne                                                                                            Rockville Centre     NY
Martin Browne and Mary Browne                                                                            Valley Stream        NY
Richard Browne and Margaret Browne                                                                       St Albans            NY
Joseph Brucculeri and Maria Brucculeri                                                                   Whitestone           NY
Carlton Bruce                                                                                            Mahopia              NY
Diana Brunell and Edward Brunell                                                                         Wildwood Crest       NJ
Joseph Brunetti and Maria Leonardi                                                                       Brooklyn             NY
Carla Bruno                                                                                              Nyack                NY
Frank Bruno and Andrea Bruno                                                                             Chester              NY
Michael Bruno and Bridget A. Bruno                                                                       Stony Point          NY
Philip J. Bruno and Linda J. Bruno                                                                       Coram                NY
Raymond Bruno and Michelle Bruno                                                                         Lake Mary            FL
William Brusack and Roseanne Brusack                                                                     Yonkers              NY
Gerald Brusco and Sheri Brusco                                                                           Jackson              NJ
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Raymond Bryan and Sheila Bryan                                                                          Sayneville        NJ
Steven Bryant                                                                                           Everett           WA
Eric Brzostek and Aikaterini Brzostek                                                                   East Islip        NY
Maryann Bubelnik and Thomas Bubelnik                                                                    Summerfield       FL
Chris Buccarelli and maryanne buccarelli                                                                Clark             NJ
Craig Buccieri                                                                                          New Windsor       NY
Michael Buckenberger and Dawn Buckenberger                                                              South River       NJ
John Buckley and Lori Ann Buckley                                                                       Merrick           NY
Joseph Buckley                                                                                          Fine Island       NY
William Buckley and Lynne Buckley                                                                       Flushing          NY
Bernard Buckner                                                                                         Jamaica           NY
Dindial Budhu and Goutamie Budhu                                                                        East Elmhurst     NY
Terrance Bueford and Shante Bueford                                                                     Amityville        NY
Joseph Buirkle and Elaine Buirkle                                                                       Staten Island     NY
John Buividas and Judy Buividas                                                                         Flushing          NY
Thomas Bullen and Patricia Bullen                                                                       Staten Island     NY
John Buono and Denise Buono                                                                             Jackson           NJ
Mario Buonviaggio                                                                                       Staten Island     NY
John Buquicchio and Portia Buquicchio                                                                   Sharon            CT
John Burgess and Carol Burgess                                                                          Calabash          NC
Albert Burgos and Norma Burgos                                                                          Hartsdale         NY
Jessica Burgos                                                                                          Jersey City       NJ
George Burke and Diana Burke                                                                            Seaford           NY
Diane Burke, as Administratrix of the estate of James P. Burke, and Diane Burke individually            Bayside           NY
John Burke                                                                                              Atlantic Beach    NY
Kevin Burke and Lorraine Burke                                                                          St. James         NY
Marie Burke                                                                                             Valley Stream     NY
Peter Burke and Danielle Burke                                                                          Gilbert           SC
Deborah Burke, as Administratrix of the estate of Richard Burke, and Deborah Burke individually         Bronx             NY
Elizabeth Burnett                                                                                       New Windsor       NY
Gary Burnette                                                                                           Jamaica           NY
Kenneth Burns                                                                                           Massapequa        NY
Patrick Burns                                                                                           Smithtown         NY
Ralph F. Buro, as Administrator of the estate of Gary Buro, and Ralph F. Buro individually              Brooklyn          NY
Mark Burrell                                                                                            Freeport          NY
Donald Burton                                                                                           East Northport    NY
Michael Burzachiello and Amy Burzachiello                                                               Laurenceville     NJ
Vincent Busardo and Virginia Busardo                                                                    Brooklyn          NY
Vincenzo Buscarnera and Lisa M. Busarnera                                                               Staten Island     NY
John Busch and Joan Busch                                                                               Franklin Square   NY
Enrique Bustamante and Lusmila Bustamante                                                               Elmhurst          NY
Ernest Butler                                                                                           Brooklyn          NY
Joanne Butler                                                                                           Rockaway Point    NY
Mario Butler, as Personal Representative of the estate of Julio Butler, and Mario Butler individually   Brooklyn          NY
Raymond Butler                                                                                          Staten Island     NY
Raymond Butler                                                                                          Staten Island     NY
Robert Butler and Giovanna Butler                                                                       Staten Island     NY
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Thomas Butler and Diane Butler                                                              Selden              NY
Ahmad Butler, as Administrator of the estate of Tye Butler, and Ahmad Butler individually   Bronx               NY
Tyrone Butler                                                                               Brooklyn            NY
William E. Butler and Margaret Butler                                                       Kings Park          NY
Phillip Butt and Carolyn Benson                                                             Ronkonkoma          NY
Albert Buttacavoli                                                                          Staten Island       NY
John Byers and Patricia Byers                                                               Bayonne             NJ
Francis Byrne and Michelle Byrne                                                            West Babylon        NY
James P. Byrnes                                                                             Middle Village      NY
Hector Caban                                                                                Walden              NY
Nelson Caban and Lourdes Caban                                                              Montgomery          NY
Georgina Cabrera                                                                            Brooklyn            NY
Hugo Cabrera                                                                                Corona              NY
Oswaldo Cabrera                                                                             Corona              NY
Thomas Cacavio and Bridget Cacavio                                                          Bronxville          NY
Edward Caddle and Laura Caddle                                                              East Rockaway       NY
Kenneth Cadmus and Nancy Cadmus                                                             St. James           NY
Thomas Cadotte and Bayan Cadotte                                                            Brooklyn            NY
Stanley Caesar                                                                              Brooklyn            NY
John Cafarella and Gayle Cafarella                                                          Massapequa Park     NY
Anthony Cafferkey                                                                           Bronx               NY
Victor Caggiano and Sofia Caggiano                                                          Staten Island       NY
Manuel Caguana and Antonia Caguana                                                          Brooklyn            NY
Hazamoon Cahill                                                                             Luzerne             PA
John Cahill                                                                                 Hazlet              NJ
Moire Cahill                                                                                Hapatcong           NJ
Patrick Cain                                                                                Winfield            KS
Martha Caiza                                                                                Woodhaven           NY
Scott Calandra and Alicia Calandra                                                          Monmouth Junction   NJ
Enrique Calderin and Noreen Calderin                                                        Rock Tavern         NY
Ricardo Calderon                                                                            Fishkill            NY
Ivan Calero                                                                                 Rego Park           NY
Lucy Cali                                                                                   College Point       NY
Angelisa Calise                                                                             Brooklyn            NY
Michelle Call                                                                               Flemmington         NJ
Chris Callahan                                                                              Amityville          NY
Patrick Callahan                                                                            Bronx               NY
Robert Callahan and Eva Scripps-Callahan                                                    Staten Island       NY
Steven Callahan and Melissa A. Callahan                                                     Bellmore            NY
Edward Callan and Jeanne Callan                                                             Newton              NJ
Jose Calle and Damaris Calle                                                                East Stroudsburg    PA
Steven Calzolano and Debra Ann Calzolano                                                    Levitown            NY
Julie Camarda and Thomas Camarda                                                            Brooklyn            NY
Thomas Camarda and Julie Camarda                                                            Brooklyn            NY
Louis Camello and Cami Camello                                                              Staten Island       NY
Kenneth Camenzuli                                                                           College Point       NY
Louis Camerada and Michele Camerada                                                         East Rockaway       NY
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Darryl Cameron                                                                                 Rockville Center   NY
Anthony Caminiti and Rosemary Caminiti                                                         Staten Island      NY
Frank Caminiti and Carol Jean Caminiti                                                         Wilmington         NC
Arthur Campbell                                                                                New York           NY
Bernadette Campbell                                                                            Lynbrook           NY
Chris Campbell and Stephanie Campbell                                                          Stony Point        NY
Edward Campbell                                                                                Union              NJ
Frank Campbell and Anna M. Campbell                                                            Rutherford         NJ
Gerard Campbell                                                                                Staten Island      NY
Patrick Campbell and Geraldine Campbell                                                        Breezy Point       NY
Jeff Campion                                                                                   Yonkers            NY
Flor Campos                                                                                    Corona             NY
Angel Campoverde                                                                               Philadelphia       PA
Edgar Campoverde and Nancy Campoverde                                                          Ridgewood          NY
Rey R. Campoverde                                                                              New York           NY
James Camus and Susan Camus                                                                    Tappan             NY
David Cancel                                                                                   Jackson Heights    NY
Geovannia Cancel and Jesus I. Ramos                                                            New York           NY
Michael Cancel and Mickie Cancel                                                               Armhurst           NY
Robert Cancel and Sonia Cancel                                                                 Bronx              NY
Vincent Candela                                                                                Lindenhurst        NY
Eliezer Candelario                                                                             East Stroudsburg   PA
Rene Canela and Charity C. Cintron                                                             Bronx              NY
Kevin Canham                                                                                   Baldwin            NY
Russell Cannon                                                                                 Brooklyn           NY
Thomas Canny and Julia Canny                                                                   Lynbrook           NY
Andrew Canonico and Domenica Canonico                                                          Medford            NY
Richard Cantirino and Gina Cantirino                                                           Staten Island      NY
Salvatore Cantone                                                                              Howard Beach       NY
Ana Patricia Cantos                                                                            Brooklyn           NY
William Cantres and Suzanne Cantres                                                            Miami              FL
Daniel Cantu and Irene Cantu                                                                   Chester            NY
Rodolfo Capellan                                                                               New York           NY
Myrna Capizzo                                                                                  Shirley            NY
John Capo and Lisa Capo                                                                        Staten Island      NY
Michael Diamond, as Executor of the estate of Patrice Capo, and Michael Diamond individually   Brooklyn           NY
Kenneth Capobianco and Michele Capobianco                                                      Garwood            NJ
Craig Capolino                                                                                 Wantagh            NY
Joseph Cappello                                                                                Flushing           NY
Dominick Capuano and Megan Capuano                                                             Staten Island      NY
Joseph Caputo                                                                                  Hartsburg          MO
Yvette Caraballo                                                                               Bronx              NY
Joseph Carbone                                                                                 Yonkers            NY
Gerald R. Carbone, Jr. and Florence Carbone                                                    Ozone Park         NY
Jorge Carbonell                                                                                Bronx              NY
Mauricio Carchi                                                                                Brooklyn           NY
David Cardenas                                                                                 Warwick            NY
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Edison Cardenas                                                                                         Union City               NJ
Eduardo Cardenas and Lucia Condo                                                                        Chicago                  IL
Luis F. Cardenas and Martha Cardenas                                                                    Howard Beach             NY
Joseph Cardinale                                                                                        Lindenhurst              NY
Leslie Cardona                                                                                          Osslining                NY
Robert Cardona                                                                                          Yonkers                  NY
Daniel Cardone                                                                                          Somerset                 NJ
James Carey and Kathleen Carey                                                                          Seaford                  NY
Thomas Carey and Tammy Carey                                                                            Mahopac                  NY
Thomas Caridad                                                                                          Ormond Beach             FL
Denis Carlin and Rosemary Kindelan-Carlin                                                               Hartsdale                NY
Shirley Carlock, as Administratrix of the estate of Owen T. Carlock, and Shirley Carlock individually   Middletown               NJ
Kenneth Carlucci                                                                                        Shoreham                 NY
Kenneth Carmichael                                                                                      Atlanta                  GA
James Carmody and Margaret James                                                                        E. Durham                NY
James A. Carney                                                                                         Brooklyn                 NY
Joseph Carney and Margaret Carney                                                                       Ocean                    NJ
John Caroccia and Jacqueline Caroccia                                                                   Staten Island            NY
Paul Carpenter                                                                                          Huntington               NY
Luis A. Carpio                                                                                          Syosset                  NY
Douglas Carr and Carmen Carr                                                                            Jamaica                  NY
John Carr                                                                                               Bronx                    NY
Kevin J. Carr                                                                                           Wantagh                  NY
James Carrano                                                                                           Port Jefferson Station   NY
Richard Carrano                                                                                         North Babylon            NY
Thomas Carrano                                                                                          Centereach               NY
Hernan Carrasco and Wendy Carrasco                                                                      Orlando                  FL
Victor Carrasco and H LEON                                                                              Corona                   NY
Ramon Carrasquillo and Brenda Carrasquillo                                                              Brooklyn                 NY
Isidro Carrion and Teresa Carrasquillo                                                                  Hempstead                NY
James Carroll and Allison Carroll                                                                       Bayport                  NY
Thomas Carroll                                                                                          Howell                   NJ
Gladys Cartagena and A. Chomorro                                                                        Elmhurst                 NY
Mae Carter, as Personal Representative of the estate of Allen Carter, and Mae Carter individually       Brooklyn                 NY
Arthur Carter                                                                                           Old Bridge               NJ
Douglas Carter and Gina Carter                                                                          Bohemia                  NY
Olugbade Carter                                                                                         Brooklyn                 NY
Ronald Carter and Angela Carter                                                                         Carteret                 NJ
Wade Carter and Felice Carter                                                                           Brooklyn                 NY
Yannique Carter                                                                                         Brooklyn                 NY
Warren Cartwright                                                                                       Glen Cove                NY
Calogero Caruso and Denise Caruso                                                                       Old Bridge               NJ
Eugene Caruso and Patricia Caruso                                                                       North Merrick            NY
Troy Caruso and Susan Caruso                                                                            Smithtown                NY
Frank Caruti and Pia Caruti                                                                             Manalapan                NJ
Manuel Carvajal                                                                                         Flushing                 NY
Thomas H. Carver and Christine Carver                                                                   Staten Island            NY
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Christian Cascante                                                                                 Kenilworth          NJ
Raymond Cascio and Margaret Cascio                                                                 West Babylon        NY
Dennis Casey and Doreen Casey                                                                      Brewster            NY
Donald Casey and Kristi L. Casey                                                                   Knoxville           TN
Scott W. Casper and Elizabeth W. Casper                                                            Hicksville          NY
Richard Cassabria                                                                                  Staten Island       NY
Domenico Cassano, Jr. and Denise M. Casano                                                         New Fairfield       CT
Michael Cassidy                                                                                    Hempstead           NY
Carlos Castaneda                                                                                   Briarwood           NY
Louis Castelluccio and Randi Castelluccio                                                          litchfield          AZ
Alexis Castillo                                                                                    Cape Coral          FL
Bienvenido Castillo and Lucy E. Castillo                                                           Bronx               NY
Manuel Castillo                                                                                    New York            NY
Piedad Castillo and Cesar Avila                                                                    East Elmhurst       NY
Robert Castorena                                                                                   East Islip          NY
Francisco Castro and Ada Castro                                                                    Woodleaf            NC
Hector Castro                                                                                      North Bergen        NJ
Hercen Castro and Maria Castro                                                                     Corona              NY
John Castro                                                                                        Middle Village      NY
Maria Castro and Hercen Castro                                                                     Corona              NY
Rey Castro                                                                                         Bronx               NY
Stephen Castro                                                                                     Brooklyn            NY
Dante Castro-Recio and Lori Castro-Recio                                                           Massapequa          NY
Frank Catanzaro                                                                                    North Massapequa    NY
Christopher Catuogno and Rosa Catuogno                                                             Brooklyn            NY
Thomas Cavallaro                                                                                   St. Petersburg      FL
Robert Cavallo                                                                                     Hopewell Junction   NY
Daniel Cavanagh                                                                                    Staten Island       NY
Mary Cavanagh, as Personal Representative of the estate of Michael Cavanagh, and Mary Cavanagh
individually                                                                                       East Stroudsburg    PA
Brian Cavanaugh, as Personal Representative of the estate of John Cavanaugh, and Brian Cavanaugh
individually                                                                                       Syracuse            NY
Teresita Cayetano                                                                                  Corona              NY
John Cea and Chrsitine Cea                                                                         West Islip          NY
Thomas Cea and Kathleen Cea                                                                        Oceanside           NY
Jorge Ceballos                                                                                     Bronx               NY
Benedict Cecere and Sally Cecere                                                                   Suffern             NY
Franklin Cedillo and Rocio Quizhipi                                                                Clifton             NJ
Carolyn Celona and William J. Celona                                                               Deer Park           NY
Katherine Cennamo                                                                                  Staten Island       NY
Raymond Censoprano and Nanete Censoprano                                                           Selden              NY
Eva Centeno and Cicero J. Centeno                                                                  Albuquerque         NM
Steven Centore                                                                                     New Bern            NC
Marty Cervellione and Dorothy Cervellione                                                          Port Jefferson      NY
Wilson Chaca                                                                                       Jackson Heights     NY
Ninan Chacko and Sara Ninan                                                                        Floral Park         NY
Aida Chalco                                                                                        Jackson Heights     NY
Joel Chalco                                                                                        Clifton             NJ
Vielka Chambers                                                                                    Brooklyn            NY
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Andrew Chan and Dana Chan                                                                                       Brooklyn           NY
Chiu Chan, as Personal Representative of the estate of Yu Chan, and Chiu Chan individually                      Elmhurst           NY
Richard Channer                                                                                                 Bronx              NY
Soyini Chan-Shue and Duane Chan-Shue                                                                            New York           NY
Anthony Charles                                                                                                 Brooklyn           NY
Walter Chartorynsky and Arlene Chartorynsky                                                                     Levittown          NY
Maria Chauca                                                                                                    Astoria            NY
Naveed Chaudry                                                                                                  Staten Island      NY
Anthony Cheatham and Caren L. Brown                                                                             Medford            NY
Juan Checo and Maribel Grullon                                                                                  Bronx              NY
Patricia Chelsen, as Executrix of the estate of Roy Chelsen, and Patricia Chelsen individually                  Warwick            NY
Bin Chen                                                                                                        Manhattan          NY
Lu Bi Jiao, as Personal Representative of the estate of Duan-Teng Chen, and Lu Bi Jiao individually             Flushing           NY
Guan-Chun Chen                                                                                                  New York           NY
Jian Sheng Chen                                                                                                 Brooklyn           NY
Zhi Guo Chen                                                                                                    New York           NY
Scott Chernoff                                                                                                  Bethlehem          PA
Anthony Chianese                                                                                                Brooklyn           NY
Joseph Chianese and Antonia Chianese                                                                            Staten Island      NY
Nick Chiarello and Geraldine C. Chiarello                                                                       South Setauket     NY
Mark Chiarolanza and Kelli A. Chiarolanza                                                                       Madison            NJ
Maria F. Chimbay                                                                                                Corona             NY
Howard Chin                                                                                                     New York           NY
Stanley Chin and Wendy Chin                                                                                     Hillsborough       NJ
Tommy Chin and Judy Chin                                                                                        Middle Village     NY
Mario Chinga                                                                                                    Ridgefield         NJ
Maria I. Chique and Jose Rojas                                                                                  Corona             NY
Dorothy Chiusano, as Administratrix of the estate of James Chiusano, and Dorothy Chiusano individually          Staten Island      NY
Lewis Chiverton Sr.                                                                                             Bronx              NY
Joseph Chmura and Betty Jean Chmura                                                                             Parsippany         NJ
Han Choi                                                                                                        Long Island City   NY
Steven Choinski and Consuelo Choinski                                                                           East Northport     NY
Andrzej Chojnowski and Bozema Chojnowska                                                                        Woodhaven          NY
Roy Chopping                                                                                                    Bayport            NY
Robert Christensen and Ellen Christensen                                                                        Nesconset          NY
Thomas Christensen and Krsitine Christensen                                                                     Manahawkin         NJ
Sandor Christian and Jennifer Christian                                                                         Easton             PA
George Christiansen and Colleen Christiansen                                                                    Islip Terrace      NY
Kenneth J. Christiansen and Erin Christiansen                                                                   Staten Island      NY
Scott Christie and Kristin Christie                                                                             East Patchogue     NY
Yen Chu                                                                                                         Brooklyn           NY
William Chun and Heather Chun                                                                                   Anderson           SC
Bundy Chung                                                                                                     Staten Island      NY
Ralph Ciafone and Norma Ciafone                                                                                 Whitestone         NY
Leo Ciangiulli                                                                                                  New York           NY
Laura Ciccotto, as Personal Representative of the estate of Anthony Ciccotto, and Laura Ciccotto individually   Homosassa          FL
Frank Cicerello and Debra Cicerello                                                                             West Islip         NY
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Albert Cicero                                                                                 Staten Island      NY
Chris Ciejka and Maria Ciejka                                                                 No. Babylon        NY
Vincent Cilenti and Gracie Cilenti                                                            Staten Island      NY
Alfonse Cinquemani and Suzane Cinquemani                                                      Hazlet             NJ
Anthony Cioppa                                                                                Nanuet             NY
Emil Cipriano and Blathnaid Cipriano                                                          Bunberg            Ireland
Luciano Cipriano                                                                              Bellmore           NY
Frank Cipully and Lisa M. Cipully                                                             Jackson            NJ
Lisa Cipully and Frank P. Cipully                                                             Jackson            NJ
Joanne Ingato, as Executrix of the estate of James Circello, and Joanne Ingato individually   Berkeley Heights   NJ
Steve Cirone                                                                                  Secaucus           NJ
John Citara, Sr.                                                                              Sarasota           FL
Rocco Citeno and Elizabeth Citeno                                                             Sayville           NY
Michael Ciuffo and Rosario Ciuffo                                                             Seaford            NY
Philip Ciulo                                                                                  Staten Island      NY
Francine Civello                                                                              New York           NY
Keith Claire and Mary Claire                                                                  Staten Island      NY
Cecilia Claret                                                                                Bronx              NY
Alma J. Clark                                                                                 Orange Park        FL
Richard Clark                                                                                 Springville        AL
Bernadine Clarke                                                                              Central Islip      NY
Dennis R. Clarke and Wendy Clarke                                                             Brooklyn           NY
Patrick Clarke and Diane Clarke                                                               Waldwick           NJ
Robert Clarke                                                                                 Staten Island      NY
Steven Clarke                                                                                 Brooklyn           NY
Tyrone Clarke                                                                                 Brooklyn           NY
Elvis Classen and Yolanda Classen                                                             Westbury           NY
Marquez Claxton                                                                               Laurelton          NY
Cherri Clay and Rawle Fisher                                                                  Brooklyn           NY
Joseph Clement                                                                                Staten Island      NY
Robert Clendenning                                                                            Selden             NY
Warren Clendenny                                                                              Goshen             NY
Otis Clifton                                                                                  New York           NY
Gerard Clinton and Alicia Clinton                                                             Sayville           NY
Michael Coates and Deborah Coates                                                             Westbury           NY
Sarbelia Coballes                                                                             Bethel             CT
Jessica Coccodrilli and Robert Coccodrilli                                                    Staten Island      NY
Robert Coccodrilli and Jessica Coccodrilli                                                    Staten Island      NY
William Coccodrilli and Danielle Coccodrilli                                                  Brooklyn           NY
Asdrubal Coello                                                                               Sunnyside          NY
Kevin Coenen and Nadia Coenen                                                                 New York           NY
Keith Cofresi and Lisa Cofresi                                                                Staten Island      NY
Jason Cohen                                                                                   Brooklyn           NY
Anthony T. Cokley                                                                             Bronx              NY
Lawrence Coleman and Peggy Coleman                                                            Valley Stream      NY
Manson Coleman                                                                                Richmond Hill      NY
Mariella Coleman and Preston Fucci                                                            Bushkill           PA
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Patrick Coleman and Lydia Coleman                                                                           Brooklyn         NY
Heriberto Collazo and Dawn M. Collazo                                                                       Arverne          NY
Coleen M. Colleluori, as Administratrix of the estate of Joseph Colleluori, and Coleen M. Colleluori
individually                                                                                                Bethpage         NY
Frank R. Colletta and Terri Colletta                                                                        Milford          PA
Maria Collier, as Personal Representative of the estate of Tyrone Collier, and Maria Collier individually   Brooklyn         NY
Daniel Collins                                                                                              Bayside          NY
John F. Collins                                                                                             New York         NY
Toni Collins                                                                                                Bronx            NY
William Collins and Ellen Collins                                                                           Belle Harbor     NY
Mike Colon                                                                                                  Bronx            NY
Ricardo Colon                                                                                               Bronx            NY
Louis Colone and Gerriann Colone                                                                            Staten Island    NY
Viviana Colorado and Leslie Carvajal                                                                        Bronx            NY
Ray Colovic and Stephanie Colovic                                                                           New York         NY
Anthony Colucci and Tina Colucci                                                                            Staten Island    NY
Robert Colwell and Regina Colwell                                                                           Tobyhanna        PA
Anthony Compitello and Lisa Compitello                                                                      Staten Island    NY
Daniel Conca                                                                                                Nutley           NJ
Ralph Conca and Heather Conca                                                                               Nutley           NJ
Anthony Concialdi and Leslie Concialdi                                                                      Saint James      NY
Joseph Condello and Michelle Condello                                                                       Merrick          NY
David Conelli and Diana Conelli                                                                             Garden City      NY
James Conlon                                                                                                Staten Island    NY
Sean Connelly                                                                                               Staten Island    NY
Michael Connolly and Elizabeth Connolly                                                                     Monroe           NY
Thomas Connolly and Christine Connolly                                                                      East Williston   NY
Joseph Conrad                                                                                               Astoria          NY
Francis Conroy and Jeanne Conroy                                                                            Port Jervis      NY
John Conroy and Patricia Conroy                                                                             Long Beach       NY
John Conte and Lisa Marie Conte                                                                             Milford          CT
Kathleen Conte                                                                                              Staten Island    NY
Anthony Conti and Sally Conti                                                                               Bayside          NY
Louis Contini and Admarie Contini                                                                           Monroe           NY
Fernando Contreras and Drena Contreras                                                                      East Meadow      NY
Daniel Conway                                                                                               Whitestone       NY
Thomas Conway and Christine Conway                                                                          East Rockaway    NY
William Conway and Susan Conway                                                                             Brentwood        NY
Chuck Conwell                                                                                               Bronx            NY
Sean Cook                                                                                                   Brooklyn         NY
John Coombs and Jacqueline D. Coombs                                                                        Brooklyn         NY
Edward Cooper                                                                                               Staten Island    NY
Kevin Cooper and Anne Marie Cooper                                                                          Staten Island    NY
Tina Cooper                                                                                                 Bronx            NY
William Cooper and Debra Cooper                                                                             Holmes           NY
Andrew Copertino                                                                                            Lindenhurst      NY
Jerry Coppola and Carol-Ann Coppola                                                                         Staten Island    NY
Michael Coppola and Gina Coppala                                                                            Staten Island    NY
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Robert Coppola and Heidi Coppola                                                                       Westtown             NY
John P. Corbett, as Administrator of the estate of John P. Corbett, and John P. Corbett individually   Staten Island        NY
Michael Corbett and Christie Corbett                                                                   West Islip           NY
Patrick F. Corbett and Marit Corbett                                                                   West Islip           NY
Patrick Corbett                                                                                        New York             NY
Jacqueline Corbin and Phillip Corbin                                                                   New York             NY
Daniel Corcoran                                                                                        Warwick              NY
Lisa Cordero                                                                                           Brooklyn             NY
Nelson Cordova                                                                                         Westbury             NY
George Corey and Jeanette Corey                                                                        Massapequa           NY
Matthew Corless and Rosemarie Corless                                                                  N. Bellmore          NY
Daniel Cornelius and Adrianna Cornelius                                                                Warwick              NY
Joseph Cornetta                                                                                        Miller Place         NY
Jose Coronel                                                                                           Corona               NY
Sonia Corpes                                                                                           St. Cloud            FL
Elena Corrales                                                                                         Corona               NY
Helman Correa, as Parent of the estate of Danny Correa-Gutierrez, and Helman Correa individually       Pinebrook            NJ
Brian Corrigan                                                                                         Yorktown Heights     NY
Carlos Cortes and Lucy Cortes                                                                          Kissimee             FL
David Cortes                                                                                           Hamilton             NJ
Zoila Cortez                                                                                           Bronx                NY
Lidia Cortijo                                                                                          Jackson Heights      NY
Michael Cosenza and Maria Cosenza                                                                      Brooklyn             NY
Jason Cosgriff and Amy Cosgriff                                                                        Upper Saddle River   NJ
Leonardo Costa and Susan Costa                                                                         Franklin Square      NY
Anthony Costales and Maryann Costales                                                                  Wantagh              NY
Richard P. Costante and Sharon Costante                                                                Oceanside            NY
Michael Costanza and Rachel Costanza                                                                   Oceanside            NY
Joseph Costanzo and Alba Costanzo                                                                      Pomona               NY
Edward Costello and Carol Costello                                                                     Furlong              PA
Nancy Costello, as Administratrix of the estate of Joseph Costello, and Nancy Costello individually    Lake Grove           NY
Joseph Costello and Amarilis Hernandez                                                                 Palm Coast           FL
Michael Costello and Anne Costello                                                                     Floral Park          NY
Raymond Costello                                                                                       Brooklyn             NY
William T. Costigan and Jocleyne Costigan                                                              Long Beach           NY
Mitchell Coto and Nancy Coto                                                                           Tampa                FL
Thomas Cotter and Rose M. Cotter                                                                       Thornwood            NY
David Courtien and Darlene Courtien                                                                    Staten Island        NY
Michael Coveny                                                                                         Bellmore             NY
Steve Covetskie and Jenny Covetskie                                                                    Wellington           FL
Alveraz Cowans and Yolanda Cowans                                                                      Hamburg              NJ
William Cox and Geraldine Cox                                                                          Staten Island        NY
Sean Coyle and Maureen Coyle                                                                           Manorville           NY
Timothy Coyle                                                                                          Cortlandt Manor      NY
Anita Cozza, as Administratrix of the estate of John Cozza, and Anita Cozza individually               Armonk               NY
Lucius Craig                                                                                           Farmingdale          NY
Chris Creegan                                                                                          Mahopac              NY
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Anthony Creen                                                                                   Clarks Summit        PA
Israel Crespo                                                                                   Warwick              NY
Jose Crespo and Carmen Crespo                                                                   Brooksville          FL
Richard Crespo                                                                                  Congers              NY
Walter Crevoiserat Jr. and Catherine P. Crevoiserat                                             Durham               NC
Thomas Crist                                                                                    Melville             NY
Anthony Croce and Jennifer J. Croce                                                             Massapequa           NY
Neal Cromwell                                                                                   North White Plains   NY
Denise Cross                                                                                    Fairburn             GA
Eugene Croutier                                                                                 Rockville Center     NY
Sean Crowley                                                                                    Staten Island        NY
Efren Cruz                                                                                      Flushing             NY
Hector Cruz                                                                                     New York             NY
Hernan Cruz                                                                                     Monroe               NY
Hulbio Cruz                                                                                     Hoboken              NJ
Rolando Cruz                                                                                    Woodside             NY
Wilfredo Cruz                                                                                   Corona               NY
Julian Cuadrado                                                                                 Brooklyn             NY
David Cuevas                                                                                    Union City           NJ
Johnny Cuevas                                                                                   Weston               FL
Georgian Culcleasure and William R. Rhodius                                                     Hempstead            NY
Joseph Culhane                                                                                  Monroe               NY
Andrew Cullimore and Stephanie Cullimore                                                        Westport             CT
Francisco Culma and Wartha Culma                                                                Woodhaven            NY
Salvatore Cumia and Laura Jane Cumia                                                            Bristol              CT
Michael Cummings and Denise Cummings                                                            Islip                NY
James Cunningham and Joan Cunnigham                                                             Croton               NY
Michael Cunningham and Christine Cunningham                                                     Brooklyn             NY
Tom Cunningham and Dorothy Cunningham                                                           Congers              NY
Robert W. Cupani                                                                                Orangeburg           NY
Thomas Cupo and Diane Cupo                                                                      Staten Island        NY
Frank Curatola                                                                                  Staten Island        NY
Michael Curatola                                                                                Hallandale           FL
Ralph Curcio                                                                                    Nesconset            NY
Joseph Curdgel                                                                                  Yonkers              NY
Brian Curran and Janine Curran                                                                  Floral Park          NY
Edward Curry and Mary Curry                                                                     Tuckahoe             NY
Timothy Curtin and Anmarie Curtin                                                               Monroe               NY
Brian Curtis                                                                                    Cambria Heights      NY
Scott D'Abreu and Joanne M. D'Abreu                                                             Whitestone           NY
Ignatius Dagostino                                                                              Staten Island        NY
Philip D'Agostino and Dawn D'Agostino                                                           Broad Channel        NY
Kendra Damante                                                                                  Staten Island        NY
Michael Damato and Josehine Damato                                                              Bellmore             NY
Frank D'Amato and Christine D'Amato                                                             Barnesville          PA
Dominique Damiano, as Administratrix of the estate of Domenick Damiano, and Dominique Damiano
individually                                                                                    Cape Coral           FL
Timothy Dancy and Mirnas Rodriguez                                                              Corona               NY
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Elizabeth A. Danese                                                                                         Closter               NJ
Gaspar Danese and Paula Danese                                                                              East Meadow           NY
Richard Danetti and Gail M. Danetti                                                                         Wantagh               NY
Darriel Daney and Letisha R. Daney                                                                          Englewood             NJ
Joseph D'Angelo and Janette D'Angelo                                                                        West Islip            NY
Michael D'Angelo and Anne D'Angelo                                                                          Jupiter               FL
Brian A. Daniels                                                                                            Brooklyn              NY
Peter Dantonio and Mariana Dantonio                                                                         Washingtonville       NY
Katherine Danzig and Jennifer Hoeppner                                                                      Long Beach            NY
John Dardia and Carol Ann Dardia                                                                            Milford               PA
Robert Darin and Dusty Grace Darin                                                                          Salisbury Mills       NY
Alexander Darmiento and Jessica Darmiento                                                                   West Islip            NY
Robert Dart and Karen Dart                                                                                  Smithtown             NY
Kenneth Dash and Joan Dash                                                                                  Centerport            NY
Raymond D'Augusta                                                                                           Massapequa            NY
John Davidek                                                                                                Morris Plains         NJ
Elaine A. Davidson, as Executrix of the estate of Catherine Davidson, and Elaine A. Davidson individually   Bohemia               NY
Lynne Davidson                                                                                              New York              NY
Lynn Davies                                                                                                 Amityville            NY
George Davino                                                                                               Mohegan Lake          NY
Charles Davis                                                                                               New York              NY
Gwendolyn Davis                                                                                             Far Rockaway          NY
Kenneth M. Davis                                                                                            Brooklyn              NY
Michael Davis and Margherita Davis                                                                          Staten Island         NY
Rodney Davis and Jennifer Davis                                                                             Old Bridge            NJ
Ronald De Rosa and Margaret Derosa                                                                          Debary                FL
Peter DeAngelis and Denise DeAngelis                                                                        Howard Beach          NY
Michael DeBlois and Martina DeBlois                                                                         Idaho Springs         CO
Stanley Deboe                                                                                               Shirley               NY
Emmanuel Debono and Martha Debono                                                                           Forest Hills          NY
Charles DeCaro and Chrisso DeCaro                                                                           Staten Island         NY
Wayne Decker and Carla Breeze                                                                               Topeka                KS
Nick DeCourcelles                                                                                           New York              NY
Carmine DeFalco                                                                                             Chatham               NJ
Michael DeFilippis and Cheryl DeFilipps                                                                     Little Ferry          NJ
Anthony DeJesus                                                                                             BayShore              NY
Richard DeJesus                                                                                             Springfield Gardens   NY
Louis Del Castello and Annemarie Del Castello                                                               Yonkers               NY
Belkis Delacruz                                                                                             Bronx                 NY
Gloria Delacruz and Ramon Delacruz                                                                          Bronx                 NY
Dennis Delaney and Silvia Delaney                                                                           Demarest              NJ
John Delaney                                                                                                Bethpage              NY
Michael DeLaney                                                                                             Larchmont             NY
James DelBianco                                                                                             Brooklyn              NY
Frank DeLeo                                                                                                 Garden City           NY
Anthony Delgado and Kathleen Delgado                                                                        Cortlandt Manor       NY
Emilsen Delgado                                                                                             East Elmhurst         NY
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Jose Delgado                                                                                        Jackson Heights          NY
Steven Delgado and Brenda Delgado                                                                   Newburgh                 NY
Carl DelGeorge and Susan DelGeorge                                                                  Howard Beach             NY
Bruce Delgiorno and Tonina Delgiorno                                                                New Hyde Park            NY
Victor Della Croce and Lisa Della Croce                                                             Bellmore                 NY
Stephen Della Volpe                                                                                 Yorktown Heights         NY
Salvatore Dellecave and Kimberly Dellecave                                                          Brooklyn                 NY
Keith Delmar and Chaka Delmar                                                                       Miller Place             NY
Robert Delprete and Kristine S. DelPrete                                                            Mount Sinai              NY
Stefano DelPrete and Diane DelPrete                                                                 Belford                  NJ
Gregory Leone, as Administrator of the estate of Ann DeLuca, and Gregory Leone individually         Manhatten                NY
Gregory Leone, as Executor of the estate of Marie DeLuca, and Gregory Leone individually            New York                 NY
Jeanette DeLucia                                                                                    Medford                  NY
Mario DeLucia and Louise R. Delucia                                                                 Sevierville              TN
Elizabeth DelValle                                                                                  Bronx                    NY
Sentoria Demarco and Robert DeMarco                                                                 Newburgh                 NY
Michael DeMarfio                                                                                    New York                 NY
Frank Demaria                                                                                       West Hempstead           NY
Patrick Demaria                                                                                     Richmondville            NY
Mark Demauro and Gina Demauro                                                                       Matawan                  NJ
Todd Demayo                                                                                         Staten Island            NY
William Dement and Barbara Dement                                                                   Alto                     NM
Yalkin Demirkaya and Demet Demirkaya                                                                Holbrook                 NY
Ramazan Demirovic and Ramazan Deirovic                                                              Staten Island            NY
Joseph Demonico                                                                                     Eastchester              NY
Thomas Dempsey and Dawn Dempsey                                                                     Hicksville               NY
Vincent DeNardo and Georgeann DeNardo                                                               Englishtown              NJ
Dwayne Dent and Mecca Faust                                                                         Bronx                    NY
Joseph Dent and Geraldine D. Dent                                                                   Williamsburg             VA
Dina DePasquale                                                                                     Stony Point              NY
Richard Depietro and Rosemary Depietro                                                              Point Pleasant           NJ
Conrad DePinto                                                                                      Port Jefferson Station   NY
Conrad DePinto and Kim DePinto                                                                      Port Jefferson Station   NY
Lee Depoian and Judith M. Depoian                                                                   Coram                    NY
Christopher DePrisco                                                                                Staten Island            NY
James Derby and Carolyn Derby                                                                       Douglaston               NY
Janet Dermody                                                                                       Dobbs Ferry              NY
George DeSimone and Audrey De Simone                                                                Astoria                  NY
Mary DeSimone, as Administratrix of the estate of Joseph DeSimone, and Mary DeSimone individually   Somerset                 NJ
Steven DeSimone and Krista DeSimone                                                                 East Meadow              NY
Louis DeSio and Donna DeSio                                                                         Staten Island            NY
William Desmond and Jacqueline Desmond                                                              South Amboy              NJ
Lee Desposito                                                                                       Staten Island            NY
James Destasio and Donna Destasio                                                                   Staten Island            NY
James DeStefano and Lisa DeStefano                                                                  Colonia                  NJ
Warren DeTemple and Josephine DeTemple                                                              Lindenhurst              NY
Elena DeToma                                                                                        West Mifflin             PA
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Thomas Deutsch                                                                                   Wantagh          NY
Peter Devecchis and Darlene Devecchis                                                            Lindenhurst      NY
Keith Devine and Beth Devine                                                                     New Hyde Park    NY
William Devine                                                                                   Nanuet           NY
Vincent DeVita and Margaret DeVita                                                               Palm Coast       FL
Ninfa DeVito, as Administratrix of the estate of Michael Devito, and Ninfa DeVito individually   Farmingdale      NY
Raymond DeVito and April Devito                                                                  Smithtown        NY
Kevin Dewise and Lisa Dewise                                                                     Sayreville       NJ
Daniel Dewitt and Lauren Dewitt                                                                  Brooklyn         NY
Stephen Di Schiavi and Angela DiSchiavi                                                          Staten Island    NY
Kevin Diamond and Lisa Diamond                                                                   Highland Mills   NY
Alba R. Diaz                                                                                     Bronx            NY
Diego Diaz and Veronica Garcia                                                                   Astoria          NY
Hector Diaz and Linda P. Diaz                                                                    Teaneck          NJ
Herman Diaz                                                                                      Deer Park        NY
Joseph Diaz and Anne Diaz                                                                        New Windsor      NY
Juan Diaz                                                                                        Bronx            NY
Ramiro Diaz and Zoila Riera                                                                      Ridgewood        NY
William Diaz and Marcia M. Diaz                                                                  Glendale         NY
William Diaz and Mayra M. Diaz                                                                   New City         NY
Robertha Diaz Cotto and Jose L. Cotto                                                            Tobyhanna        PA
Theresa Dibble                                                                                   New York         NY
Stephen A. DiBiase                                                                               West Islip       NY
Ronald J. Diemer and Cesarina Diemer                                                             Farmingville     NY
Michael Dieterich                                                                                Seaford          NY
John Difalco and Nancy Difalco                                                                   Beaufort         SC
Richard Difede                                                                                   Great Neck       NY
Douglas DiGeorgio                                                                                Staten Island    NY
Dennis Diggins and Margaret Diggins                                                              Wall Township    NJ
Steven DiGiaro and Patricia DiGiaro                                                              Staten Island    NY
Anthony DiGiovanna and Joanna DiGiovanna                                                         Smithtown        NY
Traceye K. Dillion                                                                               Brooklyn         NY
Theodore Dima and Jennifer Dima                                                                  Hillsborough     NJ
Patrick DiMasi                                                                                   East Islip       NY
Salvatore DiMauro Jr. and Emilia DiMauro                                                         Staten Island    NY
Kevin Dineen                                                                                     Bronx            NY
Peter DiNuzzo and Anna DiNuzzo                                                                   New City         NY
Gino Dipardo and Allison DiPardo                                                                 Jensen Beach     FL
Laura DiPasqua                                                                                   Girard           PA
Bruce DiPietro and Sandra DiPietro                                                               West Islip       NY
Salvatore DiSanto                                                                                Staten Island    NY
Francis Discolo and Theresa Discolo                                                              Manhasset        NY
Victor Disla and Altagracia Disla                                                                New York         NY
Alfonso DiStefano and Barbara DiStefano                                                          Staten Island    NY
Joseph Ditta and Angela M. Ditta                                                                 New Hyde Park    NY
Hugh Diver and Donna Diver                                                                       Middle Island    NY
John Dixon and Diane Dixon                                                                       Fishkill         NY
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Donny Dlugos and Jodi Dlugos                                                                              Commack          NY
James Dobbins and Jacqueline Dobbins                                                                      Apollo Beach     FL
Zbigniew Dobronski                                                                                        Woodhaven        NY
Robert Dodenhoff                                                                                          Massapequa       NY
Joseph Doherty and Mary Beth Doherty                                                                      Westfield        NJ
Robert Dolan and Allison Dolan                                                                            Massapequa       NY
Steven Dolan and Barbara Jean Dolan                                                                       Staten Island    NY
Antero Dominguez and Carmen Dominguez                                                                     Bronx            NY
David Dominguez and Catherine Dominguez                                                                   Bronx            NY
Gina Dominguez                                                                                            West New York    NJ
Tailor Dominguez and Juanna Dominguez                                                                     Union City       NJ
Timothy Donahue                                                                                           Staten Island    NY
Angelo Donarumma                                                                                          West Islip       NY
Anthony Donatelli and Michelle Donatelli                                                                  Whitestone       NY
Michael Donato and Donna M. Donato                                                                        Whitestone       NY
Jia Fa Dong                                                                                               Manhattan        NY
Yi-Chen Dong                                                                                              Flushing         NY
Clayton Donnelley                                                                                         Brooklyn         NY
Edward Donnelly and Linda Donnelly                                                                        Valley Stream    NY
Allen Donnelly, Jr.                                                                                       Bronx            NY
Joseph Dopico and Mary E. Dopico                                                                          Winter Garden    FL
George Lambert, as Administrator of the estate of Manuel J. D'Ornellas, and George Lambert individually   Spring Valley    NY
Rommelle Dorvil                                                                                           Staten Island    NY
Henry Doskocz and Theresa Mary                                                                            Bayville         NY
Clara Dota                                                                                                Corona           NY
Oscar Dotson                                                                                              Bronx            NY
William Dotson and Joyce Dotson                                                                           New York         NY
Christopher Dowd and Barbara Dowd                                                                         Staten Island    NY
Edward Dowd and Betsy Dowd                                                                                Holbrook         NY
James Dowd and Diane Dowd                                                                                 Oradell          NJ
Robert Dower and Dolores Dower                                                                            Succasunna       NJ
Norman Downes and Sherran Downes                                                                          Old Bridge       NJ
Michael Downey and Jennifer Downey                                                                        Bethpage         NY
Rashine Downs                                                                                             New York         NY
Edward Doyle                                                                                              Middletown       NJ
Jill Doyle                                                                                                Jupiter          FL
Michael Doyle and Marie Doyle                                                                             Lindenhurst      NY
Veronica Doyle                                                                                            Woodbury         NY
Daniel Drago and Barbara Drago                                                                            Tuckahoe         NY
Robert Dreiss and Marta Dreiss                                                                            Orlando          FL
Robert Driscoll and Katharine Driscoll                                                                    Neptune          NJ
Wayne Wright, as Administrator of the estate of Marjorie Driver-Wright, and Wayne Wright individually     So. Ozone Park   NY
Nick Droukas                                                                                              Woodside         NY
Anna Drozd                                                                                                Brooklyn         NY
Dmitry Drozdov                                                                                            Staten Island    NY
Dominik Drozdz and Ewa Drozdz                                                                             Nowy Wisnicz     Poland
Juanita Drumgold                                                                                          New York         NY
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Richard A. DuBois                                                                                          Brewster              NY
Brian Duffey                                                                                               Egg Harbor Twp        NJ
Kimberly Duffy, as Administratrix of the estate of Timothy Duffy, and Kimberly Duffy individually          St. James             NY
Timothy Duffy and Gregory Oarratt                                                                          New York              NY
Kiesha Dunn                                                                                                Brooklyn              NY
Russell Dunn and Shirley Dunn                                                                              Metuchen              NJ
John Dunne and Mary Dunne                                                                                  Bronx                 NY
Michael Dunworth and Rosemarie Dunworth                                                                    Midland Park          NJ
Jahiz Dupass and Sian Dupass                                                                               Jamaica               NY
John Durkin and Dorothy Durkin                                                                             Islip                 NY
Angel Dutan                                                                                                Elmhurst              NY
Ronald Dutton                                                                                              Newtown               NY
Keith Duval and Christine Duval                                                                            Staten Island         NY
John J. Dwyer and Eileen Dwyer                                                                             Oceanside             NY
Robert Dwyer and Daniella Dwyer                                                                            Levittown             NY
Jerzy Dybkowski                                                                                            Zawiercie             Poland
Ron Dziminski                                                                                              Lawrenceville         NJ
Emil Dzurilla and Dawn P. Dzurilla                                                                         Smithtown             NY
Dominick Eadicicco                                                                                         Staten Island         NY
Kevin Ebanks                                                                                               Farmingdale           NY
Anna M. Echeverry                                                                                          Middle Village        NY
Kishanea Echols                                                                                            Brooklyn              NY
Steven Eckert and Carmen Eckert                                                                            Seaford               NY
Aaron Edelman                                                                                              Oysterbay             NY
Desaree B. Brown, as Administratrix of the estate of Terrance Edmunds, and Desaree B. Brown individually   Brooklyn              NY
Pernida Edwards, as Administratrix of the estate of Albert Edwards, and Pernida Edwards individually       Yonkers               NY
Diane Edwards and Paul C. Edwards                                                                          Springfield Gardens   NY
Donn Edwards and Barbara Edwards                                                                           West Islip            NY
Junior Edwards                                                                                             Snelville             GA
Terrence Edwards and Rhone Edwards                                                                         Jamaica               NY
William Edwards and Allison Edwards                                                                        St. James             NY
Janet Edwards-Reyes and Sean Reyes                                                                         New York              NY
Jeff Efron and Milissa Efron                                                                               Holtsville            NY
John Egan                                                                                                  Pelham                NY
Annette Ehmer, as Executrix of the estate of Robert Ehmer, and Annette Ehmer individually                  East Meadow           NY
James Eirand and Deborah Eirand                                                                            Tuxedo Park           NY
Stephen Ekizian                                                                                            Bohemia               NY
Caryn Eldridge                                                                                             Manorville            NY
Saber A. Elgendy                                                                                           Brooklyn              NY
Margaret Elia, as Personal Representative of the estate of Robert Elia, and Margaret Elia individually     Staten Island         NY
Robert Elliot and Sharon Elliot                                                                            Bellmore              NY
Adassa Ellis and George Ellis                                                                              Brooklyn              NY
Arthur W. Ellis and Phyllis D. Ellis                                                                       New Hartford          NY
Edwin Ellis                                                                                                Bronx                 NY
Rosa Ellis                                                                                                 Bronx                 NY
Virginia Elsner and Russell Elsner                                                                         Sparks                NV
Joseph Elvezio and Mai T Vu Elvesio                                                                        Oceanside             NY
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Robert Emans and Donna Emans                                                                  Pocono Pines     PA
Valencia Emanuel                                                                              Somerset         NJ
Anthony Emanuele and Deborah Emanuele                                                         Oak Grove        MO
Robert Emmerich                                                                               Douglaston       NY
Marco Encalada and Blanca Encalada                                                            Corona           NY
Gregory Engel and Lisa R. Engel                                                               West Sayville    NY
Bradley English and Aimee English                                                             Brooklyn         NY
John English and Marjaneh English                                                             Lindenhurst      NY
William English                                                                               Brooklyn         NY
William Englund                                                                               Howard Beach     NY
John Entenmann and Jeanine Entenmann                                                          Hicksville       NY
John Episcopo                                                                                 Farmingdale      NY
Joseph Eppolito and Mary Eppolito                                                             New York         NY
April Epps                                                                                    Bronx            NY
Elvin Erickson                                                                                New York         NY
Olatutu Erinosho                                                                              West Hempstead   NY
Andre Escalera                                                                                Brooklyn         NY
Peter Escalera                                                                                New London       CT
Cesar Escobar                                                                                 Yonkers          NY
David Escorcia and Katherine Escorcia                                                         Mineola          NY
Robert Espinal                                                                                New York         NY
Alex Espinoza and Elsa Puma                                                                   Corona           NY
Carlos R. Espinoza                                                                            Corona           NY
Daniel A. Espinoza                                                                            New Windsor      NY
Gustavo Espinoza                                                                              East Meadow      NY
Dennis Esposito and Melissa Esposito                                                          Staten Island    NY
John Esposito                                                                                 Albertson        NY
Peter Esposito                                                                                Brooklyn         NY
Jeffrey Espreo and Hilda Espreo                                                               Mohegan Lake     NY
Hugo Esquivel and Maritza Esquivel                                                            New York         NY
Vincent C. Estella                                                                            Bronx            NY
Joseph Evangelist and Suzy Evangelist                                                         Staten Island    NY
Antony Fabbri and Susan Fabbri                                                                Ronkonkoma       NY
Michael Fabozzi and Melinda Thomas                                                            Staten Island    NY
Joseph Faello                                                                                 Nanuet           NY
Jay Fagan and Sandra Fagan                                                                    Staten Island    NY
Martin Fahy                                                                                   Queens           NY
Robert Fairweather                                                                            Putnam Valley    NY
Carlos Fajardo                                                                                Elizabeth        NJ
Michael Falcone and Kathleen Falcone                                                          Staten Island    NY
Chris Falletta                                                                                Bronx            NY
William P. Fallon and Laura Fallon                                                            Staten Island    NY
Stanislaw Faltynowicz and Lucyna Faltynowicz                                                  Flushing         NY
Eulalie Falu, as Administratrix of the estate of Manuel Falu, and Eulalie Falu individually   Bronx            NY
Rosolino Fanara                                                                               Staten Island    NY
Ryan Fanning                                                                                  Sayville         NY
Jody Farabella                                                                                Millville        NJ
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Vincent Collazo, as Executor of the estate of Heather Faraone, and Vincent Collazo individually              Brooklyn           NY
Frank Farfalla and Roni Lyn Farfalla                                                                         Ridgewood          NJ
Randolph Farinella and Helen Farinella                                                                       Sayville           NY
Harry J. Farrell and Sherry Farrell                                                                          Riverhead          NY
James R. Farrell and Heidi J. Farrell                                                                        Andover            OH
John Farrell and Francine Farrell                                                                            Commack            NY
Joseph Farrell and Lisa K. Farrell                                                                           Mattituck          NY
Kevin Farrell                                                                                                Mastic Beach       NY
Robert Farrell                                                                                               Mattituck          NY
Melinda Fasano and Christopher Fasano                                                                        Bellmore           NY
John Fassari and Annemarie Fassari                                                                           Massapequa         NY
Vincent Fatto and Barbara Fatto                                                                              Staten Island      NY
Almor Favaro                                                                                                 Chichester         NY
Joseph Fazio and Anna Maria Fazio                                                                            Mahopac            NY
Nicholas Federico and Maria Federico                                                                         Seaford            NY
Peter Federman and Anne Federman                                                                             Wantagh            NY
Stephen Feeks and Anne Walsh-Feeks                                                                           Freeport           NY
Martin T. Feeney                                                                                             Broad Channel      NY
Michael Fehsal and Kara L. Fehsal                                                                            Dumont             NJ
Anita Feinstein                                                                                              Delray             FL
Walter Feit and Anne Feit                                                                                    Queens Village     NY
Leonard A. Feld and Susan Feld                                                                               Rockville Center   NY
John Feldman and Michelle G. Feldman                                                                         Bayside            NY
Frank Felicetti                                                                                              Boynton Beach      FL
Aldo Feliciano and Amy Feliciano                                                                             Brandon            FL
Diego Feliciano and Carmen Feliciano                                                                         Yonkers            NY
Marcial A. Feliu                                                                                             Bronx              NY
Maria Felix-McCrae                                                                                           Brooklyn           NY
Edelmira Feliz, as Administratrix of the estate of Delio A. Feliz, and Edelmira Feliz individually           Bronx              NY
Nelson Feliz and Antoinet Feliz                                                                              Monroe             NY
Louis Femia and Doreen Femia                                                                                 Staten Island      NY
Ruth Fenner and Robert Fenner                                                                                Elmont             NY
Daphne Ferguson                                                                                              Bellerose          NY
Jose Fermin and Seamon Fermin                                                                                Paterson           NJ
Manuel Fernandes and Rosa Fernandes                                                                          New York           NY
Jacqueline K. Fernandez, as Administratrix of the estate of Cruz A. Fernandez, and Jacqueline K. Fernandez
individually                                                                                                 Fort Lauderale     FL
Hector Fernandez and Carmen Fernandez                                                                        Bronx              NY
Jeffrey Fernandez                                                                                            Woodside           NY
Luis Fernandez and Maritza Fernandez                                                                         Valley Stream      NY
Vito Fernicola and Paula Fernicola                                                                           Commack            NY
Dominic Ferraro and Barbara Ferraro                                                                          New York           NY
Rosa M. Ferraro, as Executrix of the estate of Edward M. Ferraro, and Rosa M. Ferraro individually           West Islip         NY
Kenneth Ferraro and Carol Ferraro                                                                            Somers             NY
Nicholas Ferraro and Gia Maria Ferraro                                                                       Massapequa Park    NY
Lucie Ferrell                                                                                                Mahtomedi          MN
Joseph Ferriolo                                                                                              Merrick            NY
Andrew Fesler and Deborah Fesler                                                                             Middle Village     NY
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Piotr Fiedziukiewicz and Maria Fiedziukiewicz                                                              Staten Island       NY
Lawrence Fields and Valerie Fields                                                                         Flushing            NY
Shurita Fields                                                                                             Bronx               NY
Lee Fierro and Renata Fierro                                                                               Nanuet              NY
Nicholas Figaro and Jane Figano                                                                            Belford             NJ
Alberto Figuereo and Myrna Figuereo Muniz                                                                  Edgewater Park      NJ
Esau Figueroa and Zuleika Figueroa                                                                         Washingtonville     NY
Luz Figueroa                                                                                               Brooklyn            NY
John Fillisetti and Theresa Fillisetti                                                                     Staten Island       NY
John Finlay and Debra Finlay                                                                               Staten Island       NY
Thomas Finnegan and Lisa Finnegan                                                                          Queens              NY
Jennifer Finnerty and Gerald Morgan Petri                                                                  Staten Island       NY
Tom Finnerty and Jill Finnerty                                                                             Staten Island       NY
George Finnie and Lisa Finnie                                                                              Brooklyn            NY
William Finnie and Janine Finnie                                                                           Brooklyn            NY
Vincent Fiore and Eileen M. Fiore                                                                          Barnegat            NJ
John Fiorella                                                                                              Staten Island       NY
William Fischer and Cynthia fischer                                                                        Holbrook            NY
Carl Fisher                                                                                                Vails Gate          NY
Brian Fitzgerald and Patricia Fitgerald                                                                    Rockaway Park       NY
Thomas Fitzgerald and MaryAnn Fitzgerald                                                                   Staten Island       NY
Arthur Fitzpatrick                                                                                         Rockaway Beach      NY
Kevin Fitzpatrick and Nancy G. Fitzpatrick                                                                 Hopewell Junction   NY
Patricia Fitzpatrick                                                                                       Irvine              CA
Richard Flaherty and Laura Flaherty                                                                        Sloatsburg          NY
Jason Flaitz                                                                                               Arkport             NY
Ewa M. Flakiewicz, as Personal Representative of the estate of Dariusz Flakiewicz, and Ewa M. Flakiewicz
individually                                                                                               Milanowek           Poland
Anthony Flammia and Wendy Flammia                                                                          Miller Place        NY
James Flanagan                                                                                             Lake Grove          NY
Kevin Flanagan and Helen Flanagan                                                                          Howard Beach        NY
Thomas Flannery and Mary Flannery                                                                          Pearl River         NY
James Fleming                                                                                              New York            NY
Eric Flood                                                                                                 New York            NY
Ronald Flood and Jacqueline Flood                                                                          New York            NY
Faye R. Floyd                                                                                              Philidelphia        PA
James Flynn                                                                                                Quakertown          PA
Larry Flynn and Patricia Flynn                                                                             Flushing            NY
Thomas Flynn and Lynn M. Flinn                                                                             Williston Park      NY
Timothy J. Flynn                                                                                           Cranford            NJ
Felicia Fogle                                                                                              New York            NY
Donald Foley and Kelly Ann Foley                                                                           Yonkers             NY
Patricia Foley and Daniel J. Sladek                                                                        Indialantic         FL
Brenda Folk-Kirkland, as Executrix of the estate of Stanley Folk, and Brenda Folk-Kirkland individually    Brooklyn            NY
Brett Fontana                                                                                              East Meadow         NY
Mickey Fontanez and Martizia Fontanez                                                                      Scotchtown          NY
Victor Fontanez                                                                                            Yonkers             NY
Ronald Fonte and Theresa Fonte                                                                             Brooklyn            NY
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Courtney Forbes and Caryn Forbes                                                                         Middle Island      NY
Eric Forbes and Sherry Forbes                                                                            Staten Island      NY
Jeffrey Ford and krista Ford                                                                             Staten Island      NY
George Foris and Dorothy Foris                                                                           Belle Harbor       NY
Vincent Forras and Monica Forras                                                                         South Salem        NY
Douglas Forsyth and Dolores Forsyth                                                                      Hazlet             NJ
George Fortaleza and Janette Fortaleza                                                                   Clifton            NJ
Mary Foss, as Administratrix of the estate of Bruce Foss, and Mary Foss individually                     Sarasota           FL
Alvin Foster                                                                                             Flushing           NY
Prudence Foster                                                                                          Brooklyn           NY
Scott Fowler and Maria Fowler                                                                            Washingtonville    NY
Shatonn Fowler                                                                                           Brooklyn           NY
James Fox                                                                                                Brooklyn           NY
Patricia Fox                                                                                             Bronx              NY
Korin Fox-Taitt                                                                                          Jamaica            NY
Ismael Frade and Luz E. Frade                                                                            Bronx              NY
Charles Francis and Mary Francis                                                                         Valdosta           GA
Cleland Francis                                                                                          Far Rockaway       NY
Daniel Francis and Vincenza Francis                                                                      Hauppauqe          NY
Orville Francis                                                                                          Stamford           CT
Frank Francisco and Jocelyn Francisco                                                                    Staten Island      NY
Vladimir Francisco                                                                                       Bronx              NY
Damarys Franco and Ricardo Franco                                                                        Rosedale           NY
Joseph Franco and Maria Franco                                                                           Rockville Centre   NY
Patrick Franco                                                                                           Astoria            NY
Richard Franco and Mary Franco                                                                           Kearny             NJ
Steven Frange and Lorraine Frange                                                                        Staten Island      NY
Dennis Frank and Milagro Frank                                                                           Staten Island      NY
Robert Frank and Annamarie Frank                                                                         Brooklyn           NY
Thomas Franklin and lakisha Franklin                                                                     Brooklyn           NY
Willie Franklin, as Personal Representative of the estate of Willie Franklin, Jr., and Willie Franklin
individually                                                                                             Westminster        Argentina
Anthony Franzolin                                                                                        The Villages       FL
Larry Frascella and Rosalie Frascella                                                                    Brooklyn           NY
Kevin Fraser and Patricia L. Danko                                                                       New York           NY
Betzayda Fraticelli                                                                                      Kissimmee          FL
Paul Frawley and Elizabeth Frawley                                                                       Yorktown           NY
Darryl Frazier and Diane Frazier                                                                         Cambria Heights    NY
Gloria Frazier                                                                                           Hempstead          NY
Leon Frederick and Yvette Frederick                                                                      Bronx              NY
Flavio Freire                                                                                            Elmhurst           NY
Gary Freitag and Rosemary Freitag                                                                        Ronkonkoma         NY
John Freudenberg and Jennifer Freudenberg                                                                Baldwin            NY
Walter Frey                                                                                              Northport          NY
John Frezza and Sarah A. Frezza                                                                          Wantagh            NY
Henry Friedman and Samantha Friedman                                                                     Boynton Beach      FL
Jack Friedman and Joan Friedman                                                                          Manalapan          NJ
Jerome Friedman                                                                                          Hamilton           NJ
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Scott Frontera and Trisha Frontera                                                                      Palmbay              FL
Yvonne Frosseard, as Personal Representative of the estate of Virgina Frosseard, and Yvonne Frosseard
individually                                                                                            Bronx                NY
John Frucci III                                                                                         Tulsa                OK
Edward Fudge                                                                                            New City             NY
Allen Fudger and Lynda Fudger                                                                           Parlin               NJ
Bobby Fuentes                                                                                           New York             NY
Manuel Fuertes and Martha Fuertes                                                                       Jersey City          NJ
James Fullam and Kathleen Fullam                                                                        Farmingdale          NY
Martin Fullam and Patricia Fullam                                                                       Staten Island        NY
William Fullam and Rose Fullam                                                                          Avon Park            FL
Stephen Fuller and Lupe N. Fuller                                                                       Brooklyn             NY
Kenneth Fung                                                                                            Staten Island        NY
Mark Furia                                                                                              Woodmere             NY
David Furman                                                                                            Montgomery           NY
James Fusco                                                                                             Farmingdale          NY
Robert Gabelman and Diane Gabelman                                                                      Farmingville         NY
Jorge Gabino and Miriam Gabino                                                                          Miami                FL
Brian Gabrielsen                                                                                        Brooklyn             NY
Stephen Gadry                                                                                           Stony Point          NY
Ernest Gadsden and Betty Gadsden                                                                        Brooklyn             NY
Sandra Gadsden                                                                                          New York City        NY
Gail Gadson                                                                                             New York             NY
Linda Gadson                                                                                            New York             NY
Louis Gagliardi and Elena Gagliardi                                                                     West Milford         NJ
Christopher Gahn and Doreen Gahn                                                                        Massapequa           NY
Ena Gaillard                                                                                            Brooklyn             NY
Diamas Galaes                                                                                           Flushing             NY
Juan A. Galarce                                                                                         Howard Beach         NY
Donald Galeoto and Diana Galeoto                                                                        Clinton Corners      NY
Jacqueline Bourne, as Preliminary Executrix of the estate of Barry Galfano, and Jacqueline Bourne
individually                                                                                            Brentwood            NY
Cruz Galiano and Nancy Galiano                                                                          Corona               NY
Robert Galindo and Libby Galindo                                                                        New Hempstead        NY
Brian Gallagher and Stephanie Gallagher                                                                 Long Beach           NY
Christopher Gallagher and Patricia Gallagher                                                            West Babylon         NY
Dennis Gallagher                                                                                        South Londonderry    VT
Patrick Gallagher and Jennifer Gallagher                                                                Islip                NY
Sean Gallagher and Mario Gallagher                                                                      Lacey                WA
Thomas P. Gallagher                                                                                     E. Setauket          NY
Carmen Gallego                                                                                          Corona               NY
Rebeca Gallegos                                                                                         Corona               NY
Mark Galli                                                                                              Sevierville          TN
Michael Gallino and Amy Bowers-Gallino                                                                  Ronkonkoma           NY
Anthony Gallo and Audrey Gallo                                                                          Medford              NY
Eugene Gallo and Karen J. Gallo                                                                         Staten Island        NY
Michael Gallo and Angela Gallo                                                                          Danbury              CT
Robert Gallo and Delta Gallo                                                                            Nanuet               NY
William Gallo and Catherine Gallo                                                                       Huntington Station   NY
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Louis Gallotta, Jr. and Deborah Gallotta                            Staten Island    NY
Christopher Galluscio and Regina A. Galluscio                       Whitestone       NY
Robert Galvani and Diane Galvani                                    Levittown        NY
John Galvin                                                         Staten Island    NY
Edgar O. Galvis                                                     Far Rockaway     NY
Rosa Gandia                                                         Woodside         NY
James Gannon                                                        Bronx            NY
Jeffrey Gantt and Elondia Gantt                                     Lake Grove       NY
Jia Hao Gao                                                         New York         NY
Peter Garabedian                                                    Meridiian        ID
Jesus Garces and Elvira Garces                                      West New York    NJ
Eduardo Garcia and Helen M. Garcia                                  Carmel           NY
Felix Garcia and Martha Garcia                                      Sloatsburg       NY
Fernando Garcia                                                     Norwalk          CT
Franklin Garcia                                                     Brooklyn         NY
Freddy Garcia and Monica Garcia                                     North Bergen     NJ
Fredy Garcia and Carmen Garcia                                      Elmhurst         NY
Herman Garcia and Hilda Garcia                                      New York         NY
Isabel Garcia                                                       Elmhurst         NY
Jeffrey Garcia and Sylvia Garcia                                    West Hempstead   NY
Jose Garcia                                                         Bronx            NY
Jose Garcia and Silveria Garcia                                     New York         NY
Joseph Garcia                                                       Mastic Beach     NY
Juan Garcia and Ampazo Garcia                                       Flushing         NY
Juanita Garcia                                                      O'Fallon         MO
Lizeth Garcia                                                       Sunnyside        NY
Louis Garcia and Marcy Garcia                                       Miami            FL
Luis Garcia and Hilda Garcia                                        Corona           NY
Marcy Garcia and Louis Garcia                                       East Meadow      NY
Orlando Garcia and Elizabeth Garcia                                 Richmond Hill    NY
Sixta T. Garcia                                                     New York         NY
Viviana Garcia                                                      Mauldin          SC
Luis Garcia-Ortiz                                                   Bronx            NY
Antonio Gargurevich                                                 Levittown        NY
Edward Garmendiz                                                    Pine Bush        NY
Christopher Garofalo                                                Brooklyn         NY
Emanuel Garofalo and Barbara Garofalo                               Brooklyn         NY
Joseph Garone and Anne-Marie Garone                                 West Babylon     NY
Matthew Garren                                                      Levittown        NY
Michael Garren and Jacqueline Garren                                Levittown        NY
Ramy Garrido                                                        Pine Brook       NJ
Laura Garris                                                        Brooklyn         NY
Robert Garrity and Alexandria Garrity                               Long Beach       NY
Paul Garside and Susan F. Garside                                   Millville        NJ
Peter Gaspar                                                        Maspeth          NY
Robert Gates and Suzanne Gates                                      Wantagh          NY
Gwenda Gatling                                                      New York         NY
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Inmaculada M. Gattas and Luis F. Vincenty                           Kew Gardens        NY
Luis Gaud and Carmen Gaud                                           South Ozone Park   NY
Gerard Gausman and Jeanne Gausman                                   Oceanside          NY
James Gawel and Elizabeth Gawel                                     Effort             PA
Margaret M. Gawley and John Gawley                                  Woodside           NY
Robert M. Gaydos and Dorothy Gaydos                                 Commack            NY
Robert Gayer and Diane L. Gayer                                     Wantagh            NY
Howard Gayle and Geneveive Gayle                                    Brooklyn           NY
Chris Geaney                                                        Babylon            NY
Deborah Gear                                                        Kissimmee          FL
Vernon Geberth and Teresa Geberth                                   Garnerville        NY
Jude Gebhart                                                        Mastic Beach       NY
Thomas Gee                                                          Staten Island      NY
Richard Geib and Maryann Geib                                       Hamburg            NJ
Jodi Geisler and Daniel Geisler                                     Bronx              NY
Paul Gembs and Teresa Gembs                                         East Northport     NY
Vincent Gennaro                                                     New Hyde Park      NY
Angelo Genova and Dorothy Genova                                    Lindenhurst        NY
Michael Gentile and Lucille Gentile                                 Sayreville         NJ
James Geoghan                                                       Brooklyn           NY
Gary George and Maria George                                        Staten Island      NY
Steven George                                                       Dix Hills          NY
Aristides Georgelis                                                 Whitestone         NY
George Georgiadis and Frances Zizila                                Fresh Meadows      NY
Michael Gerardi                                                     Copiague           NY
Robert Gerstel                                                      Brooklyn           NY
Kevin Geruldsen and Margaret Geruldson                              Staten Island      NY
Robert Geskie and Valerie Geskie                                    Hernando           FL
Judy Ghany-Barounis and Stephen Barounis                            Saint James        NY
James Giaguzzi and Hilary Giaguzzi                                  Clifton            NJ
Robert Giallanzo and JoAnn Giallanzo                                Howard Beach       NY
Samuel T. Giamo and Rosemary Giamo                                  New Port Richey    FL
Sebastiano Giangregorio and Lisa Giangregorio                       Bronx              NY
Garry Giannandrea                                                   North Babylon      NY
Frank Giaramita                                                     Holbrook           NY
Salvatore Giardina and Melissa Giardina                             Sierling Forest    NY
Gary Giarraputo and Gasper Giarraputo                               Freeport           NY
Bruce Giarratano and IRENE GIARRATANO                               Massapequa         NY
Frederick Gibau                                                     Island Park        NY
Patrick Giblin and Maya D. Giblin                                   Staten Island      NY
Michael Gibson                                                      Teaneck            NJ
Vanessa Gibson-Elskoe                                               Bronx              NY
Bernard R. Gifford and Sheryl Gifford                               Brooklyn           NY
Margarita Gil                                                       Hollis             NY
Randolph Gil                                                        Equinunk           PA
Rocendo Gil and Giselle S. Salguero-Gil                             Seaford            NY
Horace Gilkes                                                       Middletown         NY
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Patrick J. Gill                                                                                              Woodhaven         NY
Thomas E. Gillen and Rosalie Gillen                                                                          Port Jervis       NY
Charles Gilliam and Nicole Gilliam                                                                           Brooklyn          NY
Robert Gilliam and Antoinette Gilliam                                                                        Brooklyn          NY
Stephen Gilliam and Desiree Gilliam                                                                          Hempstead         NY
Harold Gillingham and Evelyn Gillingham                                                                      Aberdeen          NJ
Brian Gilmartin and Irene Nagle                                                                              E. Hardwick       VT
Robert Gilmore and Lourdes Gilmore                                                                           Bronx             NY
Andrew Gilsenan and Marie Gilsenan                                                                           Staten Island     NY
Dennis Gimblet and Suzanne Gimblet                                                                           Long Beach        NY
John Giordano, Sr. and Lynora Giordano                                                                       East Islip        NY
Frank M. Giovinazzo                                                                                          Staten Island     NY
Gerardo Giraldo                                                                                              Middle Village    NY
Olga Giraldo                                                                                                 North Bergen      NJ
Gregory Giraud                                                                                               Brooklyn          NY
Paul Gitlin                                                                                                  Staten Island     NY
Randy Giudice and Laura Giudice                                                                              Westbury          NY
John Giuffre and Lisa Giuffre                                                                                Highland          NY
Robert Giuglianotti and Janet Giuglianotti                                                                   Kings Park        NY
John Giunta and Colleen Giunta                                                                               Brooklyn          NY
Brian Glacken and Danielle Glacken                                                                           Ronkonkoma        NY
John Glancy and Susan Glancy                                                                                 Staten Island     NY
Robert Glancy Jr                                                                                             Kittery           ME
Michael Glaser and Carolyn Glaser                                                                            Riverhead         NY
Yury Gnip                                                                                                    Brooklyn          NY
Eugene Godwin                                                                                                Spring Hill       FL
Julian Goff and Yolanda Goff                                                                                 New York          NY
Ernestine Golden                                                                                             Townsend          GA
Joan Golden                                                                                                  Brooklyn          NY
Philip Golding                                                                                               Bronx             NY
Lili Kocharian, as Executrix of the estate of Guy Goldmeer, and Lili Kocharian individually                  Saddle Brook      NJ
Robert Golini and Michelle Golini                                                                            East Islip        NY
Jose Gomez and Esperanza V. PeLaez                                                                           Union City        NJ
Manny Gomez                                                                                                  Valley Stream     NY
Manuel C. Gomez                                                                                              Jackson Heights   NY
Moises Gomez and Wendi Gomez                                                                                 Cranford          NJ
Neftali Gomez                                                                                                Cape Coral        FL
Osmon Gomez and Suyupa Gomez                                                                                 Clifton           NJ
Charles Gonce and Melissa Valentin                                                                           Sayerville        NJ
Kathleen Gonczi                                                                                              Easton            PA
Robert Gonfiantini and Lisa Gonfiantini                                                                      Bronx             NY
Paola Gonzalez, as Personal Representative of the estate of Adan Gonzalez, and Paola Gonzalez individually   New York          NY
Alexander Gonzalez                                                                                           Bronx             NY
Angel Gonzalez and Rhonda Gonzalez                                                                           Brooklyn          NY
Anthony Gonzalez and Janet Gonzalez                                                                          Lake Ronkonkoma   NY
Antonio Gonzalez and Zoraida Gonzalez                                                                        Brooklyn          NY
Benjamin Gonzalez                                                                                            Sleepy Hollow     NY
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Enrique Gonzalez                                                                                          Bronx                    NY
Gabriel Gonzalez                                                                                          New York                 NY
Juan Gonzalez and Gladys Gonzalez                                                                         Staten Island            NY
Juvandy Gonzalez                                                                                          Staten Island            NY
Wilfredo Gonzalez                                                                                         Jersey City              NJ
Frank Goodman                                                                                             New York                 NY
Steven Goodstein and Carmen Nicolaoo                                                                      Yonkers                  NY
Aubrey Goodwill                                                                                           Queens Village           NY
Richard Gorbea                                                                                            New York                 NY
Ronald Gordon                                                                                             Springfield Gardens      NY
Samuel Gordon and Adele R. Gordon                                                                         Merrick                  NY
Christopher Gorman                                                                                        East Northport           NY
Gerard Gorman and Janet Gorman                                                                            Staten Island            NY
James Gormley and Stephanie Gromley                                                                       Staten Island            NY
James Gorton                                                                                              Deer Park                NY
Roland Gorton                                                                                             Brooklyn                 NY
Benjamin Gottlieb                                                                                         White Plains             NY
Freddie Goytia                                                                                            Bronx                    NY
Giacomo Graceffo                                                                                          New York                 NY
Maritza I. Gracia                                                                                         Jackson Heights          NY
Thelma Graham                                                                                             New York                 NY
Jeffrey Grahn                                                                                             Somers                   NY
Catalina Granados, as Personal Representative of the estate of Rafael Granados, and Catalina Granados
individually                                                                                              Miami                    FL
Patricia Grande                                                                                           New York                 NY
Arnold Grant and Janice T. Grant                                                                          Hillside                 NJ
Brandon Grant                                                                                             Bronx                    NY
Thomas Grant and Rochelle Grant                                                                           Bronx                    NY
Diane Grasso, as Personal Representative of the estate of Richard Grasso, and Diane Grasso individually   Brewster                 NY
Daniel Gravius and Dianne Gravius                                                                         Holly Springs            NC
Franklin Gray                                                                                             Port Jefferson Station   NY
Michael Grayson                                                                                           Bronx                    NY
Michael Grazia and Christine L. Grazia                                                                    Smithtown                NY
Gus Graziano                                                                                              Stony Point              NY
Maria Graziano and Anthony J. James                                                                       Ronkonkoma               NY
Catherine Greco and Donald Greco                                                                          Islip Terrace            NY
Christopher Greeff                                                                                        Howard Beach             NY
Delroy A. Green and Josephine Green                                                                       Conyers                  GA
Annie Greene                                                                                              Brooklyn                 NY
Michael Greene                                                                                            Sloatsburg               NY
Scott Greene                                                                                              Mikleton                 NJ
Aaron Greenstein and Barbara Sue Greenstein                                                               East Brunswick           NJ
Vincent Grego and Barbara Grego                                                                           Cold Spring Harbor       NY
Joseph Gregorio and Donna M. Gregorio                                                                     Mohegan Lake             NY
Robert Grell and Michele A. Grell                                                                         Staten Island            NY
John Gremse and Kathryn Gremse                                                                            Long Beach               NY
Dennis Griffin                                                                                            Pompano Beach            FL
Francis Griffin and Gina Griffin                                                                          Fort Salona              NY
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James Griffin and Jennifer Griffin                                                               Stony Brook        NY
Gladstone Griffith III and Linda D. Griffith                                                     Brooklyn           NY
Joseph Grigas and Lisa Grigas                                                                    Staten Island      NY
Rigo Griggs and Tinamarie Griggs                                                                 Hopewell Jct       NY
Anthony Grillo and Jeanette Grillo                                                               Freeport           NY
Philip Grimaldi and Millie Grimaldi                                                              Monroe Township    NJ
Gary Grisolia and JoAnn Grisolia                                                                 Babylon            NY
John Groelly                                                                                     Iselin             NJ
Christopher Grogan and Beth Grogan                                                               Warwick            NY
Robert Grogan and Margaret Grogan                                                                West Hempstead     NY
Thomas Grogan                                                                                    Manahawkin         NJ
David Grossbard and Ann Grossbard                                                                Pearl River        NY
Isaias Grullon                                                                                   Bronx              NY
Anthony Guadagno                                                                                 Staten Island      NY
Luis Guallpa                                                                                     Brooklyn           NY
Rosa Gualpa                                                                                      Jackson Heights    NY
Frank Guariglia and Debra Guariglia                                                              Matawan            NJ
Michael Guarino                                                                                  Linden             NJ
Victor Guarquila                                                                                 Newark             NJ
Jose Guartambel and Mercedes Guartambel                                                          Elmhurst           NY
Vincent Guastamacchia                                                                            Miami              FL
Antonio Guerrero                                                                                 Albertson          NY
Lisa Guerriero                                                                                   East Northport     NY
Jeffrey Guetta and Joann Guetta                                                                  North Massapequa   NY
Julio V. Guevara and Esther W. Guevara                                                           Jersey City        NJ
Bart Gugel and Michelle L. Gugel                                                                 Islip Terrace      NY
Michael Guglielmo and Philomeni Guglielmo                                                        Ozone Park         NY
Lawrence Guidice                                                                                 Staten Island      NY
Philip Guido and Constance Sheahan                                                               Bluffton           SC
Dean Guiducci and Candace Guidiucci                                                              Jersey City        NJ
Cesar Guiracocha                                                                                 Brooklyn           NY
Steven Guise and Roberta Guise                                                                   Mount Sinai        NY
Tiffany Gulla                                                                                    Brooklyn           NY
Frank Gullo and Gabriella Gullo                                                                  Yorktown Heights   NY
Richard Gullo and Donna- Marie Gullo                                                             Holtsville         NY
Cai Er Guo                                                                                       Manhattan          NY
Andrew Guster and Anette Guster                                                                  Glen Cove          NY
Anthony Gusumano                                                                                 Petersburg         MI
David Guszick                                                                                    Sparrowbush        NY
William Gutch and Rachel T. Gutch                                                                Wayne              NJ
Greg Guthrie                                                                                     Jamaica            NY
Michael Gutmann                                                                                  Howard Beach       NY
Segundo Guzman and Maria L. Gomez-Guzman                                                         Jackson Heights    NY
Csilla Gyuris, as Administratrix of the estate of Louis Gyuris, and Csilla Gyuris individually   Hungary            Hungary
Donald Habersaat and Sandra Habersaat                                                            Johns Island       SC
Lisa Hack, as Administratrix of the estate of Wayne Hack, and Lisa Hack individually             Wantagh            NY
Joseph Haddock and Zenobia Haddock                                                               Mineola            NY
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Paul Hadinger and Judy Hadinger                                                                              Middletown      NJ
Cynthia Hadley-Bailey                                                                                        West Orange     NJ
Christopher Haggerty and Nancy Haggerty                                                                      Hicksville      NY
James C. Hagner and Nicole Hagner                                                                            Scotrun         PA
Robert Hakius and Cynthia Hakius                                                                             Staten Island   NY
Haywood Hall and Sharon L. Hall                                                                              Larado          TX
Marva Hall                                                                                                   Monroe          NY
Robert K. Hall and Taram M. Hall                                                                             Greenville      NY
Richard Hallquist and Kelly A. Hallquist                                                                     Hawthorne       NJ
Tonia Hall-Wilson                                                                                            Raleigh         NC
Leslie Halper                                                                                                Staten Island   NY
Kevin Halpin and Rose A. Halpin                                                                              Sayville        NY
Darin Hamilton                                                                                               St. Albans      NY
Julian Hampden                                                                                               Hempstead       NY
Brian Hanberry and Evelyn Hanberry                                                                           Staten Island   NY
Jeff Haner and Ann Haner                                                                                     Ramsey          NJ
Steven Haney                                                                                                 Staten Island   NY
John Hansen and Luciana Hansen                                                                               Brooklyn        NY
Michael R. Hanson and Kimberly Hanson                                                                        Brandenton      FL
Susan Mulraney, as Executrix of the estate of Robert Hanson, and Susan Mulraney individually                 Staten Island   NY
Robert Hardin and Michele Hardin                                                                             Bricktown       NJ
Arnold Hardman and Sharon T. Hardman                                                                         St. James       NY
Debra Hardwick                                                                                               Bronx           NY
Mitchell Hardy, as Personal Representative of the estate of Anthony Hardy, and Mitchell Hardy individually   Brooklyn        NY
Leslie Hardy                                                                                                 Bronx           NY
William Hare and Carolyn E. Hare                                                                             Afton           NY
Paul Hargrove and Marilyn A. Hargrove                                                                        Garden City     NY
Bryan Harkins and Theresa Harkins                                                                            Glen Head       NY
Darren C. Harkins and Kaylene Harkins                                                                        Waukee          IA
John Harkins                                                                                                 Staten Island   NY
Philip Harmon                                                                                                Wilberton       OK
Thomas Harmon                                                                                                Bronx           NY
Jeremiah Harney and Elizabeth Harney                                                                         Staten Island   NY
Ellis Haroldson and Gina M. Haroldson                                                                        Toms River      NJ
Aaron Harp                                                                                                   Saint Albans    NY
Michael J. Harrington and Jill Harrington                                                                    Ridgefield      NJ
Alonzo Harris                                                                                                Bronx           NY
Gregory Harris and Yvonne Harris                                                                             Fresh Meadows   NY
Maurice Harris                                                                                               Brooklyn        NY
Virginia Harris                                                                                              Bartow          FL
Roy Harrison                                                                                                 St. Albans      NY
Thomas Hart and Lois A. Hart                                                                                 Forest Hills    NY
James Harten and Ann Harten                                                                                  Stony Point     NY
Martin Hartley                                                                                               Astoria         NY
Michael Hartnett                                                                                             Clearwater      FL
Peter Hartnett                                                                                               Whitestone      NY
Lawrence Harvey and Patricia Harvey                                                                          Pearl River     NY
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William Harvey                                                                                          Mount Vernon          NY
Ronald Harwood                                                                                          Wildwood              NJ
Khaled Hassan                                                                                           Astoria               NY
Michael Hatzimihalis                                                                                    Branchville           NJ
Rudolph Havelka and Patricia A. Havelka                                                                 Levittown             NY
Randy Hawes and Andrena M. Hawes                                                                        Trenton               NJ
Janice Hawkins                                                                                          Cambria Heights       NY
Jeffrey Hayduk                                                                                          East Northport        NY
Darryl Hayes and Roxann Hayes                                                                           Middletown            NY
Joseph Hayes and Maria Hayes                                                                            St James              NY
Michael J. Hayes                                                                                        Bronx                 NY
Michael Hayes and Suzanne Hayes                                                                         Middletown            NY
Donald Haynes and Nadine Haynes                                                                         Chestnut Ridge        NY
Leroy Haynes                                                                                            Palm Bay              FL
Michael Haynes and Marjorie Haynes                                                                      Temple                TX
Dwayne Hazel and Helena Hazel                                                                           Burlington Township   NJ
Li He                                                                                                   New York              NY
Gavin Headley                                                                                           Brooklyn              NY
Lloyd Headley and Patricia Headley                                                                      Brooklyn              NY
Dennis Healy                                                                                            Staten Island         NY
James Heaphy                                                                                            Glen Oaks             NY
Gary Hearn and Pamola Hearn                                                                             Washingtonville       NY
Dennis Hearns and Michele Hearns                                                                        Lindenhurst           NY
Marc Hecht, Jr.                                                                                         Howell                NJ
James Hegarty                                                                                           Bellrose              NY
John Heidrich and Helga Holm-Andersen                                                                   Massapequa            NY
John Heihs and Kim Ann Heihs                                                                            Hicksville            NY
Bruce Heilweil                                                                                          Cape Coral            FL
Anthony Heinlein                                                                                        Dix Hills             NY
John Heintz and Martha Heintz                                                                           Howell                NJ
Daniel Heinz and Linda Heinz                                                                            Dripping Springs      TX
Tracy Heller                                                                                            Forest Hills          NY
Richard Hennessy                                                                                        Cape Coral            FL
Daniel Henry and Antonietta Heng                                                                        Pompton Plains        NJ
Fitz Henry                                                                                              Bronx                 NY
Michael Henry                                                                                           Woodside              NY
Wendy Henry                                                                                             New York              NY
William Henry and Janine Henry                                                                          West Islip            NY
Andrew Herbert and Rhonda J. Herbert                                                                    Wantagh               NY
Thomas Hering and Ardath Frances Hering                                                                 Secaucus              NJ
Antonio Hernandez and Sharon Hernandez                                                                  Succasunna            NJ
Darryl Hernandez and Sandra Hernandez                                                                   North Effort          PA
Frank Hernandez and Mable Davis                                                                         Bronx                 NY
Isaac Hernandez                                                                                         Corona                NY
Jerson Hernandez                                                                                        Anasco                PR
Judith Hernandez                                                                                        Rock Tavern           NY
Haydee Hernandez, as Personal Representative of the estate of Luis A. Hernandez, and Haydee Hernandez
individually                                                                                            Brooklyn              NY
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Peter Hernandez and Ana E. Hernandez                                                                       New City             NY
Rosario Hernandez                                                                                          Corona               NY
Tercida Hernandez                                                                                          Bronx                NY
Miguel A. Hernandez-Altuz and Iris B. Hernandez                                                            Montgomery           NY
Michael Herold and Doreen Herold                                                                           Levittown            NY
Robert Herold                                                                                              Brooklyn             NY
Dorothy Herrmann, as Administratrix of the estate of Alick Herrmann, and Dorothy Herrmann individually     Wantagh              NY
Joseph Herzog                                                                                              Hopactong            NJ
Thomas Hess and Deirdre Hess                                                                               Farmingdale          NY
Christopher Hetman and Lauren Hetman                                                                       Lake Ronkonkoma      NY
Ethan A. Hewitt                                                                                            Bronx                NY
Andrew Hickey                                                                                              Forestdale           MA
Francis Hickey and Theresa Hickey                                                                          Cortlandt Manor      NY
Kevin Hickey                                                                                               Wantagh              NY
Christopher Hicks and Jennifer Hicks                                                                       Chester              NY
Rosa Hidalgo-Alvarez and Wigberto Alvarez                                                                  New York             NY
Maurice Higginson                                                                                          West Hempstead       NY
Reginald Hilaire and Marisel Hilaire                                                                       Bayside              NY
Calvin Hill                                                                                                Cambria Heights      NY
Juanita Hill                                                                                               New York             NY
William Hiller and Pamela Hiller                                                                           Butler               NJ
Jonathan Hilton and Denise Hilton                                                                          Staten Island        NY
Michael Hinchy and Maryanne Hinchy                                                                         East Meadow          NY
Jose Hinojosa                                                                                              Yonkers              NY
William Hnatio and Regina Hnatio                                                                           Brooklyn             NY
Joseph Hoek and Ann Marie                                                                                  Staten Island        NY
William Hoermann and Linda Hoermann                                                                        Melville             NY
David Hoey and stacey hoey                                                                                 Port Jefferson       NY
Howard Hoffman and Alba Hoffman                                                                            Mooresville          NC
John Hoffman                                                                                               Smithtown            NY
Justin Hoffman and Jennifer Hoffman                                                                        Massapequa           NY
John Hoffmann, Jr. and Nicole P. Hoffmann                                                                  Miller Place         NY
Lawrence Hofler and Geraldine Hofler                                                                       The Villages         FL
Timothy Hogan and Roxann Hogan                                                                             Ronkonkoma           NY
George Hohenberger and Cecilia G. Hohenberger                                                              Garden City          NY
Michelle Holfester, as Executrix of the estate of William Holfester, and Michelle Holfester individually   Mastic Beach         NY
James Holland                                                                                              South Ozone Park     NY
Stanley Holman                                                                                             Bronx                NY
James Holmes                                                                                               Floral Park Center   NY
Karl Holmstrom                                                                                             Highland             NY
John Holovka and Janette Holovka                                                                           Staten Island        NY
Jeffrey Hong and Soyang Hong                                                                               Flushing             NY
Dennis Honor and Laura M. Honor                                                                            Wellington           FL
Dexter Honora and Victoria Honora                                                                          South Ozone Park     NY
Susan Hoover                                                                                               Woodstock            NY
Iris Hernandez-Hopkins, as Administratrix of the estate of Nathaniel Hopkins, and Iris Hernandez-Hopkins
individually                                                                                               Brooklyn             NY
Mark Hoppe and Bernadette Hoppe                                                                            Centereach           NY
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Ronald Horn and Dawn Horn                                                                                  Kahnawake, Qubec    Canada
Chris Hornig                                                                                               Margate             NJ
Adem Hot and Haka Hot                                                                                      Fresh Meadow        NY
Mirandelle Houanche                                                                                        Jamaica             NY
Steven Hourigan                                                                                            Brooklyn            NY
Elliot Houston                                                                                             Elmont              NY
Richard Hovell and Beverly Hovell                                                                          Brooklyn            NY
Jonathan Howard, as Administrator of the estate of James Howard, and Jonathan Howard individually          Manapalan           NJ
Ronald Howard and Johnnie M. Howard                                                                        Brooklyn            NY
Robert Howlett and Victoria Howlett                                                                        Staten Island       NY
Anne Howley-Divers and Daniel Divers                                                                       Staten Island       NY
Ai Ying Huang                                                                                              Flushing            NY
Chao-Xia Huang                                                                                             Brooklyn            NY
Jin Xing You, as Personal Representative of the estate of Lanying Huang, and Jin Xing You individually     New York            NY
Cynthia Hubbard, as Administratrix of the estate of James Hubbard, and Cynthia Hubbard individually        East Setauket       NY
Christopher Huber                                                                                          Middletown          NY
Samuel Hubert                                                                                              Bronx               NY
Waldemar Hubka                                                                                             Brooklyn            NY
Mirna Hubschmitt, as Personal Representative of the estate of Richard Hubschmitt, and Mirna Hubschmitt
individually                                                                                               Miller Place        NY
Ronald Huckemeyer                                                                                          Belleville          NJ
John Hudak                                                                                                 Northport           NY
Richard Hudak and Carole B. Hudak                                                                          Pearl River         NY
Donald Hudson and Lucinda Hudson                                                                           Hicksville          NY
Charmel L. Hudson, as Administratrix of the estate of Jeffrey Hudson, and Charmel L. Hudson individually   Jamaica             NY
Michael Hudzik, as Administrator of the estate of John E. Hudzik, and Michael Hudzik individually          Briarciliff Manor   NY
Kevin Hughes and Allison Hughes                                                                            Bohemia             NY
Rachel Hughes                                                                                              Miami               FL
Toney Hughes and Carlyn Hughes                                                                             Brooklyn            NY
Kevin Hui                                                                                                  Staten Island       NY
Cecilia Huke-Foss                                                                                          Beverly Hills       CA
Keith Hulse and Patricia Hulse                                                                             Patchogue           NY
Peter Hunce                                                                                                White Plains        NY
Lucius Hunte                                                                                               Bronx               NY
Kurt Hunter and Susan Hunter                                                                               Holtsville          NY
Helen Huntley                                                                                              Hartsville          SC
John Hurd and Sally J. Hurd                                                                                Port Murray         NJ
William Hurtado                                                                                            Woodside            NY
Don Hutchinson and Debra Hutchinson                                                                        Copiague            NY
Carlton Hylton and Petronia Hylton                                                                         Brooklyn            NY
Christopher Hynes and Lesley J. Hynes                                                                      Morresville         NC
Salvina Iaboni, as Executrix of the estate of Robert Iaboni, and Salvina Iaboni individually               Center Port         NY
Robert Iaboni and Gina Iaboni                                                                              Seaford             NY
Lucille Iacobelli                                                                                          Pompano Beach       FL
Robert Iacobelli                                                                                           West Palm Beach     FL
Mark Iglesia and Lucia Iglesia                                                                             Bronx               NY
Anthony Igneri and Kathleen Igneri                                                                         Syosset             NY
Richard Ignizio                                                                                            Staten Island       NY
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George Illiano and Kara Illiano                                                                       Fairhope          AL
Thomas Imbornoni and Mary Imbornoni                                                                   Plainview         NY
Ann Impellizine, as Personal Representative of the estate of James Impellizine, and Ann Impellizine
individually                                                                                          Staten Island     NY
Michael Incontrera and Stephanie Incontrera                                                           Staten Island     NY
Andrew Infante                                                                                        Chatham           NJ
Jorge Inga                                                                                            East Elmhurst     NY
Frank Ingoglia and Kathryn Ingoglia                                                                   Kings Park        NY
Mario Ingordo                                                                                         Brooklyn          NY
James Ingram and Dorthy smith Ingram                                                                  Hillside          NJ
Daniel Inman                                                                                          Hamilton          NJ
Thomas Inman and Diane Inman                                                                          North Babylon     NY
Robert Intartaglio, Sr. and Christina Scaccia                                                         Staten Island     NY
Annmarie Intorcia                                                                                     Venice            FL
Ecuador Intriago                                                                                      Queens            NY
Paul Ioveno and Toni Ioveno                                                                           Bethpage          NY
Odanel Irias and Olga Irias                                                                           New York          NY
John Irizarry and Sandra Irizarry                                                                     Medford           NY
Edward Irving and Eileen T. Irving                                                                    Greenlawn         NY
Charles Irwin and Marguret Shum                                                                       Babylon           NY
Samuel Irwin and AnneMarie Irwin                                                                      Maspeth           NY
Candice Isaac, as Administratrix of the estate of Jacqueline Isaac, and Candice Isaac individually    Brooklyn          NY
Brian Isaacs                                                                                          Rutherford        NJ
David Isaksson                                                                                        St. James         NY
Judy Isolda, as Administratrix of the estate of Louis Isolda, and Judy Isolda individually            Staten Island     NY
Peter Ivanac                                                                                          Staten Island     NY
Joseph Ivanicki and Wendy Ivanicki                                                                    Wallington        NJ
Lorraine Iwan                                                                                         Bayside           NY
Alexander H. Jack and Linda Jack                                                                      Woodbury          NY
Edmund Jackson and Diane Jackson                                                                      Keyport           NJ
Eugene Jackson and Giassemi Jackson                                                                   College Point     NY
Gregory Jackson                                                                                       Brooklyn          NY
Kevin Jackson and Angelique Jackson                                                                   East Stroudberg   PA
Willard Jackson                                                                                       Saint Albans      NY
Cherian Jacob and Alamma Jacob                                                                        Syosset           NY
Keith Jacob and Andria Jacob                                                                          Bethpage          NY
Christopher Jacobellis and Tina M. Jacobellis                                                         Rock Tavern       NY
George Jacobi and Darlene Jacobi                                                                      Jericho           NY
Michael Jacobs and Joan Jacobs                                                                        Staten Island     NY
Vanessa Jacobs and Alexander Coleman                                                                  Brooklyn          NY
Wanda Jacobsen and Kevin Jacobsen                                                                     Monroe            NY
Stanley Jacobson                                                                                      Massapequa Park   NY
Paul Jaeger and Carolyn Jaeger                                                                        Baldwin           NY
Julio Jalil and Charinil Jalil                                                                        Corona            NY
Christopher James                                                                                     Jamaica           NY
Leslie James and Deokie James                                                                         Brooklyn          NY
Relton James and Elektra Lowndes-James                                                                Mt. Vernon        NY
Patricia Jamieson                                                                                     Manhattan         NY
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Wayne Jandura                                                                                                  Dannemora            NY
Marina Jara                                                                                                    Corona               NY
Manuel Jaramillo and Ana Duran                                                                                 Jersey City          NJ
Anthony Jarnich and Janina Jarnich                                                                             Valley Stream        NY
Harvey Jarratt                                                                                                 North Las Vegas      NV
Rogerio Jarrin and Haydee Jarrin                                                                               Oren                 UT
Amber Jarvis                                                                                                   Brooklyn             NY
Daniel Jasinski                                                                                                Plainview            NY
Jagdeshwar Jaskaran and Camilla Jaskaran                                                                       Richmond Hill        NY
Zbigniew Jassa                                                                                                 Brooklyn             NY
Lawrence Jaszcar and Mary Jaszcar                                                                              Lindenhurst          NY
Robert Jata and Lori Ann Jata                                                                                  Smithtown            NY
Brenda Jenkins                                                                                                 Jamaica              NY
Christopher Jenkins                                                                                            New York             NY
Kenneth Jenkins                                                                                                Brooklyn             NY
David Jensen                                                                                                   Staten Island        NY
Walter Jensen and Linda Ann Jensen                                                                             East Patchogue       NY
Michael Jermyn and Annette Jermyn                                                                              Hastings On Hudson   NY
Alberto Jimenez and Martha Y. Silva                                                                            Pasadena             TX
Carlos Jimenez and Kyongsook Jimenez                                                                           Miami                FL
Luis E. Jimenez                                                                                                Bronx                NY
Manuel Jimenez                                                                                                 Jackson Heights      NY
Roberto Jimenez                                                                                                Brooklyn             NY
Teddy Jimenez                                                                                                  Brooklyn             NY
Daniel Johannessen                                                                                             Lake Grove           NY
Alan Johnson                                                                                                   Middle Village       NY
David Johnson, as Personal Representative of the estate of Anita Johnson, and David Johnson individually       Staten Island        NY
Craig Johnson and Tanya Johnson                                                                                Chesterfield         VA
Ernest Johnson and Lelia Johnson                                                                               Rosedale             NY
Jamaisa Johnson                                                                                                Brooklyn             NY
Sheila Johnson, as Administratrix of the estate of Leroy Johnson, and Sheila Johnson individually              Saint Albans         NY
Maurice Johnson and Denise M. Johnson                                                                          Magnolia             TX
Raysyn Johnson, as Administratrix of the estate of Raymond Johnson, and Raysyn Johnson individually            Brooklyn             NY
Samuel Johnson and Gwendolyn Johnson                                                                           Bronx                NY
Sheldon Johnson                                                                                                East Stroudsburg     PA
Rosemarie Johnson, as Administratrix of the estate of Stephen M. Johnson, and Rosemarie Johnson
individually                                                                                                   Maspeth              NY
Thomas Johnson and Elizabeth Johnson                                                                           N. Haledon           NJ
Brian Johnston and Kristy Johnston                                                                             Port Jefferson       NY
John Johnston and Gina M. Johnston                                                                             Islip Terrace        NY
Robert Jolly and kathy Jolly                                                                                   Oakland Gardens      NY
David Jones and Chimene R. Jones                                                                               Brooklyn             NY
Ellen Jones                                                                                                    Brooklyn             NY
Tina Jones, as Administratrix of the estate of James Jones, and Tina Jones individually                        Lakewood Ranch       FL
Melissa Jones                                                                                                  St. Albans           NY
Michael Jones and Sheila A. Jones                                                                              Charlottesville      VA
Otis Jones                                                                                                     Brooklyn             NY
Pierre Gooding, as Personal Representative of the estate of Pierra A. Jones, and Pierre Gooding individually   Bronx                NY
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Randy Jones and Amarilis Jones                                                                              Queens               NY
Sallie Jones and Emmanuel Jones                                                                             Brooklyn             NY
Stephen Jones and Denise Jones                                                                              Long Beach           NY
Tony Jones                                                                                                  Staten Island        NY
Tracie Jones                                                                                                Rockaway Park        NY
William Jones                                                                                               Brooklyn             NY
William Jones and Arlene T. Jones                                                                           Far Rockaway         NY
Gwendolyn Jones-Nonni                                                                                       Atlanta              GA
Luis C. Jordan and Maria Edith Jordan                                                                       Boston               MA
Mamie B. Jordan and Jackie Smith                                                                            Charlotte            NC
Peter Jordan                                                                                                Brooklyn             NY
Rosemarie Joseph, as Executrix of the estate of Barthelemy Joseph, and Rosemarie Joseph individually        Brooklyn             NY
Gweneth Joseph, as Executrix of the estate of Morell Joseph, and Gweneth Joseph individually                Brooklyn             NY
Florine Joshua                                                                                              Valley Stream        NY
Ronald Josselyn and Adeline Josselyn                                                                        Stewartsville        NJ
Daniel Joyce and tracey Joyce                                                                               East Norwich         NY
Osman Juarez                                                                                                Seattle              WA
Ben Judge                                                                                                   Yonkers              NY
Saverio Juliano and Colleen Juliano                                                                         Ronkonkoma           NY
Luis A. Jusino and Maria Jusino                                                                             Wingdale             NY
Philip Justi and Reina Justi                                                                                New Windsor          NY
Vincent Justino                                                                                             Tuckahoe             NY
Vincent Kabus                                                                                               Astoria              NY
Mark Kafalas and Catherine P. Pena                                                                          Rockville Centre     NY
Michael Kahn-Viteri                                                                                         Chatham              NJ
James Kaine and Kathleen Kaine                                                                              Washington Twp.      NJ
Bozena Kajewska-Pielarz                                                                                     Palm Coast           FL
Peter Kalfa and Loretta Kalfa                                                                               Bohemia              NY
Salvatore Kalmeta and Rosemarie Kalmeta                                                                     Kihei                HI
Constantine Kaloudakis                                                                                      Plainview            NY
Jason Kalter and Renee Kalter                                                                               Monroe               NY
George Kambosoulis                                                                                          Long Island City     NY
Andreas Kaminaris and Nannette Kaminaris                                                                    Ridge                NY
William F. Kaminski and Mary J. Kaminski                                                                    Middletown           NJ
David Kao and Ruth Kao                                                                                      Westbury             NY
Edward Karl and Donna M. Karl                                                                               Holbrook             NY
Raymond Karpavicius and Loretta Karpavicius                                                                 Eastport             NY
Susan Kartell and Clifford J. Kartell                                                                       Huntington Station   NY
Maria Stochel, as Personal Representative of the estate of Andrzej Kasina, and Maria Stochel individually   Brooklyn             NY
Ronnie Kassel and Katherine Kassel                                                                          Staten Island        NY
Peter Kassimatis and Joulia Kassimatis                                                                      Seaford              NY
Jeason Kaszovitz and Herminia Kaszovitz                                                                     Myrtle Beach         SC
Jeffrey Katz                                                                                                Dixhills             NY
David Katzen and Renee Chiluk                                                                               Long Beach           NY
John Kaufmann                                                                                               Holtsville           NY
David Kayen and Barbara Kayen                                                                               Mineola              NY
Robert Keane and Cathy Keane                                                                                Beechhurst           NY
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Claude Kebbe and Christine Kebbe                                                                          Astoria            NY
Kevin Kee and Shirley Kee                                                                                 Plainview          NY
Bernard Keegan                                                                                            Far Rockaway       NY
Thomas Keegan                                                                                             Brooklyn           NY
Daniel Keenan and Kathleen Keenan                                                                         Pearl River        NY
Jason Keenan and Joy Keenan                                                                               Staten Island      NY
Richard Keith and Teresa Keith                                                                            White Plains       NY
Anthony Kellar and Carol Kellar                                                                           North Babylon      NY
Eugene Kelleher and Utie Kelleher                                                                         West Babylon       NY
Michael Kelleher and Janet M. Kelleher                                                                    Staten Island      NY
David Keller, as Personal Representative of the estate of Timothy Keller, and David Keller individually   Levittown          NY
John Kellett and Arlene P. Kellet                                                                         Elmont             NY
Curt Kellinger and Penny Kellinger                                                                        Saddle Brook       NJ
Kevin Kelly and Joanne Kelly                                                                              Tuckahoe           NY
Martin Kelly and Anna Marie Kelly                                                                         Brooklyn           NY
Mary Ann Kelly                                                                                            Brooklyn           NY
Theodore Kelly and Sandra Kelly                                                                           Brooklyn           NY
Daniel Kemmet and Doell Kemmet                                                                            Ridgewood          NY
Kevin Kempton and Rosemary Kempton                                                                        Staten Island      NY
Douglas Kenah and Janet Kenah                                                                             Saint James        NY
Robert Kenavan and Veronica Kenavan                                                                       Staten Island      NY
David Kenefick and Stacie Kenefick                                                                        Caldwell           NJ
Michael Kenna                                                                                             Shirley            NY
Dennis Kennedy and Tracey Kennedy                                                                         Matawan            NJ
Maureen Bounds, as Administratrix of the estate of John M. Kennedy, and Maureen Bounds individually       Jupiter            FL
Joseph Kennedy and Linda M. Kennedy                                                                       West Islip         NY
Scott Kennedy and Cristina C. Kennedy                                                                     White Plains       NY
Thomas Kennedy and Barbara Kennedy                                                                        New Hyde Park      NY
Thomas Kennedy and Colleen Kennedy                                                                        Chester            NY
Michael Kennelly                                                                                          Mahwah             NJ
Margaret Kenny                                                                                            Patchogue          NY
Bruce Kent and Joyce Kent                                                                                 Sayreville         NJ
Tonya Kentish and Leroy D. Kentish                                                                        Valrico            FL
Theresa Kent-Moller                                                                                       San Marcos         TX
Stephen Keown and KellyAnn Keown                                                                          Jackson            NJ
Steven Kepley and Shiela Kepley                                                                           Staten Island      NY
Ronald Kerney and Kerri Kerney                                                                            Staten Island      NY
Rohan Kerr and Janet Barnaby                                                                              Saint Albans       NY
Paul Kerrigan and Patricia Kerrigan                                                                       Floral Park        NY
Khyume Khan and Vidyawattie Khan                                                                          Hollis             NY
Shawn Khan                                                                                                Jamaica            NY
Michael Kides and Adele Kides                                                                             Monroe Twp         NJ
Patrick Kiernan and Ann Marie Kiernan                                                                     Carmel             NY
Stephen Kiesche and Marlene Kiesche                                                                       Oceanside          NY
Peter Kieseheuer                                                                                          North Massapequa   NY
Brian Kilbride and Rebecca Kilbride                                                                       Port Jervis        NY
John A. Kilcoyne and Bridget Kilcoyne                                                                     Palm Coast         FL
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Thomas Kilkenny and Kathleen Kilkenny                                                                        Pearl River        NY
Ki Soon Kim                                                                                                  Astoria            NY
Mechelle King                                                                                                Brooklyn           NY
Peter King and Jean - Marie King                                                                             Poughquag          NY
Thomas King and Elizabeth King                                                                               Old Beth Page      NY
Wayne King                                                                                                   Brooklyn           NY
Kathy King Jones                                                                                             Brooklyn           NY
Theodore King, Jr. and Maryan King                                                                           Fairlawn           NJ
Olivia Kingston                                                                                              Brooklyn           NY
Donald Kiniery                                                                                               Staten Island      NY
Timothy Kirschbaum                                                                                           Cortlandt Manor    NY
Timothy Kissane and Lisa Kissane                                                                             Howard Beach       NY
Eric Klayman and Angela Klayman                                                                              Staten Island      NY
Glen Klein and Carole R. Capparelli-Klein                                                                    Centereach         NY
Christopher J. Klimek                                                                                        Whitestone         NY
Lawrence Klingener and Susan Klingener                                                                       Westbury           NY
Michael Klippel and Victoria Klippel                                                                         New York           NY
Kenneth Klotz and Debbie Klotz                                                                               Newburgh           NY
Shawn Klotz                                                                                                  Jackson Heights    NY
George Klouda and Regina Mild                                                                                Miller Place       NY
Keith Klouda and Dawn M. Klouda                                                                              Miller Place       NY
Lubomir Kmec and Viera Kmecova                                                                               Brooklyn           NY
Christopher Knappenberger and Esther D. Knappenberger                                                        Brooklyn           NY
Cathleen Knecht, as Executrix of the estate of David M. Knecht, and Cathleen Knecht individually             Berkley Heights    NJ
Michael Kniazuk and Donna Kniazuk                                                                            Cranford           NJ
Rowan Knibb                                                                                                  Far Rockaway       NY
Charles V. Knight                                                                                            Melford            PA
Daniel Knight                                                                                                Jamaica            NY
Jeffrey Knight and Ingrid Knight                                                                             Middle Island      NY
Donald Knighten                                                                                              New York           NY
Robert Knights                                                                                               New City           NY
Karen S. Knipe, as Personal Representative of the estate of William Knipe, and Karen S. Knipe individually   Staten Island      NY
James Knipper and Katherine Knipper                                                                          Islip              NY
William Knipper and Diane Knipper                                                                            Lindenhurst        NY
Anna Knurzynska and Wojciech Sikorski                                                                        Brooklyn           NY
John Kobel and Jennifer Kobel                                                                                Sarasota           FL
Joseph Kohlhepp and Patricia Kohlhepp                                                                        S. Setauket        NY
Kenneth Kohlmann and Adrienne Kohlmann                                                                       Farmingdale        NY
Robert Kojalo and Phyllis Kojalo                                                                             Wilton             CT
Sean Kolarik and Jeanne Kolarik                                                                              Ronkonkoma         NY
Christopher Kolenda                                                                                          Coram              NY
Janina Kolodziejczyk, as Personal Representative of the estate of Wieslaw Kolodziejczyk, and Janina
Kolodziejczyk individually                                                                                   Bialystok          Poland
Michael Korabel                                                                                              Valley Cottage     NY
Alexander Koretsky                                                                                           New Milford        NJ
Esther Kornblau and Seymour Kornblau                                                                         New York           NY
Thomas Korpas and Diane Korpas                                                                               Myrtle Beach       SC
Richard Korzenko                                                                                             Glenwood Landing   NY
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Michael Koslow and Kathleen A. Koslow                                                                        New Hyde Park      NY
Mieczyslaw Kosmaczewski and Ewa Kosmaczewska                                                                 Glendale           NY
Jolanta Sado, as Personal Representative of the estate of Grzegorz Kosmider, and Jolanta Sado individually   Domaszowice        Poland
Keith Kostanoski and Maureen Caldwell                                                                        Selkirk            NY
James Kostoplis                                                                                              Bordentown         NJ
Gus Kotsonis and Jane Kotsonis                                                                               Bohemia            NY
Michael Kovall and Mary Jane Kovall                                                                          Tappan             NY
Richard Kowalczyk and Gertradis Kowalczyk                                                                    Ridgewood          NY
Nicholas Kowana and Jeanne Kowana                                                                            Howell             NJ
Dennis Kozak                                                                                                 St James           NY
Theodore Kozak and Inez Kozak                                                                                Rutherford         NJ
Timothy Kozak                                                                                                Staten Island      NY
Robert Kratenstein                                                                                           Boca Raton         FL
John Krawec                                                                                                  Floral Park        NY
Charles Krugler and Janet Krugler                                                                            Bronx              NY
John Kubanik and Karen Kubanik                                                                               Stony Point        NY
Jerzy Kuczera and Kazimiera Kuczera                                                                          Brooklyn           NY
Michael Kudela and Colleen R. Kudela                                                                         Plainsboro         NJ
John Kuegel and Theresa Kuegal                                                                               Bellport           NY
Agnieszka Bogucka, as Personal Representative of the estate of Antoni Kurak, and Agnieszka Bogucka
individually                                                                                                 Kobylka            Poland
Chester Kurdyla and Margaret Kurdyla                                                                         Denville           NJ
Thomas Kurtz and Jodi Kurtz                                                                                  Pawleys Island     SC
Peter Kutzing and Susan Altman                                                                               Commack            NY
Helen Kyle, as Administratrix of the estate of George Kyle, and Helen Kyle individually                      Carmel             NY
Nicholas Laboy and Rose LaBoy                                                                                Kingman            AZ
Nancylee Lackenbauer and Everett W. Lackenbauer                                                              Central Islip      NY
Fred LaFemina and Robin LaFemina                                                                             North Massapequa   NY
Chris LaFrancesca and Marie LaFrancesca                                                                      Staten Island      NY
John LaFrancesca                                                                                             Brooklyn           NY
Angelo J. Lagana and Celeste Lagana                                                                          rPatterson         NY
Christopher LaGrasta and Deborah Lagrasta                                                                    Monroe             NY
Charlene LaGreca                                                                                             Staten Island      NY
Brian Laine and Elise Rachel Laine                                                                           Farmingdale        NY
John Laios                                                                                                   Brooklyn           NY
Joyce Lamb                                                                                                   New York           NY
Michael Lamberti and Patricia Lamberti                                                                       Miller Place       NY
Pamela Lambright                                                                                             St. Albans         NY
Michael LaMorte and Susan LaMorte                                                                            Ronkonkoma         NY
Wilson Lamour                                                                                                Ridgewood          NY
Antoni Lampart                                                                                               Brooklyn           NY
Renee Landon                                                                                                 Ridge              NY
Francis X. Lane                                                                                              Manalapan          NJ
Toya Lane                                                                                                    Brooklyn           NY
Albert J. Laner and Linda Laner                                                                              Staten Island      NY
Michael Lanfranchi and Audrey A. Lanfranchi                                                                  Brick              NJ
Barton R. Lang                                                                                               Long Beach         NY
William Lang                                                                                                 Summerville        SC
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Frank Langa and Alexsandra Langa                                                                  Manorville         NY
Charles Langone and Janet Langone                                                                 Farmingdale        NY
Cheronda Lanham, as Personal Representative of the estate of Ronnie Lanham, and Cheronda Lanham
individually                                                                                      Jersey City        NJ
Patrick Lanigan and Francene Lanigan                                                              Staten Island      NY
John Lantino and AnnaMaria Lantino                                                                Seaford            NY
James LaPenna                                                                                     Middletown         NY
Richard LaPiedra                                                                                  Staten Island      NY
William Lappe and Bethzaida Lappe                                                                 Bronx              NY
Emerita E. Lara                                                                                   East Elmhurst      NY
Kenneth Larm and Marianne Larm                                                                    Brewster           NY
Patrick LaRotonda and Rosa LaRotonda                                                              Fort Ann           NY
Nick LaSala and Laura LaSala                                                                      Staten Island      NY
Gerard Laskowski and Monica Laskowski                                                             Centereach         NY
Maxine Lassiter                                                                                   Rosedale           NY
Albert Last                                                                                       Brooklyn           NY
Anthony Latacz and Joan M. Latacz                                                                 Waretown           NJ
George Latimer, Jr and Judy Latimer                                                               Jamaica            NY
Susan Laveglia                                                                                    Huntington         NY
Thomas Lavery and Jo Ann Lavery                                                                   Whitestone         NY
Kenneth Lavin and Kathleen Lavin                                                                  Glenwood Landing   NY
John Law                                                                                          West Babylon       NY
Melvin Lawla and Janett Lawla                                                                     Bellerose          NY
Frederick Lawrence and Barbara J. Lawrence                                                        West Islip         NY
Lois Lazarus                                                                                      New York           NY
Shakir Leacock                                                                                    Brooklyn           NY
Joseph Leahy and Sandra Leahy                                                                     Garden City        NY
Roger Leahy and Migdalia Leahy                                                                    Seaford            NY
Edward A. Learning and Victoria Learning                                                          Staten Island      NY
Keith Lebow                                                                                       New York           NY
Alfred Lebrio                                                                                     Staten Island      NY
Linda LeCroy and Frederick B. LeCroy                                                              West Union         SC
Brenda Lee and Joseph Brinson                                                                     Middletown         NY
David Lee                                                                                         Jamaica            NY
Ryan Lee                                                                                          Elizabeth City     NC
Violet Lee                                                                                        New York           NY
Theodore Leeboo                                                                                   Brooklyn           NY
Jane Lefkowitz                                                                                    Pittsfield         MA
Mark J. Legiec and Kelly Legiec                                                                   Berkeley Heights   NJ
Alana Lella                                                                                       Hicksville         NY
Christopher Lemke and Katherine L. Lemke                                                          Mountain dale      NY
Carlton Le-Mond and Sharon Le-Mond                                                                Brooklyn           NY
David Lendzian and Janet Mildred R. Lendzian                                                      Warwick            NY
Patrick Lennon and Gina Lennon                                                                    Staten Island      NY
James Lennox and Dawn Marie Lennox                                                                Montrose           NY
Cesar Leon                                                                                        Jamaica            NY
Ines Leon                                                                                         E. Elmhurst        NY
Jose Leon                                                                                         Corona             NY
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Daniel Leonard and Laura Leonard                                                                            Farmingville         NY
John Leonard and Mary-ANN J. Leonard                                                                        Nanuet               NY
Agnes Leonard, as Personal Representative of the estate of Joseph Leonard, and Agnes Leonard individually   North Massapequa     NY
Charles Leone and Vicky A. Leone                                                                            Brick                NJ
Lucia Eagers, as Administratrix of the estate of Giovanni Leone, and Lucia Eagers individually              Flushing             NY
Marilyn Leone                                                                                               Staten Island        NY
Robert Leonick and Carol Leonick                                                                            Huntington Station   NY
Theodore Leoutsakos and Rose Leoutsakos                                                                     Astoria              NY
Mark Lerner and Tamara Lerner                                                                               Flushing             NY
Camille V. LeSeur                                                                                           Jamaica              NY
Raymond Leshinger                                                                                           Staten Island        NY
Christopher Lesiewicz                                                                                       Center Moriches      NY
Albert B. Leslie and Ruth Leslie                                                                            Brooklyn             NY
Michael Lettiere                                                                                            Campbell Hall        NY
Catherine Lettieri and James Lettieri                                                                       Staten Island        NY
Daniel Lettieri and Laura A. Lettieri                                                                       West Islip           NY
James Lettieri and Barbara Lettieri                                                                         South Hempstead      NY
Jay Levine                                                                                                  Myrtle Beach         SC
Mark Levine and Leslie Levine                                                                               Staten Island        NY
Rachel levy, as Personal Representative of the estate of Danny Levy, and Rachel levy individually           Plainview            NY
Jennifer N. Levy                                                                                            Forest Hills         NY
Darryl Lewis and Mary Lewis                                                                                 Freeport             NY
Elaine Lewis                                                                                                New York             NY
Eugene Lewis                                                                                                Hamilton             NJ
Garfield Lewis and Angella Lewis                                                                            Laurelton            NY
Joseph Lewis and Frances Lewis                                                                              Lynbrook             NY
Lori Lewis and Anthony Lewis                                                                                Raleigh              NC
Patricia Lewis                                                                                              New Hampton          NY
Rogelio Lewis and Lidia Lewis                                                                               Brooklyn             NY
Richard Buckheit, as Administrator of the estate of Leonard Lewis, Sr., and Richard Buckheit individually   Brooklyn             NY
Yun Yan Li                                                                                                  Manhattan            NY
Zu-Gui Li                                                                                                   Manhattan            NY
Michael Lia and Stacey Lia                                                                                  Marlboro             NY
Wen Liao and Chia W. Liao                                                                                   Wantagh              NY
Justin Licari and Johanna Licari                                                                            Huntington Valley    PA
John Licata and Arlene Licata                                                                               Wantagh              NY
Kenneth W. Lickman                                                                                          Scotch Plains        NY
Luigi Lidonnici                                                                                             Howard Beach         NY
David Andre Liferidge                                                                                       St. Albans           NY
Mark Ligarzewski and Anna Ligarzewski                                                                       Bethpage             NY
Jerry Liguori                                                                                               Stony Point          NY
Chang-Hao Lin                                                                                               Corona               NY
Shui Ying Lin                                                                                               New York             NY
Zhong Lin                                                                                                   Manhattan            NY
Peter Linarello and Luz M. Linarello                                                                        Brooklyn             NY
John Lind and Joyce D. Lind                                                                                 Cliffside Park       NJ
Joseph Lindemann and Margaret Lindemann                                                                     Wantagh              NY
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Jaime Lindhamer, as Administrator of the estate of Charles Lindhamer, and Jaime Lindhamer individually         Yonkers           NY
Robert Lindsay and Valerie Lindsay                                                                             Bronx             NY
Shirley Bennett, as Personal Representative of the estate of Tonya Lindsey, and Shirley Bennett individually   Brooklyn          NY
Carlo Linea and Josephine Linea                                                                                Staten Island     NY
Timothy Linekin and Raena Linekin                                                                              Bellmore          NY
Fausto Linetti                                                                                                 Newark            NJ
Frank Lioce and Roseann Lioce                                                                                  Staten Island     NY
Thomas Liotta and Geraldine Liotta                                                                             Centerreach       NY
Frank Liporace and Theresa Liporace                                                                            New York          NY
Walter Lipscomb                                                                                                Brooklyn          NY
Ronnie Lipson and Charlotte Lipson                                                                             Hauppague         NY
Nicolino Lisio                                                                                                 Dix Hills         NY
Cynthia Little                                                                                                 New York          NY
Samuel Little                                                                                                  Wyandanch         NY
Diego Lituma                                                                                                   Jackson Heights   NY
Kevin A. Livelli and Susan Livelli                                                                             Wake Forest       NC
Mario Llanos                                                                                                   Jersey City       NJ
Maria Lluguay                                                                                                  West New York     NJ
Agostino Lobello                                                                                               Whitestone        NY
Dominick Lodispoto and Francine Lodispoto                                                                      Staten Island     NY
Stewart Loeb and Sook In Loeb                                                                                  Monroe            NY
John Lofton and Gail J. Lofton                                                                                 Bronx             NY
Ralph Logan and Irma Logan                                                                                     Nyack             NY
Robin Lohier                                                                                                   Brooklyn          NY
Raul Loja                                                                                                      Corona            NY
Wilmo Loja                                                                                                     Elmhurst          NY
Steven Lombardi                                                                                                Wantagh           NY
Alfonse Lombardo and Catherine Lombardo                                                                        Valley Stream     NY
Erik Lombardo and Tara Lombardo                                                                                Staten Island     NY
John Lomicky and Rita Lomicky                                                                                  Hazlet            NJ
Chris Lomonico                                                                                                 Massapequa        NY
Lance G. London and June London                                                                                Brooklyn          NY
Liliana M. Londono                                                                                             Jackson Heights   NY
Thomas Longa and Judith Stobbie                                                                                New York          NY
Dean Longo and Lynn M. Longo                                                                                   Staten Island     NY
Ralph Longo and Michelle Longo                                                                                 Westtown          NY
David Longshore                                                                                                New York          NY
Michael Lonski and Evelyn Lonski                                                                               Old Greenwich     CT
Joseph LoPalo                                                                                                  Bellmore          NY
Carlos Lopes and Maria Lopes                                                                                   Carmel            NY
Angel Lopez                                                                                                    Elmhurst          NY
Anthony Lopez                                                                                                  Yabucoa           PR
Benny Lopez and Margarita Lopez                                                                                Ridgewood         NY
Jeanette Lopez and Noberto Lopez                                                                               New York          NY
Joseph Lopez                                                                                                   Ozone Park        NY
Manuel Lopez and Barbara Lopez                                                                                 Ocala             FL
Marcus Lopez                                                                                                   age Kingston      NY
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Miguel Lopez and Lesly Lopez                                                                            Yonkers                  NY
Milagros Lopez                                                                                          Newburgh                 NY
Oswaldo Lopez and Elvia V. Lopez                                                                        Union City               NJ
Pedro Lopez                                                                                             Yonkers                  NY
Zudith Lopez                                                                                            Astoria                  NY
Inez Lopez-Quiles                                                                                       Brooklyn                 NY
Delia Lopez-Stull and Edward Stull                                                                      Hammondsport             NY
Arturo Lora                                                                                             Middletown               NY
Steve Lord and Robin Lord                                                                               Manasquan                NJ
Frank Lorelli                                                                                           Port Jefferson Station   NY
Anthony Lorenzo and Carolyn Lorenzo                                                                     Brooklyn                 NY
Maria Lores and Bernard Browne                                                                          South Ozone Park         NY
Frank LoSauro and Constance LoSauro                                                                     Johnson                  NY
Jeffrey Loughery and Diane Loughery                                                                     Staten Island            NY
Lori Mazzeo, as Personal Representative of the estate of Keith Loughlin, and Lori Mazzeo individually   Staten Island            NY
Thomas V. Loughlin and Tracy Loughlin                                                                   Stonybrook               NY
Robert Loughman and Andrea Loughman                                                                     Wantagh                  NY
Kevin Loughnane and Laurie Loughnane                                                                    Wantagh                  NY
Michael Loughran and Christina Loughran                                                                 Smithtown                NY
Trent Love                                                                                              Arnaudville              LA
Scott Lovendahl                                                                                         Staten Island            NY
James Lovett                                                                                            Bristol                  CT
Cheryl Lowe                                                                                             Laurelton                NY
John Loyer                                                                                              New Egypt                NJ
Henry Lozano                                                                                            Bronx                    NY
Victoria Lubeck                                                                                         Sussex                   NJ
Walter Lubkemeier                                                                                       New York                 NY
Erik Lubrano and Rosemary Lubrano                                                                       Maspeth                  NY
Edna Luciano                                                                                            New York                 NY
Gilbert Luger and Barbara Luger                                                                         Floral Park              NY
Thomas Lugo                                                                                             West Babylon             NY
Francisco Luis                                                                                          Corona                   NY
Michael Luise and Robin Luise                                                                           Center Moriches          NY
Lawrence Lukenda and Karen Lukenda                                                                      Linden                   NJ
Michael Luney                                                                                           Tarrytown                NY
Brian Luongo                                                                                            New Windsor              NY
Emanuel Luongo and Mary Luongo                                                                          Buddlake                 NJ
John Luongo and Gina A. Luongo                                                                          Staten Island            NY
William Luongo and Gloria Luongo                                                                        Long Beach               NY
Joseph Lupo and Ayda Lupo                                                                               Chester                  NY
Anthony Lustica                                                                                         Washingtonville          NY
Joseph Lutrario                                                                                         West Islip               NY
Kenneth Lutz and Diane Lutz                                                                             Copiague                 NY
James Lynam and Athena Lynam                                                                            Miller Place             NY
Dennis G. Lynch and Patricia Lynch                                                                      Brooklyn                 NY
Eric Lynch and Lisa Marie Lynch                                                                         Cranbury                 NJ
Garrett Lynch and Paula Lynch                                                                           St. Albans               NY
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Kevin Lynch and Cynthia Lynch                                                                          Kings Park        NY
Richard Lynch                                                                                          W. Babylon        NY
Thomas J. Lynch                                                                                        Long Beach        NY
Thomas Lynch                                                                                           Rockaway Park     NY
William Lynch                                                                                          Brooklyn          NY
William Lynch and Maureen Lynch                                                                        Flemington        NJ
Lance Lynge                                                                                            Tucson            AZ
Allana Corriveau, as Executrix of the estate of Terence Lyons, and Allana Corriveau individually       White Bear Lake   MN
Vincent Lyons and Patricia Lyons                                                                       Brooklyn          NY
Paul Macchia and Danielle Macchia                                                                      Staten Island     NY
James MacDonald and Natalya Rivkin-Macdonald                                                           Melville          NY
Fernando Machado                                                                                       East Meadow       NY
Luis Machado and Lucia Machado                                                                         East Meadow       NY
Beverly Mack                                                                                           Franklin          OH
Patricia A. Mack and Timothy Mack                                                                      Wantagh           NY
Mark Mackey and Laurel L. Mackey                                                                       Rockaway          NJ
Nilda Macri, as Executrix of the estate of Frank Macri, and Nilda Macri individually                   Forest Hills      NY
Eugene Madden                                                                                          East Rockaway     NY
Kevin Madden and Joan Madden                                                                           Belle Harbor      NY
Jozef Madej                                                                                            Brooklyn          NY
James Maffucci                                                                                         Huntington        NY
Michael Magenheim and Kim Magenheim                                                                    New Hyde Park     NY
Paul Magneri and Helaine magneri                                                                       Carmel            NY
Daniel Magrino                                                                                         Staten Island     NY
Donald Maguire and Diane Maguire                                                                       New Rochelle      NY
Peter Maguire and Lisa Maguire                                                                         Smithtown         NY
Thomas Maguire and Patricia C. Maguire                                                                 Bronx             NY
James Maher                                                                                            Palm Coast        FL
John Maher and Rosemary T. Maher                                                                       Mineola           NY
Daniel Mahlmann and Tracey L. Mahlmann                                                                 Lutz              FL
Christopher Mahon                                                                                      Brooklyn          NY
Martin Mahon and Kath;een Mahon                                                                        Malverne          NY
Anya Gayle, as Personal Representative of the estate of Wayne Mahon, and Anya Gayle individually       Locust Grove      GA
Patrick Mahon, Jr. and Julysan Mahon                                                                   Staten Island     NY
Elizabeth McManus, as Executrix of the estate of Cynthia Mahoney, and Elizabeth McManus individually   Aiken             SC
Shaun Mahoney                                                                                          Levittown         NY
Anthony Maiello and Jacqueline C. Maiello                                                              Staten Island     NY
Jerome Maier and Jill Maier                                                                            Lynbrook          NY
John Maier and Karen L. Maier                                                                          Goodview          VA
Richard Maiorino and Hortencia Maiorino                                                                Woodhaven         NY
Frank Maisano and Julie Maisano                                                                        Staten Island     NY
Noel Maitland and Lisa D. Chookasezian                                                                 Oceanside         NY
Brian Makinen and Norisa Cruz Makinen                                                                  Farmingville      NY
Dennis Maklari and Linda Maklari                                                                       Staten Island     NY
Teresa Maksimiak                                                                                       Brooklyn          NY
Pete Malachi                                                                                           Arverne           NY
James Malave                                                                                           Bronx             NY
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Amado Maldonado and Jeanette Rodriquez                                                                      Patterson                NY
Angel Maldonado and Jessica Maldonado                                                                       Queens Village           NY
Luis Maldonado and Pamela Maldonado                                                                         Brooklyn                 NY
Frederick Maley and Joanna Maley                                                                            N. Bellmore              NY
James Malley and Susan Malley                                                                               Yorktown Heights         NY
John Malloy and Maryann Malloy                                                                              Brooklyn                 NY
Baudon Malmbeck and Irene Malmbeck                                                                          Melbourne                FL
David Maloney                                                                                               Massapequa               NY
Denis R. Maloney                                                                                            Kissimmee                FL
Michael Maluk, Jr.                                                                                          Murrells Inlet           SC
Jenny Mami and Angel Morales                                                                                Florida                  NY
Rooplal Manchoon                                                                                            Valley Stream            NY
Stephen Mancusi and Joanna Mancusi                                                                          Cortlandt Manor          NY
Richard Mandel                                                                                              Jackson                  NJ
Brian Manere                                                                                                Bethel                   CT
Michael Manfra and Joan Manfra                                                                              Bethpage                 NY
Constance Mangan                                                                                            Bethpage                 NY
Ralph Manganiello                                                                                           Ashville                 NC
Debra Mangiapia and Gary Mangiapia                                                                          Hawley                   PA
Rita Mangiaracina, as Executrix of the estate of Anthony Mangiaracina, and Rita Mangiaracina individually   Rolla                    MA
James Maniscalco and kathleen Maniscalco                                                                    Port Jefferson Station   NY
Joseph Maniscalco and Kimberly Maniscalco                                                                   Staten Island            NY
Gary Mankowitz and Tracy Mankowitz                                                                          Hackettstown             NJ
Edward Manning and Carol Manning                                                                            Brooklyn                 NY
Harold Manning                                                                                              Bronx                    NY
Scott Mannino and Theresa L. Mannino                                                                        Jersey City              NJ
Patricia Manno                                                                                              Howard Beach             NY
Robert Manon                                                                                                Hurlburt Field           FL
Jean Mansfield                                                                                              New Milford              NJ
Marie Devereaux, as Executrix of the estate of Denise Mantell, and Marie Devereaux individually             Wilmington               DE
Paul Manuel                                                                                                 Wilton                   CT
Fred Manzolillo                                                                                             Freeport                 NY
Scott Maraio and Cheryl Maraio                                                                              Staten Island            NY
Dominick Maranzano and Mala A. Maranzao                                                                     Lynbrook                 NY
Vincent Marciano and Raffaella Marciano                                                                     Merrick                  NY
Douglas Marcillo                                                                                            Bronx                    NY
Judah Marcus                                                                                                Brooklyn                 NY
Robert Marcus and Jamie Marcus                                                                              Kew Gardens              NY
Stanley Mardula and Irene C. Mardula                                                                        Sun City West            AZ
Joseph Maresca and Ciela Maresca                                                                            Staten Island            NY
David Margules                                                                                              Englewood                NJ
Ruben Maria and Angela Maria                                                                                Bronx                    NY
Diego Marin                                                                                                 Jackson Heights          NY
Franklin Marin                                                                                              Valley Stream            NY
Walter Marin                                                                                                Elmhurst                 NY
Albert Marinelli and Diane Marinelli                                                                        West Islip               NY
Maria Marinello                                                                                             New York                 NY
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Martin Marinez and Yvonne Marinez                                                                            Flushing                 NY
Gerard Marini and Patricia Marini                                                                            Staten Island            NY
Steven Marino                                                                                                Jamaica                  NY
John Mariotti and Madeline Mariotti                                                                          Howard Beach             NY
Winifred Markarian and Robert Markarian                                                                      Inverness                FL
Christopher Markevich and Lorraine Masciarelli                                                               Bayshore                 NY
Shane Markey and Sheri Markey                                                                                Port Jefferson Station   NY
Michael Markle and Allison Markle                                                                            Levittown                NY
Raymond Marks and Maryann Marks                                                                              Whippany                 NJ
Robert Marks and Karen Marks                                                                                 Cutchogue                NY
Ralph Marotti and Michele Marotti                                                                            Fairfield                NJ
Edward Marquette and Juny Marquette                                                                          New York                 NY
Steve Marshall and Cynthia Marshall                                                                          Massapequa               NY
Christopher Marski and Karen Marski                                                                          Ronkonkoma               NY
Christopher Martin                                                                                           Fort Lauderdale          FL
Elaine Martin                                                                                                Bronx                    NY
Garrett Martin and Diana Martin                                                                              Fishkill                 NY
Gregory Martin and Maria Martin                                                                              Highland Mills           NY
Hepton Martin and Edmarie Martin                                                                             Elmont                   NY
Mark A. Martin                                                                                               Brooklyn                 NY
Vincent Martin and Ingrid Marin                                                                              Florida                  NY
Martin E. Martindale and Dannie Martindale                                                                   Brooklyn                 NY
Eddy Martinez and Linda Martinez                                                                             Princeton                NC
Edwin Martinez and Paula Martinez                                                                            brooklyn                 NY
George Martinez                                                                                              Oakland Gardens          NY
Hector Martinez and Rosanna Martinez                                                                         Fresh Meadows            NY
Jennifer Martinez                                                                                            Mohegan Lake             NY
Jose Martinez and Olga Rodriguez                                                                             Bronx                    NY
Luis Martinez and Suzanne Martinez                                                                           Tinton Falls             NJ
Manuel Martinez                                                                                              Corona                   NY
Raul Martinez and Abigail Martinez                                                                           Holly Hill               FL
Richard Martinez and Mayra Nunez                                                                             Bronx                    NY
Roberto Martinez                                                                                             North Bergen             NJ
LaVern Werner, as Personal Representative of the estate of Rowena Martinez, and LaVern Werner individually   Staten Island            NY
Steven Martinez and Wendy Martinez                                                                           Selden                   NY
Andrew Martino and Elyssa Martino                                                                            Raleigh                  NC
Robert Martino and Aggie Martino                                                                             Staten Island            NY
Scott Martinson                                                                                              Garden City              NY
Anthony Martucci                                                                                             Bronx                    NY
Frederick Martucci                                                                                           New City                 NY
Nicholas Martucci and Sara Martucci                                                                          Washingtonville          NY
Michael Martuscelli                                                                                          Seaford                  NY
Kevin Martz and Stephanie Martz                                                                              Bronx                    NY
Stephen Maruschak and Marilyn Maruschak                                                                      Sandy Hook               CT
Leonardo Mas                                                                                                 Ridgewood                NY
Anthony Mascia and Ana Mascia                                                                                Medford                  NY
William Maseroni and Mary C. Maseroni                                                                        Bohemia                  NY
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Joseph Masessa                                                                                             Franklin Lakes        NJ
Marilyn Mash                                                                                               New York              NY
Jason Massard                                                                                              St. Albans            NY
Anthony Massaro and Diana Massaro                                                                          Pompton Lakes         NJ
Michael Massaro and Patricia Massaro                                                                       Ronkonkoma            NY
John Masseria and Jennifer Masseria                                                                        Port Jervis           NY
Philip Masso and Eileen Masso                                                                              East Meadow           NY
Leonard Mastrogiacomo and Silvina Mastrogiacomo                                                            Ridge                 NY
Marc A. Mastros                                                                                            College Point         NY
Robert Masucci                                                                                             Staten Island         NY
Bobbie Mathis                                                                                              Bronx                 NY
Brian Matney                                                                                               Staten Island         NY
Anna Matos                                                                                                 Winterpark            FL
Gavin Matranga and Filomena Matranga                                                                       Massapequa            NY
Margarita Mattei                                                                                           Jackson Heights       NY
Edward Mattera and Tara Mattera                                                                            Belle Harbor          NY
Christopher Matthews and Karen Matthews                                                                    Clark                 NJ
Johnny Matthews and Dyanne Matthews                                                                        Roosevelt             NY
Gregg Matthius and Christine Matthius                                                                      Staten Island         NY
Karen Mattiolo and Philip Mattiolo                                                                         Massapequa            NY
Philip Mattiolo and Karen Mattiolo                                                                         Massapequa            NY
Michael Maurice                                                                                            Bronx                 NY
Rona Mauro, as Executrix of the estate of Vito Mauro, and Rona Mauro individually                          Brooklyn              NY
Charles Maxwell                                                                                            New Port Richey       FL
Mollie Maxwell                                                                                             Manhattan             NY
Etta Maxwell, as Personal Representative of the estate of Terence Maxwell, and Etta Maxwell individually   New York              NY
Cedric Mayers                                                                                              Edison                NJ
Steven Mayfield                                                                                            New York              NY
Brant Maynard                                                                                              Springfield Gardens   NY
Julio Cesar Mayorga Gonzalez and Margarita Almos                                                           Flushing              NY
Arthur Mayrose and June Mayrose                                                                            Ronkonkoma            NY
Antoni Mazur and Ewa B. Mazur                                                                              Maspeth               NY
Joseph Mazzei and Ellen Mazzei                                                                             Carmel                NY
John Mazzella and Daniela Mazzella                                                                         Brooklyn              NY
Michael Mazzella                                                                                           Bradenton             FL
Paul Mazzilli                                                                                              Staten Island         NY
Joseph McAdams and Patricia McAdams                                                                        Nesconset             NY
Timothy McAlinden and Margret McAlinden                                                                    Lindenhurst           NY
Joseph McAllister and Annemarie McAllister                                                                 Waxhaw                NC
Jermaine McArthur                                                                                          Brooklyn              NY
Sean McAuley and Izabel McAuley                                                                            Lindenhurst           NY
Solvieg McAuley                                                                                            Yonkers               NY
John McAuliffe                                                                                             Staten Island         NY
Frank McBrien                                                                                              Levittown             NY
Geoffery McBurnie and Carol McBurnie                                                                       Brooklyn              NY
Daniel McCabe and Andrea McCabe                                                                            Bayonne               NJ
William D. McCabe and Amy Mccabe                                                                           New City              NY
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Sean McCafferty and Siobhan McCafferty                                                                       Staten Island      NY
Owen McCaffrey and Lisa Marie McCaffrey                                                                      Bay Shore          NY
Madeline McCaffrey, as Administratrix of the estate of Thomas McCaffrey, and Madeline McCaffrey
individually                                                                                                 Seaford            NY
Richard McCahey and Alma I. McCahey                                                                          Staten Island      NY
Michael McCall and Shari B. McCall                                                                           Huntington         NY
James McCann                                                                                                 Bronxsville        NY
Daniel McCarthy and Debora A. McCarthy                                                                       New Rochelle       NY
David McCarthy and Nancy McCarthy                                                                            Bayside            NY
Michaele Gorman, as Administratrix of the estate of Jacqueline McCarthy, and Michaele Gorman individually    Robbinsville       NJ
Jason Mungen, as Personal Representative of the estate of Jessy T. McCarthy, and Jason Mungen individually   Summerville        SC
John McCarthy                                                                                                New Rochelle       NY
John McCarthy and Enza McCarthy                                                                              Staten Island      NY
Kevin McCarthy and Regina McCarthy                                                                           Warwick            NY
Richard McCarthy and Lynn McCarthy                                                                           Farmingdale        NY
Robert McCarthy                                                                                              Woodside           NY
Timothy J. McCarthy                                                                                          West Islip         NY
Timothy McCauley                                                                                             Staten Island      NY
Kevin McCawley and Gabriela McCawley                                                                         Holtsville         NY
Michael McClatchey                                                                                           Point Pleasant     NJ
Joseph McCloskey                                                                                             Orlando            FL
Cornelius McConnell                                                                                          Brooklyn           NY
James McConnell and Catherine McConnell                                                                      North Massapequa   NY
Brendan McCormack and Rosaleen McCormack                                                                     Hawthorne          NY
Christopher McCormack and Jeannine McCormack                                                                 Cortlandt Manor    NY
Michael McCormack and Margaret McCormack                                                                     Brooklyn           NY
Gregory McCormick                                                                                            Bayonne            NJ
James McCormick and Christina McCormick                                                                      Mineola            NY
Jessica McCormick, as Administratrix of the estate of Ryan McCormick, and Jessica McCormick individually     Verona             NJ
Melissa McCoy                                                                                                Baldwin Harbor     NY
Thomas McCoy and Alisa McCoy                                                                                 Staten Island      NY
Robert McCracken                                                                                             Rockaway Park      NY
Craig McCray and Tracey McCray                                                                               Naples             FL
John McCrone                                                                                                 Ramsey             NJ
Frank McCullagh and Rose McCullagh                                                                           New Hyde Park      NY
Kevin McCullagh                                                                                              Flushing           NY
Richard McCusker and Ana McCusker                                                                            Holbrook           NY
Gerard McDade and Karen McDade                                                                               New York           NY
Janice McDaniel                                                                                              Jamaica            NY
Sheila McDaniel                                                                                              New York           NY
Lisa McDonald                                                                                                Pine Bush          NY
John McEachern                                                                                               Rockaway Beach     NY
Denis A. McEneaney and Tara lynn McEneany                                                                    Broad Channel      NY
Tom McEwan                                                                                                   Levittown          PA
Edward McFadden and Stacy McFadden                                                                           North Babylon      NY
James McFadden and Essie McFadden                                                                            Brooklyn           NY
James McGarrigle                                                                                             Yonkers            NY
Michael McGarry and Ester McGarry                                                                            Goshen             NY
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Patrick McGee and Barbara McGee                                    Mahopac            NY
Thomas McGhee                                                      E. Stroudsburg     PA
Agnes McGill                                                       New York           NY
John McGill and Sophie McGill                                      Staten Island      NY
Keith McGill and Virginia McGill                                   Pearl River        NY
Timothy McGinn and Barbara McGinn                                  Staten Island      NY
John McGlyn and Kim McGlyn                                         Wendell            NC
Joseph McGovern and Margaret McGovern                              Hawthorne          NY
James McGrath and Joan McGrath                                     Rockville Centre   NY
Thomas McGrath                                                     Wassaic            NY
William McGreevy and Maryann McGreevy                              Northport          NY
Robert McGrory and Mary McGrory                                    Hauppauge          NY
Thomas McHale and Linda Susan McHale                               East Brunswick     NJ
Joseph McHugh and Dolores McHugh                                   Wantagh            NY
Timothy McInerney and Francine McInerney                           Suffern            NY
John McIntyre and Michele McIntyre                                 Westfield          NJ
Richard McIver and Eileen McIver                                   Wantagh            NY
Michael McKain                                                     Brooklyn           NY
Mark McKay and Belinda McKay                                       Bronx              NY
Kevin McKenna and Erin McKenna                                     Parlin             NJ
Vivian McKenzie and Olive McKenzie                                 Hempstead          NY
Eugene McKeon                                                      Yonkers            NY
Patrick McKernan and Salina McKernan                               Westtown           NY
Michael McKnight                                                   New York           NY
John McLean                                                        Brooklyn           NY
John McLees and Kelly L. Walker-McLees                             Harmony            FL
Sean McLoughlin and Anne Marie McLoughlin                          West Babylon       NY
Brian McMahon                                                      New City           NY
Craig McMahon and Jolene McMahon                                   Toms River         NJ
Maureen McMahon                                                    Oakland Gardens    NY
Patrick McMahon and Michelle McMahon                               Commack            NY
Thomas McMahon                                                     Rockaway Park      NY
Brian McManus                                                      Staten Island      NY
Paul McManus and Loretta McManus                                   Malverne           NY
Lucius McMillon and Brenda L. McMillon                             Waxhaw             NC
Ella McNair                                                        Brooklyn           NY
John McNally and Lisa McNally                                      Staten Island      NY
Patrick McNally and Elizabeth McNally                              Floral Park        NY
Brett McNamara                                                     N. Bellmore        NY
Edward McNamara and Meirav McNamara                                New York           NY
Robert McNamara and Lisa McNamara                                  Port Jefferson     NY
Christian McNamee and Danata McNamee                               Yonkers            NY
Sean McNichols and Kerry McNichols                                 east rockway       NY
Patrick McNiece and Louise M cniece                                Staten Island      NY
Kevin McPadden                                                     Napanoch           NY
Michael McPartland and Linda McPartland                            East Patchogue     NY
Edward McQuade and Catherine McQuade                               Wristown           NJ
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Maria Taylor, as Administratrix of the estate of Raymond McQueen, and Maria Taylor individually    Woodside           NY
Mark McQuillan and Susan McQuillan                                                                 North Bergen       NJ
James McSorley and Barbara McSorley                                                                Sarasota           FL
Terence McTigue and Elizabeth M. McTigue                                                           West Nyack         NY
Patrick McVey                                                                                      Rockville Centre   NY
Thomas McWilliams and Joann McWilliams                                                             Brielle            NJ
Ernest Medaglia                                                                                    Bronxville         NY
David Medina and Laura Medina                                                                      Staten Island      NY
Jose Medina                                                                                        Kew Gardens        NY
Jose Medina and Kathy Medina                                                                       Levittown          NY
Kevin Meehan                                                                                       Plainview          NY
Richard Meehan and Yong Meehan                                                                     Staten Island      NY
Sean Mehrlander                                                                                    Jackson            NJ
Edmond Mei, as Personal Representative of the estate of Yu Zhen Mei, and Edmond Mei individually   Manhattan          NY
Lynford Meischke and Kelly Sue Meischke                                                            Leesburg           NJ
Lawrence Mele                                                                                      New York           NY
Victor Mele and Susan M. Mele                                                                      Massapequa         NY
Alberto Melecio and Altagracia Melecio                                                             Bronx              NY
Luis Melendez                                                                                      New York           NY
Wilfredo Melendez                                                                                  Bronx              NY
Nicholas Melillo and Linda Melillo                                                                 Staten Island      NY
Frank M. Melita and Lilian Melita                                                                  Chandler           AZ
Laurance W. Mellen and Cassandra Mellen                                                            Stallings          NC
Albert Meller and Shari Z. Meller                                                                  Commack            NY
Manuel Melo and Paula C. Couto-Melo                                                                Colonia            NJ
Daniel Melore and Kelly Melore                                                                     Williston Park     NY
Richard Meltz                                                                                      Kent Lakes         NY
Murray Meltzer                                                                                     Tenafly            NJ
Eddie Mendez and Marie G. Mendez                                                                   Seminole           FL
Ismael Mendez                                                                                      Bronx              NY
Jose M. Mendez and Luz Mendez                                                                      Brooklyn           NY
Juan Mendez                                                                                        Corona             NY
Luis M. Mendez and Carmen Mendez                                                                   Palm Coast         FL
Roy Mendez and Loretta E. Mendez                                                                   Holbrook           NY
Enrique Mendoza and Maria De Mendoza                                                               Barranca Honda     Mexico
Richard Mendyk                                                                                     Colonia            NJ
Jenny Menendez                                                                                     Riverdale          NY
William Menendez and Nancy Menendez                                                                Brentwood          NY
Luis A. Meneses                                                                                    Flushing           NY
Vincent Mennella                                                                                   Brooklyn           NY
Luis Mercado                                                                                       Bronx              NY
Pedro Mercado and Miriam Mercado                                                                   Poughkeepsie       NY
Leonard Merola and Karen Merola                                                                    Staten Island      NY
Ronald Merritt                                                                                     New York           NY
Victor Mesce                                                                                       Bloomfield         NJ
Deborah Meshejian and Frederick Zimm                                                               Albertson          NY
Joseph Mesita                                                                                      Elmont             NY
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Calogero Messina and Grazia Messina                                                                    Astoria               NY
Edward Messina and Danielle Messina                                                                    Garden City Park      NY
Joseph Messina                                                                                         Brooklyn              NY
Natalie Messina and Joseph Messina                                                                     Little Egg Harbor     NJ
John Meyer and Lucille Meyer                                                                           Chatham               NJ
John D. Meyers and Felicia Meyers                                                                      Staten Island         NY
Keith Meyers and Geraldine M. Meyers                                                                   Oceanport             NJ
Joseph Miccoli                                                                                         New Hyde Park         NY
Christopher Michaels                                                                                   New York              NY
Thomas Michaels and Donna Michaels                                                                     Brewster              NY
Damon Michalopoulos and Frances Michalopoulos                                                          Nanuet                NY
Alvin Middleton and Patricia Ann Middleton                                                             Lakewood              NJ
John Miele and Dorothy Miele                                                                           Staten Island         NY
Kevin Mikalonis and Wanda Mikalonis                                                                    N. Merrick            NY
Steve MiKedis and Angeliki MiKedis                                                                     Douglaston            NY
Billy Milan and Maria Milan                                                                            Houston               TX
Reynaud Miles                                                                                          North Babylon         NY
Janusz Milewski and Anna Milewski                                                                      Lomza                 Poland
Allen Miller                                                                                           Woodhaven             NY
Daniel Miller and Lynn Miller                                                                          Commack               NY
Donald Miller and Patricia Miller                                                                      Central Islip         NY
Elliot Miller and Edith Linn                                                                           Brooklyn              NY
James Miller and Jacqueline Miller                                                                     Dacula                GA
Richard Miller and Amy Miller                                                                          Brooklyn              NY
Samuel Miller and Cynthia Miller                                                                       West Babylon          NY
Steven Miller and Noreen Miller                                                                        Massapequa            NY
Lenna Milligan and Derrick Milligan                                                                    Baldwin               NY
Carlton Mills and Denise Mills                                                                         Saint Albans          NY
David Mills                                                                                            Springfield Gardens   NY
John Mills and Margaret L. Mills                                                                       Palm Harbor           FL
Robert A. Mills, Sr, as Executor of the estate of Robert Mills, and Robert A. Mills, Sr individually   Huntington Station    NY
Edward Milmore and Joan Milmore                                                                        New Windsor           NY
Vincent Milone and Deborah Milone                                                                      Staten Island         NY
Thomas A. Milton and Alicia M. Milton                                                                  Monroe                NY
Charles Mimms and Michelle Mimms                                                                       Bronx                 NY
Anthony Minervini and Agatha Minervini                                                                 Hicksville            NY
Salvatore Mingoia and Yolanda Mingoia                                                                  royal palm beach      FL
Christopher Minogue                                                                                    Kings Park            NY
Dennis Minogue and Christa Minogue                                                                     Massapequa Park       NY
James Minoux                                                                                           Callicoon Center      NY
Michael Minuto and Janet Minuto                                                                        Franklin Square       NY
Robert Mirabal and Tracy Mirabal                                                                       Blauvelt              NY
Vincent Miraglia                                                                                       Bronx                 NY
Eriberto Miranda and Iris Miranda                                                                      Port Monmouth         NJ
Frank Miranda and Teresa Miranda                                                                       Franklin              NJ
Jamie Miranda and Denise Miranda                                                                       Highland Mills        NY
Susana Miranda and Martin Labre                                                                        Corona                NY
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Victor H. Miranda                                                                                  Ridgefield        NJ
John Misha and Patricia Misha                                                                      Westwood          NJ
Dionne Smith, as Administratrix of the estate of Darren Mitchell, and Dionne Smith individually    Wood Ridge        NJ
Dennis Mitchell and Kelly Ann Mitchelll                                                            Westbury          NY
John Mitchell and Maureen Mitchell                                                                 Franklin Square   NY
Leonard Mitchell and Donna Mitchell                                                                Brooklyn          NY
Matt Mitler and Karen Hatt                                                                         Brooklyn          NY
Peter Mladinich and Ramona Mladinich                                                               Bethpage          NY
Robert Mladinich                                                                                   New York          NY
Anthony Moccia                                                                                     Lindenhurst       NY
John Modica                                                                                        Jim Thorpe        PA
Joseph Modica and Kathleen Modica                                                                  Smithtown         NY
Bruce Mogg and Rosa Mogg                                                                           Delray Beach      FL
Koontie Mohabir                                                                                    Richmond Hill     NY
Marlon Mohabir                                                                                     Chicago           IL
Jeffrey Mohlenbrok and Wallace Ann Mohlenbrok                                                      Staten Island     NY
James Moir and Joanne Maria Moir                                                                   East Rockaway     NY
Eddie Molina and Mayra R. Molina                                                                   New York          NY
Martha Molina and Armando Molina                                                                   North Bergen      NJ
Michael Mollahan                                                                                   New City          NY
John Molloy and Patricia Molloy                                                                    Brooklyn          NY
Michael Molly and Frances Molloy                                                                   White Plains      NY
Brian Monacelli                                                                                    Toms River        NJ
Stephanie Moncada                                                                                  Westtown          NY
Johanny Monegro                                                                                    Yonkers           NY
Philip Mongiovi and Christine Mongiovi                                                             Lake Grove        NY
Patrick Monitello and Doreen Monitello                                                             Staten Island     NY
Amy Monroe and Benjamin Epps                                                                       New York          NY
Joseph Monsorno and Eileen Monsorno                                                                Freehold          NJ
Christopher Montagna and Jacqueline Montagna                                                       Staten Island     NY
Constance Montalbano, as Personal Representative of the estate of John Montalbano, and Constance
Montalbano individually                                                                            Beechhurst        NY
Michael Montalbano                                                                                 Leonardo          NJ
Luz Montalvo                                                                                       Glendale          NY
Michael Montalvo and Wanda Montalvo                                                                Bronx             NY
Regla Montalvo                                                                                     Bronx             NY
Leidis Montero                                                                                     Bronx             NY
Peter Montgomery and Jacalyn Montgomery                                                            Bayport           NY
James Montiel and Barbara Montiel                                                                  Richmondale       PA
Brian Montreuil                                                                                    Flushing          NY
Fredy Monzon                                                                                       Levittown         NY
John Moody and Waldretta Moody                                                                     Staten Island     NY
Sean Moon                                                                                          Lawranceville     GA
James Mooney                                                                                       Flushing          NY
Joseph Mooney, as Administrator of the estate of Maureen Mooney, and Joseph Mooney individually    Stowe             VT
Francis Moore and Dara Moore                                                                       Sussex            NJ
John Moore                                                                                         Montgomery        NY
Nathan Moore                                                                                       Amityville        NY
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Pearl Moore                                                          Bronx                 NY
William M. Moore and Elizabeth Moore                                 Red Bank              NJ
Eugenio Mora                                                         Corona                NY
Flor Mora                                                            Astoria               NY
Luis E. Mora and Mercedes Mora                                       Staten Island         NY
John P. Morale                                                       Staten Island         NY
Edwin Morales and Linda Morales                                      Clifton               NJ
Felicia Morales                                                      Yonkers               NY
Gary Morales and Patricia Morales                                    Flushing              NY
Jeanette Morales                                                     Forest Hills          NY
Milton E. Morales and Yahaira Morales                                East Stroudsburg      PA
Pedro Morales                                                        Brooklyn              NY
Peter Morales and Zulema Morales                                     Brooklyn              NY
Segundo Morales and Dolores Morales                                  Corona                NY
Tatiana Morales and James Fink                                       Elmhurst              NY
Ellen Moran                                                          Huntington            NY
James Moran and Eileen Moran                                         Oceanside             NY
John Moran and Karen Moran                                           Beverly Hills         FL
Shane Moran                                                          Piermont              NY
Gregory Morea and Michelle Morea                                     East Islip            NY
Willie Moree                                                         Bronx                 NY
James Moreira                                                        Bronx                 NY
Peter Morelli and Adelina Morelli                                    Little Neck           NY
Gerard Morency and Marie Morency                                     Springfield Gardens   NY
Mario Moreno                                                         Union City            NJ
John G. Morgan and Mary Anne Morgan                                  Congers               NY
John H. Morgan and Eleanor Morgan                                    Belford               NJ
Justine Moriarty                                                     Brooklyn              NY
Robert Morin and Melody Morin                                        Farmingdale           NY
Timothy Morley and Erin Morley                                       Glenhead              NY
Steven Mormino and Diane Marie Mormino                               Massapequa Park       NY
Serge Morneau                                                        Queens Village        NY
Simon Morocho                                                        Jackson Heights       NY
Anthony Morris and Alisa Morris                                      Seacaucus             NJ
Ernest Morris and JoAnne M. Morris                                   West Nyack            NY
Joan Morris                                                          Staten Island         NY
Robert Morris                                                        Oceanside             NY
Scott Morrissey                                                      Wantagh               NY
Sammy Morsi                                                          Glen Head             NY
John Mortimer and Heather Mortimer                                   Kinnelon              NJ
Rosalyn Morton                                                       Mount Vernon          NY
Milena Moryc-Dziubek and Slawomir Dziubek                            Ridgewood             NY
Eileen Mosca and Vincent Mosca                                       Massapequa Park       NY
Jack Moscato and Diana L. Moscato                                    Boiling Springs       PA
Michael Moscato                                                      Jersey City           NJ
Cesar Moscoso                                                        Staten Island         NY
James Moses                                                          New York              NY
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Keith Moskowitz and Cheryl Moskowitz                                                                           Verio Beach         FL
Audrey Mosley-Marcus and Ronald Marcus                                                                         Elmont              NY
Emmitt Moss and Nancy J. Moss                                                                                  Denver              NC
Terence Moti and Sharmela Moti                                                                                 New Hyde Park       NY
David A. Motola                                                                                                Bronx               NY
James Mott                                                                                                     Bronx               NY
Gary Mouscardy and Wanda Mouscardy                                                                             Hempstead           NY
Atef Moussa and Jacqueline Moussa                                                                              Staten Island       NY
Debra Casertano-Mouton, as Executrix of the estate of Michael Mouton, and Debra Casertano-Mouton
individually                                                                                                   Staten Island       NY
Angel Moya                                                                                                     Merrick             NY
Audrey Moyd                                                                                                    Jersey City         NJ
Robert Muccio and Demmari Muccio                                                                               Staten Island       NY
John Mucciola, as Administrator of the estate of Louise Mucciola, and John Mucciola individually               Brooklyn            NY
William Mucha and Patricia Mucha                                                                               College Point       NY
Frederick Mueller and Joanne Mueller                                                                           Loudonville         NY
Peter Mueller and Jo-Ann W. Mueller                                                                            Staten Island       NY
Rudolph Muhammad and Vanessa Boyd                                                                              Brooklyn            NY
Arturo Muia                                                                                                    Staten Island       NY
William Mulcahey and Helen Mulcahey                                                                            Yorktown Heights    NY
Denis Mulcahy and Mariam Mulcahy                                                                               Greenwood Lake      NY
Richard Mulhern and Lori Mulhern                                                                               Naples              FL
Douglas Mulholland and Denise Mulholland                                                                       Lindenhurst         NY
Patrick J. Mulkern                                                                                             Nanuet              NY
Kathy Olson, as Personal Representative of the estate of Maureen Mullaney, and Kathy Olson individually        Freehold            NJ
Michael Mullarkey                                                                                              Garden City South   NY
James Mullen and Kim Mullen                                                                                    Neponsit            NY
Jeffrey Mulligan                                                                                               North Fort Myers    FL
Antoinette J. Mulligan, as Executrix of the estate of John Mulligan, and Antoinette J. Mulligan individually   Bethpage            NY
Patrick Mullinax and Denise P. Mullinax                                                                        Whitestone          NY
Brendan Mulroy and Marie Murphy                                                                                E. Northport        NY
Michael Mulroy                                                                                                 Oradell             NJ
Brendan Mulvey and Bridget Mulvey                                                                              Burlington          CT
Francis Mulvey and Karen Mulvey                                                                                Baldwin             NY
John Mulvihill                                                                                                 Staten Island       NY
Henry Mulzac and Karen G. Mulzac                                                                               Rockville           MD
Hector Muniz and Oralia J. Muniz                                                                               Staten Island       NY
Raul Muniz                                                                                                     Surprise            AZ
Dominick Munofo                                                                                                River Edge          NJ
Carlos Munoz and Anna L. Carlo                                                                                 Bethpage            NY
Wilfred Munoz and Dawn Munoz                                                                                   Manorville          NY
Richard Murawinski                                                                                             Nutley              NJ
Aaron Murphy and Tesa Ryans-Murphy                                                                             Selden              NY
Carmen Murphy                                                                                                  Port Jeff Station   NY
Christopher Murphy                                                                                             Long Beach          NY
Christopher Murphy                                                                                             Bronx               NY
Christopher Murphy and Janet M. Murphy                                                                         Brewster            NY
David Murphy and Renee Murphy                                                                                  East North Port     NY
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James Murphy and Magaly Murphy                                                                              Little Neck           NY
John Murphy and Suzanne Murphy                                                                              Oceanside             NY
Barbara Murphy, as Administratrix of the estate of Kevin Murphy, and Barbara Murphy individually            Hazlet                NJ
Martin Murphy and Geraldine Murphy                                                                          Flushing              NY
Matthew Murphy and Regan Murphy                                                                             Williston Park        NY
Michael G. Murphy and Elizabeth Murphy                                                                      Long Beach            NY
Michael K. Murphy and Joan Murphy                                                                           Calabash              NC
Michael Murphy and Carol Murphy                                                                             Rockaway Point        NY
Michael Murphy and Jeannine Murphy                                                                          East Islip            NY
Michael Murphy and Suzanne Murphy                                                                           Massapequa Park       NY
William Murphy and Nancy A. Murphy                                                                          Kings Park            NY
Glenn S. Murray                                                                                             New York              NY
Jacqueline Murray                                                                                           Springfield Gardens   NY
James Murray and Roseann Murray                                                                             St. James             NY
Catherine Murray, as Executrix of the estate of John Murray, and Catherine Murray individually              Staten Island         NY
Loan Murray and Robert Murray                                                                               West Islip            NY
Macarthur Murray                                                                                            Stratford             CT
Raymond Murray                                                                                              New City              NY
Thomas Murray and Dawn Murray                                                                               Brooklyn              NY
Patricia Musicaro, as Administratrix of the estate of Joseph Musicaro, and Patricia Musicaro individually   Warminster            PA
Michael Musso and Therese M. Musso                                                                          Deer Park             NY
Charles E. Musto, Jr.                                                                                       West Islip            NY
Modesto Nacional and Sally Nacional                                                                         Lynbrook              NY
John Naclerio and Ann Naclerio                                                                              Bardonia              NY
Brian Naftal and Mary Ann Naftal                                                                            Great River           NY
John Nagle and Jennyfer Nagle                                                                               Deer Park             NY
John Naja                                                                                                   Ozone Park            NY
John Nalbach                                                                                                Berthoud              CO
Krzysztof Nalepa                                                                                            Maspeth               NY
Joseph Napoli                                                                                               New York              NY
Joseph Napoli and Nancy Napoli                                                                              Queens                NY
Daniel Napolitano and Marianne Napolitano                                                                   East Meadow           NY
Stephen Nappo and Joyce Lilley                                                                              Staten Island         NY
Maria Naranjo                                                                                               Elmhurst              NY
Walter Naranjo and Miriam Jara                                                                              Corona                NY
Michael Narvaez and Sonia Narvaez                                                                           Cape Coral            FL
Anthony Natale and Janet Natale                                                                             Mineola               NY
William Nater and Frances P. Nater                                                                          Virginia Beach        VA
Ronald Natole and Diana Natole                                                                              Brick                 NJ
Marcelo Naula                                                                                               Elmhurst              NY
Segundo Naula                                                                                               New York              NY
Raul Naula and Maria Naula                                                                                  Elmhurst              NY
Robert Navallo and Ann Navallo                                                                              Staten Island         NY
Felix Navarro and Adeline Navarro                                                                           St. Cloud             FL
Geronimo Navarro                                                                                            Freeport              NY
Adam Nazario                                                                                                Garnerville           NY
Michael Neal                                                                                                Middle Village        NY
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Rodney Neal and Cynthia Neal                                                                                  Poughkeepsie       NY
Oscar Negrete                                                                                                 Woodside           NY
Daniel Negri                                                                                                  East Patchogue     NY
Jason Negron                                                                                                  Bellmore           NY
Julio Negron                                                                                                  Bronx              NY
Robert Negron and Gladys Negron                                                                               Bronx              NY
Troy Negron and Mabel Negron                                                                                  Long Island City   NY
George Neilson                                                                                                Port Jervis        NY
LeRoy K. Nelson                                                                                               Brooklyn           NY
Nancy Neumann, as Personal Representative of the estate of John Neumann, and Nancy Neumann individually       Brooklyn           NY
Mary Newman                                                                                                   New York           NY
Gene Newton and Colleen-Mary Newton                                                                           Franklin           NY
Philip Newton and Austin Newton                                                                               Brooklyn           NY
William Ng and Maribel NG                                                                                     Brooklyn           NY
Neville Nicholas                                                                                              Saint Albans       NY
Jeffrey Nichols                                                                                               West Paterson      NJ
Vincent Nicolo and Patricia Nicole                                                                            Pine Bush          NY
Terrance Nicosia and Lucy Nicosia                                                                             Holbrook           NY
Rodolfo Nieto                                                                                                 Jamaica            NY
Jessica Nieves, as Administratrix of the estate of Antonio Nieves, and Jessica Nieves individually            Bronx              NY
Carlos Nieves and Lena M. Perez                                                                               Montgomery         NY
Jose Nieves                                                                                                   Linden             NJ
Maritza Nieves                                                                                                Woodhaven          NY
Rafael Nieves                                                                                                 Cambell Hall       NY
Ruth Nieves, as Personal Representative of the estate of Wilfredo Nieves, Jr., and Ruth Nieves individually   Highland Falls     NY
Cipriano Nigro and Lori Nigro                                                                                 Staten Island      NY
Vincent Nitti and Katherine Nitti                                                                             Riverhead          NY
Erin Nolan                                                                                                    Bayside            NY
James Nolan and Donna Marie Nolan                                                                             Yonkers            NY
Michael Nolan                                                                                                 Freeport           NY
Edward Noonan and Amy Noonan                                                                                  Long Valley        NJ
Michael Noone and Mary K. Noone                                                                               Rockaway Park      NY
Lawrence Nostramo and Kim Nostramo                                                                            Ronkonkoma         NY
Mark Nova and Laura Nova                                                                                      Staten Island      NY
Steven Nova and Lori Nova                                                                                     Brooklyn           NY
John Novak and Katherine Novak                                                                                Mineola            NY
Fred Nozile and Amma O. Nozile                                                                                Jamaica            NY
Robert Numssen                                                                                                Kew Garden         NY
Harold Nunez                                                                                                  Bronx              NY
Ismael Nunez                                                                                                  Brooklyn           NY
Paul Nunziato and Kathleen C. Nunziato                                                                        Wyckoff            NJ
David Nussbaum and Freida Nussbaum                                                                            Bell Harbor        NY
John O Boyle and Patricia O Boyle                                                                             Monroe             NY
Colm O Connor                                                                                                 Yonkers            NY
Patrick O Connor and Lisa O'Connor                                                                            East Meadow        NY
James O Keefe                                                                                                 Bronxville         NY
Chester O Leary                                                                                               Rockaway Park      NY
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Joseph O Rourke                                                                                          Oakland Gardens          NY
Mark O Shea                                                                                              Bayshore                 NY
Michael O Toole and Margaret O'Toole                                                                     Middle Village           NY
Darren Oakes and Maria A. Oakes                                                                          Staten Island            NY
Thomas Obert                                                                                             Fishkill                 NY
Daniel O'Brien and Mercedes O'Brien                                                                      Plainview                NY
Joseph O'Brien                                                                                           Middletown               NY
Patricia O'Brien and Anthony Perosi                                                                      Staten Island            NY
Peter O'Brien and Donna O'Brien                                                                          Pearl River              NY
Sixto Ochoa and Laura Ortiz                                                                              Union City               NY
Dennis O'Connell and Jean O'Connell                                                                      Westbury                 NY
                                                                                                         Castle Island County
Patrick O'Connell and Mary O'Connell                                                                     Kerry                    Ireland
Brian O'Connor and Kathleen O'Connor                                                                     Massapequa Park          NY
Catherine O'Connor and James O'Connor                                                                    Belle Harbor             NY
Christopher J. O'Connor and Kelli O'Connor                                                               New York                 NY
Katherine O'Connor, as Executrix of the estate of George O'Connor, and Katherine O'Connor individually   Glendale                 NY
James O'Connor                                                                                           Levittown                NY
Christopher O'Donnell and Stephanie O'Donnell                                                            Massapequa               NY
Francis O'Donnell and Maryann O'Donnell                                                                  Staten Island            NY
Mary Frances O'Donnell                                                                                   Hawthorne                NY
Phillip O'Donnell and Irene O'Donnell                                                                    New York                 NY
Peter O'Donohue and Jeannine O'Donohue                                                                   Massapequa               NY
Peter Oggeri                                                                                             Bethpage                 NY
Peter O'Grady and Vera O'Grady                                                                           Bronxville               NY
Paul Oh and Yesung Oh                                                                                    Oakland Gardens          NY
Terrence O'Hara                                                                                          West Islip               NY
Christopher O'Hare                                                                                       Staten Island            NY
Linda Ohlson                                                                                             East Stroudsburg         PA
Howard Ohringer and Sonia Ohringer                                                                       Port Jefferson Station   NY
Kevin O'Kane and Germaine O'Kane                                                                         Thiells                  NY
Patrick O'Keefe and Toni Ann O'Keefe                                                                     Bronx                    NY
John Oldak and Suzanne Oldak                                                                             Oceanside                NY
William O'Leary and Andria O'Leary                                                                       Staten Island            NY
Kenneth Oleksa and Sandy Oleksa                                                                          Albertson                NY
John W. Oley and Phyllis Oley                                                                            Selden                   NY
John Oliva and Mary E. Oliva                                                                             Brooklyn                 NY
Julio Olivencia                                                                                          New York                 NY
Godfrey R. Olivera and Sonia Olivera                                                                     Brooklyn                 NY
Robert Olivera and Debra Ann Olivera                                                                     E Windsor                NJ
Daniel Oliveras                                                                                          Bronx                    NY
Anthony Oliveri and Cecelia J. Oliveri                                                                   West Babylon             NY
William Oliveri and Antionette Olivieri                                                                  Bronx                    NY
Luis Olivero and Anna Olivero                                                                            Beverly Hills            FL
Wilson Olivo                                                                                             Elizabeth                NJ
Mary Ollie                                                                                               New York                 NY
John O'Loughlin and Christina O'Loughlin                                                                 Commack                  NY
Kenneth Olsen and Leslie Olsen                                                                           Freeport                 NY
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Thomas Olson and Denise M. Olson                                                                           Garden City        NY
John O'Moore and Randi M. O'Moore                                                                          Lynbrook           NY
Patrick O'Neill and Patricia O'Neill                                                                       Long Beach         NY
Emil Onzo                                                                                                  Ballston Spa       NY
Eddy Oquendo                                                                                               Saint Cloud        FL
Julio Ordonez                                                                                              Briarwood          NY
Johnny Orellana and Linda Orellana                                                                         Bronx              NY
Constance Orlando                                                                                          New York           NY
Thomas Orlando and Maria M. Orlando                                                                        Staten Island      NY
William Orlando                                                                                            West Babylon       NY
Robert Orloff and Kathleen Orloff                                                                          Brooklyn           NY
Robert O'Rourke and Claudine O'Rourke                                                                      Bronx              NY
Stacey Ann O'Rourke                                                                                        Hernando           FL
Rafael E. Orozco                                                                                           Brooklyn           NY
John Orsino                                                                                                Staten Island      NY
Mona T. Orsulich, as Personal Representative of the estate of Stephan J. Orsulich, and Mona T. Orsulich
individually                                                                                               Woodstock          NY
Sandra Ortega and Efrain Zarumeno                                                                          Ridgewood          NY
Bernard Ortiz                                                                                              Bronx              NY
Denise Ortiz and Raymond Ortiz                                                                             Staten Island      NY
Daisy Ortiz, as Executrix of the estate of Edwin Ortiz, and Daisy Ortiz individually                       New Hempstead      NY
Edwin Ortiz and Ivette Ortiz                                                                               Goshen             NY
Elmi Ortiz                                                                                                 Bronx              NY
Elvin Ortiz and Mayra Ortiz                                                                                Brooklyn           NY
Jose Ortiz                                                                                                 Peekskill          NY
Julio Ortiz                                                                                                Bronx              NY
Miguel Ortiz and Migdalia Ortiz                                                                            Port St. Lucie     FL
Rosa Ortiz and Elio Yumbla                                                                                 Elmhurst           NY
Wilson Ortiz and Alejandrina Narvaez                                                                       Woodside           NY
Cornelius O'Shea                                                                                           Yonkers            NY
Thomas O'Shea and Joan O'Shea                                                                              Rockville Center   NY
Fred Ostrick and Elyse Ostrick                                                                             Medford            NY
Patrick O'Sullivan and Catherine O'Sullivan                                                                Cornwall           NY
Shaun O'Sullivan                                                                                           Blandon            PA
Beata Szostek Oswain, as Executrix of the estate of Robert Oswain, and Beata Szostek Oswain individually   Levittown          NY
Jason Otero                                                                                                Staten Island      NY
Kevyn Otero                                                                                                Bronx              NY
Leonard O'Toole                                                                                            Jamaica            NY
Paul O'Toole and Anna O'Toole                                                                              East Quogue        NY
Jarod Ottley and Jenelle Ottley                                                                            Rosedale           NY
Douglas Owen and Donna Owen                                                                                Highland Lakes     NJ
Roger Owens and Pamela Owens                                                                               Port Jefferson     NY
Steven Oxnard                                                                                              Maywood            NJ
Mariam Oziegbe and Fidelis Oziegbe                                                                         Saint Albans       NY
Haydee Pabey and Henry Chen                                                                                Cortlandt Manor    NY
Maximo Pachay                                                                                              East Hartford      CT
Bernice Pacheco                                                                                            Bronx              NY
Louis Pacheco and Linda Pacheco                                                                            Homosassa          FL
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Miriam Pacheco, as Administratrix of the estate of Richard Pacheco, and Miriam Pacheco individually        New York          NY
Jose Pacheco Lobo and Maria Pacheco                                                                        Alpharetta        GA
Michael Pacific and Maryann Pacific                                                                        Lake Ronkonkoma   NY
Nathalie Pacifico                                                                                          Harbor Isle       NY
Gabriele Pacino                                                                                            Leland            NC
Katarzyna P. Holmes, as Personal Representative of the estate of Wojciech Paciorkowski, and Katarzyna P.
Holmes individually                                                                                        Candler           NC
Robert Paciullo                                                                                            Staten Island     NY
Luis Padilla and June Padilla                                                                              Orlando           FL
Michael Padilla and Joanne Padilla                                                                         Kent Lakes        NY
William Padilla                                                                                            Bronx             NY
Jose Padro and Narcisa Padro                                                                               Wantagh           NY
Wilfredo Padro                                                                                             Staten Island     NY
Miguel Paduani                                                                                             Brookyn           NY
Richard Padula and Justine Padula                                                                          Bayville          NJ
Jonantony Paese                                                                                            Scarsdale         NY
Jay Pagan                                                                                                  Bronx             NY
Marilyn Pagan and Rafael Pagan                                                                             Staten Island     NY
Glenn Pagano                                                                                               River Vale        NJ
Melissa Page                                                                                               Staten Island     NY
Nathan Page                                                                                                Corona            NY
Mark Pagliaro                                                                                              Ithaca            NY
Luis Palacio                                                                                               Brooklyn          NY
Robert Paladino                                                                                            Brooklyn          NY
Michael Palardy, Jr. and Laura Palardy                                                                     West Caldwell     NJ
Frank Paliotta and Judith A. Paliotta                                                                      Kings Park        NY
Michael Palleschi                                                                                          Staten Island     NY
Patricia Palma                                                                                             North Bergen      NJ
Barbara Hendrickson-Palmer, as Personal Representative of the estate of Allison Palmer, and Barbara
Hendrickson-Palmer individually                                                                            Brooklyn          NY
Drew Palmer and Lisa K. Palmer                                                                             Kennebunk         ME
John Palmer and Susan Palmer                                                                               Smithtown         NY
Mildred Palmer and Elmer Palmer                                                                            Chester           NY
Anthony V. Palmeri and Mary-Ann Palmeri                                                                    Garfield          NJ
Camilo Palomino and Monica Rivera                                                                          Elmhurst          NY
Dominic Palumbo                                                                                            New Hyde Park     NY
Kevin Pancoast and Janet Pancoast                                                                          Deptford          NJ
Frank Pangallo                                                                                             Babylon           NY
Francis Pantaleo and Lisa Pantaleo                                                                         Fort Lee          NJ
John Paolucci                                                                                              Bronx             NY
John Paolucci                                                                                              LaGrangeville     NY
Vincent Papa and Anne Papa                                                                                 Kings Park        NY
Vincent Papasodero and Cristine Papasodero                                                                 Massapequa Park   NY
Gerard Pappas and Wanda Pappas                                                                             Hauppauge         NY
Bill Paredes and Elizabeth Paredes                                                                         Hollbrook         NY
Kleber Paredes                                                                                             West New York     NJ
Valentin Paredes and Orfilia Paredes                                                                       Bronx             NY
Joseph Parella and Angelina Parella                                                                        Franklin Square   NY
Richard Parente and Rose Parente                                                                           Flushing          NY
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Christopher Parise and Nancy Parise                                                              New Egypt          NJ
Edward Parker                                                                                    Howard Beach       NY
Leon Parker and Carolyn Parker                                                                   Hempstead          NY
Allen Parmet and Zara Parmet                                                                     Springfield        NJ
James Parmiter and Laurie Parmiter                                                               Franklin Square    NY
Lesroy Parry                                                                                     Bronx              NY
Ronald Pascucci and Ann Pascucci                                                                 Glen Cove          NY
John Paskins and Annika Paskins                                                                  Levittown          NY
Stephen Paskor                                                                                   Massapequa         NY
Richard A. Passaretti Jr                                                                         Long Pond          PA
Michael Passero and Debra D. Passero                                                             Dingmas Ferry      PA
Thomas Pastore                                                                                   Levittown          NY
Anupama Patel, as Administratrix of the estate of Lomesh Patel, and Anupama Patel individually   Paramus            NJ
Robert Patelli and Kim A. Patelli                                                                Commack            NY
Michael Paternostro and Linda Paternostro                                                        Canyon Lake        CA
Eleanor Patrick                                                                                  Manhattan          NY
Pavel Patrikeyev and Gina Patrikeyev                                                             Brooklyn           NY
Lance Patrouch and Majorie Bee                                                                   Hartsdale          NY
James Patterson and Arlene Patterson                                                             Spring Branch      TX
Marianne Patterson and Peter Patterson                                                           Bronx              NY
Robert D. Patterson and Frances Patterson                                                        Belvedere          NJ
Peter Patti and Rita Patti                                                                       Mason              OH
Vincent Patti and Fawn Patti                                                                     Staten Island      NY
                                                                                                 Township of
Douglas Patunas and Elizabeth Patunas                                                            Washington         NJ
Herbert L. Pauling Jr and Elaine Pauling                                                         Queens Village     NY
Robert Pav                                                                                       Oceanside          NY
Paul Pavarini and Lisa Pavarini                                                                  Briarcliff Manor   NY
John Pawlikowsky                                                                                 Seaford            NY
Anthony B. Payne and Sonya Payne                                                                 Orlando            FL
Evans Payne and Mary E. Payne                                                                    Queens Village     NY
Adela Pazmino                                                                                    Brooklyn           NY
Rita Pearl                                                                                       Staten Island      NY
Mark Pechenyy and Malvina Pechenaya                                                              Brooklyn           NY
Michael Pecoraro and Denise Pecoraro                                                             Kings Park         NY
William J. Pedersen                                                                              Floral Park        NY
Felix Pedroza and Minerva Pedroza                                                                Ashburn            VA
Frank Pellegrino                                                                                 Deer Field Beach   FL
Stephen Pellington and Andrea Pellington                                                         W. Milford         NJ
Michael Pelusio and Annette Pelusio                                                              Staten Island      NY
Edward Pelzer and Yvonne Pelzer                                                                  Bronx              NY
Pam Pemberton                                                                                    Taylor             MI
Alexander Pena                                                                                   Middle Village     NY
Carlos Pena                                                                                      Yonkers            NY
Frank Pena                                                                                       New Rochelle       NY
Gabriel Pena                                                                                     Jackson Heights    NY
Luis Pena and Maria Delourdes                                                                    Brooklyn           NY
Nolan Pena                                                                                       Teaneck            NJ
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Luis Penafiel and Nubea Penafiel                                                                               East Elmhurst     NY
Paul Pendola                                                                                                   Brooklyn          NY
Kelvin Penn and Candice Penn                                                                                   Central Islip     NY
Dominick Pensabene and Lauren Pensabene                                                                        Staten Island     NY
Joseph Pepe and Alicia Pepe                                                                                    Staten Island     NY
Joseph Pepe Jr and Serafina Pepe                                                                               Charlotte         NC
Frida Peralta                                                                                                  New York          NY
America Peralta, as Personal Representative of the estate of Guido Peralta, and America Peralta individually   Woodside          NY
Jose Peralta and Ermelinda Ebinn                                                                               Corona            NY
Marilin Peralta                                                                                                New York          NY
Joel Pereca and Eileen Pereca                                                                                  Commack           NY
Luis Pereira                                                                                                   Bronx             NY
Ronald Pereira and Anna Pereira                                                                                Brooklyn          NY
Sylvester Pereira                                                                                              Sparta            NJ
Angel Perez                                                                                                    Bronx             NY
Carmelo Perez and Lina R. Perez                                                                                Middletown        NY
Chris Perez                                                                                                    Glendale          NY
David Perez and Sharon Perez                                                                                   Patterson         NY
Erik Perez and Joanne Perez                                                                                    Corona            NY
Felix Perez and Denise Perez                                                                                   Brooklyn          NY
Frank Perez and Joanne C. Perez                                                                                Blauvelt          NY
Ramonita Perez                                                                                                 Brooklyn          NY
Silvio Perez and Christine Perez                                                                               Woodside          NY
Wilson Perez and Carrin Perez                                                                                  Central Islip     NY
Yvonne Perez and George Perez                                                                                  Viera             FL
Maribel Perez-Sanchez                                                                                          Elmhurst          NY
Michael Perillo and Debra Perillo                                                                              Lake Ronkonkoma   NY
Darrell Perkins                                                                                                Pittsfeild        MA
Frank Perniciaro and Michelle Perniciaro                                                                       Brooklyn          NY
Neil Pero                                                                                                      Deer Park         NY
Anthony Perosi                                                                                                 Staten Island     NY
Anthony Perrin                                                                                                 Brooklyn          NY
Richard Perrone                                                                                                Lavallatte        NJ
Clemente Perrotta and Lynn Perrotta                                                                            East Rockaway     NY
Louanne Perrotti, as Executrix of the estate of Michael Perrotti, and Louanne Perrotti individually            Staten Island     NY
Munesh Persaud and Ramona Persaud                                                                              Hicksville        NY
Ramdhan Persaud and Michelle Persaud                                                                           East Orange       NJ
Brenda Person                                                                                                  East Elmhurst     NY
Antonio Perzichilli and Lisa Perzichilli                                                                       Verona            NJ
Nicholas Pesce and Donna Pesce                                                                                 Commack           NY
Annette Peters                                                                                                 Douglasville      GA
Robert Peters                                                                                                  Kenworth          NJ
William Peters and Suzanne Peters                                                                              Shirley           NY
James Peterson and Arlene Peterson                                                                             Massapequa        NY
Richard Petillo                                                                                                Holbrook          NY
Mario Petruzziello and Rebecca Petruzzielo                                                                     Freehold          NJ
Fitzgerald Pettaway and Melinda Chapell                                                                        Montclair         NJ
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Edward Pettinato and Kristine Pettinato                                                           Staten Island         NY
Philip J. Pfersching and Catherine Langerin                                                       Deer Park             NY
Roger Pfleging                                                                                    Staten Island         NY
Stephen Philbin and Meri Philbin                                                                  Staten Island         NY
Paul Philipps and Grace M. Philipps                                                               Parsippany            NJ
Adrian Phillips                                                                                   Laurelton             NY
Ernest Phillips                                                                                   Key Port              NJ
Lloyd Phillips and Nuria Phillips                                                                 Brooklyn              NY
Richard Pianin                                                                                    East Northport        NY
Julio Pichu                                                                                       Jamaica               NY
Nancy Pico                                                                                        Woodside              NY
Laura Picurro, as Executrix of the estate of Joseph Picurro, and Laura Picurro individually       Toms River            NJ
Derrick Piercy                                                                                    Hillside              NJ
Carl Pierluissi                                                                                   Merrick               NY
Bobby Pierre-Louis                                                                                Rosedale              NY
Michael Pietropaolo                                                                               Bronx                 NY
John Pigott and Mabel Pigott                                                                      Kendall Park          NJ
Barry Pikaard and Cecilia Pikaard                                                                 Ramsey                NJ
Michael Piliero                                                                                   Bayside               NY
Jesus M. Pina and Susan Pina                                                                      Kissimmee             FL
Napoleon Pina                                                                                     Bronx                 NY
Howard Pincus and Rosemarie Pincus                                                                Staten Island         NY
Wesley M. Pinedo and Luz N. Pinedo                                                                Dobbs Ferry           NY
Carlos Pinela and Ciotilde Pinela                                                                 Bronx                 NY
Anthony Pines and Emma Pines                                                                      Powder Springs        GA
Katherine Pinkney and William Pinkney                                                             Brooklyn              NY
Anngeannette Pinkston                                                                             Staten Island         NY
Gregory Pinnaro and Taryn Pinnaro                                                                 Lake Worth            FL
Edward Pinner and Ellen Pinner                                                                    Islip Terrace         NY
Fernando Pino and Luz Mari Ortega Diaz                                                            South Richmond Hill   NY
David Pinto and Marilyn C. Pinto                                                                  Austin                TX
Joseph Pira                                                                                       Staten Island         NY
James Piranio and Theresa Piranio                                                                 Katonah               NY
Joseph Piro                                                                                       NEW YORK              NY
Robert Pisacani and Regina Pisacani                                                               Eatons Neck           NY
Andrew Pisani                                                                                     Lyndhurst             NJ
Joseph Pisano and Lisa Ann Pisano                                                                 East North Port       NY
Michael Pisano and Lorraine Pisano                                                                West Babylon          NY
Frank Pittman and Sandra R. Pittman                                                               Brooklyn              NY
Patricia Pitts, as Executrix of the estate of Richard D. Pitts, and Patricia Pitts individually   Auburn                CA
Peter Pitzer and Marylyn Pitzer                                                                   Little Neck           NY
Anthony Pizarro                                                                                   New Milford           NJ
Zhanina Pizarro                                                                                   Bronx                 NY
Marianne Pizzitola                                                                                Sharpsburg            GA
Frank Pizzo and Dale Pizzo                                                                        Ozone Park            NY
Amado Pla and Theodora D. Pla                                                                     Middletwon            NY
Stephen Plante and RosaLinda Plante                                                               New Fairfield         CT
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Michael Pluchino and Andrea Pluchino                                                                       Staten Island      NY
Martin Podolski and Ellen Podolski                                                                         Charlottesville    VA
John Polesovsky and Maria Polesovsky                                                                       Floral Park        NY
Chris Polidoro and Sharon Osborne                                                                          Scarsdale          NY
Urban Polini and Janet Polini                                                                              Wappinger Falls    NY
Scott Politano                                                                                             York               PA
John Politoski and Dary V. Politoski                                                                       Warwick            NY
Diane Pollard                                                                                              Brooklyn           NY
James I. Pollard Jr                                                                                        Monroe             NC
Dominek Pollari and Joanne Pollari                                                                         Brooklyn           NY
Anthony Pollina and Angela Pollina                                                                         Queens             NY
Frank Pollina and Regis M. Pollina                                                                         Toms River         NJ
Jose Polo                                                                                                  Forest Hills       NY
Keith Pommells and Rose B. Pommells                                                                        Chesapeake         VA
Pedro Ponce                                                                                                Hoboken            NJ
Richard Ponce                                                                                              Ridgewood          NY
Yuk F. Poon                                                                                                Manhattan          NY
Brad Popowitz and Irene Popowitz                                                                           Monroe             NY
Christopher Poppe III                                                                                      Oakdale            NY
Andrew Porazzo                                                                                             Staten Island      NY
Chris Porazzo and Danielle Porazzo                                                                         Jackson            NJ
Raul Porras and Diana Caicedo                                                                              Vancouver          Canada
Mark G. Porter and Veronica Porter                                                                         Highland Mills     NY
Alfreda L. Porter-Katz                                                                                     Brooklyn           NY
Thomas Potnoski                                                                                            Rahway             NJ
Chandidas Potopsingh and Lorraine Potopsingh                                                               Commack            NY
Dan J. Potter and Jean Potter                                                                              Shrub Oak          PA
Issac Powell                                                                                               New York           NY
Sean Powell and Bridget Powell                                                                             Baldwin            NY
Tyrone Powell and Nellie E. Powell                                                                         Putnam Valley      NY
Christopher Power and Noreen Power                                                                         Pearl River        NY
Robert Power and Diane Power                                                                               Old Bridge         NJ
Susan Power                                                                                                Port Washington    NY
Daniel Powers                                                                                              Wantagh            NY
Robert Powers and Maureen Powers                                                                           Rockville Centre   NY
William Powers and Karen Powers                                                                            Dumont             NJ
Victor Prado                                                                                               Elmhurst           NY
Dominick Prato                                                                                             Staten Island      NY
Desiree N. Bolton, as Administratrix of the estate of Leroy J. Pratt, and Desiree N. Bolton individually   Brooklyn           NY
Kevin Prendergast and Maria Prendergast                                                                    West Babylon       NY
Anthony Prestigiacomo and Giuseppina Prestigiacomo                                                         Middle Village     NY
Tommaso Prestigiacomo and Anna Prestigiacomo                                                               Brooklyn           NY
Matthew Prial and Linda J. Prial                                                                           Talbott            TN
Richard Price and Ann Price                                                                                Middletown         NY
Herman Pride                                                                                               West Orange        NJ
Jose Primo                                                                                                 Woodside           NY
Rudolph Princi and Tammy Princi                                                                            Shoreham           NY
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Gary Priore                                                                                         Weatherly            PA
Patricia Prizzi and Frederick Pufahl                                                                Jackson              NJ
David Proscia and Tara Proscia                                                                      Staten Island        NY
Robert Provenzano                                                                                   Palm Coast           FL
Jon Prunty                                                                                          New York             NY
Michael Prystupa and Nannette Prystupa                                                              Carteret             NJ
Donald J. Przybyszewski and Candace Przybyszews                                                     Monroe TWP           NJ
Aleksey Ptashnik                                                                                    Harrison             NY
Christopher Pue                                                                                     St. James            NY
Nicole Pugh, as Personal Representative of the estate of Betty Pugh, and Nicole Pugh individually   Bronx                NY
Michael Puhl                                                                                        Lake Rononkoma       NY
Antonia Puma, as Executrix of the estate of Pietro Puma, and Antonia Puma individually              West New York        NJ
Manuel Pumacuri                                                                                                          NY
Richard Purcell                                                                                     New York             NY
Scott Purcell and Christine Purcell                                                                 Seaford              NY
John Purpura and Laura Purpura                                                                      Staten Island        NY
Jan Pyziak                                                                                          Rzeszow              Poland
Louis Quadrino and Sonia Quadrino                                                                   Massapequa           NY
Vincent Quagliariello and Ingrid Quagliariello                                                      Staten Island        NY
Wilfred Quashie                                                                                     Brooklyn             NY
Eric Quere and Jennifer Quere                                                                       Commack              NY
Theresa Quibell, as Executrix of the estate of Gregory Quibell, and Theresa Quibell individually    Ft. Myers            FL
James Quigley and Barbara Quigley                                                                   Harrison             NY
Linda Quill, as Administratrix of the estate of Gerald J. Quill, and Linda Quill individually       Merrick              NY
Angel Quinche                                                                                       West New York        NJ
Robert Quinlan                                                                                      Islip                NY
Scott Quinlan and Angela DeCarlos                                                                   Whitestone           NY
Robert Quinn and Marjorie Quinn                                                                     Lake Mary            FL
Godwin Quinones                                                                                     Tampa                FL
Ismael Quinones                                                                                     New York             NY
Daniel Quirke                                                                                       Atlantic Highlands   NJ
Jesus Quizhpi                                                                                       Woodside             NY
Thomas Raab                                                                                         Glen Oaks            NY
Mustafa Rabboh and Hava Rabboh                                                                      Clifton              NJ
Vincent Racanelli and Ann Trani                                                                     Staten Island        NY
Donovan Race and Jean Race                                                                          Levittown            NY
Ronald A. Racioppi and Samantha Racioppi                                                            Massapequa           NY
Glenn Radalinsky and Renee Radalinsky                                                               Medford              NY
Keith Radigan and Linda Radigan                                                                     Mount Sinai          NY
Joseph Raffa and Carol Raffa                                                                        Easley               SC
George Rafferty                                                                                     Hicksville           NY
James Ragnetti and Beth G. Ragnetti                                                                 Hopewell Junction    NY
John C. Raguso and Michele Raguso                                                                   Yonkers              NY
Sheik Rahaman and Eshwarie Rahaman                                                                  Bronx                NY
Vincent J. Raia and Eileen Raia                                                                     Georgetown           DE
Richard Raimo and Maryann T. Raimo                                                                  Hewlett              NY
Michael Raimondi and Donna Raimondi                                                                 Monroe               CT
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Noreen Ram                                                                                                  Staten Island     NY
Glenn Rambo and Jeannemarie Rambo                                                                           Woolwich          NJ
Jose Ramirez and Katherine Ramirez                                                                          Apollo Beach      FL
Ramiro Ramirez and Natividad Martinez                                                                       Bronx             NY
Joseph Ramondino and Toni Ramondino                                                                         Maspeth           NY
Carmen Ramos                                                                                                Bronx             NY
Derek Ramos and Rita Ramos                                                                                  Washingtonville   NY
Eugenio Ramos and Yvette Ramos                                                                              Monroe            NY
Freddie Ramos and Bianca Ramos                                                                              Staten Island     NY
Nestor Ramos and Migdalia Ramos                                                                             Chester           NY
Raymond Ramos                                                                                               Middletown        NY
Wilfredo Ramos and Elsa Ramos                                                                               Harriman          NY
Errol Rampersad and Parbatee Rampersad                                                                      Richmond Hill     NY
Victor Ramrattan and Bibi Ramrattan                                                                         Queens Village    NY
Joseph Ranauro and Andrea Ranauro                                                                           Marlboro          NJ
Lawrence Rand and Elizabeth Rand                                                                            Plantation        FL
Vincent Ranieri                                                                                             Staten Island     NY
Charlene Ranselle, as Administratrix of the estate of Kurtis Ranselle, and Charlene Ranselle individually   Elmont            NY
Louis Rapoli and Barbara Rapoli                                                                             Newburgh          NY
David Rapp and Megan T. Rapp                                                                                Bushkill          PA
Floretta Rasberry                                                                                           Birmingham        AL
Abdel Rasheed                                                                                               Bronx             NY
Adam Rasmussen and Nicole R. Rasmussen                                                                      Selden            NY
Harry Rasp and Shirley Rasp                                                                                 Brooklyn          NY
Jose Recio and Sahily Reyes                                                                                 New York          NY
Scott Rector and Jane Rector                                                                                Schenectady       NY
Patrick Reddington and Donna Reddington                                                                     New York          NY
Robert Redgrave                                                                                             Monroe            NY
Alfred Reed and Laquesha Reed                                                                               Warwick           NY
Evelyn Reed, as Administrator of the estate of Gregory Reed, and Evelyn Reed individually                   Brooklyn          NY
Jacy Reese and Minako Reese                                                                                 Monroe            NY
David Reeve, as Administrator of the estate of Deborah Reeve, and David Reeve individually                  Bronx             NY
Dennis Regan and Kathy Regan                                                                                Bronx             NY
Thomas Regan and Nancy Regan                                                                                Oceanside         NY
Alicia Regans and Eugene Bradden                                                                            College Point     NY
Dennis Reichardt and Jean Reichardt                                                                         Mattituck         NY
Kurt Reichel and Natasha Reichel                                                                            Island Park       NY
Joseph Reid                                                                                                 Floral Park       NY
John D. Reilly and Gail W. Reilly                                                                           Staten Island     NY
Joseph Reilly and Lisa Schiliro Reilly                                                                      Bronx             NY
Keith Reilly and Ileana Reilly                                                                              Floral Park       NY
Kevin Reilly and Karen Reilly                                                                               Wantagh           NY
Martin Reilly and Michele Reilly                                                                            Rockaway          NJ
Raymond Reilly and Debra Reilly                                                                             luzerne           NY
Thomas Reilly and Irene Reilly                                                                              Mahopac           NY
Tom Reilly and Julie Reilly                                                                                 Staten Island     NY
Jonathan Reingold                                                                                           Ridgewood         NY
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Fenton Remekie                                                                                            Elmont              NY
Christopher Remusat and Gloria Remusat                                                                    Farmingdale         NY
Jian Ming Ren and Jia Rui Chen                                                                            Manhattan           NY
Lin Ren                                                                                                   Brooklyn            NY
Ren Xin Huang, as Personal Representative of the estate of Yu Sheng Ren, and Ren Xin Huang individually   Flushing            NY
Zhao Ying Ren and Hao Feng Yang                                                                           New York            NY
Paul Renda                                                                                                New Rochelle        NY
Magola Rendon and Fardy Rendon                                                                            Queens              NY
William Reschke and Lynn Reschke                                                                          Hopewell Junction   NY
Karyn Resko and Ronald Resko                                                                              W. Hempstead        NY
Javier Restrepo and Judith K. Akin                                                                        Cashiers            NC
Terrence Revella                                                                                          Las Vegas           NV
Andres Reyes and Sho Reyes                                                                                Forest Hills        NY
Craig Reynolds and Kathleen Reynolds                                                                      Seminole            FL
James Reynolds                                                                                            Bronx               NY
Daniel Rhein                                                                                              West Babylon        NY
Alim Rhiman and Bibi Rhiman                                                                               Brooklyn            NY
Bucky Rhoades and Robin Rhoades                                                                           Staten Island       NY
Vito Ribaudo and Felicia Ribaudo                                                                          Staten Island       NY
William Ricca                                                                                             East Northport      NY
Daniel Ricciardi and Michelle Ricciardi                                                                   Staten Island       NY
Frank G. Ricciardi                                                                                        Bronx               NY
Joseph Ricciardi and Maria Ricciardi                                                                      Levittown           NY
Arthur Riccio and Margaret Riccio                                                                         Valley Stream       NY
Robert Rice and Kimberly Rice                                                                             Oaklyn              NJ
Thomas Rice and Denise Rice                                                                               Wantagh             NY
William Rich and Sushama Rich                                                                             Middle Villiage     NY
Felicia Richards                                                                                          Brooklyn            NY
Ronald Richards and Millie Richards                                                                       Manaoapan           NJ
Barbara Richardson                                                                                        Dacula              GA
Kevin Richardson and Simonetta Richardson                                                                 Staten Island       NY
Lamar Richardson and Yolanda Richardson                                                                   Brooklyn            NY
William F. Richardson, Jr. and Fay E. Richardson                                                          Poughkeepsie        NY
James Riches and Rita Riches                                                                              Brooklyn            NY
Debra Ricks                                                                                               Brooklyn            NY
Ethel Riddle                                                                                              Queens Village      NY
Albert Ridenhour and Lani Ridenhour                                                                       Hartsdale           NY
John Ridge and Joan Ridge                                                                                 Rockaway Park       NY
Russell Riegert and Carolyn Riegert                                                                       Little Neck         NY
John Riemer                                                                                               Exeter              RI
Yvette Riera                                                                                              New York            NY
Virginia Rigby                                                                                            Huntington          NY
Laura Riggi                                                                                               Brooklyn            NY
Michael Riley                                                                                             Bensalem            PA
Steven Rinchey and Joyce Rinchey                                                                          Islip Terrace       NY
Robert Rinere and Mary Dipreta                                                                            Venice              FL
Jared Ring                                                                                                Hampton Bays        NY
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John Riordan and Catherine Riordan                                 College Point     NY
Anthony Rivelli                                                    Inwood            NY
Anthony Rivera                                                     Ronkonoma         NY
Anthony Rivera and Margaret Rivera                                 Selden            NY
Carlos Rivera                                                      North Port        FL
Carlos Rivera                                                      West Hempstead    NY
David Rivera                                                       Staten Island     NY
George Rivera and Liana M. Rivera                                  Orlando           FL
Geraldo Rivera                                                     Ridgewood         NY
Gildardo Rivera                                                    Sunnyside         NY
Inocencio Rivera and Roslyn Medoff-Rivera                          Allbrightsville   PA
Iris Rivera                                                        Bronx             NY
Javier Rivera and Silmeia Rivera                                   Bergenfied        NJ
Maria Rivera                                                       Bayside           NY
Rubin Rivera and Linda Rivera                                      Tobyhanna         PA
Rudolph Rivera                                                     New Windsor       NY
Sonia Rivera                                                       Woodhaven         NY
Vivian Rivera                                                      Bronx             NY
Juan Rivero and Linda Rivero                                       Freehold          NJ
Calogero Rizzo                                                     Staten Island     NY
Philip Rizzo and Rosa Rizzo                                        Glen Cove         NY
Philip Rizzocasio                                                  Brooklyn          NY
Brian Roach and Kathlleen Roach                                    Mount Sinai       NY
John Roach and Christine Roach                                     Farmingville      NY
Davy L. Robbins and Staci Robbins                                  Staten Island     NY
Carlyle S. Roberts                                                 Brooklyn          NY
Darnell Roberts and Sherri D. Roberts                              Bridge Water      NJ
Edwin J. Roberts and Evelyn Roberts                                Brooklyn          NY
June Roberts                                                       Staten Island     NY
Roland Roberts                                                     Bronx             NY
Scott D. Roberts and Jennifer A. Roberts                           Stony Brook       NY
Christopher Robinson                                               Garnerville       NY
Claudy Robinson                                                    Clifton           NJ
Kenneth Robinson                                                   Bronx             NY
Kenneth Robinson and Melissa Robinson                              Fort Collins      CO
Michael Robinson                                                   Bbrooklyn         NY
Michele Robinson                                                   Rockaway Park     NY
Tanya Robinson                                                     Jamaica           NY
Thomas Robinson                                                    Stony Brook       NY
William A. Robinson and Carol Robinson                             Bellerose         NY
Blanca Robles                                                      Corona            NY
Teresa Robles                                                      Corona            NY
Deborah Rock and Ulric Rock                                        Bay Shore         NY
John Rodelli and Kathy Rodelli                                     Staten Island     NY
Abdon Rodriguez and Maryann Rodriguez                              Rosedale          NY
Angel Rodriguez                                                    Bronx             NY
Anthony Rodriguez and Madeline Rodriguez                           Old Bridge        NJ
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Candido Rodriguez and Dyane Rodriguez                              Cape Coral        FL
Edgardo Rodriguez and Maureen Rodriguez                            West Babylon      NY
Edward F. Rodriguez and Joann Rodriguez                            Toms River        NJ
Eric Rodriguez and Edna Rodriguez                                  Westtown          NY
Eric Rodriguez and Yermi Rodriguez                                 Staten Island     NY
Ernesto J. Rodriguez and Madeline Rodriguez                        Bronx             NY
Esmeralda Rodriguez and Thomas M. Rodriguez                        Moca              PR
Frank Rodriguez and Madeline Rodriguez                             Bronx             NY
George Rodriguez                                                   Bronx             NY
George Rodriguez and Marguerita Rodriguez                          Far Rockaway      NY
Jefferson Rodriguez and Catherine Roderiguez                       Flushing          NY
Jesennia Rodriguez                                                 Brooklyn          NY
Jorge Rodriguez                                                    Flushing          NY
Jorge Rodriguez                                                    Bronx             NY
Joshua Rodriguez and Milagros Rodriguez                            Staten Island     NY
Juan Rodriguez                                                     Corona            NY
Karina Rodriguez                                                   West Islip        NY
Luis Rodriguez                                                     Astoria           NY
Luz Rodriguez                                                      New York          NY
Pablo Rodriguez and Shirley Rodriguez                              Warwick           NY
Ramon Rodriguez and Brenda Rodriguez                               Bronx             NY
Raul Rodriguez and Michele V. Rodriguez                            Walden            NY
Raymond Rodriguez and Evelyn Rodriguez                             Port St. Lucie    FL
Victor Rodriguez and Catalina Rodriguez                            Staten Island     NY
Wilberto Rodriguez and Estha Quiles                                Glendale          NY
Mary Rodriguez de Marque                                           Corona            NY
Geoffrey Roesch                                                    West Hollywood    CA
Philip Rogan and Barbara Rogan                                     Massapequa        NY
Thomas Rogan and Silvana Rogan                                     Cornwall          NY
Colin Rogers and Heather Rogers                                    Hoboken           NJ
Dola Rogers                                                        Knoxville         TN
James Rogers                                                       Bushkill          PA
Jesse Rogerson                                                     Jackson           NJ
Glenn Rohan and Stacy Rohan                                        Cortlandt Manor   NY
James Rohan                                                        Stony Brook       NY
Angel Rojas and Olga Beatriz Realeor                               Elmhurst          NY
Carlos Rojas and April Rojas                                       Hauppauge         NY
David Roldan and Laura Roldan                                      East Meadow       NY
Nelson Roldan and Milagros Roldan                                  Bronx             NY
James Rollins                                                      Bronx             NY
Timothy Rollins and Veronica Rollins                               East Meadow       NY
Franklyn Roman and Elliany E. Candelario                           Ridgewood         NY
Gene Roman                                                         Bronx             NY
Jeffery Roman                                                      Clark             NJ
Luis Roman                                                         Bloomingburg      NY
Maribel Roman                                                      Staten Island     NY
Anthony Romano and Frances Romano                                  Plainview         NY
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Dennis Romano and Diane Romano                                     Parlin            NJ
Vincenzo Romano and Dianam Romano                                  Syosset           NY
Peter Romeo and Carol Romeo                                        Staten Island     NY
Laura Romer                                                        Deer Park         NY
Earl Romney                                                        Queens Village    NY
Ricky Rondina and Michele M. Rondina                               Staten Island     NY
Michael Rooney and Penny Rooney                                    Summerville       SC
Jose Rosa and Sarah Rosa                                           Davie             FL
Manuel Rosa                                                        Montague          NJ
Sarah Rosa and Jose Rosa                                           Miramar           FL
Lisa Rosado                                                        North Las Vegas   NV
Richard Rosado and Clara Rosado                                    Brooklyn          NY
George Rosario                                                     Staten Island     NY
Jimmy Rosario and Toni Rosario                                     Staten Island     NY
Jose Rosario and Irma Rosario                                      New York          NY
Joseph Rosario and Lori J. Rosario                                 Holbrook          NY
Juan Rosario                                                       Hempstead         NY
Julio C. Rosario                                                   Bronx             NY
Rafael Rosario and Yolaine Rosario                                 Ridgefield Park   NJ
Raul Rosario                                                       Bronx             NY
Raymond Rosario and Leticia Y. Soto                                New York          NY
Anita Rosato                                                       Ronkonkoma        NY
Horace Rose and Jannet Rose                                        Brooklyn          NY
Thomas E. Rosina and Ann Marie Rosina                              Smithtown         NY
Robert G. Ross and Mary-Kay Ross                                   Levittown         NY
Thomas Ross and Christine Ross                                     Great River       NY
Richard J. Rossi and Carol Rossi                                   Wantagh           NY
John Rossiello                                                     Staten Island     NY
Nicholas Rossini and Yamira Rossini                                Staten Island     NY
Paul Rossitto and Lori Rossitto                                    West Hempstead    NY
Mieczyslaw Roszczynski and Theresa Roszczynski                     Brooklyn          NY
Richard Roth and Debra Roth                                        Hicksville        NY
Michael Rothfeld                                                   Campbell Hall     NY
Anthony Rotondi and Nicoletta Rotondi                              Brooklyn          NY
Gregory Rotsenmar and Lisa Rotsenmar                               New York          NY
Patricia Routh                                                     New York          NY
Teddy Rouzinos                                                     Whitestone        NY
Anthony P. Roy and Donna M. Roy                                    Scrub Oaks        NY
Segundo E. Ruales and Cynthia Sarato                               Astoria           NY
Belinda Ruane and Martin Ruane                                     New Windsor       NY
Michael Rubino                                                     Fort Lee          NJ
Ann L. Rubio                                                       Tappahannock      VA
Thomas Ruddy and Maureen Ruddy                                     Sparta            NJ
Daniel Rudek and Laurie Rudek                                      Mastic            NY
Frank Ruffo                                                        Staten Island     NY
Rocco Rufrano and Maryann Rufrano                                  Saddle Brook      NJ
Karl Rugg and Jean Ruggs                                           Hempstead         NY
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Anthony Ruggiero and Pauline Ruggiero                                                                   Middle Village     NY
Carmelo Ruggiero and Evelyn Ruggiero                                                                    Staten Island      NY
Richard Ruggiero and Gail Ruggiero                                                                      Manhasset          NY
Angel L. Ruiz and Carmen Ruiz                                                                           Bronx              NY
Carmelo Ruiz and Ilynn Colon                                                                            East Stroudsburg   PA
Gilbert Ruiz                                                                                            Wood Ridge         NJ
Ismael Ruiz                                                                                             New York           NY
Jose Ruiz                                                                                               Jamaica            NY
Jose Ruiz and Joe Ruiz                                                                                  Middletown         NY
Juan Ruiz and Evelyn Ruiz                                                                               Brooklyn           NY
Liana Ruiz and Jerek Ruiz                                                                               Woodside           NY
Marco Ruiz and Mercedes Ruiz                                                                            Ozone Park         NY
Oswaldo Ruiz and Sandra Ruiz                                                                            Farmingville       NY
Solangel Ruiz Diaz                                                                                      New York           NY
Ramon Ruiz, Jr. and Carmen M. Velez-Ruiz                                                                Bronx              NY
Oneil G. Rumble                                                                                         Utica              NY
Jeremiah Rumley                                                                                         Yonkers            NY
Bruce Rusconi                                                                                           Wayne              NJ
Damian Rusin and Lynne M. Rusin                                                                         Carbondale         PA
Marie Russ and James Russ                                                                               North Babylon      NY
Dean Russamano and Janet Russamano                                                                      Cranford           NJ
Ben Russo                                                                                               West Islip         NY
Frank Russo                                                                                             Staten Island      NY
Jack Russo and Roseann Russo                                                                            Staten Island      NY
James Russo and Lucille Russo                                                                           Clayton            NC
Sonia Russo, as Personal Representative of the estate of John Russo, and Sonia Russo individually       Gilbert            AZ
John Russo                                                                                              Brooklyn           NY
John Russo and Lisa A. Russo                                                                            Staten Island      NY
Nicholas Russo, as Personal Representative of the estate of Nicholas T. Russo, and Nicholas Russo
individually                                                                                            Staten Island      NY
Robert Russo and Sherie Russo                                                                           Seaford            NY
Richard Rutherford and Susan Rutherford                                                                 Bayville           NY
Dominick Rutigliano and Joelle Rutigliano                                                               Staten Island      NY
Edward Rutledge and Barbara Rutledge                                                                    New Fairfield      CT
James Ryan                                                                                              Nesconset          NY
Jean Ryan and James Ryan                                                                                Brooklyn           NY
Kevin Ryan and Irene Ryan                                                                               Staten Island      NY
Eileen Ryan, as Executrix of the estate of Michael Ryan, and Eileen Ryan individually                   Hauppauge          NY
Michael Ryan and Catherine Ryan                                                                         Yonkers            NY
Richard Ryan and Colleen Ryan                                                                           College Point      NY
Robert Ryan                                                                                             Glendale           AZ
Terrence Ryan and Patricia Ryan                                                                         Pomona             NY
Thomas Ryan and Pamela A. Ryan                                                                          East Islip         NY
William Ryan and Elizabeth M. Key-Ryan                                                                  Bronx              NY
Virginia Ryerson, as Administratrix of the estate of Glenn Ryerson, and Virginia Ryerson individually   Mooresville        NC
John Rykala and Laura Rykala                                                                            Brooklyn           NY
Vincent Sabatasso and Geraldine R. Sabatasso                                                            Baldwin            NY
Mark Sabbagh and Eileen Sabbagh                                                                         Goshen             NY
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Christopher Sabella                                                                                        North Massapequa   NY
Ronald P. Saborowski and Lori Saborowski                                                                   Bellrose           NY
Richard Saccomagno and Cecilia Saccomagno                                                                  Staten Island      NY
Sebastion Saccomagno                                                                                       Brooklyn           NY
Brian Saddler                                                                                              Staten Island      NY
Christopher Sadowski                                                                                       Monticello         NY
David Sager and Kim A. Sager                                                                               Wallkill           NY
Myralynn Sagra                                                                                             Elmhurst           NY
Vincent Sainato and Roseann Sainato                                                                        Staten Island      NY
Daniel Saitta and Laura D. Saitta                                                                          Mooresville        NC
James Saitta                                                                                               Greenlawn          NY
Robert Sakacs and Tina Sakacs                                                                              Sparta             NJ
Jason Sakariasen                                                                                           Staten Island      NY
Frank Salamone                                                                                             Franklinton        NC
Maria Salazar and Pedro Salazar                                                                            So. Ozone Park     NY
Epifanio Salcedo, Jr. and Lenny Salcedo                                                                    Middletown         NY
John Salemo and Karen Salemo                                                                               West Islip         NY
Sara Salerno                                                                                               Bronx              NY
Kaysaree Salgado, as Administratrix of the estate of Erick J. Salgado, and Kaysaree Salgado individually   Philidephia        PA
Frank Salmon and Alice Salmon                                                                              Fort Pierce        FL
Robert Salmon                                                                                              Saranac Lake       NY
Michael Salmonese and Tracey Salmonese                                                                     Staten Island      NY
Richard Salonia                                                                                            Bronx              NY
Jeff Salta                                                                                                 Brooklyn           NY
Frank Salumn                                                                                               Trussville         AL
Richard Salvador                                                                                           Richmond Hill      NY
Nancy Salvia                                                                                               Fresh Meadows      NY
James Salvio                                                                                               Laurelton          NY
Eric Samuels                                                                                               Marvin             NC
George Samuels                                                                                             Bronx              NY
David Sanabria and Roseann Sanabria                                                                        Massapequa Park    NY
Danilo A Sanchez and Isabel Sanchez                                                                        Yonkers            NY
Edilberto Sanchez                                                                                          Corona             NY
Eloy Sanchez                                                                                               Jamaica            NY
Eric Sanchez and Pamela Sanchez                                                                            Middletown         NY
Ferdinand Sanchez                                                                                          New York           NY
Fernando Sanchez and Mindy Birman                                                                          Concord            NC
Francisco Sanchez and Nadine Sanchez                                                                       W. Milford         NJ
Genaro Sanchez and Briscia Sanchez                                                                         Corona             NY
Javier Sanchez and Mercedes Alcivar                                                                        Corona             NY
Manuel A. Sanchez and Margaret Sanchez                                                                     Pensacola          FL
Silvia Sanchez                                                                                             Lindenhurst        NY
Wilson Sanchez and Maria G. Zumba                                                                          Danbury            CT
Richard Sanchez, Sr. and Maureen Sanchez                                                                   Brooklyn           NY
Lashawn Sanders and Nicholas D. Sanders                                                                    Chapel Hill        NC
Jamie Sandoz and Myong-Hui Sandoz                                                                          Flushing           NY
Alfred Sanduro and Tanya Sanduro                                                                           Amityville         NY
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Christopher Santangelo and Jennifer Santangelo                                                                Montgomery         NY
Joan Santangelo and Joseph M. DeSerio                                                                         Staten Island      NY
Andrew Santasine and Michelle Santasine                                                                       Milford            PA
Alfred Santersiro                                                                                             Bronx              NY
Darren Santiago                                                                                               Poincina           FL
Erick Santiago                                                                                                Staten Island      NY
Robert Santiago and Rseann L. Santiago                                                                        Manalapan          NJ
Steven Santiago                                                                                               Bronx              NY
Alexander Santora and Maureen Santora                                                                         Long Island City   NY
Sebastian Santoro and Josephine Santoro                                                                       Brooklyn           NY
Errol Santos and Claudia Mayer-Santos                                                                         Piermont           NY
Maria Santos                                                                                                  Cornwall           NY
Rosaria Saponieri, as Personal Representative of the estate of Albert Saponieri, Sr., and Rosaria Saponieri
individually                                                                                                  Holbrook           NY
Robert Saporito and Elizabeth M. Saporito                                                                     Medford            NY
Galo Sarmiento                                                                                                Corona             NY
Javier Sarmiento                                                                                              Elmhurst           NY
Maydi Sarmiento                                                                                               Corona             NY
Ciro Sarrubbo and Teresa Sarrubbo                                                                             Brooklyn           NY
Daniel Sarrubbo and Michele Sarrubbo                                                                          Holbrook           NY
Robert D. Sasso and Karen Sasso                                                                               Whitestone         NY
Wayne Saulnier                                                                                                Mooresville        NC
Richard Saunders and Jaqueline Saunders                                                                       Whitestone         NY
Robert Saunders                                                                                               Brooklyn           NY
Zaven Sava and Shogacat Sava                                                                                  Melbourne          FL
Diana Savage                                                                                                  Bronx              NY
Michael Savage                                                                                                Cresskill          NJ
Robert Savarese and Gail Savarese                                                                             Highland Mills     NY
Jason Savino and Jeanette Savino                                                                              East Roslyn        NY
Michael Savino and Barbara Savino                                                                             Staten Island      NY
Richard Savino and Heidi Savino                                                                               Massapequa         NY
Cara Savittiere and Miki Savittiere                                                                           Clayton            NC
Harold Sawyer                                                                                                 Bronx              NY
Michael Saxe and Anna Saxe                                                                                    Ocala              FL
Eric Saxon                                                                                                    New York           NY
David Sayles                                                                                                  Levittown          NY
Regina Sbarra, as Administratrix of the estate of Raymond Sbarra, Sr., and Regina Sbarra individually         Staten Island      NY
Frank Sblendido and Joane Sblendido                                                                           Staten Island      NY
Patricia Scaduto and Philip Soto                                                                              Leonardo           NY
Maurice Scales and Marilyn Scales                                                                             Orlando            FL
Denise Scalza, as Administratrix of the estate of Stephen Scalza, and Denise Scalza individually              West Islip         NY
Joseph Scarano and Kristen D. Scarano                                                                         Wantagh            NY
Bonnie J. Schaaf                                                                                              Lincoln            NE
Henry Schaefer                                                                                                Irvington          NY
William F. Scharp and Linda Scharp                                                                            Farmingdale        NY
Thomas Schatzle and Diane Schatzle                                                                            Hyde Park          NY
Louis Scheriff                                                                                                Rockaway Park      NY
James Schiavone and Lisa Schiavone                                                                            Lindenhurst        NY
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Alfred Schille and Jessica Schille                                                                   Staten Island       NY
Matthew Schiller                                                                                     Port Washinton      NY
Kenneth Schiotis and Donna Schiotis                                                                  Dix Hills           NY
Robert Schleicher and Lisa Schleicher                                                                Farmingville        NY
Harry Schleyer and Mary Schleyer                                                                     Garden City         NY
John J. Schmaeling and Suzanne Schmaeling                                                            Smithtown           NY
Steven Schmalzried and Maryanne Schmalzried                                                          Bushkill            PA
John Schmitt                                                                                         Fort Tilden         NY
Leonard Schmitt and Virginia Schmitt                                                                 Mineola             NY
Michael Schneider and Domenica Schneider                                                             Suffern             NY
Michele Schor, as Administratrix of the estate of Robert Schor, and Michele Schor individually       Cutchogue           NY
Adam Schreibman and Valerie Schreibman                                                               Boynton Beach       FL
George Schreiner and Teresa Shreiner                                                                 Valley Stream       NY
Carl Schroeder                                                                                       Mount Sinai         NY
Michael B. Schuierer and Jennifer Lee Schuierer                                                      E. Pathcogue        NY
Michael Schule and Carolyn B. Schule                                                                 Smithfield          NC
Robert Schultz                                                                                       Astoria             NY
Wayne Schultz                                                                                        Middle Village      NY
Arthur Schulz and Cheryl Schulz                                                                      Stratford           CT
William Schutt and Sandra E. Schutt                                                                  College Point       NY
Linda E. Schwab                                                                                      Rego Park           NY
William Schwarz and Sharon Schwarz                                                                   Massapequa          NY
Ann Marie Schweigert and Paul David Schweigert                                                       Saylorsburg         PA
Joseph Schwing and Dary T. Schwing                                                                   Hasbrouck Heights   NJ
Frank Sciacchitano and Anne Sciacchitano                                                             Brewster            NY
Kim Sciarrino and Maverick Sciarring                                                                 West Babylon        NY
Maverick Sciarrino and Kim C. Sciarrino                                                              West Babylon        NY
Rosario Scibilia                                                                                     Middle Village      NY
Carmine Scopelliti and Angela Scopelliti                                                             Staten Island       NY
Edward Scott                                                                                         Breezy Point        NY
Nanette Scott, as Administratrix of the estate of Glenn Scott, and Nanette Scott individually        Brooklyn            NY
John Scott and Jeannine Scott                                                                        Staten Island       NY
Julia Scott                                                                                          Bronx               NY
Martin Scott                                                                                         New York            NY
Robert Scotti                                                                                        Deer Park           NY
Frank M. Scotto and Mary E. Scotto                                                                   Albrightsville      PA
Richard Scrivani and Marianne Scrivani                                                               Blairstown          NJ
William Scumaci and Doreen M. Scumaci                                                                Cortlandt Manor     NY
Robert Scupp                                                                                         South Amboy         NJ
Thomas Seabasty                                                                                      Colonia             NJ
Troy Sealy                                                                                           Whitehall           PA
Ian Searing and Linda Searing                                                                        Smithtown           NY
David Seda and Lisa Seda                                                                             West Islip          NY
Maria Segaline                                                                                       Elmhurst            NY
Juan Segarra and Margarita Segarra                                                                   Riverview           FL
David Segit                                                                                          Hico                TX
Sharon Selesky, as Administratrix of the estate of Joseph Selesky, and Sharon Selesky individually   Stormville          NY
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Juan Sen                                                                                                      Brentwood                NY
John Senica and Melissa Senica                                                                                Elmhurst                 NY
John Senzamici and Antonina Senzamici                                                                         Cortlandt Manor          NY
Richard Sere                                                                                                  Staten Island            NY
Theodore Sergio                                                                                               Staten Island            NY
William Serpe and Barbara Serpe                                                                               Manalapan                NJ
Michael Serra and Susie Serra                                                                                 Palm Harbor              FL
Angel Serrano                                                                                                 St. Petersburg           FL
Luis Serrano and Karen Serrano                                                                                Severna Park             MD
James G. Service and Rebecca Service                                                                          Saratoga Springs         NY
James Sesti and Kelly Sesti                                                                                   Wantagh                  NY
Anthony Severino                                                                                              Miller Place             NY
John Seward and Karen Seward                                                                                  Long Beach               NY
Charles Sferrazza                                                                                             Astoria                  NY
Dan Sfiroudis and Kathleen Sfiroudis                                                                          North Merrick            NY
Robert Shabazz                                                                                                Brooklyn                 NY
Edward Shaffer                                                                                                Port Jefferson Station   NY
Thomas Shaffer and Kathryn Shaffer                                                                            Belle Harbor             NY
Ken Shanahan and Pattie Shanahan                                                                              Maspeth                  NY
Michael Shanahan and Georgene Shanahan                                                                        Mattituck                NY
Marilyn Shankle and Larry L. Shankle                                                                          Staten Island            NY
Daryl Shanley and Gina Shanley                                                                                Staten Island            NY
Eric Shanley and Noelle Shanley                                                                               Massapequa Park          NY
David Shapiro                                                                                                 Kings Park               NY
Rawtie Sharbo                                                                                                 South Richmond Hill      NY
Chris Shaughnessy                                                                                             Yonkers                  NY
Zachariah Shaw and Sharron Shaw                                                                               Spring Hill              FL
Marciano Shay                                                                                                 Valley Stream            NY
Moraima Lorenzo, as Executrix of the estate of George Shea, and Moraima Lorenzo individually                  Brooklyn                 NY
Thomas Shea and Sandra Shea                                                                                   Hicksville               NY
Chrissandra Shedrick , as Personal Representative of the estate of James Shedrick, and Chrissandra Shedrick
individually                                                                                                  Baltimore                MD
Matthew Sheehan and Melissa Sheehan                                                                           Middletown               NJ
Albert Shein and Betsy Shein                                                                                  Levittown                NY
Patrick Shelby and Michelle Shelby                                                                            Tiverton                 RI
Edmund Sheridan and Jennifer Sheridan                                                                         Massapequa Park          NY
Gerald Sheridan and Jennie L. Sheridan                                                                        Nesconset                NY
Stephen Sheridan and Kathleen Sheridan                                                                        Valley Cottage           NY
Jason Sherman                                                                                                 Brooklyn                 NY
Clifford Shevlin                                                                                              Belle Habor              NY
Francis Shields                                                                                               Parkridge                NJ
James Shillitto and Dina Shillitto                                                                            West Islip               NY
Paul Shimborske                                                                                               Middle Village           NY
Philip Shpiller                                                                                               Forest Hills             NY
Larissa Shprints and Edward Shprints                                                                          Staten Island            NY
Vivian Shropshire and Anthony Shropshire                                                                      Milford                  PA
Thomas Siano and Catherine Siano                                                                              Smithtown                NY
Carlo Sibilla                                                                                                 Queens                   NY
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George Sichler and Audra Sichler                                    Patterson         NY
Donato Siciliano and Beth Siciliano                                 Pearl River       NY
Robert Sielaw and Maria Chiarappa                                   Wantagh           NY
Andrzej Siemek and Janina Siemek                                    Jackson Heights   NY
William SiFonte                                                     Newburgh          NY
John Signorile and Maria Signorile                                  East Williston    NY
Thomas Sikinger                                                     New York          NY
Wojciech Sikorski and Anna Knurzynska                               Brooklyn          NY
George Sikorsky and Luzia Sikorsky                                  Spring Valley     NY
Matthew Silberzweig                                                 Elmont            NY
Frank Silecchia                                                     Rockhill          SC
Peter Sillaro and Deirdre Sillaro                                   Cherry Valley     NY
Antonio Silva and Lupe C. Silva                                     Maspeth           NY
Darryl Silva                                                        Kent Lakes        NY
Enrique Silva and Elizabeth Silva                                   New York          NY
Geraldo Silva and Jacqueline Silva                                  Monroe            NY
Hector Silva and Barbara Silva                                      Fort Lee          NJ
Thomas Silva                                                        Richmond Hill     NY
Lisa Silverman and Larry Russo                                      Bellerose         NY
Lynne Silver-Meriwether                                             Brooklyn          NY
Domenick Silvestri and Mary Silvestri                               Ronkonkoma        NY
Vladimir Simeon                                                     Laurelton         NY
Gregory Simmons                                                     Yonkers           NY
David Simon and Beth Simon                                          Flushing          NY
Peter Simon and Maria Simon                                         Fort Mill         SC
Raphael Simon and Leonor Simon                                      Brooklyn          NY
Edward Simonetti and Estella Simonetti                              Bayshore          NY
Guy Simonetti and Linda Simonetti                                   Staten Island     NY
Robert Simpson and Lisa Miller-Simpson                              Grand Lake        CO
Eddie Sims                                                          Bronx             NY
John A. Sinayi III                                                  Dallas            TX
Zoila Sinchi and Basilio Ayala                                      Woodside          NY
Myron Singer and Jean Guiney                                        Brooklyn          NY
Khamraj Singh                                                       Brooklyn          NY
Khemraj Singh                                                       New York          NY
Sanjay Singh                                                        Glen Cove         NY
Kimberly Singleton                                                  Chester           NY
Andrew Siroka and Florence Siroka                                   West Nyack        NY
Peter Sitro and Linda Sitro                                         Staten Island     NY
Steven Skific and Melisa Skific                                     Northvale         NJ
Michael Skonberg and Laura Skonberg                                 Strasburg         PA
Milton Skoufis and Margaret Skoufis                                 Circleville       NY
Eugeniusz Skrzeczkowski and Alicja Skrzeczkowski                    Brooklyn          NY
Jerzy Slesicki                                                      Brooklyn          NY
Kenneth Slizewski and Kathy Kane-Slizewski                          Staten Island     NY
John Sloan and Susan Sloan                                          Wood Ridge        NJ
Peter Sloan and Donna Sloan                                         Staten Island     NY
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Evan Smelley                                                                                              Valley Stream      NY
Chris Smith and Marilyn Araujo                                                                            Deer Park          NY
Everett K. Smith and Judith Smith                                                                         Whitestone         NY
Gary Smith and Marylou Smith                                                                              Wantagh            NY
James K. Smith and Susie Smith                                                                            Staten Island      NY
Jay Smith and Sherry Smith                                                                                Bloomingburg       NY
Jeffrey J. Smith                                                                                          New York           NY
Jeffrey Smith                                                                                             Passaic            NJ
Jermaine Smith                                                                                            Brooklyn           NY
Karen Smith and Anthony Smith                                                                             New York           NY
Kerry Smith                                                                                               Staten Island      NY
Patrick Smith                                                                                             Wantagh            NY
Robert D. Smith and Lori-Lee Smith                                                                        East Stroudsburg   PA
Ronnie Smith and Angalina Smith                                                                           Brooklyn           NY
Thomas Smith and Stephanie Smith                                                                          Jamaica            NY
William Smith                                                                                             Whippany           NJ
William Smith and Christine Smith                                                                         Valhalla           NY
William Smith and Nancy M. Smith                                                                          Brooklyn           NY
Willie Smith                                                                                              New Windsor        NY
Abraham Smith Jr                                                                                          Richmond           VA
Karen Smith-Moore                                                                                         New York           NY
Patrick Smyth and Debra Smyth                                                                             Chepachet          RI
Thomas Smyth and Michele Smyth                                                                            Brooklyn           NY
Robert Snedecor and Donna Snedecor                                                                        Fresh Meadows      NY
Kevin Snowden                                                                                             Bronx              NY
Elizabeth Socci                                                                                           Brooklyn           NY
Nancy Acevedo, as Personal Representative of the estate of Gloria Soler, and Nancy Acevedo individually   New York           NY
Elsayed Soliman and Doris Elsayed                                                                         Staten Island      NY
Dawn Solis                                                                                                Bronx              NY
Ignacio C. Solis                                                                                          Woodside           NY
Christian Sollecito and Elizabeth Sollecito                                                               New Hyde Park      NY
Alfred Solomon                                                                                            Mt. Vernon         NY
Carmine Somma and Cilia Somma                                                                             Bronx              NY
Thomas Sommo, Jr., as Administrator of the estate of Thomas Sommo Sr., and Thomas Sommo, Jr.
individually                                                                                              Brooklyn           NY
Paul Sorber and Dawn Marie Sorber                                                                         Bronx              NY
James Sorenson                                                                                            Brooklyn           NY
Dawn Sorrento                                                                                             Staten Island      NY
Hugo Sosa and Blanca Sosa                                                                                 Yonkers            NY
Jaime Sosa                                                                                                Cali-Valle         Colombia
Gary Soso and Rolane J. Soso                                                                              Virginia Beach     VA
Antony Soto                                                                                               Brooklyn           NY
David Sozio and Maureen Sozio                                                                             Staten Island      NY
Michael Sozio and Carol Sozio                                                                             Pine Bush          NY
Joseph Spagnola and Wendy Spagnola                                                                        Teaneck            NJ
Steven Spak and Marina Spak                                                                               Holtsville         NY
Christopher Sparacia and Dawn Sparacia                                                                    Hudson Falls       NY
Robert Sparandera and Josephine Sparandera                                                                Staten Island      NY
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Russell Spatafora and Carolyn Spatafora                             Smithtown              NY
                                                                    Hot Springs National
William Spaulding                                                   Park                   AR
Steven Spavone and Denise Spavone                                   Richmond Hill          NY
Kenneth Specht                                                      Murrells Inlet         SC
Caswell T Spence and Sandra Spence                                  Bronx                  NY
Dianne Spence                                                       Sarasota               FL
Paula Spence                                                        Newburgh               NY
Brenda Spencer and Mark Dewar                                       Atlanta                GA
Anthony Spennicchia and Tara Spennicchia                            Brewster               NY
Robert Spera and Rita Spera                                         West Islip             NY
Jimmie Sperrazza and Margaret - Ann Sperrazza                       Levittown              NY
James Spillane and Deborah Spillane                                 Islip                  NY
John Spillane                                                       North Belmore          NY
Carolyn Spillman                                                    Northeast Cleveland    TN
William Spilman and Ernestine Spilman                               Freehold               NJ
Edward Spinelli and Donna J. Spinelli                               Millstone Twp          NJ
Frederick Spinelli                                                  Freehold               NJ
Michael Spinelli and Donna Spinelli                                 Staten Island          NY
Peter Spoto and Lisa Spoto                                          Massapequa Park        NY
Darren Springs                                                      Freeport               NY
Matthew Sproul and Mara Sproul                                      Garden City            NY
Frank Squicciarini and Michelle Squicciarini                        Staten Island          NY
John Squicciarini and Christina Squicciarini                        Manorville             NY
Michael Stacey and Stephane Stacey                                  Kahnawake, Qubec       Canada
Michael Stagliano and Madeline Stagliano                            Parlin                 NJ
Adolph Stampfel and Joanne Stampfel                                 Manalapan              NJ
Jeff Staniland and Jean Staniland                                   Staten Island          NY
Steven Stanley and Rosemarie Stanley                                Staten Island          NY
Ronald Stanulis and Susan Stanulis                                  Massapequa             NY
Gregory Star and Anna Star                                          Lindenhurst            NY
Joe Starace and Sylvia Starace                                      Bronx                  NY
John Starace and Jean Starace                                       Campbell Hall          NY
Lester Staubitz and Valerie Staubitz                                Staten Island          NY
Robert Stedfelt and Natalie Stedfelt                                Greenwood Lake         NY
Steven Stefanakos and Jennifer Stefanakos                           Massapequa Park        NY
John Stefanowski and Theresa Stefanowski                            Syosset                NY
Patrick Steffen                                                     Mattituck              NY
Patrick Steffens and Eileen D. Steffens                             Brooklyn               NY
Ronald Stein                                                        Locust Valley          NY
Theodore Stelling and Angela Stelling                               Staten Island          NY
Richard Steneck                                                     Kings Park             NY
Thomas Stephens and Robin Stephens                                  New York               NY
Joseph Sterling                                                     Leesburg               NJ
Kirk Sterling                                                       Brooklyn               NY
Maximino Sterling                                                   Astoria                NY
Jacqueline Stern                                                    New York               NY
Jake Stevens and Ruby Stevens                                       Far Rockaway           NY
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Alan Steward                                                                                             Selden                NY
Fleda Stewart                                                                                            Brooklyn              NY
Garth Stewart                                                                                            Norwalk               CT
Michael Stewart and Tracy Stewart                                                                        Kinnelon              NJ
Robert Stiles and Laura J. Stiles                                                                        East Islip            NY
Grace G. Stiuso and William Stiuso                                                                       Smithtown             NY
Richard Stock and Tonianne Stock                                                                         Ronkonkoma            NY
Michael Stoffo                                                                                           Manhasset             NY
George Stokes and Diane P. Stokes                                                                        Wilmington            NC
Howard Stone and Marlina W. Stone                                                                        Brooklyn              NY
Leila Stonewood                                                                                          New York              NY
Scott P. Strauss and Patricia Strauss                                                                    Mineola               NY
Patrick Streffacio and Kathy Streffacio                                                                  New Hyde Park         NY
Robert Streit                                                                                            Bronx                 NY
Joseph Streng and Jenifer Streng                                                                         Kings Park            NY
Joseph Striffler and Kim P. Striffler                                                                    Smithtown             NY
Robert Stringer                                                                                          New Hyde Park         NY
Frank Strollo and Marie Strollo                                                                          Madison               CT
Joseph Strong                                                                                            Astoria               NY
Alex Stroud                                                                                              Ozone Park,           NY
Peter Strubbe                                                                                            Bronx                 NY
Jymal Sturdivant                                                                                         Springfield Gardens   NY
James Sturek, Jr.                                                                                        East Islip            NY
Valentin Suarez and Marivel Suarez                                                                       Floral Park           NY
Frances Suarez-Markowski and Robert Markowski                                                            Largo                 FL
Norma Suco                                                                                               Woodside              NY
William Suggs and Elizabeth Suggs                                                                        Brooklyn              NY
John Sugrue and Mary Sugrue                                                                              Lynbrook              NY
James Sullivan and Louise Sullivan                                                                       Brooklyn              NY
Barbara A. Sullivan, as Executrix of the estate of John Sullivan, and Barbara A. Sullivan individually   Stony Point           NY
John Sullivan and Rosa M. Sullivan                                                                       Bronx                 NY
Thomas Sullivan and Sue Sullivan                                                                         Port Washington       NY
Jose Sumba                                                                                               Corona                NY
Raymond Sumsky and Sheila Sumsky                                                                         Maspeth               NY
Zu-Nian Sun                                                                                              Flushing              NY
James Surrusco and Lora A. Surrusco                                                                      Riverview             FL
Dennis Suslak and Margaret Suslak                                                                        Bell Harbor           NY
Lonnie Sussman and Barbara Sussman                                                                       New Windsor           NY
David Sutton                                                                                             Brooklyn              NY
Frederick Sutton and Maryann Parker Sutton                                                               Jackson Heights       NY
James Sutton                                                                                             Brooklyn              NY
Frank Svoboda and Josephine Svoboda                                                                      Manalapan             NJ
Michael Swain and Lucy Swain                                                                             New York              NY
Michael Swannick and Dawn Swannick                                                                       Brooklyn              NY
Dennis J. Swanton                                                                                        Delray Beach          FL
Diane Sweeney and David Sweeney                                                                          Smithtown             NY
Vincent Sweeney and Geralyn Sweeny                                                                       Westhampton           NY
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Wayne Sylvester                                                     Hollis                NY
Miroslaw Szabat and Teresa Szabat                                   Brooklyn              NY
Edward Szuberla                                                     Brooklyn              NY
Mauricio Tabares and Claudia Lorena Darango                         Brooklyn              NY
Luis Tacuri                                                         Jackson Heights       NY
Mark Taffe and Denise Burgess                                       Brooklyn              NY
Sophie Taggart and Ricky Taggart                                    Laurelton             NY
John Tagliarino and April V. Tagliarino                             Bronx                 NY
Jermaine Tai                                                        Brooklyn              NY
Virgilio Taite and Stephanie Taite                                  Parlin                NJ
Michael Takvor                                                      Bay Shore             NY
Sara J. Tallaksen and Wayne Tallaksen                               Chambersburg          PA
Bill Tam and Yee Wah Tam                                            Brooklyn              NY
Siu-Tai Tam                                                         College Point         NY
Pedro Tamayo and Gabriella Tamayo                                   East Elmhurst         NY
Xing-Zu Tang                                                        New York              NY
Allan Tannenbaum and Debora Tannenbaum                              New York              NY
Vince Tantuccio                                                     Brooklyn              NY
Salvatore Taormina and Karen Taormina                               Staten Island         NY
Cristhian Tapia                                                     Corona                NY
Alpha Tarawally                                                     Bronx                 NY
Daniel Tarpey and Barbara Tarpey                                    Sandy Hook            CT
Glenn Tarquinio and Lorraine Tarquino                               Nesconset             NY
Matthew H. Tartaglia and Alison C. Tartaglia                        Bennington            VT
Hugh Tate and Theresa A. Tate                                       Lindenhurst           NY
Liza Tate                                                           Moorseville           NC
Stephen Tatur and Heather Tatur                                     Cedar Run             NJ
David Tavernier and Venus Tavernier                                 Bronx                 NY
Annette Taylor                                                      Henryville            PA
Craig Taylor and Renee Taylor                                       Valley Stream         NY
Kevin Taylor and Tammy Taylor                                       Oak Ridge             NJ
Philip Taylor and Tara Taylor                                       Orangeburg            NY
Richard Taylor and Anglea Taylor                                    Ozone Park            NY
Tracy Taylor and Virginia Taylor                                    Levittown             NY
Martin Tedesco and Ida - Marie Tedesco                              Staten Island         NY
Henrik Teelimian and Narine Teelimian                               Middle Village        NY
Francis Tegano and Kristine Tegano                                  Millstown Township    NJ
Mark Teitler and Janine Teitler                                     Staten Island         NY
Joseph Tempesta and Drupatie Tempesta                               South Richmond Hill   NY
Rocio Tenempagauy                                                   Corona                NY
Edward Tenety and Denise Tenety                                     Yaphank               NY
Daniel Teneyck                                                      Okeechobee            FL
Manuel Tenezaca and Elria Bravo                                     North Bergen          NJ
Joseph Tennariello and Janie Tennariello                            Bethpage              NY
Cesareo Teran                                                       Elmhurst              NY
David Teran and Deborah Martinez                                    Bronx                 NY
Thomas Tergesen                                                     East Meadow           NY
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George Terra and Catherine Terra                                                                          Brooklyn           NY
Richard J. Terwilliger and Jennifer Terwilliger                                                           Cape Coral         FL
Philip Tesoriero                                                                                          Amity Harbor       NY
Rocco S. Testa and Carol Testa                                                                            Warwick            NY
Conrad Theiss and Denise Theiss                                                                           Ronkonkoma         NY
John Thelian                                                                                              Maspeth            NY
Gary Theriault                                                                                            Palenville         NY
Calvin Thomas                                                                                             Bronx              NY
Cynthia Thomas                                                                                            Brooklyn           NY
Eric Thomas                                                                                               Jersey City        NJ
Mark Thomas, as Personal Representative of the estate of George Thomas, and Mark Thomas individually      Massapequa         NY
Gregory Thomas                                                                                            Charlotte          NC
Harold J. Thomas                                                                                          Brooklyn           NY
Marvin K. Thomas and Renea Thomas                                                                         Brooklyn           NY
Steven Thomas                                                                                             New York           NY
William Thomas and Deborah Thomas                                                                         Pompton Lakes      NJ
Robert Thomey                                                                                             Yonkers            NY
Adam Thompson                                                                                             New York           NY
Daniel Thompson and Stacey Thompson                                                                       Deer Park          NY
Lewis Thompson and Grace Thompson                                                                         Staten Island      NY
Michael Thompson and Debbie Thompson                                                                      Hamptonburgh       NY
Nigel Thompson                                                                                            Jersey City        NJ
Robert Thompson and Joan Thompson                                                                         Melville           NY
Dennis Thomson and Anita Thomson                                                                          Hicksville         NY
Eddie Tibbatts                                                                                            Mt. Vernon         NY
James Tierney                                                                                             Staten Island      NY
Kevin Tierney and Linda Tierney                                                                           Massapequa         NY
John Tighe and Jean Crawley                                                                               Long Beach         NY
Joyce Finno-Tighe, as Administratrix of the estate of Stephen Tighe, and Joyce Finno-Tighe individually   Brooklyn           NY
Eva Tigsi                                                                                                 Corona             NY
Marat Timashev and Guzalya Timasheva                                                                      Brooklyn           NY
Julian Tindall and Jacqueline Tindall                                                                     Rock Hill          SC
Daniel Tirelli and Dawn Tirelli                                                                           S. Setauket        NY
Stanley Tirelli and kathie Tirelli                                                                        Yonkers            NY
Manuel Toala and Catherine Riccards                                                                       North Bellmore     NY
Steven Tocci and Eimear Marie Tocci                                                                       Alexandria         VA
Thad Todd                                                                                                 North Arlington    NJ
Nelson Toledo and Miriam Cedeno                                                                           S. Richmond Hill   NY
William Toledo and Patricia Toledo                                                                        Brooklyn           NY
Stephen Tomasulo                                                                                          West Islip         NY
John Tommarello and Kim Tommarello                                                                        Elmsford           NY
Chao Jiang, as Personal Representative of the estate of Chi Sheung Tong, and Chao Jiang individually      College Point      NY
Daniel Tonnessen and Donna Tonnessen                                                                      Barnesville        GA
Carlos Toral and Zoila Toral                                                                              Corona             NY
Jorma Torchio and Justine Torchio                                                                         Brooklyn           NY
Giuseppe Tornabene                                                                                        Brooklyn           NY
Joseph Toro                                                                                               New York           NY
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Flor Torrealba                                                                                               Corona             NY
Anthony Torres and Diane Lynn Torress                                                                        Brandon            FL
Charles Torres and Digna M. Torres                                                                           Wappingers Falls   NY
Erick Torres and Rosa Torres                                                                                 Ronkonkoma         NY
Felix Torres                                                                                                 Hazleton           PA
Felix Torres and AnneM. Torres                                                                               Staten Island      NY
Jason Torres                                                                                                 Staten Island      NY
Jorge Torres and Jane F. Torres                                                                              Levittown          NY
Jose L. Torres and Luz D. Torres                                                                             Lakeland           FL
Luis A. Torres and Gloria M. Torres                                                                          Kissimmee          FL
Pedro Torres                                                                                                 Jamaica            NY
Ramiro Torres and Luisa Simbana                                                                              Corona             NY
Richard Torres                                                                                               Brooklyn           NY
Rogelio Torres and Judith Torres                                                                             Kew Gardens        NY
Ruben Torres                                                                                                 Glendale           NY
Wilfredo Torres                                                                                              Elmont             NY
William Torres                                                                                               Bronx              NY
Robert Toscano and Marta Y. Toscano                                                                          Bayside            NY
Emanuel Tota and Sharon Tota                                                                                 New York           NY
John Totaro                                                                                                  Cocoa Beach        FL
Michael Tozzi and Louise Tozzi                                                                               Mahopac            NY
Margaret Tracey-Donato and Paul Donato                                                                       New City           NY
Kevin Tracy                                                                                                  Tarrytown          NY
Peter Tracy and Kathleen Tracy                                                                               Brooklyn           NY
Stephen Tracy and Yvonne Tracy                                                                               Round Top          NY
Ronald Train and Merry Lynn Train                                                                            Saylorsburg        PA
William Trammell                                                                                             North Plainfield   NJ
Jack Tran                                                                                                    Bronx              NY
James Trezza                                                                                                 Brooklyn           NY
Michael Triano and Mary Triano                                                                               Barnegat           NJ
Mark Trincone                                                                                                Island Park        NY
Anthony Triola and Lorraine Triola                                                                           Goshen             NY
Frank Trocchia and Martha Trocchia                                                                           Massapequa Park    NY
Rose Anzalone, as Personal Representative of the estate of Anthony Troiano, and Rose Anzalone individually   Middle Village     NY
Carl Troiano and Claudia Troiano                                                                             Old Bridge         NJ
Lonnie Trotta and Catherine M. Trotta                                                                        Bedford            NY
Consuelo Trujillo                                                                                            Woodside           NY
Joseph Trumbetti and Linn M. Trumbetti                                                                       Demarest           NJ
Felicia Tsang                                                                                                Fresh Medows       NY
Wing Tsang and Rebecca Tsang                                                                                 Brooklyn           NY
Eric Tuason and Donna Tuason                                                                                 Bloomingdale       NJ
Fan-Chuen Tung                                                                                               New York           NY
Albert Turi and Lynn Turi                                                                                    Flushing           NY
Gerard Turiano and Angela Turiano                                                                            Orangeberg         NY
Michael Turino and Louise Turino                                                                             LaGrangeville      NY
Miriam Turner, as Administratrix of the estate of Kevin Turner, and Miriam Turner individually               Staten Island      NY
Elliot Brown, as Personal Representative of the estate of Margaret Tvelia, and Elliot Brown individually     Hollywood          FL
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Joseph Twomey                                                                                             Staten Island        NY
Andrzej Tworzydlo                                                                                         Clifton              NJ
John Tymeck and Theresa Tymeck                                                                            Belmore              NY
John Tymus                                                                                                Hartdale             NY
Mark Tynan and Irene Tynan                                                                                West Babylon         NY
Andrew Tynio and Anna Tynio                                                                               Toms River           NJ
Deborah Underwood-Pascal and Derick Pascal                                                                Brooklyn             NY
William Unger                                                                                             Lindenhurst          NY
Patricia Upton                                                                                            Yonkers              NY
Steven Urcelay and Susan Urcelay                                                                          Belle Harbor         NY
Jose Urena and Chistiana V. Urena                                                                         Woodhaven            NY
Kevin Urena                                                                                               Clifton              NJ
Esperanza Urquijo                                                                                         Elmhurst             NY
Raymond Valdes                                                                                            Garden City Park     NY
Jimena Solis, as Personal Representative of the estate of Wilson Valdez, and Jimena Solis individually    Elmhurst             NY
Carlos A. Valencia and Gloria N. Bonilla                                                                  Elmhurst             NY
John Valenti                                                                                              Forest Hills         NY
John Valenti and Cecelia Valenti                                                                          Forest Hills         NY
Vito Valenti                                                                                              Magnolia             DE
Amado Valentin and Luisa Valentin                                                                         Valley Stream        NY
Antonio Valentin and Yolanda Negron                                                                       Belleville           NJ
Michael A. Valentin and Joanne Valentin                                                                   Ronkonkoma           NY
Miguel Valentin                                                                                           New York             NY
Reginald L. Valentine Sr and Julia A. Valentine                                                           New York City        NY
Angel Valera and Brenda Valera                                                                            Brooklyn             NY
Paul Valerga                                                                                              Seaford              NY
Joseph Valerio and Patti Valerio                                                                          West Hempstead       NY
Steven Vales                                                                                              Levittown            NY
Vincent Vales and Jenny Vales                                                                             Pocono Summit        PA
Charles Vallaro                                                                                           Brooklyn             NY
Ernest Vallebuona and Amy Vallebuona                                                                      New City             NY
Anthony Vallone and debra Vallone                                                                         North Myrtle Beach   SC
Carlos Valverde                                                                                           Bayshore             NY
Maria C. Valverde Garzon                                                                                  Woodhaven            NY
Vanessa Van Brunt                                                                                         New York             NY
Shanette Van Dyke                                                                                         Staten Island        NY
Margaret A. Vanfechtmann, as Personal Representative of the estate of Edward Vanfechtmann, and Margaret
A. Vanfechtmann individually                                                                              Delray Beach         FL
Archie Vanputten and Karen Van Putten                                                                     Bronx                NY
Roxanne VanPutten                                                                                         New York             NY
Peter VanWygerden                                                                                         New Windsor          NY
Edgar Vargas                                                                                              Hoboken              NJ
Hector Vargas                                                                                             Monroe               NY
Jacqueline Vargas                                                                                         New York             NY
Michael Vargas and Marianela Vargas                                                                       Astoria              NY
Thomas Vario                                                                                              Howard Beach         NY
Philip Varley                                                                                             Woodlawn Station     NY
Joseph Varriello and Denise Varriello                                                                     Morganvill           NJ
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Isidore Vasile and Nancy Vasile                                                                       West Babylon       NY
Robert Vasilugh                                                                                       Commack            NY
Emerito Vasquez and Carmen Vasquez                                                                    Farmingdale        NY
Jesus Vasquez and Eileen Vasquez                                                                      Orlando            FL
Rommel Vasquez and Rosa A. Vasquez                                                                    Corona             NY
Michael Vaughan                                                                                       Brooklyn           NY
Christopher Vaughn and Mina Voughn                                                                    Coram              NY
Carlos Vazquez                                                                                        Bronx              NY
Pedro Vazquez                                                                                         Monroe Township    NJ
Thomas Veale and Susan Veale                                                                          Walden             NY
James Vecchio and Jane Vecchio                                                                        East Islip         NY
Sean Veerapen                                                                                         Saint Albans       NY
Gilbert Vega and Brenda Vega                                                                          Wappinger Falls    NY
Richard Vega                                                                                          Jersey City        NJ
Severo Vega and Lila Vega                                                                             Brooklyn           NY
Stephen Vega and Lori Vega                                                                            Bronx              NY
Juan Velez                                                                                            Staten Island      NY
Luis Velez and Stacie Velez                                                                           Holbrook           NY
Mildred Velez                                                                                         Kew gardens        NY
Nelson Velez                                                                                          Brooklyn           NY
Tanya Venero and Luis Correa                                                                          Warwick            NY
Paul Ventre and Loriann Ventre                                                                        Baldwin            NY
Alejandro Vera                                                                                        Bronx              NY
Angel Vera and Margaret Vera                                                                          Brooklyn           NY
Reinaldo Vera                                                                                         Brooklyn           NY
Thomas Verni                                                                                          Forest hills       NY
Patrick Versage and Carolyn Versage                                                                   Toms River         NJ
Anthony Vespa                                                                                         Bronxville         NY
Michael Vespier and Jayne Vespier                                                                     East Northport     NY
Pierre Victor and Christine Victor                                                                    Kissimmee          FL
Martha Vidal                                                                                          New York           NY
John Vigliotti and Laura Vigliotti                                                                    Staten Island      NY
Mark Vikos and Prudence Vikos                                                                         Farmingdale        NY
Grace Villa, as Personal Representative of the estate of Efrain Villa, and Grace Villa individually   Brooklyn           NY
Patricia Villa                                                                                        Bronx              NY
Antonio Villacres                                                                                     West New York      NJ
Julio Villafuerte                                                                                     Middle Village     NY
Walter Villafuerte                                                                                    Elmhurst           NY
Richard Villalba and Lynne Villalba                                                                   Lake Ronkonkoma    NY
Edgar Villanueva and Sonia Villanueva                                                                 Brooklyn           NY
John Villanueva                                                                                       Rockville Center   NY
David Villarreal                                                                                      Staten Island      NY
Agustin Villegas and Rosemarie Roman                                                                  Allentown          PA
Patricia Vilomar                                                                                      Woodside           NY
Brooks Vincent                                                                                        Stony Point        NY
Stacey Vincent, as Administratrix of the estate of LaBerto Vincent, and Stacey Vincent individually   St. Albans         NY
Peter E. Vincent                                                                                      Jersey City        NJ
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Brenda Vincent-Springer and Curtis D. Springer                                                           Staten Island     NY
Enrico Viola and Debra Viola                                                                             Staten Island     NY
Vincent Viola                                                                                            New York          NY
Vincent Virbukas                                                                                         Bayside           NY
Manuel Viscaino and Luisa Taveras                                                                        Staten Island     NY
Alfred Vitale and Grace Vitale                                                                           Hopewell Jct      NY
David Vitalli                                                                                            Chester           NY
Luis Vivar                                                                                               Corona            NY
Frank Vivola and Donnamarie Vivola                                                                       Bronx             NY
Pablo Viznay                                                                                             Maspeth           NY
Jeffrey Vlack                                                                                            Sound Beach       NY
Wendy Vogl-Bloome and Mark Bloome                                                                        Mapleshade        NJ
Frank Vogric                                                                                             Franklin Square   NY
Alprentice Vonslatten                                                                                    Bronx             NY
Jason Voss and Charissa Voss                                                                             Holtsville        NY
John Votta and Linda Votta                                                                               Las Vegas         NV
Lawrence Vowinkel and Jennifer Vowinkel                                                                  Fort Salonga      NY
Zbigniew Wadolowski and Iwona Wadolowski                                                                 Maspeth           NY
David Wakeen and Victoria Wakeen                                                                         Clearwater        FL
Zofia Walas                                                                                              Clifton           NJ
Krzysztof Walek and Agata Walek                                                                          Staten Island     NY
Kenneth Wales and Emilia Wales                                                                           Yonkers           NY
Amos Walker                                                                                              Brooklyn          NY
Arthur Walker and Nancy Walker                                                                           Monroe Township   NJ
Daniel Walker                                                                                            Long Beach        NY
David Walker and Holly Walker                                                                            San Jose          CA
Gauntlett Walker and zelma Walker                                                                        Bronx             NY
Gloria Walker                                                                                            Brooklyn          NY
Melanie Walker                                                                                           Wiscasset         ME
Robert Walker                                                                                            Montauk           NY
Valerie Walker                                                                                           Brooklyn          NY
Lenise Walker-Wilson                                                                                     Jamaica           NY
Edward W. Wallace and Margaret Eng-Wallace                                                               Staten Island     NY
William Wallace and Michelle Wallace                                                                     Atlanta           GA
Kevin Walline and Rose Walline                                                                           New Hyde Park     NY
Maria Wallington and Kenneth Wallington                                                                  San Tan Valley    AZ
Chris Walsh and Amy Walsh                                                                                Centerport        NY
Daniel Walsh and Diane C. Walsh                                                                          Freehold          NJ
Daniel Walsh and Michele M. Walsh                                                                        Staten Island     NY
Gerard Walsh and Hope Christine Walsh                                                                    Westbury          NY
James Walsh                                                                                              Sunnyside         NY
Kevin Walsh                                                                                              Woodside          NY
Rob Walsh and Jennifer J. Cameron                                                                        New York          NY
Jamie Walters                                                                                            Westbury          NY
Robert Walton and Ann Marie Walton                                                                       Hernando          FL
Bonnie Wan, as Personal Representative of the estate of Jimmy Ah-Yuen Wan, and Bonnie Wan individually   New York          NY
Kong Hang Wang and Cai Ying Zheng                                                                        Brooklyn          NY
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Christopher Wanker                                                                                             Woodstock             NY
Michael Ward                                                                                                   Woodside              NY
Michael Warnock                                                                                                Toms River            NJ
John Warren and Seanita Warren                                                                                 Patterson             NY
Reginald Warren                                                                                                Columbia              SC
Robert Warren                                                                                                  New York              NY
James Warshefskie                                                                                              WestTown              NY
Michael Waser and Debrah Waser                                                                                 Punta Gorda           FL
Glenn Washington and Jeanette Washington                                                                       New York              NY
Jean Washington                                                                                                S Ozone Park          NY
Mack Washington                                                                                                Brooklyn              NY
Michael Washington and Earlene Washington                                                                      South Richmond Hill   NY
William Washington                                                                                             Raleigh               NC
Thomas Washington, Jr. and Daphne C. Washington                                                                Baltimore             MD
Patrick Waski and Joann Waski                                                                                  Riverhead             NY
Judy Ryan, as Personal Representative of the estate of Charles Wassil, and Judy Ryan individually              White Plains          NY
Dawnette Waterman                                                                                              Rockaway Park         NY
Marcus Watkins                                                                                                 Oxon Hill             MD
Derrick Watson                                                                                                 Bronx                 NY
Lavern Watson and Corey Watson                                                                                 Newburgh              NY
Stephen Wavrek and Evelyn Wavrek                                                                               Flemington            NJ
Cecil Weatherly                                                                                                Bronx                 NY
Kim Weaver                                                                                                     Fresh Meadows         NY
Donna Webb                                                                                                     Jamaica               NY
Francis W. Webb and Karen Webb                                                                                 Staten Island         NY
Jeffrey Webb and Doreen Webb                                                                                   Staten Island         NY
Victoria Weber                                                                                                 Edgewater             NJ
Jonell Webster, as Personal Representative of the estate of Herbert Webster, and Jonell Webster individually   Staten Island         NY
Michael Webster                                                                                                Brooklyn              NY
Ronald Weeks and Michele Weeks                                                                                 Bay Shore             NY
Michael Weguelin                                                                                               Bronx                 NY
Arthur Weimer                                                                                                  Atlantic Highlands    NJ
Eileen Weintraub, as Executrix of the estate of Ronald Weintraub, and Eileen Weintraub individually            Holbrook              NY
John Weir and Eileen Weir                                                                                      Freehold              NJ
Ruth Weiss                                                                                                     New York              NY
Patrick Welch and Catharyne Welch                                                                              Chandler              AZ
Richard Welliver and Theresa A. Welliver                                                                       Fort Mill             SC
David Wells and Chyrell Wells                                                                                  Jamaica               NY
Gregory Wells and Cherly Wells                                                                                 Brooklyn              NY
Wesley Wells                                                                                                   Jamaica               NY
Andrew Wender and Diane Wender                                                                                 Merrick               NY
Christopher Wendt and Kendra L. Wendt                                                                          Warwick               NY
John Wensdofer                                                                                                 Huntington Station    NY
Mark Wesseldine                                                                                                Pine                  CO
Kevin Wessolock and Louann Wesslock                                                                            Staten Island         NY
Eugene West and Margaret West                                                                                  New Hyde Park         NY
Peter Westcott                                                                                                 Cornwall on Hudson    NY
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Robert Wetzel and Gail Wetzel                                                                                 Ozone Park        NY
John Wharton and Jennifer Wharton                                                                             Freeport          NY
Patrick Whelan and Kathleen Whelan                                                                            Yonkers           NY
Gary Whitaker and Yvonne S. Whitaker                                                                          Westtown          NY
David White and Lisa White                                                                                    Sparta            NJ
George White and Joann White                                                                                  Sayville          NY
Raymond White and Wanda White                                                                                 Staten Island     NY
Robert A. White                                                                                               Bronx             NY
Robert White and Charlene White                                                                               Holbrook          NY
John Whitehead                                                                                                Brooklyn          NY
Edward Whiteman and Christine Whiteman                                                                        North Merrick     NY
Robert Whiteman and Tamilynn Whiteman                                                                         Parsippany        NJ
Lorren Whitfield                                                                                              Brooklyn          NY
Lynne Whittle, as Personal Representative of the estate of Frank Whittle, and Lynne Whittle individually      Greenwich         CT
John Whyte and Patricia Whyte                                                                                 Staten Island     NY
Madeline Wiebicke, as Executrix of the estate of Randy J. Wiebicke, and Madeline Wiebicke individually        Bardonia          NY
Henryk Wiechno                                                                                                Howard Beach      NY
Mark Wiggins                                                                                                  Bronx             NY
Ronda Wiggins                                                                                                 Bronx             NY
Terry Wikman and Donna Wikman                                                                                 Lindenhurst       NY
Wieslaw Wilczewski and Zofia Wilczewski                                                                       Bialystok         Poland
Sandra Wilkes                                                                                                 Newark            NJ
Adam Williams and Renee Williams                                                                              Whitsett          NC
Cornell Williams                                                                                              Fresh Meadows     NY
Diane Williams and Norman Williams                                                                            Perrineville      NJ
Earl Williams and Gwendolyn Williams                                                                          Brooklyn          NY
Helen Williams                                                                                                Wendell           NC
Kenneth G. Williams and Thecla Williams                                                                       St. Albans        NY
LeRoy Williams                                                                                                Nesconset         NY
Yolanda Williams, as Administratrix of the estate of Lloyd Williams, and Yolanda Williams individually        New York          NY
Sondra Furlow, as Personal Representative of the estate of Michael Williams, and Sondra Furlow individually   Mount Vernon      NY
Renzi Williams                                                                                                North Brunswick   NJ
Rudolph Williams and Glenda Williams                                                                          Colonia           NJ
Sharon Williams                                                                                               Rosedale          NY
Wanda Williams                                                                                                Staten Island     NY
Maureen Williamson, as Administratrix of the estate of Robert Williamson, and Maureen Williamson
individually                                                                                                  Nanuet            NY
Charles Wilson and Judy Wilson                                                                                Miller Place      NY
Davon Wilson                                                                                                  Middletown        NY
Stephen Wilson                                                                                                Staten Island     NY
Wilbert Wilson and Charlotte Wilson                                                                           Central Islip     NY
Eric Wilsusen and Kristine Wilsosen                                                                           Wharton           NJ
Joseph Wimmer                                                                                                 Bronx             NY
Raymond Winberry and Tania M. Winberry                                                                        West Islip        NY
James Winckowski                                                                                              Maspeth           NY
Paul Winkelmeyer and Eileen Winkelmeyer                                                                       Tappan            NY
Alice Winkler and Kenneth Winkler                                                                             Staten Island     NY
Kenneth Winkler and Alice Winkler                                                                             Staten Island     NY
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David Wint and Elaine Wint                                                              Brookyn            NY
Paula Winters and Kevin Winters                                                         Brooklyn           NY
Richard Winwood and Jeanine Winwood                                                     Kings Park         NY
Derek Witt                                                                              South River        NY
Joseph Wittleder and Michele J. Wittleder                                               Melville           NY
Michael Wohn and Jane Wohn                                                              Succasunna         NJ
Stanley Wojcik and Dion Wojcik                                                          Columbia           NJ
Paul Wolf and Joanne L. Wolf                                                            Phillipsburg       NJ
Judith M. Wolff and Dirk Wolff                                                          Holmen             WI
Allan Wong                                                                              Carle Place        NY
Carlton Wong and Sandra Wong                                                            S. Richmond Hill   NY
Kai Wong                                                                                Poughkeepsie       NY
Sharon Woo                                                                              Brooklyn           NY
Tanya Wood                                                                              Brooklyn           NY
Daniel J. Woodason                                                                      White Plains       NY
Andre Woods and anna Woods                                                              Jamaica            NY
Cleveland Woods                                                                         Bronx              NY
David Woods                                                                             New York           NY
Edward Woods and Jennifer Woods                                                         Cherry Hill        NJ
James Woods and Constance Woods                                                         East Northport     NY
Peter Woods and Sara Woods                                                              Hartsdale          NY
Susan Woods                                                                             Bayport            NY
Walter Worontzoff and Suzanne Worontzoff                                                Commack            NY
Daniel Wozniak and Domencia Wozniak                                                     North Babylon      NY
Douglas Wray                                                                            Brooklyn           NY
Carlton Wright                                                                          Far Rockaway       NY
Derek Wright                                                                            Peekskill          NY
Joyce Wright                                                                            New York           NY
Naomi Wright                                                                            Brooklyn           NY
Oliver Wright and Jennette Wright                                                       New York           NY
Richard A. Wright                                                                       Glen Oaks          NY
Roger Wright and Annette Wright                                                         Flushing           NY
Eric Wuss and Staci A. Wuss                                                             Huntington         NY
Michael Wyer                                                                            Melville           NY
Michael Wynne and Catherine Wynne                                                       Farmingdale        NY
Eileen Yale, as Executrix of the estate of Stephen Yale, and Eileen Yale individually   Southport          CT
Richard Yarusso and Daina Yarusso                                                       Coram              NY
Chen Ye                                                                                 Manhattan          NY
Qing Ye                                                                                 Manhattan          NY
Xiong Qiu Ye and Bao Qing Ye                                                            Brooklyn           NY
Sevan Yekhpairian                                                                       Bayside            NY
Wai Wan Yeung and Hung-Pang Yeung                                                       Snyder             NY
Robert Yodice and Noelle Yodice                                                         Staten Island      NY
Brian Yonker                                                                            Mount Sinai        NY
Glenn Yost and Sabrina Yost                                                             Staten Island      NY
Jamie Young                                                                             Bronx              NY
Kevin Young and Karen Young                                                             Massapequa Park    NY
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 Natalie Young, as Administratrix of the estate of Robert Young, and Natalie Young individually                   New York          NY
 Ron Young and Sharon Young                                                                                       Palm Coast        FL
 William Young and Michelle Young                                                                                 Freehold          NJ
 Derek Yuengling                                                                                                  Massapequa park   NY
 Robert M. Yuli, Jr., as Executor of the estate of Robert Yuli, and Robert M. Yuli, Jr. individually              Brooklyn          NY
 Luis Yumbla and Rosa Cabrera                                                                                     Corona            NY
 Maryellen Yurek, as Executrix of the estate of Stephen Yurek, and Maryellen Yurek individually                   Bayonne           NJ
 Robert Zahn                                                                                                      Staten Island     NY
 Thomas Zahralban                                                                                                 Monroe            NY
 Jaroslaw Zajac                                                                                                   Rockaway Beach    NY
 Frank Zambrano and Karen Zambrano                                                                                Nanuet            NY
 Craig Zapart and Marie S. Zapart                                                                                 Brooklyn          NY
 Alejandro Zapata                                                                                                 Richmond Hill     NY
 Santos M. Zapil                                                                                                  Elmhurst          NY
 John Zarrella and Debra Zarrella                                                                                 Staten Island     NY
 Keith Zavilowitz and Mary Zavilowitz                                                                             Staten Island     NY
 Louis Zecca and Maria Zecca                                                                                      Cortlandt         NY
 Lawrence Zenteno and Nancy C. Criollo                                                                            Corona            NY
 David Zephrine and Josephine Zephrine                                                                            Uniondale         NY
 Li Qing Zhang                                                                                                    New York          NY
 Li Zhu Zhang                                                                                                     Elmhurst          NY
 Jian Zhao                                                                                                        Flushing          NY
 Tian Cai Zheng and Nen Jiao Huang                                                                                Philadelphia      PA
 Sai Z. Wang, as Personal Representative of the estate of Wei-Feng Zheng, and Sai Z. Wang individually            Brooklyn          NY
 Zhu-You Zheng                                                                                                    Brooklyn          NY
 Fang Xiang Zhu                                                                                                   Manhattan         NY
 Thomas G. Zielinski                                                                                              Mamaroneck        NY
 Bernadette Corrao, as Administratrix of the estate of Joseph Zirkuli, and Bernadette Corrao individually         Carmel            NY
 Martin Zollner and Imie Zollner                                                                                  Las Vegas         NV
 Michael Zotto and Patricia Zotto                                                                                 West Islip        NY
 Malgorzata Kuca, as Personal Representative of the estate of Franciszek Zugaj, and Malgorzata Kuca
 individually                                                                                                     POLAND            NY
 William R. Zuk                                                                                                   Wantagh           NY
 Charles Zulla and Hope C. Zulla                                                                                  Point Pleasant    NJ
 Rafael Zumba                                                                                                     Brooklyn          NY
 Eleanor Zurita                                                                                                   Sunrise           FL
 Alexandra Burnett, as Personal Representative of the estate of Juan Zurita, and Alexandra Burnett individually   New York          NY
 Washington Zurita                                                                                                Bronx             NY
 Sarah Zvulon, as Personal Representative of the estate of Aharon Zvulon, and Sarah Zvulon individually           Centreach         NY


                                                                     Defendants’ Addresses:

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